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               EXHIBIT 1
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                                               z mg and service oifp Iead'mgs or otiier papers as requzre
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            Commencement of Action:
             ~Complaint             lJ W1it of Summons                                                                                          CJ Petition
s            LJ Transfer from Another Jurisdiction                                                                                              [j Declaration of Taking
E   ....


c Lead Plaintiff's Name:
   Michael Weinik, D.O.
                                                                                                                                                        Lead Defendant's Name:
                                                                                                                                                         Temple University
T       .
                                                                                                                                                          Dollar Amount Requested:         Llwithin arbitration limits
l           Are money damages requested? f&'I Yes                                                                                         DNo                   (check one)                ~outside arbitration limits
() '
N            Is this a Class Action Suit?                                                                                      []Yes      ~No              Is this an MDJ Appeal?               CJ Yes                       IR1 No
        '
    .


                   Name of Plaintiff/Appellant's Attorney: Bruce L Castor, Jr.
                                   D                      Check here if you have no attorney (are a Self-Represented [Pro Se} Litigant)

            Nature of the Case:                                        Place an "X" to the left of the ONE case category that most accurately describes your
                                                                       PRIMARY CASE. If you are making more than one type of claim, check the one that
                                                                       you consider most important.

        ·. TORT (do not include Mass Tort)                                                                                      CONTRACT (do not include Judgments)              CIVIL APPEALS
          D Intentional                                                                                                           D Buyer Plaintiff                               Administrative Agencies
        . D Malicious Prosecution                                                                                                 D Debt Collection: Credit Card                  D Board of Assessment
          D Motor Vehicle                                                                                                         D Debt Collection: Other                        D Board of Elections
          Cl Nuisance
          0 Premises Liability
                                                                                                                                                                                  8  Dept. of Transportation
                                                                                                                                                                                     Statutory App~al: Oth~i:::
s         D Product Liability (does not include
                   mass tort)                                                                                                     D Employment Dispute:
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E              fgJ Slander/Libel/ Defamation                                                                                           Discrimination                                                                       ~· '~~
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c              D Other:                                                                                                           0 Employment Dispute: Other                     D Zoning Board·.
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                                                                                                                                  D Other:                                                                           "'· ....

            MASS TORT                                                                                                                                                                             -·
0              D Asbestos                                                                                                                                                                             .
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                                                                                                                                                                                                                   ._/::;-
                                                                                                                                                                                                                   ·....;
N              D Tobacco
               [J Toxic To1t - DES
               L.! Toxic Tort - Implant                                                                                         REAL PROPERTY                                    MISCELLANEOUS
               0 Toxic Waste                                                                                                      D Ejectment                                      D Common Law/Statutory Arbitration
               D Other:                                                                                                           D Eminent Domain/Condemnation                   D Declaratory Judgment
                                                                                                                                  D Ground Rent
                                                                                                                                  D Landlord/Tenant Dispute
                                                                                                                                  0 Mo1tgage Foreclosure: Residential
                                                                                                                                                                                  8   Mandamus
                                                                                                                                                                                      Non-Domestic Relations
                                                                                                                                                                                      Restraining Order
            PROFESSIONAL LIABLITY                                                                                                 [J Mortgage Foreclosure: Commercial              D Quo Warranto
              0 Dental                                                                                                            D Partition                                      D Replevin
              0 Legal                                                                                                             D Quiet Title                                    LI Other:
              0 Medical                                                                                                           D Other:
              D Other Professional:


                                                                                                                                                                                                                   Updated 11112011
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ROGERS CASTOR                                    ATTORNEYS FOR PLAINTIFF
Bruce L. Castor, Jr.
26 E. Athens A venue
Ardmore, PA 19003
610.649.1880
877.649.1880 (fax)

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY, PENNSYLVANIA
                           CIVIL ACTION
 MICHAEL WEINIK, D.O.
 34 Saint James Court
 Philadelphia, PA 19106
                                                             9
                              Plaintiff,            - - - - - TERM 2019
                   V.
 TEMPLE UNIVERSITY OF THE
 COMMONWEALTH SYSTEM OF                                    007522
                                                   No. - - - - - - - -
 HIGHER EDUCATION
 3 00 Sullivan Hall,
 1330 W. Polett Walk                            Jury Trial Demanded
 Philadelphia, PA 19122,

                  and

 TEMPLE UNIVERSITY'S LEWIS
 KATZ SCHOOL OF MEDICINE
 Medicine Education and
 Research Building (MERB)
 3500 N. Broad Street
 Philadelphia, PA 19140,

                  and

 TEMPLE UNIVERSITY HOSP IT AL
 3401 N. Broad Street
 Philadelphia, PA 19140,

                  and

 SHIVANIDUA
 Main Line Spine
 700 South Henderson Rd.
 King of Prussia, PA 19406,

                  and

 PHILLIP ACEVEDO
 Northeastern Rehabilitation Associates
 3400 Bath Pike Plaza, Suite 400
 Bethlehem, PA 18017,
                           Defendants.
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                                          COMPLAINT

         Plaintiff Michael Weinik, D.O. ("Plaintiff' or "Dr. Weinik"), by and through his

attorneys Rogers Castor, hereby submits the following Complaint against Defendant Temple

University of the Commonwealth System of Higher Education ("Temple University") and

Temple University's Lewis Katz School of Medicine (the "Medical School"), Temple University

Hospital (the "Hospital")(collectively, "Defendants" or "Temple.") In support thereof, he pleads

as follows:

                                         THE PARTIES

         1.     Plaintiff is an individual who lives at 34 Saint James Court, Philadelphia, PA

19106.

         2.     Temple University is a state university, affiliated with the Commonwealth of

Pennsylvania, whose principle place of business is located at 300 Sullivan Hall, 1330 W. Polett

Walk, Philadelphia, PA 19122.

         3.     Similarly, the Medical School is part of Temple University and is located at

Medicine Education and Research Building (MERB), 3500 N. Broad Street, Philadelphia, PA

19140.

         4.     In addition, the Hospital is also part of Temple University and is located at 3401

N. Broad Street, Philadelphia, PA 19140.

         5.     Accordingly, the Defendants are state-related institutions whose actions are taken

under color of state law and are subject to scrutiny under 42 U.S.C. § 1983.

         6.     Shivani Dua is a former resident at Temple with a current business address of

Main Line Spine, 700 South Henderson Rd., King of Prussia, PA 19406.

         7.     Phillip Avevedo is a former Temple Resident with a current business address of

Northeastern Rehabilitation Associates, 3400 Bath Pike Plaza, Suite 400, Bethlehem, PA 18017
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                                 JURISDICTION AND VENUE

        8.     This Court possesses jurisdiction over the claims set forth herein, as well as the

parties to this action, pursuant to 42 Pa. C.S. §§ 5301 & 5308.

       9.      Venue is proper in this Court, pursuant to Pa.R.C.P. 1006, because all of the

parties reside in Philadelphia County and this is the place where the causes of action arose.


                                  FACTUAL BACKGROUND

        10.    Dr. Weinik has served the entirety of his long and distinguished medical career at

Temple.

        11.    Dr. Weinik began practicing medicine at Temple as a first-year Physical Medicine

& Rehabilitation resident over 30 years ago in 1986.

        12.    In October of 1989, Dr. Weinik began working as an attending physician at

Temple.

       13.     From 1991 to 2001 Dr. Weinik served as an Assistant Professor in Temple's

Physical Medicine & Rehabilitation Department.

        14.    In 2001, Dr. Weinik was promoted to the position of Associate Professor in

Temple's Physical Medicine & Rehabilitation Department.

        15.    In 2013, Dr. Weinik became a full clinical Professor of Physical Medicine &

Rehabilitation at Temple.

        16.    He continued to serve in that position until Temple fired him in 2018.

        17.    Dr. Weinik served at Shriners Hospital in Philadelphia for 17 years treating

children with various disabilities.

        18.    Dr. Weinik volunteered to, and treated, children with disabilities in Puerto Rico

on more than 10 occasions.
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        19.       Dr. Weinik was Team Physician for the Philadelphia Flyers for 10 years, the

Philadelphia Eagles for five years, and consulted with the Philadelphia Phillies in 2008.

        20.       Dr. Weinik was Team Physician for the United States Rowing team for four years

and accompanied the team to the World Championships in 1991 and 1993.

        21.       Dr. Weinik provided care for the FIFA Soccer World Championships when the

championship venue was Philadelphia.

        22.       Dr. Weinik believes and therefore avers that no other physiatrist, now or ever, in

the Philadelphia area, possesses the depth and diversity of sports medicine experience that he

does.

        23.       Dr. Weinik is an experienced medical lecturer at the local, state national, and

international levels.

        24.       Dr. Weinik has trained over 300 residents and an additional approximately 500

medical students from the United States and abroad.

        25.       Dr. Weinik is a Board member and Past President of the American Osteopathic

College of Physical Medicine and Rehabilitation.

        26.       Dr. Weinik's ongoing employment with Temple was renewed on an annual basis

by a letter agreement, reappointing him as Professor of Clinical Physical Medicine and

Rehabilitation.

        27.       On November 18, 2017, Temple University honored Plaintiff at Lincoln Financial

Field before thousands of people where the Provost of the College of Medicine recognized Dr.

Weinik for his commitment to the education of medical students and residents as a professor, and

his exemplary work in providing patients with exceptional clinical care.

        28.       The latest iteration of the contract agreement is dated March 14, 2018

("Contract"). A true and correct copy of the Contract is attached hereto as Exhibit "A. "
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          29.   The Dean of the School of Medicine appointed Dr. Weinik as Interim Chair of the

Department of Physical Medicine and Rehabilitation in 2015, telling Dr. Weinik that the current

chair he was to replace was allowing the program to falter with standards of education and care

diminishing from what the School of Medicine expected.

          30.   Dr. Weinik was actively engaged in the process of removing the doctor he

replaced as Department Chair from that doctor's additional position as the residency program

director beginning in November of 2017 and continuing into January of 2018.

          31.   The action Dr. Weinik intended on taking against the director of the residency

program, removing him from that directorship, would have dealt a severe blow to that doctor's

career.

          32.   Plaintiff believes and therefore avers that this doctor, Dr. Ian Matin, Director of

the Residency Program, and the man Plaintiff replaced as Chair of the Department, out of spite

and other malicious motives set in motion a series of events weaponizing residents he

befriended, or had power over in his position as Director, to falsely accuse Dr. Weinik of sexual

harassment knowing that only by destroying Dr. Weinik could Dr. Matin retain his position as

Director.

          33.   Plaintiff believes and therefore avers that residents inspired by Dr. Matin began

making false allegations against Plaintiff in the middle of January 2018, in order to pre-empt

Plaintiff from removing Dr. Matin from his position as Director.

          34.   The attack worked, since Plaintiff was forced to defend himself against the lies

instead of proceeding with the improvement of medical education at Temple by removing Dr.

Matin.

          35.   Plaintiff believes and therefore avers that Temple officials (not professionals hired

at the direction of Temple, but Temple officials themselves untrained in such matters) conducted
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an inept, unprofessional, and incomplete "investigation" into false allegations made against Dr.

Weinik in the nature of sexual harassment.

        36.    On March 11, 2018, a past resident at Temple, and a current practicing physician,

told Plaintiff that Dr. Ian Matin was attempting to ruin Plaintiffs career by enticing residents

make bogus complaints of sexual harassment and other misconduct about Dr. Weinik to Temple

officials.

        37.    On March 13, 2018, supervisors at Temple removed Plaintiff as interim Chair of

the Department, leaving Plaintiff to believe this was to be his "punishment" on the unfounded

allegations.

        38.    The following day, on March 14, 2018, Plaintiff and Temple executed a 15-month

employment contract to employ Plaintiff until July 2019, but removing additional compensation

previously paid to him as interim Chair. See Exhibit "A".

        39.    Temple breached the contract of March 14, 2018, when it stopped paying Plaintiff

on October 29, 2018.

        40.    On March 15, 2018, Temple orally advised Plaintiff he was on Administrative

leave effective immediately and that he had one hour to clean out his office. Plaintiff was not

given written notice of his alleged transgressions, nor notice of any right to counsel.

        41.    On March 16, 2018, Temple confirmed in writing that the executed contract of

March 14, 2018 was received, and Temple began paying Plaintiff under that contract until

October 29, 2018.

        42.    On July 10, 2018, a hearing was conducted pursuant to the Temple University

Hospital Bylaws 8.3 and 8.4 before a hearing committee appointed following a unanimous

adverse recommendation by MSEC under Bylaw 8.2 recommending expulsion of Plaintiff.

        43.    The hearing committee, comprised of three Medical Staff Members, was chosen
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by Chair of MSEC, Vincent Cowell, M.D., and was, as stated, based on the unanimous

recommendation from MSEC that Plaintiff be dismissed from the hospital.

        44.     In addition to choosing the hearing committee panelists, the Chair of MSEC, Dr.

Cowell, acted as the "prosecutor" at the hearing on July 10, 2018 calling witnesses, giving

testimony, and making arguments in an effort to demonstrate to the hearing committee that it

ought to agree with the unanimous recommendation of MSEC and that of its leader and the

prosecutor of the hearing, Dr. Cowell. 1

        45.     Plaintiff appeared at the hearing on July 10, 2018, and presented his own defense

because the hearing panel, incorrectly, believed that Plaintiff could not be represented by counsel

under the University by-laws, which in fact, contain no such blanket prohibition.

        46.     Plaintiff made procedural objections to preserve his appellate rights under Temple

University Bylaw 8.5.2. These procedural objections are on the record of the proceedings and

enumerated in the attached Exhibit "B" to show "substantial noncompliance with the procedures

required by these Bylaws or applicable law resulting in demonstrable prejudice." Undersigned

Counsel, as the record will reflect, advised Plaintiff not to continue placing his procedural

objections on the record, since it was patently obvious that the hearing committee did not care to

consider any allegations of procedural irregularities despite being required to do so since

consideration of same constitutes one of only two basis for appeals to the Board of Trustees such

as occurred in this case -   a fact known to the Plaintiff, but evidently not known to the hearing



1
   In addition to chairing the MSEC, the very body bringing the charges, and acting as the prosecutor and
as witness in Plaintiffs case, Dr. Cowell was the person responsible for the appointment of himself and
Dr. Tedaldi as investigators in direct violation of Bylaw 7.3 .2 requiring that three investigators be
appointed to investigate complaints of misconduct. Presumably the purpose of that particular Bylaw is to
reduce the possibility that one or two investigators would have a bias or prejudice against an accused
since finding three biased persons to conspire is surely harder than finding one or two. Plaintiff, despite
due diligence, has been unable to ascertain the identity of a third investigator appointed to his case.
Temple noticed Drs. Cowell and Tedaldi as potential witnesses, never advised Plaintiff concerning the
identity of a third investigator, and no third investigator testified at the hearing.
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committee chair, nor to the MSEC prosecutor, Dr. Cowell.

       47.     Plaintiff presented extensive testimony at the hearing from approximately ten 10

witnesses under oath who testified to firsthand accounts rebutting every allegation made against

Plaintiff as presented by the "prosecutor," MSEC Chair Dr. Cowell. In contrast, Dr. Cowell on

behalf of MSEC presented no direct testimony from live witnesses and, instead, relied entirely on

hearsay statements not subject to cross examination and without giving Plaintiff the benefit of

the questions investigators asked, any recordings or notes that might have been taken by MSEC

investigators, nor any understanding of whether MSEC investigators interspersed their own

opinions and conclusions of what the witness must have "meant," as opposed to what was the

witnesses' said. In short, Plaintiff was unable to test the veracity of any of the so-called evidence

presented by MSEC chair and prosecutor Dr. Cowell, who was tasked with "backing up" the

allegations brought by the MSEC board under his leadership.

       48.     One of the allegations against Plaintiff brought by MSEC Chair Dr. Cowell was

an allegation of improper touching supposedly alleged by a resident named Dr. Dua. Dr. Dua

refused to be interviewed by Temple representatives, refused to sign a purported email or letter

giving rise to the charges, and after being personally served with notice and asked to appear by

Undersigned Counsel for Plaintiff, consciously elected not to attend the July 10, 2018 hearing to

explain the substance of her allegations. In fact, not a single person alleging anything adverse to

Plaintiff testified against him. NOT ONE.

       49.     However, among the direct eyewitness testimony presented by Plaintiff at the

hearing were witnesses who were present when Temple claims Plaintiff improperly touched Dr.

Dua. Every single eyewitness presented agreed that no such improper touching occurred. Not a

single person testified at the hearing to say they had seen improper touching.

       50.     Dr. Weinik believes and avers where the so-called victim refused to cooperate
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with MSEC investigators because she knew that she was acting as a puppet for Dr. Matin and did

not want to testify under oath or give any sort of adopted statement. She even refused a

confirmed actual notice invitation from Plaintiff to testify. Temple simply ignored the un-

rebutted eyewitness testimony presented by Plaintiff that nothing untoward occurred at this

event.

         51.   At the conclusion of the hearing, after written submissions from both Prosecutor

Dr. Cowell, Chair of MSEC, and the person responsible for the appointment of the hearing

committee members, and from Dr. Weinik, the hearing committee voted unanimously to overrule

the MSEC recommendation to terminate Plaintiff. The hearing committee came to this

conclusion after seeing and hearing the testimony, and hearing and reading the parties'

arguments, things that MSEC did not do. Plaintiff incorporates herein by reference the Notes of

Testimony and exhibits from the proceeding dated July I 0, 2018 as Exhibit "C. "

         52.   Pursuant to Temple University Hospital Bylaws 8.4.7, Plaintiff availed himself of

the opportunity to provide "closing written arguments" attached hereto as Exhibit "D. " These

written arguments show that the MSEC decision to overrule the hearing committee "was not

supported by substantial evidence based upon the hearing record ... " (See Bylaws 8.5.2). In fact,

it is hard to believe that the voting MSEC members even read the record, or the written

arguments, as Plaintiff submits that any reasonably fair-minded and just person could not help

but conclude that this was a sham prosecution completely lacking in procedural due process that

even the MS EC-appointed hearing committee found did not warrant dismissal of Plaintiff.

         53.   The written recommendation of the hearing committee, attached hereto as Exhibit

"E", was submitted to MSEC. MSEC, without having seen or heard any of the testimony

presented at the hearing on July 10, 2018, chose to "reverse the report and recommendation of

the hearing committee" pursuant to Bylaws 8.4.9. without even inviting plaintiff to appear and
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answer questions. See Exhibit "F. "

       54.     MSEC chair Dr. Cowell, stated that he did not participate in the decision to

overrule the hearing committee in Plaintiff's case apparently because the thoroughness of his

conducting of the investigation and his prosecution was at issue before MSEC. Yet, Dr. Cowell

actually signed the letter dated August 27, 2018 stating MSEC's final decision (like a decision

from a court made up of multiple members signed by the judge assigned to the case) to overturn

the hearing panel. An analogy might be a judge affixing his name alone to an opinion of the full

court on the very case on which that judge recused himself.

       55.     So, Dr. Cowell appointed himselflead investigator, chaired the MSEC committee

that unanimously brought the charges and recommended expulsion, appointed the members of

the hearing committee, appointed himself as the prosecutor, acted as Temple's chief witness

against Plaintiff, wrote Temple's post-hearing argument (stating, among other nonsensical

things, that Plaintiff was required to move into evidence a Bylaw before the hearing panel could

consider whether the Bylaw was violated. A Bylaw is simply a rule that the litigants and the

hearing panel must abide by.)

        56.    Plaintiff suggests that Dr. Cowell's "recusal" rendered him powerless to take any

action on the matter which caused the recusal. Such actions, like signing the decision letter,

should have been done by an independent person, presumably a MSEC vice chair, or such other

member of MSEC the members might themselves select to replace Dr. Cowell in this one

instance.

        57.    Plaintiff submits that Dr. Cowell's signing of the letter dated August 27, 2018 (i.e.

MSEC's decision overruling the hearing committee) after he claimed to have ceased

participating in the deciding of the case, rendered the decision letter, itself, void on its face. As

such, MSEC missed the filing deadline for acting on the hearing committee's recommendation
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by not filing a written determination within the time permitted under the Bylaws attested to by a

MSEC official who had not determined he/she could not participate in the decision. Expressed

differently, a prosecutor or judge who has determined he or she cannot be fair and objective, and

recuses himself from participating in the decision, cannot participate at all, and most certainly

cannot be the only person to sign a ruling on the very issue on which he/she states that he/she

cannot participate pursuant to a perceived (or actual) conflict of interest.

        58.    Dr. Cowell relied entirely on hearsay evidence produced from a less-than-

thorough investigation completely rebutted by direct, non-hearsay testimony produced by

Plaintiff.

        59.    As is made clear in the record of the hearing on July 10, 2018, Plaintiff had other

witnesses on "stand-by" available to provide additional substantive testimony that the hearing

committee deemed not necessary to present as the hearing had already gone on for five (5) hours.

Nevertheless, MSEC opted to "reverse the report and recommendation" of the hearing committee

even knowing the hearing committee had "heard enough." Plaintiff suggests that the record

plainly supports the notion the hearing committee was satisfied with the strength of Plaintiff's

evidence to the point where it discouraged Plaintiff from presenting additional evidence, and that

MSEC blatantly ignored this finding by the hearing committee.

        60.    Plaintiff avers that not only was he not afforded the " ... procedures required by

[the] Bylaws resulting in demonstrable prejudice ... " (Bylaws 8.5.2), he also was denied basic

procedural due process when the chair of the accusing body, MSEC, selected the hearing panel,

acted as the "prosecutor," and, upon failing to obtain the desired result from the hearing panel,

that same body, MSEC, under the prosecutor's general leadership, reversed the recommendation

of the hearing committee. No member of MSEC voting on the committee recommendation saw or

heard the live testimony to judge for him or herself the credibility of the witnesses testifYing on
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July I 0, 2018, before MSEC decided to reverse. Standing alone, Plaintiff avers these facts

demonstrate the inherent unfairness of the procedure afforded him in this case.

        61.    Plaintiff believes and therefore avers that the entire procedure used by Temple to

conduct its so-called investigation pursuant to bylaw "safeguards" was woefully ill-suited to

provide even the most rudimentary due process to Plaintiff. Rather Temple's procedures

encourage merely a veneer of due process to disguise a blatantly flawed system designed to

create the pre-text of procedural due process, while in reality is laughably inadequate to produce

any semblance of the concept.


                                      COUNT I
                          VIOLATION OF DUE PROCESS OF LAW
                         (AGAINST TEMPLE DEFENDANTS ONLY)

       62.     Plaintiff alleges Defendants violated his right to procedural due process pursuant

to 42 U.S.C. § 1983 and applicable to the Commonwealth and its agents through the 14th

Amendment, and will show the following elements in support thereof:

               a. Defendants are "state actors" within in the meaning of 42 U.S.C § 1983;

               b. Defendants engaged in abuse of power, while acting as state actors,

                   intentionally, knowingly, recklessly, and/or with gross negligence beyond

                   ordinary negligence;

               c. Defendants' conduct interfered with Plaintiffs protected liberty interest of

                   property by failing to provide adequate procedural safeguards;

               d. Plaintiff has suffered damages as a direct result of Defendants' failure to

                   provide Plaintiff with meaningful procedural due process oflaw.

        63.     Plaintiff hereby incorporates by reference all paragraphs in this Complaint as

though fully set forth at length.

        64.    Defendants violated the Due Process Clause of the Fourteenth Amendment of the
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United States Constitution, and such provisions of the Pennsylvania Constitution providing

similar protections, by condoning a retaliatory attack against Plaintiff by a disgruntled employee,

orchestrating a pre-textual investigation and a sham disciplinary proceeding to terminate Dr.

Weinik from Temple, further ensuring that he could never practice medicine again anywhere at

the same level.

        65.       Dr. Weinik possessed both a property interest and a liberty interest under the U.S.

Constitution in his contractual employment with Temple and in his continued ability to practice

medicine.

        66.       Because Temple University, the Medical School, and the Hospital are affiliated

with the Commonwealth of Pennsylvania, the Defendants acted as agents of the state and under

the color of law in taking their actions against Dr. Weinik.

        67.       As described in exacting detail above, the pre-textual investigation and sham

disciplinary proceeding deprived Dr. Weinik of almost all of the traditional procedural due

process protections afforded under the U.S. Constitution, including the ability to cross-examine

one's accusers under oath, to question available material witnesses under oath, to have

meaningful use of counsel, and to present exculpatory evidence before an impartial and unbiased

tribunal.

        68.       Temple's investigators failed to identify or interview material witnesses, who

would have provided exculpatory evidence and testimony disproving the false accusations of Dr.

Weinik's accusers.

        69.       Temple's investigators ignored and knowingly failed to provide exculpatory

evidence to Dr. Weinik.

        70.       Temple failed to adhere to its own Bylaws and procedures by, inter alia, allowing

the unsworn testimony of Dr. Weinik's accusers to be presented to the tribunal in the form of
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hearsay.

       71.     Temple failed to timely inform Dr. Weinik that he had the right to be represented

by legal counsel at all stages of the investigation and the proceedings.

       72.     Temple failed to timely provide Dr. Weinik with a copy of the Bylaws and

procedures that governed the investigation and proceedings.

       73.     Indeed, the investigation and subsequent proceeding was so biased and utterly

devoid of traditional procedural due process protections as to not qualify as a genuine

opportunity for Dr. Weinik to be heard or properly defend himself and his professional

reputation from his accusers' false accusations.

       74.     As a proximate result of Temple's actions, Dr. Weinik's professional reputation

has been ruined and he has lost the ability to practice medicine.

       75.     Temple reported the pre-textual reasons for Dr. Weinik's dismissal from his

positions to a national practitioner data bank falsely claiming he was fired for bylaw violations,

disruptive conduct and sexual misconduct, despite there being no direct evidence produced

against Dr. Weinik and his main accuser refusing to sign a statement or appear to give evidence

despite confirmed personal service for her to attend Dr. Weinik's hearing.

       76.     The inclusion of Dr. Weinik's name on this national data bank has made it

impossible for him to secure a position in his field, a field where he is objectively considered at

the very top of his profession causing him enormous anxiety and depression that he may never be

able to again pursue his life's work based on the unsubstantiated lies of others with a motive to

want to hurt Dr. Weinik's career.

       77.     Temple initiated a state licensing board complaint that resulted in an extensive

investigation before the board refused to take any action against Dr. Weinik.

       78.     Plaintiff has incurred extensive legal fees that have left him at a great
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disadvantage in paying for this litigation.

       79.     Plaintiff believes and therefore avers that a goal by Defendants in creating its pre-

textual disciplinary process designed to appear as due process when it is anything but, is to

bankrupt plaintiffs who go through the process like Dr. Weinik so that they are financially

damaged from paying lawyers that they cannot afford protracted litigation going forward.

       80.     Plaintiff believes and therefore avers that the Temple procedures he was forced to

contend with were enacted by Temple to discourage their use by making them so difficult to

navigate that only counsel could advise Plaintiff how to navigate them, costing Plaintiff

extensive funds, and during which no actual elements of procedural due process occurred.

       81.     Plaintiff believes and therefore avers that no other physician has ever gone

through the procedure Defendants required of him.

       WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against

Defendants, by Ordering Defendants to reinstate Plaintiff to his former positions and provide him

with a fair investigation and hearing, which comports with the procedural due process safeguards

of the U.S. Constitution. In addition, Plaintiff requests that the Court Order Defendants to pay

compensatory damages of in excessive of $3,000,000 and punitive damages for egregious

conduct, and all of Plaintiff's costs and attorneys' fees that he has incurred and will incur,,

including treble damages, and Order such other relief as this Court shall deem just and proper,

including directing that Plaintiff's name be stricken from the National Practitioner's Databank

list of persons dismissed for the type of violations falsely alleged by Defendants against Plaintiff.


                                     COUNT II
                                BREACH OF CONTRACT
                         (AGAINST TEMPLE DEFENDANTS ONLY)

        82.    In order to prevail in a Breach of Contract Claim, Plaintiff must establish:

               a. The existence of a contract, including its essential terms;
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               b. A breach by the Defendant (s) of a duty imposed by the contract; and

                c. Damages were sustained by the Plaintiff on account of the breach of

                   Defendants' duty under the contract.

        83.    Plaintiff hereby incorporates by reference all paragraphs of this Complaint as

though fully set forth at length.

        84.    As described above, Dr. Weinik had a 15 month-long Contract with Temple to

provide medical services to Temple and "clinical and didactic instruction" to its medical and

physician assistant students, its residents, and fellows. See Ex. "A ".

        85.    In exchange, Dr. Weinik was to receive a minimum annual compensation of

$270,999.00, as well as additional incentive compensation and fringe benefits.

        86.     Dr. Weinik entered into this Contract with Temple on March 14, 2018.

        87.     Temple breached the Contract by improperly and prematurely terminating Dr.

Weinik's employment.

        88.     In addition, Temple further breached the Contract's implied duty of good faith

and fair dealing by failing to properly follow its own Bylaws and policies, which were

incorporated into the terms of agreement and also governed Dr. Weinik' s rights under the

Contract.

        89.     Specifically, as described in detail above, Temple used the pre-textual

investigation and sham disciplinary proceedings as a means for improperly and prematurely

terminating Dr. Weinik's Contract in bad faith.

        90.     As a proximate result of Temple's improper and premature termination of its

Contract with him, Dr. Weinik has sustained in excess of $210,000 in lost earnings, earning

potential, and benefits. Or at the very least approximately 9 months' compensation under the

contract at Exhibit "A."
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       WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against

Defendants, by Ordering Defendants to pay Plaintiff his compensatory and consequential

damages, including all costs, and such other relief as this Court shall deem just and proper.


                                       COUNT III
                                         LIBEL
                               (AGAINST ALL DEFENDANTS)

Libel is proven by the Plaintiff upon a showing that the following can be established:

a)     The publication of;

b)     a statement;

c)     about an individual;

d)     that is defamatory in character; and

e)     the recipient of the publication understands the publication's meaning.

       91.     Defendants committed the tort of Libel against Plaintiff.

       92.     Plaintiff incorporates all paragraphs in this complaint by reference as if each was

enumerated here.

       93.     Defendants falsely accused Plaintiff of engaging in sexual harassment.

       94.     Defendants made written false statements accusing Plaintiff of criminal sexual

harassment to, inter alia, employees of Temple, and to the Temple University Hospital Board of

Directors.

       95.     Defendants' false statements did cause damages to Plaintiff.

       96.     Defendants' false statements have per se damaged Plaintiff's reputation, are the

proximate cause of Plaintiff losing his job and having difficulty finding another job.

       97.     Defendants' false statements have per se damaged Plaintiff's reputation, are the

proximate cause Plaintiff has been shunned in the community in which he formerly freely moved

about in educational and professional circles related to medicine.
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       98.     Defendants' false statements have per se damaged Plaintiffs reputation, are the

proximate cause of Plaintiffs losing the confidence of those reading the statements as these

people are professionals in his field with influence over his career advancement both in the

practice of medicine to help people recover from severe illnesses, and the ability to earn money

from working in a highly specialized field in which he has spent many years training and

developing those special skills.

       99.     Defendants' false statements have per se damaged Plaintiffs reputation and are

the proximate cause of Plaintiffs severe professional and monetary damages.

       WHEREFORE, Plaintiff demands in excess of $50,000 from each defendant for the tort

of libel, and any and all such further relief the Court considers warranted.


                                       COUNT IV
                                       SLANDER
                               (AGAINST ALL DEFENDANTS)

Slander can be proven by the Plaintiff upon a showing that the following can be established:

a)     The defamatory nature of the alleged communication(s);

b)     the publication of the communication(s) was by the defendant(s);

c)     the application of the communication to the plaintiff;

d)     the recipient's understanding of the communication's meaning;

e)     the recipient's understanding of the communication is intended to be applied to the
       plaintiff;

f)     special damages resulting to the plaintiff; and

g)     abuse of a conditionally privileged occasion.


        100.   Defendants committed the tort of slander against Plaintiff by making false and

defamatory verbal statements damaging Plaintiffs reputation.
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        101.   Plaintiff incorporates all paragraphs in this complaint by reference as if each was

enumerated here.

        102.   Defendants falsely accused Plaintiff of engaging in sexual harassment.

        103.   Defendants made statements to, inter alia, personnel of Temple University and

the Temple University Hospital Board of Directors all of whom are experienced in the severity

of such complaints in the context of the medical profession.

        104.   Defendants' statements led to conduct an investigation specifically against

Plaintiff demonstrating the recipients to the statements understood precisely what Defendants

wanted to communicate in Defendants' effort to ruin Plaintiff's career in retaliation for Plaintiff

attempting to remove Dr. Matin from his position as Director of the Resident Program.

        105.   Defendants' statements caused damage to Plaintiff's reputation per se since the

false accusations of sexual harassment is so vile that the law presumes damage especially since

some of the false allegations against Plaintiff could be construed by law enforcement as criminal

in nature.

        106.   Defendants' statements caused special damages to Plaintiff in that the practice of

medicine with patients is heavily dependent on the doctor/patient relationship and the trusting

bond necessary, that Plaintiff's loss of his positions, his standing among his peers, his sources of

referrals, his professional reputation in his field nationally, to name a few, has brought

incalculable harm down upon Plaintiff.

        107.   Defendants' have caused special damage further to Plaintiff by forcing him to

undergo a humiliating investigation when Plaintiff continued to pursue the removal for Dr.

Maitin from his position.
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        108.   Defendants have done special damage to society since their demonstrably false

accusations against Plaintiff not only cast doubt upon the Plaintiff and the medical profession,

they cast doubt upon the veracity of woman who truly are victims of sexual assault.

       WHEREFORE, Plaintiff demands damages in excess of $50,000 from each Defendant

for the tort of slander and any and all such further damages as the Court may deem warranted.


                                         COUNTV
                                   INJURIOUS FALSEHOOD
                                 (AGAINST ALL DEFENDANTS)

Injurious is proven by Plaintiff upon a showing that the following can be established:

a)     The statement is false;

b)     the publisher either intends the publication to cause pecuniary loss or reasonably should
recognize that publication will result in pecuniary loss;

c)     pecuniary loss does, in fact occur; and

d)       the publisher either knows that the statement is false or acts in reckless disregard its truth
or falsity.

        109.   Plaintiff is a victim of the tort of Injurious Falsehood caused by Defendants.

        110.   Plaintiff incorporates all paragraphs in this complaint by reference as if each was

enumerated here.

        111.    Defendants made statements that Plaintiff engaged in sexual harassment.

        112.    The false accusation was investigated by Temple personnel.

        113.    Plaintiff lost his job as a direct result of the false accusations by Defendants.

        114.    Plaintiff cannot find further employment because the actions of Defendants

caused his name to be placed on a nation registry.

        115.    Plaintiff denies the accusation of sexual harassment made in statements by

Defendants in the strongest possible terms.
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        116.    Defendants' actions sought that financial harm would befall Plaintiff by making

these false statements either through Plaintiff through Plaintiff losing his career by being fired

from his medical positions and unable to find future employment in his medical specialty.

        117.    Plaintiff suffered pecuniary loss including, but not limited to the costs to defend

himself and the loss of his position with Temple University Hospital and curtailed economic

opportunities at other medical venues as word of the false allegations spread.

        118.    Defendants Shivani Dua and Phillip Acevedo told their employer, Defendant

Temple, Plaintiff engaged in sexual harassment knowing that was false or in reckless disregard

for the truth or falsity of said statement.

        WHEREFORE, Plaintiff demands damages in excess of $50,000 from each Defendant

for the tort of Injurious Falsehood, and any and all such further relief the Court deems warranted.



                               A TRIAL BY JURY IS DEMANDED.



Date: June 28, 2019                                                         Respectfully Submitted,

                                                                       /s/ Bruce L. Castor, Jr.
                                                                Bruce L. Castor, Jr. (ID. No. 46370)
                                                                               ROGERS CASTOR
                                                                               26 East Athens Ave.
                                                                               Ardmore, PA 19003
                                                                                       610.649.1800
                                                                                877.649.1880 (Fax)
                                                                         Bruce@RogersCastor.com
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Lewis Katz School of Medic.Ina

     Lari"} R. Kaist"r, l\.'l.D., Dean       3500 N Broad Street                   phone: 215-707-8773
     Senior Executive V.P., Health Affairs   Medical Education Research Building   Jax: 215-707-843 t
     President and CEO,                      Suite 1141                            E-mail: larry.kaiser@tuhs.temple.edu
     Temple llniversity Health System        Philadelphia, PA 19140                web: www.temple.edu/medicine




March 14, 2018


Michael Weinik, DO
34 Saint James Court
Philadelphia, PA 19106-3702
Emailed to: michael.weinik@temple.edu

Dear Dr. Weinik:

I write to offer you renewal of an appointment as Professor of Clinical Physical Medicine &
Rehabilitation in the Department of Physical Medicine & Rehabilitation in the School of
Medicine. This remains a non tenure-track Dean's Appointment as a Clinician Educator on
the Clinician Educator Track that will begin on April 1, 2018, and, unless renewed by a
separate written agreement, will automatically end on June 30, 2019. This offer carries no
presumption of reappointment, and expressly provides terminal year notice as required
by University policies and procedures, including Section HI of the Temple University
Faculty Handbook and Section 1.D. of the Temple University School of Medicine
(TUSM) Policy on Appointment as a Clinician Educator on the Clinician Educator
Track with regard to non-renewal of contracts for untenured faculty. This letter
supersedes my letter to you dated June 30, 2017 for the portion of the term April 1, 2018
to June 30, 2018.

By accepting this appointment, you agree to teach, conduct research, engage in scholarship or
creative work, and/or provide clinical and other service, at any location on behalf of the
University as specified or as modified by me or my designee from time to time. You also
agree to the "Terms and Conditions". This letter and this attachment comprise the entire
terms and conditions of your faculty appointment and may not be modified or altered by any
oral or written statement or representation unless such statement or representation is
confirmed in writing under the President's, Provost's or Dean's signature.

If, as I hope, you find this offer to be satisfactory as presented, please indicate your
acceptance by signing and dating the acknowledgement on the last page and returning a copy
of the entire letter by fax or email to the Office of Faculty Affairs at
LKSOMFaculty@temple.edu or via fax number 215-707-4659. This offer will remain open
for 20 days from the date of this letter. Ifwe have not received your signed acceptance by
that date, we will assume that you have not accepted this offer. If you require any additional
time to consider this offer, please contact Mr. Bryant Tabb, Director of the Office of Faculty
Affairs either by email btabb@temple.edu or phone 215-707-0163; Mr. Tabb will confirm any
extension in writing.
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! look forward to your continued contributions to the academic and clinical enterprises of the
School of ~kdicine.




cc: Ke, in Delaney. Vice Provost for .Faculty Affairs
    Sharon Boyle. Associate Vice President, Human Resources
    Joseph Rudy, Administrator
    Ann Untalan, Assistant Dean, Finance
    Paula Davis \Vest. Assistant Dean. Financial Services
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                                  Terms and Conditions

Responsibilities
Your responsibilities for the term of this reappointment continue to include, but are not
limited to, providing clinical services and clinical and didactic instruction to medical and
physician assistant students, residents, and fellows as assigned, which may be modified by or
other duties assigned by the Chair/Dean at his discretion in consultation with you.

Your annual clinical productivity measures (ASA units, work RVUs, and outpatient
encounters) are selected based upon the Medical Group Management Association Physician
Compensation and Production Survey (65th percentile, calculated from the average of the 3
most recent annual surveys) for your specialty/subspecialty adjusted for your percent of
clinical effort.

Fiscal Year Compensation
Your annual (minimum) fiscal year compensation for the term of this appointment will be as
follows:

       'A' component                                         $193,311
       'B' component                                           77,688
       Total                                                 $270,999

All benefits that are salary-based, including retirement plan contributions, will be based on the
'A' component. The sum of your A and B components will not be less than $270,999 for the
term of this appointment. Portions of your salary derived from outside funding, if any, will
serve as an offset to your salary and will be reflected in a redistribution of your effort. The
fiscal year compensation reflected above will be prorated, as necessary, to reflect your start
date and is payable in accordance with Temple University payroll practices and subject to
state and federal income tax withholding, employment taxes and such other deductions that
may be required by law.

Incentive Compensation
You may also be eligible for incentive compensation. Eligibility for incentive compensation
of any kind requires that you be actively employed by Temple University in the position
indicated in this Appointment letter on the date of distribution.

Compensation Limit
In no event will your total annual compensation from Temple University (regardless of the
type of compensation) exceed 125% of the then-current 75th percentile as per the Northeast
Region Tables of the Association of American Medical Colleges (AAMC) Faculty Salary
Survey or 125% of the then-current 90th percentile of the Physician Compensation and
Production Survey of the Medical Group Management Association (MGMA) or another
published survey as designated by the Lewis Katz School of Medicine.

Fringe Benefits
As a Temple University full-time faculty member, you are entitled to elect certain fringe
benefits. A complete explanation of the University's Faculty Benefit Plan is available online
at http://www.temple.edu/hr/faculty/benefits.htm. You must completely satisfy all applicable
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eligibility requirements, make all required co-payments, and complete all applicable
enrollment forms in order to be eligible for a particular Temple University benefit.

Insurance Credentialing
You hereby agree to accept assignment for payment under the Medicare and Pennsylvania
Medical Assistance programs. This appointment is also contingent upon Temple University
Physicians being able to qualify you, on an ongoing basis, as a participating provider with the
federal Medicare program, the Pennsylvania Medicaid program, and all managed care or
prepaid health care programs designated by Temple University from time to time.

To the extent permitted by third party payment programs, Temple University or its designee
shall bill and collect for all services performed by you. You shall take all steps reasonably
requested by Temple University to assist in the billing and collection of any monies due to
Temple University for your professional services. In the event regulatory and/or third party
payment programs require any or all services you perform to be billed or collected in your
name of or on behalf of you, you hereby designate, authorize and appoint Temple University
as your agent, and grant Temple University a power of attorney to bill or collect on your
behalf for all the services you perform and to obtain provider number(s) on your behalf to
facilitate such billing or collection.

You are bound by the Compliance Program of Temple University Health System, which is
available on-line at http://www.templehealth.org/tuhs vendor policies/, as well as all billing
policies and/or procedures as established by the Dean or the Dean's designee and agree to bill
all charges for such services through the office established for that purpose. The schedule of
charges for all services performed by you as an employee of Temple University shall be
determined from time to time by Temple University.

Professional Services Fees
For so long as you are a member of the faculty of Temple University, all fees received by you
for professional services rendered as an employee are the property of Temple University.
This does not include honoraria (e.g. for lectures, speeches and the presentation of papers),
awards and other similar income that are not related to the rendering of professional services,
nor does it include clinical consulting fees for expert testimony. However, clinical expert
testimony may only be offered with the written approval of TUHS Office of Counsel to assure
there are no conflicts. Such consulting may not interfere with regularly-scheduled University
professional time or make use of University resources. In the event of any dispute over
whether fees are Temple University's property pursuant to this appointment, the Dean shall
have complete discretion in determining whether such fees obtained by you will be considered
property of Temple University. Any such decision by the Dean is final and will not be subject
to review in any forum.

You may not render professional services to patients at locations other than Temple
University Health System facilities or Temple University without the written approval of the
Dean, subject to the terms set forth above, and such other terms and conditions as he/she may
reqmre.
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Professional Liability Insurance
 During your employment with Temple University, Temple University shall, on your behalf (i)
 procure and maintain, at its sole cost and expense, medical professional liability insurance in
 form and amounts not less than the amounts required by the laws of the Commonwealth of
Pennsylvania; and (ii) be solely responsible for the payment of any and all requisite
surcharges, assessments, and any and all other payments to the Pennsylvania Medical Care
Availability and Reduction of Error Fund as required by the laws of Pennsylvania. The above
insurance or surcharges paid, secured or maintained by Temple University will only cover
your professional activities provided under this Appointment. Any insurance or surcharges
for professional activities provided outside the scope of your employment, whether provided
before, during or after your employment, is your sole responsibility and includes, without
limitation, moonlighting, with or without Temple University's permission, and retrospective
surcharges by the MCA RE Fund relating to the time prior to your employment by Temple
University. In the event that your insurance prior to being employed by Temple University is
claims made, you shall secure, or have secured on your behalf, tail coverage for acts or
omissions prior to the period that you became employed by Temple University. Moreover,
upon the termination of your employment with Temple University, ifthe insurance provided
by Temple University for your services provided as its employee is claims made, Temple
University shall, on your behalf, procure and maintain, at its sole cost and expense, medical
professional tail coverage in form and amounts not less than the amounts required by the laws
of the Commonwealth of Pennsylvania for acts or omissions occurring during the period of
time that you were employed by Temple University.

In consideration of Temple University purchasing said insurance, you assign any and all of
your rights under said insurance to Temple University including, but not limited to, the
authority to control, defend and settle all claims and lawsuits that arise due to your
employment by Temple University. You further agree to timely cooperate and comply with
any and all requests enabling Temple University to exercise these assigned rights. This
assignment shall survive the termination of your employment with Temple University.

Conditions of Employment
Your appointment to the faculty and continued employment by LKSOM is contingent upon:
(a) proof of unrestricted licensure to practice medicine in the Commonwealth of Pennsylvania
and in any other state in which you are required to provide clinical services as an employee of
Temple University; (b) appointment to the medical staff of Temple University Hospital and
such other hospitals as the Dean may designate; (c) proof of registration with the federal Drug
Enforcement Administration to prescribe controlled substances without limitation; (d) proof
of eligibility for participation in the Medicare and Pennsylvania Medicaid programs; (e) proof
of certification or eligibility for certification by the American Board of Physical Medicine and
Rehabilitation or other similar certifying board acceptable to the Dean; (f) Temple
University's satisfaction with your malpractice claims record; (g) Temple University's ability
to qualify you as a participating provider with all governmental and other programs and
insurers with which the University participates; and (h) passing a background investigation,
which may include employment reference checks, a PA Child Abuse History Clearance,
criminal/civil background review, a credit check and/or any other background investigation
deemed necessary by Temple University.
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Representations and Warranties
By accepting this offer of appointment, you represent and warrant that:

•   You have never been, and are not now, disciplined, suspended, disbarred, debarred,
    sanctioned or excluded by or from any federal, state, licensing, accrediting or certifying
    agency, program or professional association, and that you agree to immediately disclose to
    the Dean if, at any time, you are threatened with discipline, suspension, disbarment,
    debarment or other sanction as described above.

•   You have never been convicted of any felonies or of any unprofessional or immoral
    conduct that may injure your reputation or that of Temple University that have not been
    disclosed in writing to the Dean and to the Office of the Provost. You agree to disclose
    immediately to the Dean and to the Office of the Provost, if at any time you are
    investigated by law enforcement authorities or subject to criminal prosecution by federal
    or state authorities.

•   You have, at all times during your practice of medicine, maintained professional liability
    insurance in such amounts as have been required by law, and no professional liability
    insurance carrier has ever canceled, denied or refused to renew your professional liability
    insurance coverage or imposed a surcharge with respect to such coverage.

•   You are not now, and have never been at any time during your practice of medicine,
    convicted of a criminal offense related to health care nor are there any such actions
    pending or to your knowledge threatened.

•   This Appointment Letter does not violate the terms or provisions of any other agreement
    to which you are a party or which impacts upon your practice of medicine, including but
    not limited to any restrictive covenants or other non-competition agreements.

Termination Related to Conditions of Employment, Representations and Warranties
and Other Terms
You understand and agree that if you are unable to practice medicine or Temple University is
unable to submit billing statements to governmental or other third party payers for your
professional services as a result of your failure to maintain any Condition of Employment or
Representation and Warranty contained in this Appointment, or that you otherwise fail to
perform any duty of employment contained in this Appointment such that Temple University
is unable to submit billing statements to governmental or other third party payers for your
professional services, then Temple University shall have the right to terminate this
Appointment immediately, without advance notice and without any further obligation to you.
Termination pursuant to this provision shall not be considered termination for "adequate
cause" as referenced in the Temple University Faculty Handbook and the Lewis Katz School
of Medicine Policy on Appointment as a Clinician Educator on the Clinician Educator Track
and neither the Faculty Handbook nor the Lewis Katz School of Medicine Policy shall be
applicable to such termination.

Notice of Resignation
Should you resign from the faculty prior to the expiration of your appointment, you will owe
to the University an amount equal to 3/12 of your annual compensation as liquidated damages
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and not as a penalty, unless you provide a minimum of three months' prior written notice.
Further, you authorize Temple University to offset from any amounts it may owe to you
pursuant to your employment, in satisfaction, or partial satisfaction as the case may be, the
amount you are obligated to pay hereunder to the full extent permitted by law. However,
early resignation remains a breach of the term of your appointment. Accordingly, this
paragraph is not an exclusive remedy nor a waiver of any of the University's rights or
remedies relative to any such resignation, all of which Temple University expressly preserves.

Employment Policies
As a faculty member at Temple University, the terms and conditions of your employment are
governed by this Appointment Letter, as well as Temple University's applicable policies and
procedures, including any applicable collective bargaining agreement, official School or
College policies that are available on-line
at http://www.temple.edu/medicine/faculty/policies procedures.html, the Employee Manual
and Board-approved policies and procedures contained in the Temple University Faculty
Handbook, that are also available on-line at http://policies.temple.edu, all as may be modified
by Temple University and the School from time to time. School policies include, but are not
limited to, its conflict of interest policy at
http://www.temple.edu/medicine/faculty/documents/conflict policy.pdf. You will also be
required to provide a financial disclosure at least annually.

Inventions and Patents Policy
As a faculty member at Temple University, you agree to be bound and abide by the terms of
Temple University's Inventions and Patents Policy that is available on-line at
http://policies.temple.edu. By signing the Appointment Letter you represent that you have
reviewed Temple University's Inventions and Patents Policy and agree to be bound by this
policy, as may be modified by Temple University from time to time. In addition, you hereby
assign to Temple University any and all intellectual property rights in any inventions created
by you during the period of your employment and emerging from any university research or
development activity, or from use of any university facilities or equipment.

Compliance with Laws, Regulations, Policies and Procedures
In the performance of their functions, faculty members have an obligation to avoid ethical,
legal, financial and other conflicts of interest to ensure that their actions and outside activities
do not conflict with their primary employment responsibilities at the institution. Faculty
members are also expected to understand and be in compliance with applicable laws and
regulations, including governmental or other sponsoring agency regulations related to time
and effort reporting and sponsored program expenditures and billing, University and
employment policies and regulations, and NCAA regulations for areas and departments in
which their essential functions cause them to interact with student athletes.

Non Solicitation
During the period that you are employed by Temple University and for a period of one (I)
year thereafter, you will not, except with Temple University's express prior written consent,
directly or indirectly, in any capacity, for the benefit of any person, entity or competing health
care system, solicit any person who is, or during such period becomes, a patient, supplier,
employee, agent or representative of Temple University in any manner which interferes or
might interfere with such person's relationship with Temple University, or make any effort to
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 obtain such person as a patient, supplier, employee, agent, or representative of any medical
 practice which provides professional medical services in the specialty of Physical &
 Rehabilitation Medicine.

 You expressly acknowledge that these covenants are a material part of the consideration
 bargained for by Temple University and, without your agreement to be bound by these
 covenants, Temple University would not have agreed to enter into this agreement.

The terms and conditions of this agreement shall remain in full force and effect for so long as
you remain an employee of the University unless replaced by a fully executed subsequent
agreement. However, compensation adjustments may be made, effective following the
expiring appointment period, in accordance with School of Medicine practice and procedure.

I have reviewed and understand the terms and conditions of employment as outlined above.
By signing this Appointment Letter I agree to all of those terms including, but not limited to,
the requirement of assigning certain patent and other rights to Temple University.



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                 (Signature)                                    (Date)
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     Dr. Weinik's Procedural Objections Demonstrating

 noncompliance with the Procedures Required by [the]

     Bylaws or Applicable Law Resulting in Demonstrable

                   Prejudice to Him per 8.5.2 (a)



"Temple University Administrative Policies and Procedures"

were not followed. Among the deficiencies:

I.     Applicant was never notified that he had an

opportunity to go the Medical Staff Office to review the

complaint against him.

2.     Applicant was never told that he could seek an

advocate to assist him in this process. The Policies and

Procedures indicate that notifications #I and #2 should

have been made BEFORE any investigation commenced.

Applicant never received them. Instead, when he did meet

with the investigators, he was shown handwritten excepts
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from an email containing allegations against him and was

not allowed to know the identity of his accuser.

3.     The timeline produced by the investigators clearly

shows that the investigation was well under way by the

time they met with Applicant also in violation of the

University's Policies and Procedures.

4.     The timeline demonstrates that at the time they finally

met with Applicant, the investigators had already meet with

Dr. Acevedo, yet, his allegations were never disclosed to

Applicant until two weeks before the July 10, 2018

hearing.



5.     The Bylaws of the Professional Medical Staff were also

not followed in this process. Here are a few examples:

     • In violation of Section 7.3.4, Applicant was never given

       the required Special Notice of any recommendation or

       action by MSEC following their investigation. Instead,
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  Applicant was escorted from the building with no

  notice and no idea of what had transpired to cause his

  removal in such an embarrassing and undignified way.

  It wasn't until Applicant's attorneys contacted Temple

  that Special Notice was actually given.

• In violation of Section 7.4.3, Applicant was never given

  an opportunity to address MSEC following his being

  escorted out of the hospital.

• Applicant does not know whether MSEC met to

  consider his removal from privileges, as is required by

  Section 7 .4.3, nevertheless, Applicant never received

  the required special notice of MSEC's recommendation

  pursuant to Section 7. 4. 4.

• Finally, Section 8.3.1 requires that the CEO provide

  Applicant with "clear and concise" reasons for the

  adverse action taken against him. Prior to the hearing

  on July 10, 2018, no one has provided Applicant with
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      this information. In fact, Applicant learned for the

     first time 15 days before the hearing much of the

      substance about the allegations being leveled against

      him. The only information Applicant had been given

      throughout the entire process was to be able to read

      excerpts from an email containing allegations.

6.   These deficiencies in process and procedure violate the

clear rules by which accusations and investigations are to

be conducted, and the "just culture" that is supposed to

exist at Temple. Moreover, MSEC impaired Applicant's

right to, among other things, due process. The deficiencies

also led to a result which should not have occurred had the

rules been followed.

7.    Applicant objected to these deficiencies, and others, at

the hearing on July 10, 2018 and reserved his right to raise

these procedural deficiencies in any future appeal despite
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knowing that his evidence would completely overwhelm the

unreliable hearsay MSEC would offer.

8.    Applicant request permission to have hearing

conducted by counsel per 8.4.1 - and was never given a

chance to be heard on that issue prior to the decision being

made that lawyers could not ask questions and make

arguments. Per the Bylaw provision, the default is

attorneys do participate, and an affirmative decision was

made by someone without Applicant's knowledge to

exercise discretion and not to allow lawyers to ask

questions and make arguments. That decision was made

without any input from the accused, Applicant Dr. Weinik.

9.    Temple did not provide Applicant with the correct

Standards of Conduct, Rules, and Procedures in effect

2012-2014 governing time period when Dua allegations

supposedly occurred.
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10. Temple could not certify on the record that it had

applied the Standards of Conduct, Rules, and Procedures

in effect 2012-2014 in reviewing Dua complaint. Instead,

Dr. Cowell applied standards of conduct written after the

the allegations concerning Dr. Dua. In short, Dr. Cowell

used the wrong standards against Applicant instead of the

ones in effect when Applicant was supposed to have

engaged in this misconduct.

11. Applicant was never given the date of the alleged event

that occurred 4 to 6 years ago where Dr. Dua claims

Applicant acted wrongly. The room at PCOM where those

lectures were held was wired for video and audio, and

Applicant was unable to seek out if there are any

recordings and video of the event to disprove Dr. Dua's

allegations.

12. The By-Laws say hearsay is only admissible if " .. .it is

the sort of evidence on which responsible persons are
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accustomed to rely in the conduct of serious affairs ... " See

8.4.7. The committee members clearly understood that in

arriving at the decision that they did. MSEC, its

investigators, and Dr. Cowell failed to understand this

distinction and credited all hearsay, whether it was reliable

or not, and failed to understand the distinction. Applicant

believes that the members of MSEC asked to vote on the

hearing committee's findings could not have read his post

hearing written argument. Instead, Applicant believes

MSEC was so anxious to impose its pre-determined guilt

and penalty upon Applicant no matter what the evidence

was that was produced, no matter how the witnesses'

demeanor and affect appeared at hearing, and no matter

what the hearing committee members thought.

13. Applicant avers that he was denied due process when

the results of a five hour hearing with more that 50 pages

of post hearing argument and exhibits was completely
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ignored by the charging body, MSEC, and MSEC

unilaterally re-imposed its findings of violations and

penalty of expulsion. Applicant is left to wonder for the

entire hearing committee process was a designed farce: a

pretext to pretend at "due process" when the MSEC

decision was going to the Board no matter what the hearing

committee ruling turned out to be.

14. Applicant points out to the Board that the entire

process from allegation through this current appeal has

cost Applicant an enormous sum of money and great stress

to be currently in exactly the same place Applicant was in

when MSEC recommended expulsion before the hearing

was scheduled. Thus, Applicant has not only suffered from

a lack of due process since the hearing committee's rulings

were wiped away by MSEC, he has suffered extensive

monetary damages as well.
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                                                                       Page 1

 1          TEMPLE HOSPITAL MEDICAL STAFF HEARING
 2

 3                RE:    MICHAEL WEINIK, D.O.
 4

 5

 6

 7                      Tuesday, July 10, 2018
 8

 9                Medical Staff Hearing in the above
10    matter, held at Temple University Hospital, 3401
11    North Broad Street, Boyer Pavilion, 9th Floor,
12    Philadelphia, Pennsylvania, beginning at 5:30
13    p.m., on the above date, before Jan Singer Brooks,
14    Court Reporter and Notary Public.
15                                ------
16                   VERITEXT COURT REPORTING
                          1801 Market Street
17                             Suite 1800
                Philadelphia, Pennsylvania 19103
18
19                                 ------

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23
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 2                                                                  2
 3          MEDICAL STAFF PANEL                                     3 WITNESS                   PAGE
 4                                                                  4
 5 JOHN DAY, M.D., Chair                                              VIKRAM ARORA, D.O.
   JOSEPH QUEENAN, M.D.
                                                                    5
 6 KARN LIN, M.D.
                                                                         By Dr. Weinik           159
 7             - --
                                                                    6
 8 PAUL WRIGHT, ESQUIRE
                                                                         By Dr. Cowell           166
   2450 W. Hunting Park Avenue
 9 Floor 4                                                          7
   Philadelphia, PA 19129-1398                                      8 IL YA ILGONIKOV, M.D.
10 Counsel for Temple University Health System                      9    By Dr. W einik          176
11                                                                 10    By Dr. Cowell           182
   VINCENT COWELL, M.D.                                            11
12 For Medical Staff Executive Committee                              JUSTIN A VERNA, D.O.
13                                                                 12
   ROGERS CASTOR                                                         By Dr. W einik          194
14 BY: BRUCE L. CASTOR, JR., ESQUIRE                               13
      LANCE ROGERS, ESQUIRE                                              By Dr. Cowell           203
15 26 East Athens Avenue                                           14
   Ardmore, PA 19003                                               15 MICHAEL WEINIK, D.O.               220
16 ph: 610-649-1880
                                                                   16   By Mr. Cowell             240
   bruce@rogerscastor.com
17 Counsel for Michael Weinick, D.O.
                                                                   17           ------
                                                                   18           EXHIBITS
18 MICHAEL WEINIK, D.O.
19                                                                 19
20              ------                                             20 No. 1   TUH Medical Staff Exhibits
21                                                                 21 No. 2   Mullan Statement
22                                                                 22 No. 3   Naftulin Memo
23                                                                 23 No. 4   Castor Letter
24                                                                 24           ------
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 l
 2
              INDEX                                                 1                -- -
 3 WITNESS                PAGE                                      2               PROCEEDINGS
 4                                                                  3                ---
   VINCENT COWELL, M.D.                   22
 5
                                                                    4             DR. DALY: We'll go on the record
     By Dr. Weinik         47                                       5     now.
 6                                                                  6             Good evening. I'm Dr. John Daly.
 7 ELLEN TEDALDI, M.D.
 8   By Dr. Cowell         78
                                                                    7     We are with here for the Medical Staff
 9   By Dr. Weinik         104                                      8     Hearing requested by Dr. Michael Weinik
10                                                                  9     regarding the Temple University Hospital
   GILBERT D'ALONZO, D.O.
11                                                                 10     Medical Staff Executive Committee's
     By Dr. Weinik         109                                     11     recommendation to the Hospital Board to
12
13 JENNIFER YU, M.D.
                                                                   12     terminate his medical staff membership.
14   By Dr. Weinik         117                                     13             I'm John Daly. I will chair the
15                                                                 14     hearing. I am joined by my colleagues Karen
   STEPHANIE LI, M.D.
16
                                                                   15     Lin and by Dr. Joseph Queenan who are the
     By Dr. Weinik         122                                     16     other hearing panel members.
17                                                                 17             All of us have met before the
18 CHRISTOPHER CONNER, D.O.
19   By Dr. Weinik         127                                     18     hearing. I don't know if Joe did. But I ask
20                                                                 19     that the parties and their counsel introduce
   REED WILLIAMS, M.D.
21
                                                                   20     themselves to the panel on the record. So
     By Dr. Weinik         141                                     21     let's start. Michael, if you would,
22                                                                 22     Dr. Weinik.
     By Dr. Cowell         152
23
                                                                   23             DR. WEINIK: I'm Michael Weinik.
24                                                                 24             MR. CASTOR: I'm Bruce Caster,

                                                                                                               2 (Pages 2 - 5)
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                                               Page 6                                               Page 8
 1   Rogers Castor.                                 1        witness called by either party will testify
 2          MR.ROGERS: Lance Rogers with            2        once and will be subject to direct or cross
 3   Rogers Castor representing Dr. W einik.        3        examination by either/or both parties and
 4          MR. WRIGHT: I'm Paul Wright. I          4        will be dismissed after giving each such
 5   represent Dr. Cowell and the medical staff.    5        testimony.
 6          DR. COWELL: I'm Dr. Vincent             6               Each party may submit a written
 7   Cowell, Past President of the Medical Staff    7        closing statement to the Panel within three
 8   of the University Hospital.                    8        calendar days of receipt of the hearing
 9          DR. QUEENAN: Joseph Queenan,            9        transcript that we will obtain. Any party
10   Temple Neurosurgery.                          10        who will submit a written closing statement
11          DR. DALY: I'm Dr. John Daly.           11        to the Panel must so advise the Panel before
12          DR. LIN: Karen Lin, General            12        the hearing is adjourned today. The Chair of
13   Internal Medicine.                            13        the Hearing Panel, that is myself, may
14          DR. DALY: Thank you. I know that 14              dismiss either party or conclude the hearing
15   the parties have been given the Hearing       15        if a party repeatedly violates, despite
16   Panel's rules and they have been sent to you 16         warning, the rules established by this
17   but I will briefly review the rules before we 17        Hearing Panel.
18   begin.                                        18               Now, do any of the parties have any
19          First, all witnesses will be sworn     19        questions about these rules?
20   in by Jan, the court reporter.                20               DR. WEINIK: No.
21          Second, the attorneys for each         21               DR. DALY: All right. Sorry.
22   party shall have no speaking role during the 22                DR. WEINIK: Before we have --
23   hearing. No opening arguments, no             23               MR. CASTOR: No, go ahead.
24   statements, objections, questioning of        24               DR. DALY: So what we will do now,
                                               Page 7                                               Page 9
1    witnesses or closing arguments.                     1   we will have opening statements first by
2           Three, the attorneys for either              2   Dr. Cowell and then by Dr. W einik.
3    party will be able to privately counsel their       3          Vince. Sorry?
4    clients during the hearing.                         4          MR. CASTOR: I shouldn't have
5           Fourth, the opening statements by            5   interrupted him.
6    each party will be limited to approximately         6          DR. WEINIK: I would like to offer
7    five minutes.                                       7   some preliminary matters for the record,
8           And five, the closing oral                   8   please.
9    arguments by each party will be limited to          9          DR. DALY: You can do that during
10   approximately ten minutes.                         10   an opening statement. Can we do that? At
11          The Hearing Panel may ask questions         11   that point I think would be most appropriate.
12   of any party or witness. For each phase of         12   We'll let Dr. Cowell go first and then,
13   the hearing, that is the opening statements,       13   Dr. W einik, you can entire anything you wan
14   the presentation of evidence, the closing          14   at that time. Statements and all of that
15   oral arguments, the Medical Staff shall go         15   will be on the record.
16   first and Dr. W einik shall go second.             16          Vince, would you start, please?
17          The Chair of the Hearing Panel,             17          DR. COWELL: Again, my name is
18   that is me, in consultation with the other         18   Vince Cowell. At the time of the concerns
19   two panel members shall make rulings on the        19   before us I was President of Temple
20   admissibility of any testimony or any other        20   University Hospital Medical Staff and I am
21   evidence. The Chair of the Hearing Panel may       21   tasked with presenting and representing the
22   also ask either party to state the relevance       22   evidence at this hearing based on Temple
23   of any proposed testimony or other evidence        23   University Hospital's Medical Staff
24   before hearing or accepting the same. Any          24   investigation.

                                                                                          3 (Pages 6 - 9)
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                                             Page JO                                                 Page 12
 1          I will bring up and present                 1   administrator for, as they described, "name
 2   Dr. Ellen Tedaldi as a witness on behalf of        2   dropping" and letting their residents know
 3   the Medical Staff and we will present              3   that they will need a letter from him in
 4   numerous documents in support of the Medical       4   order to advance in their careers.
 5   Staff Executive Committee's decision to            5          I will present the time line events
 6   recommend to the hospital Board of Trustees        6   that brings us up to today. You will see
 7   that Dr. Weinik's membership on the Medical        7   that the professional -- Physician
 8   Staff be terminated. The recommendations to        8   Professional Conduct policy in Article 7 of
 9   terminate Dr. Weinik's Medical Staff               9   the Medical Staff Bylaws in which establishes
10   membership was based on a pattern of              10   the basis for bringing such adverse actions
11   unprofessional behavior that despite verbal       11   against Dr. Weinik as included in the evident
12   warnings and collegial intervention remained      12   packet. We will show you that Dr. W einik has
13   inappropriate in several aspects.                 13   taken the preventive discrimination and
14          As you will see, the majority of           14   harassment courses for all employees,
15   the complaints detailing Dr. Weinik's             15   training at the university which is an annual
16   unprofessional conduct were made from women       16   competency. He should have known that the
17   reflecting their claims that inappropriate        17   conduct was improper and unprofessional. And
18   comments to female residents in the Pain          18   we will take you through the verbal and
19   Management and Rehabilitation Program. He         19   written complaints made against Dr. W einik
20   commented on their physical appearance, asked     20   starting back in November of2016.
21   inappropriate and personal questions that         21           Dr. W einik may view the credibility
22   were sexual in relation. He had been alleged      22   of those with impunity and as they have been
23   to have inappropriately touched a resident's      23   presented. I only ask you that you consider
24   female area during simulated demonstration,       24   this firsthand information about the specific
                                             Page II                                                 Page 13
 1   patient exam.                                      1   information that has come our way.
 2          In addition, according to multiple          2          We are there for the first
 3   PM&R residents, Dr. Weinik's activity, in          3   allegation of "black dress walk of shame
 4   particular, his conduct with female patients       4   incident" which Dr. Weinik denied as well as
 5   that happened to be described as young,            5   inappropriately touching Dr. Dua's private
 6   attractive, were routinely more physical and       6   parts. There are numerous such allegations
 7   longer than with other patients. This              7   made that all lead to a body of concern at
 8   conduct stood out to several residents in the      8   work. The evidence has shown that nothing
 9   department to the point where they described       9   really changed, that Dr. Weinik continues
10   his physical exams for -- such as "handsy"        10   to -- continued to have people characterized
11   and even characterized them as "Weinik being      11   activities and actions as "Weinik being
12   Weinik" or "she got Weinik-ed."                   12   Weinik."
13          Dr. W einik's behavior created an          13          So as Dr. Tedaldi who is, again,
14   environment that, as the residents described      14   our witness, will explain the highlights of
15   in the PM&R Department, both male and female,     15   our investigation and we will attempt to
16   very uncomfortable.                               16   present the evidence as it was presented to
17          Our evidence will show that                17   us starting back in the beginning of November
18   Dr. Weinik also was alleged to have used his      18   of2016 leading up to our present scenario.
19   position as Intern Department Chair and his       19          We will also present the work of
20   connections in our community to suppress or       20   the collegial intervention that was directed
21   intimidate potential complaints about his         21   by Allyson Saccomandi, the Director of the
22   behavior.                                         22   Bum Unit and Organizational Development
23          Dr. W einik is known by the                23   Program here at Temple. And we will show
24   residents and graduate medical education          24   that in 2000 -- I'm sorry, a January 16, 2018

                                                                                         4 (Pages 10 - 13)
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                                              Page 14                                                 Page 16
 1   e-mail from Dr. Dua, another former female          1          I request a copy of Standards of
 2   PM&R resident, that the basis for -- which is       2   Conduct Rules and Procedures in effect for
 3   the basis of the most recent investigation of       3   2012 to 2014 governing the time period when
 4   Dr. W einik's conduct.                              4   Dr. Dua's allegations supposedly occurred.
 5          We will also present an                      5          I also request certification from
 6   Investigational Report Summary Dr. Tedaldi          6   Temple on the record that it applied the
 7   and I prepared to explain the Medical               7   Standards of Conduct Rules and Procedures in
 8   Staff -- that was prepared for the Medical          8   effect 2012 to 2014 in reviewing Dua's
 9   Staff Committee, Executive Committee,               9   complaint. I object to any evidence being
10   presented on March 15, 2018.                       10   considered relative to Dua's complaint if
11          Lastly, you will see the letter             11   such certification cannot be made.
12   that Dr. Cushion hand delivered to Dr. W einik     12          I also object to never being given
13   on March 15, 2018 which advised him of the         13   the date of this alleged event that occurred
14   Medical Staff Executive Committee's                14   four to six years ago where Dr. Dua claimed I
15   recommendation to terminate his Medical Staff      15   acted wrongly.
16   membership.                                        16          The room at PCOM where we did those
17          We believe that the ongoing pattern         17   lectures is wired for video and audio and I
18   of unprofessional behavior that continued          18   was unable to seek out if they have
19   from March, 2016 until March 15, 2018              19   recordings and video of the event to disprove
20   warranted the Medical Staff Executive              20   Dr. Dua's allegations because I was not given
21   Committee's decision to recommend                  21   that information.
22   Dr. Weinik's Medical Staff termination.            22          I also want to point out that not
23          DR. DALY: Dr. Cowell, you have the          23   all hearsay is automatically admitted. The
24   document you read? Will they be available to       24   Bylaws, specifically 8.4.7, say hearsay is
                                              Page 15                                                  Page 17
1    the Panel to be able to see any of these      1         only admissible if, in quotations, "it is the
2    written documents?                            2         sort of evidence on which responsible persons
3           MR. WRJGHT: Yes.                       3         are accustomed to rely in the conduct of
4           DR. DALY: Thank you. That will         4         serious affairs," end of quotation marks. So
 5   help.                                         5         you must conclude that hearsay you get
 6          Is there anything further,             6         tonight is strictly reliable, hearsay worthy
 7   Dr. Cowell?                                   7         of reliance upon for decision in serious
 8          DR. COWELL: That concludes my          8         matters. Please bear that in mind.
 9   opening statement.                            9                I also request permission to
10          DR. DALY: Great. Dr. Weinik?          10         reserve defense opening until Temple's case
11          DR. WEINIK: Before I give my          11         has rested.
12   opening statement I would like to address    12                DR. DALY: I'm sorry, Dr. Weinik.
13   some preliminary matters. I request          13         But your opening statement is the -- because
14   permission to have the hearing conducted by 14          I'm confused by your last comment. Your
15   counsel per 841. We were never given the     15         opening statement is now. There will be an
16   chance to be heard before that decision was 16          opportunity for a closing statement at the
17   made. The default is the attorneys           17         end.
18   participate. A decision was made to exercise 18                DR. WEINIK: I'm sorry, Dr. Daly.
19   discretion and not to allow that without     19         This was my preliminary matters before my
20   input from us.                               20         actual opening statement.
21          I request permission to submit a      21                DR. DALY: Sure. You can make your
22   written argument after the transcript is     22         opening statement now.
23   received, as per the Bylaws I need to state  23                DR. WEINIK: Thank you.
24   that I want to do that.                      24                Let me kindly amend what I said to

                                                                                          5 (Pages 14 - 17)
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                                             Page 18                                                 Page 20
 1   reflect that the Bylaws that we have were          1   injustice done to me. I will pursue this.
 2   approved by Professional Medical Staff on          2   This is my life's work. I know no greater
 3   October 7, 2016 and that was not in effect         3   cause for me than to care for our poorest and
 4   when the Dr. Dua alleged event happened. And       4   to teach and mentor others to do so with
 5   as well the Temple University Hospital             5   great competence, respect and caring. And
 6   Administrative Policies and Procedures was         6   that is my job as an attending faculty at
 7   last revised in 12/12/2016, again, not             7   Temple and as a mentor and trainer of these
 8   reflecting the period of time that Dr. Dua         8   young medical students and residents.
 9   alleged this event happened.                       9          I will prove that the allegations
10          Thank you. I will begin my opening         10   against me are false. Moreover, I will show
11   statement.                                        11   that those accusing me have motive to want to
12          When we reach the stage of                 12   hurt me and that Temple did almost nothing to
13   proceedings where I'm permitted to finally        13   corroborate those allegations. Instead,
14   present my defense I will list for the record     14   Temple took these vial falsehoods at face
15   my objections to the procedures Temple has        15   value which brings us here today. Temple
16   followed to reach this point. The guaranties      16   presumed me guilty. I will prove my
17   of due process that Temple claims to give         17   innocence given the new reality of the true
18   physicians accused of misconduct I contend        18   burden of proof now lying on me instead of on
19   were not afforded to me in Temple's rush to       19   Temple where it belongs.
20   judgment based on evidence manufactured by        20           You will hear firsthand accounts,
21   persons bent on retaliatory destruction of my     21   not hearsay as Temple presents to you, from
22   reputation. To state that I am entirely           22   peers of those accusing me coming to my
23   innocent of misconduct by any measure is an       23   defense to refute what has taken me away from
24   understatement.                                   24   the privileged calling of helping patients
                                             Page 19                                                  Page 21
 1           I have devoted over 30 years to            1   with the skilled I have trained for and
 2   Temple Medicine, seen over 70,000 patients,        2   taught others continuously over the past 30
 3   healed countless people, taught generations        3   years, people who Temple should have
 4   of young doctors including approximately 300       4   interviewed extensively and in-depth before
 5   residents. And yet now, only after                 5   recklessly accusing me.
 6   circumstances thrust me into a supervisory         6          When I have completed my defense
 7   role, to perceive detriment of others who          7   and submitted my post hearing written
 8   felt slighted. We are in the environment of        8   argument you will conclude that Temple too
 9   the Me, Too movement where any accusation,         9   quickly believed the allegations against me,
10   regardless of substantiation, is given            10   failing to thoroughly investigate and
11   credence, no matter who gets accused.             11   deliver -- and discover bias and motive to
12           I find myself on the professional         12   lie on the part of my accusers and made no
13   equivalent of death row. I was stripped of        13   effort to collaborate their outrageous lies.
14   my supervisory position, escorted from the        14          I will ask that you recommend full
15   hospital, given -- not given the opportunity      15   exoneration of me and reinstatement to my
16   to present my own statement or assign someone     16   previous position because I am convinced that
17   to present my position at the Special             17   when you hear all the evidence you, too, will
18   MSEC meeting and now I face ruination of my       18   conclude that I was falsely accused.
19   life's work.                                      19          Thank you.
20           I'm an even tempered man but I am         20          DR. DALY: All right. Thank you,
21   outraged today to be placed in this position      21   Dr. Weinik. Anything further?
22   by liars who feel that I somehow impeded          22          And as I ask Dr. Cowell, your
23   their careers going on the defense to take me     23   opening statement that you read from, will
24   down. I will never stop fighting this             24   you submit that to the court reporter as well

                                                                                         6 (Pages 18 - 21)
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                                                 Page22                                                   Page 24
 1   so we have this?                                       1          DR. COWELL: The scope and
 2          MR. CASTOR: I can do that. It has              2    responsibilities that all physicians and
 3   to be extricated from the notes that we have          3    Allied Health Professionals are expected to
 4   but I can do that.                                    4    refrain from behaviors towards patients,
 5          DR. DALY: That would be fine.                   5   employees, visitors and other practitioners
 6          Just for the court reporter, we                 6   that undermine the culture of safety. And
 7   will be swearing in each of the witnesses.             7   those definitions of what we construe is
 8   We'll start with Dr. Cowell, and once he and           8   disruptive conduct, verbal or physical abuse
 9   his witnesses are finished, we will be doing           9   of colleagues, residents, students, hospital
10   that for Dr. Weinik as well. But ifl forget           10   personnel or patients which includes throwing
11   or we forget, you certainly remind me that            11   objects, threatening violence and other
12   each of them needs to be sworn in.                    12   aggressive physical contact with others;
13          Thank you. Dr. Cowell, do you want             13   sexual harassment which includes jokes with
14   to start and we will swear, please,                   14   sexual content and comments with sexual
15   Dr. Cowell in. Thank you very much.                   15   innuendos, inappropriate language or conduct.
16                                                         16          Again, it goes on to outline areas
17          VINCENT COWELL, M.D., after having             17   of threatening or intimidation, behavior
18   been first duly sworn, was examined and               18   exhibited during interactions with colleagues
19   testified as follows:                                 19   and residents. And any of these concerns can
20                                                         20   be submitted as a formal complaint. And
21          EXAMINATION                                    21   those complaints are defined as a writing
22                                                         22   which describes perceived disruptive conduct.
23          DR. DALY: Dr. Cowell, ifl might                23          The evaluation of the process is
24   just ask you. I know you will be speaking             24   one that interviews, takes into account
                                                 Page 23                                                  Page 25
 1   and you have one other witness. Is there      1            directors or leaders or superiors to the
 2   anyone else other than Dr. Tedaldi that you   2            individuals where the concerns have been
 3   will wish to call?                            3            placed and formal interview of those
 4          DR. COWELL: No.                        4            individuals go forward.
 5          DR. DALY: Thank you. Please go         5                   You will see the next section of
 6   ahead. Thanks.                                6            the disposition which if you go to Item 3 the
 7          DR. COWELL: Thank you.                 7            behavior that meets the definition of
 8          So I would like to start off by        8            disruptive conduct and wants submission to
 9   first submitting and drawing your attention   9            the Medical Staff Executive Committee for
10   to Temple University Hospital Professional - 10            possible corrective actions pursuant to
11   Physician Professional Conduct Policy. In    11            Article 7.3 of the Medical Staff Bylaws
12   particular, the policy outlines a number of  12            either due to severity of the behavior or
13   points but certainly the key ones that I     13            because the physician has had another formal
14   would like to draw your attention to is the  14            complaint asserted against him or her within
15   cultural safety that requires collegial      15            the last five years.
16   cooperation and respectful interactions      16                   The actions that can take place
17   between physicians.                          17            from that point on at Item No. 8, Collegial
18          MR. CASTOR: I'm sorry, you're on      18            Intervention, which is outlined for those
19   Tab 2?                                       19            type of corrective actions. And then the
20          DR. COWELL: Yes.                      20            next, No. 9, more formally the corrective
21           DR. WEINIK: And it is on what        21            actions. And those corrective actions
22   page?                                        22            pursuant to again 7.3 of the Medical Staff
23           DR. COWELL: The first page.          23            Bylaws.
24           DR. WEINIK: Thank you.               24                   So if we look to the Tab 3, if you

                                                                                              7 (Pages 22 - 25)
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                                              Page 26                                                Page 28
 1   don't mind, Articles Intervention --             1      what she construed as inappropriate conduct
 2   Article 7, I'm sorry, Interventional Peer        2      directed to her by Dr. Weinik. I was told
 3   review Corrective Actions and Automatic          3      that there was a meeting between Dr. Weinik,
 4   Limitations. Section 7.2.2 which                 4      Dr. Weigers and Ms. Coull that addressed
 5   outlines/describes Collegial Intervention,       5      those concerns and that they themselves found
 6   the relevant department chair working in         6      them significant enough that they -- that it
 7   collaboration with other medical staff           7      should warrant some type of Action Plan.
 8   leaders. It goes on to say that the goal of      8             They invited Dr. Weinik to
 9   Collegial Intervention Peer Review efforts is 9         voluntarily enter an Action Plan that would
10   to arrive at voluntary responsive actions by    10      include personal counseling, and that at the
11   the practitioner to resolve questions that      11      time Dr. Weinik declined that offer and that
12   have been raised.                               12      they would hope that the concerns that
13            The next step in this process is       13      addressed at the time would not continue.
14   Corrective Action, 7.3, more specifically       14             At that time Dr. Brown refused to
15   7 .3 .1, Initiation of Formal Corrective Action 15      make it formal, i.e., in writing, and the
16   Proceedings. Whenever material patient          16      situation had hoped to have been at least
17   safety concern has been raised or where there 17        addressed to the point where it was no longer
18   is collegial intervention efforts have not      18      an issue.
19   resolved a question regarding the               19             A few months later in February of
20   practitioner's clinical competency.             20      2017 it appeared that Dr. Brown met with Sue
21            And if you go a little further down    21      Coull regarding the new complaint about
22   to 3, "Conduct of a practitioner that is        22      Dr. Weinik and Dr. Brown was advised that she
23   considered below professional Medical Staff 23          should put her concerns in writing so that
24   or Hospital standards or disruptive to the      24      they could be addressed formally through the
                                              Page27                                                 Page 29
 1   orderly operations of the Hospital, the             1   Physician Professional Conduct Policy.
 2   matter will be referred to the President of         2          Dr. Brown subsequently made those
 3   the Medical Staff and the Chief Medical             3   concerns via writing and you can refer to --
 4   Officer who shall then review the matter and        4   and so with those formal concerns placed in
 5   its appropriateness, forward to the Medical         5   writing and submitted to Medical Staff
 6   Staff Executive Committee, and the Medical          6   Committee, Dr. Tedaldi and I personally
 7   Staff Executive Committee may determine             7   conducted an investigation of those concerns.
 8   whether there is basis for an investigation."       8          And so at this point I would like
 9          So to start at the time line that,           9   to bring Dr. Tedaldi in to join us.
10   again, the initial concern that was brought        10          MR. CASTOR: Mr. Chairman, I don't
11   to the attention of the Medical Staff              11   understand. That was testimony. Does not
12   President, that being myself, was back in          12   Dr. W einik get to cross examine that
13   November of 2017 at which time I was called        13   testimony before another with witness is
14   to have counsel with the Vice Dean, Dr. Susan      14   called?
15   Weigers, and the Director of the Graduate          15          DR. DALY: He may.
16   Medical Educational Office, Mrs. Sue Coull         16          MR. CASTOR: So Dr. Tedaldi should
17   who informed me of a --                            17   not come in yet.
18          MR. QUEENAN: You said 2017. It's            18          DR. DALY: We can wait for Dr.
19   2016.                                              19   Tedaldi to come in. We can have some cross
20          DR. COWELL: 2016, I apologize.              20   examination if you wish at this time.
21   2016.                                              21          MR. CASTOR: I thought that was the
22          In 2016 where I was informed of a           22   procedure. If I have it wrong ...
23   concern that was brought up by the residents,      23          DR. DALY: That's fine.
24   more specifically, Dr. Brown, about the --         24          Dr. Weinik, go ahead, please.

                                                                                          8 (Pages 26 - 29)
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                                               Page 30                                                 Page 32
 1   We'll let the cross examination of Dr. Weinik        1   extend this time line before Dr. Tedaldi?
 2   to Dr. Cowell occur now.                             2          DR. DALY: Yes, I think you do. It
 3          MR. WRIGHT: I don't know whether              3   does not have to happen in sequence like that
 4   Dr. Cowell is going to have other statements         4   at times. So, please, go ahead and finish
 5   and testimony that he's going to make                5   what you have.
 6   that. ..                                             6          DR. COWELL: So at Tab No. 6 you
 7          DR. DALY: Well, let's clarify                 7   see the written formal complaint submitted by
 8   that. Will you have things further to say as         8   Dr. Cora Brown. There was addressed to Sue
 9   a witness in the proceeding as well after            9   Coull again who is the Director of the
10   Dr. Tedaldi is going to testify?                    10   Graduate Medical Education Program.
11          DR. COWELL: There's -- I mean I              11          I don't know if you have had time
12   could in the form of asking Dr. Tedaldi             12   to look at it and review it.
13   questions to further provide witness to some        13          DR. DALY: I haven't. We are
14   of the events I may do that depending on what       14   seeing this, the Panel is seeing all this for
15   she says or doesn't say. But certainly I            15   the very first time. Dr. Cowell, if you can
16   mean--                                              16   just point out the salient points that you
17          DR. DALY: Well, just to make this            17   wish to and then we can move the process
18   orderly, if you're going to act as a witness        18   along.
19   further subsequent to Dr. Tedaldi, let's wait       19          DR. COWELL: Got it.
20   for the cross examination. If, on the other         20          So I will take you down to the
21   hand, you're simply going to ask Dr. Tedaldi        21   third paragraph where it says, "On Friday
22   questions during her testimony, then we will        22   evening, 212411 7 at the wedding of my
23   not do that. If you're trying to bring              23   correspondent, Dr. Paul Hurd's wedding, Dr.
24   something out we will wait.                         24   W einik approached me a few times during the
                                               Page 31                                                  Page 33
 1          MR. WRIGHT: I think Dr. Cowell is             1   evening. He made comments about my body
 2   going to give additional testimony after Dr.         2   shape, calling me 'so skinny,' and then
 3   Tedaldi testifies. So I would respectfully           3   labeling me as an anorectic. He even made
 4   suggest that Dr. Tedaldi undergo cross               4   comments of how sexy my dress looked but I
 5   examination be dismissed and then Dr. W einik        5   was too skinny."
 6   can cross examine Dr. Cowell about all of the        6          Further on down please take note of
 7   things that he's stated in his presentation.         7   the comments "These instances came after
 8   Does that sound fair?                                8   other instances and sexually inappropriate
 9          MR. CASTOR: Mr. Chairman, No. 10              9   comments he made of me in October of 2016 at
10   of your rules, "Any witness called by either        10   which time I brought them up to your
11   party will testify once and will be subject         11   attention. I was aware that Dr. W einik got
12   to direct or cross examination by either/or         12   verbal warning during that time period. Dr.
13   both parties and will be dismissed after            13   W einik continued showing very inappropriate
14   giving such testimony."                             14   behaviors and comments about my body shape,
15          It sounds to me like this witness            15   clothes and even so intrusive into my
16   will be testifying more than once.                  16   personal life in a public place where
17          DR. DALY: It does sound like that            17   patients are being seen and in front of other
18   to me as well.                                      18   health care professionals. His obsessive and
19          So I think what might be best would          19   stalky behaviors about me continue to occur
20   be for you to finish whatever you have to           20   at not only Temple University Hospital but
21   say, we will let the cross examination occur        21   outside Temple Hospital settings as well.
22   and then have Ellen come in, Dr. Tedaldi come       22          "I felt so violated and so
23   in.                                                 23   uncomfortable even putting my foot step
24          DR. COWELL: So I mean should I               24    around PM&R clinic that I would run into

                                                                                            9 (Pages 30 - 33)
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                                                            Page 34                                                             Page 36
 1   Dr. Weinik and hear his inappropriate          1                                 Dr. Tedaldi and I reviewed the
 2   comments about me. These instances occurred    2                          complaints by Dr. Brown as well as the
 3   while I was not even on his rotation.          3                          evidence provided, and determined that there
 4           "I would hope further action to be     4                          is insufficient evidence to fully support all
 5   taken from the GME on this matter so that I    5                          of the individual allegations. However, we
 6   can believe being at Temple University         6                          are persuaded that you are responsible in
 7   Hospital is for learning to become a PM&R      7                          some part for unwelcome inclusion into Dr.
 8   physician rather than dealing with the sexual  8                          Brown's personal and private space.
 9   inappropriate comments, behaviors from a PM&R 9                           Accordingly, we formally recommend that you
10   attending and interim Chair, Dr. W einik."    10                          undergo professional coaching with follow up,
11           So following the submission of        11                          that progress be provided to Dr. Kaiser in
12   these concerns we looked into the matter and  12                          lieu of Department Chair person. The Medical
13   we started off by notifying Dr. Weinik,       13                          Staff will provide resources in anticipation
14   inviting him to access to the concerns        14                          of your acceptance.
15   expressed. We informed him that a formal      15                                 This Action Plan was presented to
16   process would be set in place that would      16                          Dr. Weigers' immediate supervisor, that being
17   interview any and all relevant witnesses and  17                          the fact that he is a Chair and Dr. Kaiser is
18   that it would also culminate in inviting him  18                          the Dean and his direct reporting superior.
19   in presenting the concerns expressed and      19                                 Dr. Kaiser agreed and signed off to
20   inviting his rebuttal, his answer to some of  20                          this Action Plan in conjunction with
21   the questions that we may have.               21                          Dr. Weigers and it was then presented to
22           Following that investigation this     22                          Dr. W einik who agreed to the Action Plan by
23   is the statement that I wrote and culminating 23                          virtue of his signature and we put in motion
24   my impression of what we had -- the           24                          the arrangements for him to enter into a
                                                            Page 35                                                             Page 37
 1   proceedings and outline in an Action Plan.                        1       personal conduct process to try and again
 2          If you read this dated April 5,                            2       find a venue to -- for corrective action.
 3   2017 it was outlining the concerns that were                      3              So, again, this is now at the point
 4   presented to -- through the Medical Staff by                      4       where we have the collegial intervention. We
 5   Cora Brown and then a copy of the written                         5       went from the personal warning to the
 6   statement detailing her allegations were                          6       collegial intervention phase.
 7   admitted and the inquiry was taken into                           7               The Collegial Intervention Phase,
 8   consideration, previous concerns starting                         8       Tab No. 8. The personal coaching assignment
 9   back in November of2016 were raised by the                        9       went to Allyson Saccomandi in April of 2017.
10   same resident.                                                   10       "Dr. Cowell approached me," this is her
11          With regard to the most recent                            11       memorandum, "approached me to work with Dr.
12   concerns by Dr. Brown, separate interviews                       12       W einik after a complaint investigation
13   were conducted by Dr. Tedaldi and I which                        13       involving unprofessional behavior."
14   included Dr. Weigers, Sue Coull and Dr. Brown                    14               As you go on it highlights he was
15   followed by Dr. Crus prior to our meeting                        15       adamant that he understood why the issue was
16   with you. At that point meeting attempts                         16       raised and commented -- committed to making
17   were made to have a comprehensive and                            17       sure it would not happen again.
18   constructive -- and be constructive in                           18               "On April 27, 2017 he reached out
19   securing any and all information relevant to                     19       to tell me that he was behind in his process
20   the allegations, and the objective was to                        20       due to other commitments but was still
21   identify the issues and create a Plan of                         21        interested in moving forward and would focus
22   Action designated to ensure safe and                             22       on it in the coming weeks."
23   conductive, effective work environment for                       23               If we go to Page 2 it says, "By
24   all parties involved.                                            24       June 1, 2017 I still -- I had still not

                                                                                                                     10 (Pages 34 - 37)
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                                              Page 38                                                Page40
 1   received the information I needed to start          1   would be fine. I opted to wait until the
 2   the process. I reached out to Dr. W einik via       2   meeting on the 15th but was seeing a pattern
 3   e-mail to say that I was concerned we were          3   of non-commitment to the process that had
 4   faIIing behind since I hadn't heard back from       4   been prevailing from the beginning.
 5   him on his final invitation."                       5          "On December 15, 2017 Jean
 6          It goes on to June 12, 2017. She             6   Tamasaukas canceled the meeting scheduled for
 7   reached out again for the outstanding e-mail        7   that afternoon and rescheduled it for
 8   addresses. He responded that he was learning        8   December 21, 2017.
 9   something again through the process about           9          "At this point I was very concerned
10   himself and his ability to follow through.         10   this assignment was not moving forward in a
11          The next paragraph. "On June 30,            11   positive direction and that there was a lack
12   2017, we scheduled time to meet face-to-face.      12   of commitment to the process. While
13   We discussed the difficulty we had having          13   discussions seemed positive when we did
14   getting to the point and the importance of         14   connect, there was a consistent lack of
15   follow through and the impact this has on          15   follow-up."
16   other work beyond the 360 survey."                 16          On Page 6, the last paragraph in
17          And so it goes on and on. If you            17   conclusion, it says, "This coaching
18   go to Page 3 it says, "By August 24, 2017 I        18   assignment could have been more concise and
19   closed the 360 without his feedback as the         19   focused. I originally thought this
20   coaching assignment was beginning to drag on       20   engagement would take us through the end of
21   much longer than anticipated and there was         21   September. After re-focusing I anticipated
22   relevant feedback from others that we could        22   we would finish up by the end of December. I
23   work with."                                        23   am hoping 2018 brings a renewed focus but I
24          Further down, "I was out of the             24   am concerned that it is not a priority. I am
                                              Page 39                                                Page41
 I   office on October 25 and due to a                   1   committed to working through April with Dr.
 2   certification and rescheduled for November 3,       2   W einik. If the pattern of cancellations
 3   2017. During that conversation we discussed         3   continue I would recommend ending the
 4   the minimal progress but he said that he had        4   assignment."
 5   been spending time thinking about the areas         5          Again, this is the report submitted
 6   he needed to develop and was, in fact,              6   by Ms. Saccomandi regarding the attempt to
 7   formulating ways to move forward."                  7   get traction on the Action Plan as outlined
 8          So as I continued to see that                8   earlier.
 9   Dr. -- I'm sorry, Mrs. Saccomandi's                 9          So we take you to Section 10. You
IO   assessment continues to outline a pattern of       10   will see the -- another written concern that
11   what can be seen as less than seriousness in       11   was submitted unsolicited to the attention of
12   terms of the meaning and purpose and hopeful       12   the Medical Staff by Dr. Dua. And some of
13   outcome from this type of intervention where       13   the highlights of this submission include the
14   the whole intent and purpose was supposed to       14   third paragraph. "I was a PGY-2 when I had
15   focus. And it just goes on.                        15   my first uncomfortable encounter with Dr.
16          It says, "November 15, 2017 Jean            16   Weinik. I was on consults with walking
17   Tamasaukas canceled the meeting scheduled for      17   through the hall from the resident's room to
18   November 17, 2017 and offered no reschedule,       18   the clinic. He stopped me and asked, 'So, my
19   instead saying he would see me again on            19   name, are you a good girl or a bad girl?' I
20   December 1, 2017.                                  20   was puzzled and weirded out by the tone of
21          "On November 27, 2017 Jean                  21   his voice and the nature of his questions."
22   Tamasaukas e-mailed to cancel my December 1        22          "I asked, 'What?'
23   meeting. She asked if she should reschedule        23          "He repeated, 'Are you a good girl
24   sooner or ifthe next meeting on the 15th           24   or a bad girl? Bad girl, bad girl.'

                                                                                        11 (Pages 38 - 41)
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                                              Page 42                                                Page 44
 1          "I said, 'I don't know what you are         1    population, females, especially young and
 2   talking about,' to which he replied, 'Yeah,        2    pretty."
 3   you are definitely a bad girl, bad, bad girl.      3             Next paragraph. "He had one
 4   Don't worry, we like bad girls at Temple.'         4    patient that we saw on the list and he said
 5          "Then he laughed and I felt awful           5    'She comes in to see me because her husband
 6   and confused and I said, 'I don't know what        6    doesn't give her enough loving. Weinik will
 7   you're even talking about,' and I just walked      7    make sure she is taken care of. Haha. She
 8   away as he kept laughing.                          8    will get all dolled up for me and just watch,
 9          "The same year I was wearing an             9    she will have me adjust osteopathic
10   appropriate work skirt that just showed my         10   manipulation and I will make her feel good.'
11   knees. In the same hallway he stopped me and       11   He would make those comments with a tone and
12   asked if I was hyper mobile. I said, 'I            12   smile that was so unprofessional. I always
13   don't think so.' He then knelt down on his         13   thought to say something but, again, he was
14   knee to take a look at my knees and then           14   the boss, the attending, the guy filling out
15   touched the popliteal area of my leg with his      15   my evaluation. I didn't want to anger him in
16   hand as he looked from the side and he then        16   any way but I hated how this all made me
17   said, 'You are like Gumby. You look like you       17   feel. II
18   are probably so flexible.'                         18            Next page. "He called me to the
19          "I said, 'No, I am not,' and I              19   stage in front of everyone so he could
20   backed away from his hand.                         20   demonstrate the lower body physical
21          "He responded, 'I would like to             21   examination maneuver on me." Further down it
22   find out for myself.'                              22   says, 'I won't tell them about your tramp
23          "Again I walked away and this time          23   stamp.' I was super offended. I didn't have
24   I remember laughing out loud to try to reduce      24   a back tattoo, a/k/a a tramp stamp, and that
                                              Page 43                                                Page 45
 1   the awkwardness. I was in fear that one day         1   was just a super demeaning, unnecessary
 2   I had to work with this guy. I didn't want          2   comment. He laughed as did the whole
 3   to piss him off but I felt violated."               3   audience. I felt embarrassed but tried to
 4          The next paragraph. "I avoided him           4   just go with it and get the whole thing over
 5   as many female residents do because of his          5   with.
 6   unusual and often perverted comments                6           "He then had me stand and said he
 7   regarding any female, patients, nurses,             7   was checking my ischial bursa and he said,
 8   therapists and residents. Anyone was fair           8   'Very nice, very nice.' Again,
 9   game and male residents would often pretend         9   uncomfortable. Audience laughed. I didn't
10   to play along and say, 'It's just Weinik           10   like his hands on my buttocks because I felt
11   being Weinik.' I never understood that             11   like I was just like those patients he
12   excuse.''                                          12   manipulates. It is an impossible position.
13          Further on in the next paragraph            13           "Then he went on and on, hand
14   middle, "But when I saw how he treated young       14   everywhere, and I just -- eventually saying
15   female patients or just pretty women               15   he was going to check out pubalgia, also
16   differently than any other patient, his exam       16   known as a sports hernia or athletic
17   would become extensive as he would check for       17   pubalgia. This is a chronic grown lesion but
18   various pathologies but it always seemed           18   to check he essentially would push in my
19   overboard and, frankly, made me very               19   pubic symphysis in front of everyone. I said
20   uncomfortable."                                    20    'I don't know about that.' Before I could
21          Further on at the end of that               21    stop him his hand was not just on my pubic
22   paragraph, "I understand the importance of         22    region but on my vulva.
23   the physical exam, but this was just over the      23           "I shot up off the table and said,
24   top and only directed at a specific                24    'Yeah, that's not my pubic symphysis."

                                                                                        12 (Pages 42 - 45)
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                                                Page46                                                   Page 48
 1    Everyone started laughing. I was mortified.         1 but I'm sure it's still a matter of record and we
 2    Bumped he tried to play it off. I was beyond        2 can probably produce that without much effort.
 3    offended and felt manipulated, used,                3     Q. So are you aware that the Dr. Dua
 4    embarrassed and horrified.                          4 situation occurred or complaints occurred in 2012
 5             "The male chief resident came up to        5 to2014?
 6    me right away and asked ifI was okay. When          6     A. I understand that Dr. Dua was a resident
 7    I said, 'Yes, I'm fine,' he eased up and            7 here between the time of2012 and 2014.
 8    said, 'Damn, he didn't even buy you dinner          8            DR. DALY: I think we can provide
 9    before that."'                                      9     you the Bylaws if that's what you wish. I'm
10            And again, further on in that              10     certain that Bylaws prior to revisions for
11    paragraph towards the end it says, "Weinik         11     that period of time can be provided.
12    was just being Weinik."                            12            MR. ROGERS: Policies and
13            The next paragraph down, the last          13     procedures.
14    sentence, "His behavior and comments were          14            MR. CASTOR: Yes, this is not the
15    just often unacceptable."                          15     procedures because they are two different
16            Last paragraph, "But now I fear for        16     documents.
17    others and I feel I must open up about this.       17            DR. DALY: I appreciate that.
18    I still feel the need to remain anonymous          18     Thank you.
19    because PM&R is a small field and he is well       19            MR. CASTOR: But these were the
20    connected. I work near and don't want my job       20     ones that --
21    or my life to be compromised and I don't want      21            DR. DALY: Please.
22    sympathy, I just don't want this to happen to      22            Dr. Weinik, go ahead.
23    others."                                           23 BY DR. WEINIK:
24             With that, I will conclude my             24     Q. So Dr. Cowell, this policy was adopted
                                                Page47                                                    Page 49
 1     witness perspective and invite cross           1 in 2017. So you agree it was not in effect in
 2     examination.                                   2 2012 to 2014; is that correct?
 3           DR. DALY: Thanks, Dr. Cowell.            3    A. I agree that there were some revisions
 4           Dr. Weinik. Dr. Weinik, please.          4 made to the policy that updated some of the
 5                                                    5 language. For instance, the former policy I
 6             EXAMINATION                            6 believe was disruptive physician and we -- names
 7                                                    7 were changed to physician professional conduct. I
 8 BY DR. WEINIK:                                     8 don't believe --
 9    Q. Dr. Cowell, you read directly from the       9            DR. DALY: May I ask a question,
10 policy; is that correct?                          10     though, perhaps to Mr. Wright. This says the
11            MR. CASTOR: Tab 2.                     11     last revised is a 12112116. So does this
12 BY DR. WEINIK:                                    12     mean that this written policy that we have
13    Q. Tab 2.                                      13     here in front of us was in effect as of
14    A. Yes.                                        14     December 12, 2016.
15    Q. Policies and Procedures. The policy         15            MR. WRIGHT: I believe that's
16 quoted, was that in effect in 2012 - 2014?        16     right. If you look at the last page it's --
17    A. I believe so. The policy had a few          17            DR. DALY: So it's not 2017. It
18 revisions that reflected some of the language tha 18     was in effect as of December, 2016, just so
19 I believe were originated from the state and --   19     we have this established for the record.
20 but for in terms of the concept, the policy from 20             Dr. Weinik, please go ahead.
21 as far as I remember is pretty much the same.     21 BYDR. WEINIK:
22    Q. Where is the actual policy from 2012 to 22         Q. We were provided with the Bylaws of
23 2014?                                             23 1017/2016.
24    A. I am -- obviously we don't have it here     24     A. Yes.

                                                                                            13 (Pages 46 - 49)
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                                                 Page 50                                                   Page 52
                DR. DALY: A different document,              I investigation that includes all of the people
  2    not this document. I understand.                     2 involved in it. This was submitted to Sue Coull
  3             So, Dr. Weinik, go ahead, please.           3 who is the GME Director, Sue Weigers, the
  4 BY DR. WEINIK:                                          4 Associate Dean was involved in these proceedings,
  5    Q. So the last page of the Bylaws say                5 and this was what was submitted to me. I'm sure
  6 amended 201 I, 2012 and three times in 2013 and         6 there is a track record back to the original
  7 20 I 5. Do you see that?                                 7 submission that would demonstrate there's no
  8    A. Yes, I see that.                                  8 alteration of the document.
  9     Q. What was amended?                                 9     Q. Dr. Cowell, are you going to present any
IO     A. I can't tell you specifically what was           10 evidence that demonstrates that Cora Brown
I l amended. There are a number of reasons why the         11 authored this letter?
12 Bylaws were adjusted, to again bring things             12      A. Other than the letter itself and the
13 up-to-date and bring things much more relevant          13 testimony of individuals that were involved in
14 regarding the changes in the health system that         14 receipt of the letter and yourself when the letter
15 occurred with the merging of the Fox Chase and          I 5 was written and presented to you for review prior
16 Jeans facilities so that the language was               I 6 to the -- your testimony, that's all I can offer.
I 7 consistent throughout the system. Whether or           17      Q. Dr. Cowell, where is the date on this?
18 not -- for me to say that I can tell you                I8      A. Other than the date of the author of the
I 9 specifically line by line items which was amended      19 letter?
20 or adjusted I cannot do that.                           20      Q. Yes.
21              DR. DALY: Dr. Weinik, can I just           2I      A. What you see is what I see. I don't --
22      ask what -- I know there's some relevance to       22      Q. What is it you see, Dr. Cowell?
23      all of this. I think we have said the Bylaws       23      A. I see dates that were quoted in the
24      for the various dates can be provided to you       24 letter. I don't see a date of authorship.
                                                 Page 51                                                   Page 53
 1     and to counsel should you wish.                 I    Q. Thank you. So here is a letter that you
 2            Just as a matter of moving along,       2 present that is -- has no date, is unsigned, no
 3     perhaps we can do that with your questioning 3 return address and no evidence of where it came
 4     of Dr. Cowell.                                 4 from?
 5            DR. WEINIK: Okay. With all due          5     A. And at the time that it was submitted to
 6     respect, sir, it's important that the Bylaws    6 you I don't believe you expressed those concerns
 7     at 2012 - 2014 were in effect and Dr. Dua       7 and you didn't deny that there perhaps were some
 8     was -- those actions were held to the Bylaws    8 aspects of the letter that needed clarification.
 9     of that time, not the current Bylaws. And       9 So if, again, if this is a technicality that --
10     that's what I am trying to ascertain. And I   I 0 the fact that the items that you expressed concern
11     was not given the opportunity to defend the   I I about are not documented, then I can't refute
12     correct Bylaws.                               I 2 that. The evidence is right in front us for all
13            DR. DALY: I understand that. I         13 to see and so I would suggest that anything short
14     think that you and counsel, your counsel will I4 of, again, doing a formal investigation to track
15     get the opportunity to look at the Bylaws in  15 the authenticity of the letter, I have nothing
16     effect as of those dates.                    16 else to add to it.
17            Do you want to move along with your I 7            MR. QUEENAN: I think that we move
18     cross examination of Dr. Cowell's testimony? I8    to say that there's no way that we can at
19 BY DR. WEINIK:                                   I9    this point validate that this letter is from
20     Q. Let's go to Tab 6. How can we tell this 20 Dr. Brown. What I would suggest is, and I
21 letter is from Cora Brown as there is no return  21    don't know how reasonable this is or not
22 address and it is unsigned?                      22    reasonable, that we contact Dr. Brown as a
23     A. Well, I guess we can -- I mean if         23    panel and then determine if she would say
24 there's any opportunity to track -- to do an     24    that she wrote this letter. And if she does

                                                                                              14 (Pages 50 - 53)
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                                                     Page 54                                                               Page 56
 1    tell us that she wrote the letter, then the                1 Doctor, Dr. Tedaldi, and not myself. There were
 2    question is are you disputing what's in the                2 minutes taken. I don't know what those minutes
 3    letter, are you disputing whether she wrote                3 are at hand at this point in time. But, again, we
 4    the letter?                                                4 can probably provide you with those minutes taken
 5            DR. DALY: I would like to have                     5 when interviewed Dr. Cruz.
 6    Dr. W einik. We are in the midst of cross                  6     Q. But Dr. Cruz is not here today?
 7    examination. Let's try to finish with this.                7    A. No.
 8            MR. QUEENAN: It's taking a long                    8     Q. And you did not give this to us in
 9    time to say that she didn't sign the letter.               9 advance of the hearing?
10    It's taking a long time to say that there is              10     A. Did not give what, this?
11    not a date on the letter. There's not a date              11     Q. Dr. Cruz, his information.
12    on the letter. We can see that.                           12     A. No.
13            MR. CASTOR: We took a long time to                13     Q. Did Dr. Cruz corroborate with you that
14    demonstrate that we have no idea where the                14 this event occurred?
15    letter came from.                                         15     A. No, Dr. Cruz did not -- at his testimony
16            MR. QUEENAN: And that's why I want                16 he did not -- again, as the summary of the letter
17    to try to solve that problem. The best way                17 presented to you at the conclusion of the
18    to solve that problem is to go to the horse's             18 investigation suggested, Dr. Cruz was not present
19    mouth.                                                    19 personally a witness to the things that Dr. Brown
20            DR. DALY: Mr. Castor, I appreciate                20 alleges in her document but. ..
21    it. Please.                                               21     Q. Do you see in the fifth line of the
22            We are going to go ahead with the                 22 fourth paragraph, "He stopped me and Dr. Cruz.
23    cross examination. We understand that you                 23 Dr. Weinik spoke in a loud voice."
24    dispute the letter, its author, its date,                 24           Go ahead. Do you see that?
                                                      Page 55                                                              Page 57
 1     etc. So we will take all that under                  A. Yes, I see that.
 2     consideration. I thank you for that.           2      Q. And Dr. Cruz did not remember that or
 3           Dr. Weinik, please go ahead.             3 corroborate that?
 4 BY DR. WEINIK:                                     4     A. Yes. To be perfectly transparent, Dr.
 5     Q. Dr. Cowell, when you first presented        5 Cruz was indifferent at the interview. He felt a
 6 this you told me that there's no corroborated      6 little awkward being involved in it. He felt
 7 evidence in the testimony for this; is that        7 awkward in a lot of the concerns with what was
 8 correct?                                           8 going on in the department and that at times he
 9     A. I'm sorry, when I presented it to you?      9 felt like he was caught in the middle of a lot of
10     Q. When you had the opportunity to have       10 the concerns that were being expressed.
11 this and you investigated it.                     11      Q. So you felt that that was not helpful to
12           DR. DALY: I am not sure I               12 your concerns and you didn't tum it over to us;
13     understand the question actually, Dr. Weinik. 13 is that right?
14           MR. QUEENAN: Can legal counsel 14               A. Dr. Cruz's testimony?
15     help clarify?                                 15      Q. Yes.
16           MR. CASTOR: We will move on.            16      A. Well, Dr. Cruz's testimony did not
17 BY DR. WEINIK:                                    17 provide much support one way or the other. I
18     Q. Dr. Cowell, in this letter there is a      18 didn't think personally that it would have lead
19 mention of Dr. Ernesto Cruz?                      19 relevance to your interest or the Panel's
20     A. Yes.                                       20 interest.
21     Q. Where is your documentation of your        21      Q. So Dr. Cowell --
22 interview of Dr. Cruz related to this letter, to  22      A. Yes.
23 this event?                                       23      Q. -- this came from Dr. Brown, if it did
24     A. Dr. Cruz was interviewed by the Panel 24 really come from Dr. Brown. And she says Cruz was

                                                                                                                15 (Pages 54 - 57)
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                                               Page 58                                               Page 60
 1 there and you interview Cruz. Do you not think it      1   it's a problem with Dr. Cruz. Is he one of
 2 would be biased of you to not provide me with that     2   your witnesses?
 3 testimony of his?                                      3           MR. CASTOR: No.
 4     A. Not really. I think that Dr. Cruz is            4           MR. QUEENAN: Okay. I just want to
 5 one line item amongst a much larger body of work       5   know because I'm trying to process this so I
 6 that was expressed in Dr. Brown's letter. So to        6   know what's coming next. I'm trying to put
 7 single out Dr. Cruz, and again, as I already           7   all these little ducks in a row in my head.
 8 admitted earlier that his testimony didn't support     8           DR. DALY: Dr. Weinik,just in the
 9 one way or the other. And you can see again in         9   interest of time, let's go ahead and proceed
10 the letter that we submitted to you is it's           10   if we could.
11 clearly stated. If you go back to my -- to the        11           MR. QUEENAN: So we understand your
12 letter I presented to you it says that I reviewed     12   point, that we don't know if this is her
13 the complaint and evidence provided and determined    13   letter, we don't know what the date is, we
14 that there's insufficient evidence to support all     14   don't know who wrote the letter and we don't
15 of the individual allegations.                        15   know that Dr. Cruz did or didn't corroborate
16            So Dr. Cruz is a witness to one            16   but it sounds like did and did not, didn't
17 allegation, again, as I stated there which I felt     17   say anything, kind of sounds like he was
18 as though was a fair assessment, however, that we     18   neutral.
19 were sueded that you are responsible in some part     19           MR. CASTOR: Well, there can't be
20 to unwelcome intrusion into Dr. Brown's space.        20   any neutral. He either agrees that that
21     Q. Dr. Cowell, do you realize that Dr. Cruz       21   happened or he doesn't know.
22 is the only person in this letter that could have     22           MR. QUEENAN: Or he says that I was
23 witnessed her complaint and backed up her letter?     23   present but I wasn't paying attention.
24     A. I understand that Dr. Cruz is mentioned        24           MR. CASTOR: That's not
                                               Page 59                                               Page 61
 1 in her letter and I understand that Dr. Cruz did   1    corroborating. You either corroborate or
 2 not collaborate either for or against the concern 2     don't.
 3 expressed by Dr. Brown.                            3           DR. COWELL: Well, I wouldn't--
 4            DR. DALY: Dr. Cowell, did you           4           MR. QUEENAN: But it's still it's
 5    provide -- Dr. Queenan was asking did you       5    not taking one -- what I am trying to point
 6    provide this letter from Cora Brown, alleged 6       out here is that's not taking one side or the
 7     from Cora Brown to Dr. W einik previously? 7         other. That's like I do often. I'm walking
 8            DR. COWELL: Yes.                        8     along with my chairman, someone stops to talk
 9            MR. QUEENAN: So you could have          9     to him, I don't pay any attention to what
10     called Dr. Cruz as a witness today?           10     they are saying to him. It has nothing to do
11            I don't understand this whole          11     with me.
12    thing. I'm not a lawyer. I'm trying to         12            DR. DALY: So let's just try to go
13     figure out what is going on.                  13     ahead if we can.
14            MR. CASTOR: Well, I am a lawyer 14            A. I think that's an important part. I
15     but I don't know what all this is going on.   15 would have welcomed Dr. Cruz if we thought his
16            MR. QUEENAN: Fair enough. Good, 16 testimony as a witness would it be relevant. I
17     so we are all in the same boat.               17 have no objections at all. I would be happy to
18            So my concern is now that Dr. Cruz     18 cross examine Dr. Cruz and substantiate again what
19    may or may not have corroborated this story 19 I said earlier is that he felt a little bit
20     and we are trying to figure that out.         20 trapped in the ongoings of a lot of issues that
21            Did we try -- you didn't want Dr.      21 were happening in the department, issues that are
22     Cruz here.                                    22 unrelated to these allegations that I don't want
23            DR. COWELL: No.                        23 to take the committee's time with going through.
24            MR. QUEENAN: You clearly think 24                    DR. DALY: Dr. Weinik, why don't

                                                                                        16 (Pages 58 - 61)
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                                               Page 62                                                    Page 64
 1    you go ahead, please.                                1 talks about my participation further along the way
 2 BY DR. WEINIK:                                          2 in this cycle?
 3     Q. Dr. Cowell, Dr. Brown gives a statement          3     A. I'm sorry.
 4 that she was body shamed at someone's wedding.          4     Q. Further through the cycle.
 5 Did you get any other corroborating testimony           5     A. No, I'm sorry. Tell me where again.
 6 about that other than Dr. Brown's?                      6     Q. "I was very ... "
 7    A. No, I did not.                                    7     A. "I was very surprised at the progress
 8    Q. Let's go to Tab 8. So when was the                8 and the preparation of Dr. Weinik for the meeting
 9 coaching memo submitted, Dr. Cowell?                    9 and shared my surprise with him. I told him that
10    A. January 23, 2018. You can see it on the          10 I was not expecting him to have made that
11 last page, Page 6.                                     11 progress. We committed to the following next
12     Q. So none of this progress was given to           12 steps."
13 you on that date -- until that date, correct?          13     Q. Go ahead.
14    A. The progress was sent to Dr. Kaiser, the         14     A. "He would support the attendance of his
15 Dean, and your immediate supervisor.                   15 team at the development event he assigned. He
16    Q. In writing or orally?                            16 would set up a schedule in the new year that would
17    A. I can't tell you.                                17 include meeting through March on his goals and
18     Q. Dr. Cowell, you selected certain                18 development plan. He would attend all leadership
19 sections to read here today?                           19 sessions for chairs as well as the TUH Leadership
20    A. Yes, sir.                                        20 Academy."
21    Q. May I tum your attention to a few                21     Q. Would you agree with me that that shows
22 different things?                                      22 progress in participation in that process of
23    A. Yes, sir.                                        23 counseling?
24    Q. Dr. Saccomandi -- Ms. Saccomandi                 24     A. If you want my opinion, as I read
                                                Page 63                                                   Page 65
 1 suggested that there were numerous cancellations?       1 through starting from the top down throughout the
 2     A. Yes, sir.                                        2 entire page, that a lot of this doesn't lend
 3     Q. Did you take -- and you seemed to                3 itself for the purpose of the personal coaching,
 4 suggest that that was my non interest in going.         4 that it seemed that the attention was shifting
 5 Is that what you are saying?                            5 towards leadership skill attainment and -- which,
 6     A. No. I seem to relay the fact that she            6 again, may have been an opportunity to capture
 7 indicated in her report that that was her               7 during the sessions. But, again, in terms of a
 8 impression.                                             8 personal life coachings and in terms of
 9     Q. Right. But we don't know why it is that          9 professional conduct, I'm not impressed that this
10 I didn't go; is that correct?                          10 demonstrates that.
11     A. I can only tell you what Ms. Saccomandi         11     Q. Let's move to Tab 10, Dr. Dua. The date
12 said in the report. I did interview her and --         12 on this e-mail is 1/16118; is that true,
13 when she submitted the report.                         13 Dr. Cowell?
14     Q. So would you agree it's entirely                14     A. That's true.
15 possible there were significant and serious            15     Q. You said that this came unsolicited; is
16 medical conditions for which I was going under         16 that correct?
17 evaluation for --                                      17     A. I'm sorry?
18     A. Yes.                                            18     Q. This came unsolicited you said?
19     Q. -- that could have taken my time away           19     A. Correct.
20 from this?                                             20     Q. What evidence do you have that it came
21     A. Yes.                                            21 unsolicited?
22     Q. Let me pull your attention to another           22     A. I don't know Dr. Dua. I didn't reach
23 paragraph that seems it got missed. Could you          23 out to Dr. Dua. It was presented to me because
24 kindly read the eighth paragraph on Page 5 which       24 this was -- this e-mail was received by Amber

                                                                                             17 (Pages 62 - 65)
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                                                        Page 66                                                  Page 68
 1 Dzikowski who was one of the administrators of GME              1     Q. What measures did you make to get her to
 2 and she presented it to Sue Coull who presented it              2 adopt this as true?
 3 to the Medical Staff.                                           3    A. Other than reaching out on more than a
 4     Q. Dr. Cowell, what investigation did you                   4 few occasions to have her come in and offer
 5 do to assure that this came from Dr. Dua?                       5 testimony.
 6     A. We reached out to her to come in and                     6     Q. Dr. Cowell, when you were given the
 7 give personal testimony to support the concerns                 7 privilege and responsibility to prepare this
 8 she expressed. She declined.                                    8 report you took it on, you took it on with a great
 9     Q. You spoke with her?                                      9 sense of responsibility, did you not?
10     A. I didn't personally speak to her, no.                   10     A. Yes, I did.
11     Q. Who spoke with her?                                     11     Q. And you took -- you would do this -- you
12     A. Sue Coull.                                              12 recognize that this report has great implications
13     Q. How do you know that it was the other                   13 not only for the health of the community here at
14 person on the phone?                                           14 the Temple Community but also to my existence as a
15     A. I don't.                                                15 physician?
16     Q. And does Dr. Coull have a record of when                16     A. Absolutely I did.
17 that call was made?                                            17     Q. And you tell me you have done everything
18     A. I don't know that.                                      18 that you could to put all the important
19     Q. How would anybody know who was on the                   19 information that is out there in this report
20 other end of the phone?                                        20 because this is such a vital document?
21     A. In terms of whether she would come in                   21     A. Absolutely I did.
22 and give testimony?                                            22     Q. And that other people would judge me by
23     Q. Yes.                                                    23 this?
24     A. I guess other than the obvious, you                     24     A. Absolutely I did.
                                                        Page 67                                                  Page 69
 1 know, who -- what phone number you used, whether                1           MR. QUEENAN: Can I ask a question?
 2 or not that can be tracked back to who the number               2    Am I allowed to do that?
 3 was assigned to.                                                3           Did you actually examine Dr. Dua in
 4           DR. DALY: You're asking about the                     4    front of individuals at any point in your
 5    phone call between Sue Coull --                              5    career?
 6           DR. WEINIK: Yes.                                      6           MR. CASTOR: Yes, there will be
 7           DR. DALY: -- and this Amber                           7    evidence later on that.
 8    person?                                                      8           MR. QUEENAN: Okay. Because that's
 9           DR. COWELL: No, Sue Coull --                          9    part of the thing. So let's not -- I think
10           MR. QUEENAN: It was apparently                       10    again if we have to move on passed the non
11    where it came from, this is who it came to.                 11    signed letter we can understand that we don't
12 BY DR. WEINIK:                                                 12    know whether Dr. Dua --
13    Q. So Dr. Cowell, Dr. Dua never came in and                 13           DR. COWELL: May I continue this
14 adopted this statement as being true?                          14    train of thought?
15    A. No, Dr. Dua, from what I was told, Dr.                   15           MR. CASTOR: Or that the
16 Dua is very fearful of retaliation.                            16    allocations are true but there's no effort to
17    Q. What I asked, though, did she come in?                   17    corroborate.
18    A. No.                                                      18 BY DR. WEINIK:
19    Q. Did you go to her?                                       19    Q. Dr. Cowell, did Temple University put
20    A. No.                                                      20 any restrictions on you or any individual at
21    Q. Do you know where she works?                             21 Temple University either encourage you to look
22    A. I do know where she -- I knew where -- I                 22 into this more or look into this less to benefit
23 was shown where she works. I can't recall off the              23 me or to hurt me or to limit you in any way to
24 top of my head.                                                24 doing this investigation?

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                                                 Page 70                                                 Page 72
 1     A. We, again, made numerous attempts to         1               Mr. W einik, did you have anything
 2 reach out to -- am allowed to speak to -- he        2        further that you want to question Dr. Cowell?
 3 speaks to me.                                       3               DR. WEINIK: Yes.
 4           DR. DALY: Sure, you can speak to          4               DR. DALY: As I said, we are going
 5     him, he will speak to you, absolutely.          5        to need to move along with all of this. I am
 6    A. Again, through the numerous attempts to       6        trying to be patient but I want to move
 7 get her to --                                       7        along.
 8 BY DR. WEINIK:                                      8               MR. CASTOR: Let me do the
 9    Q. There were absolutely numerous attempts       9        questioning and it will move along.
10 --                                                 10               DR. DALY: Mr. Castor, thank you
11           DR. DALY: Let him finish, please.        11        very much. If you remain quiet I would
12           Go ahead.                                12        appreciate it except for your consultation
13           DR. WEINIK: Sorry.                       13        with your client.
14    A. There were numerous attempts to get her      14               MR. QUEENAN: For clarification,
15 to collaborate this letter that she wrote. We --   15        though, I mean what do you mean when any of
16 one of the attempts resulted in Mr. Wright         16        this stuff occurred other than kind of a
17 receiving a phone call from an individual that     17        global period? Because I don't think that
18 qualified herself as a lawyer but not acting in a  18        people are going to remember day-to-day. I
19 legal capacity but more in a friend capacity and   19        don't know that I can remember day-to-day
20 that she wanted to express the serious and deep    20        from a few years ago, yesterday, four days
21 concerns that Dr. Dua had about repercussions      21        ago. But PGY-2, PGY-3. We are going to say
22 because of your extensive notoriety amongst -- in  22        that this is actually Dr. Dua, which I know
23 the PM&R community. And because of that concern 23           we are still arguing that problem, but that's
24 about her career, implications on her career, that 24        the years they occurred, her PGY-2 year, her
                                                 Page 71                                                 Page 73
 1 she was terrified in regard to coming in to give         1   PGY-3 year. So we have a year ballpark and
 2 personal testimony. And so she was at that time          2   then this grand rounds, whatever it is or
 3 trying to maintain anonymity.                            3   whatever it was, that day has got to be
 4            DR. DALY: Dr. Weinik, we are going            4   somewhere written down I would think. That's
 5     to have to move this along. It's 7:00.               5   one of those things that if you ask us when
 6            DR. WEINIK: Yes, we will move on.             6   this person was examined in front of a group
 7 BY DR. WEINIK:                                           7   and there would be a day, a grand round day,
 8     Q. Where in the e-mail say that any of               8   we can find these dates. What is the, I
 9 these events occurred?                                   9   guess what's the purpose of knowing those
10     A. The e-mail is what you see. I don't              10   specifics dates? Why, why do we need to know
11 have any -- this is the complete submission that        11   those?
12 she provided to us.                                     12          DR. DALY: Joe, we'll just address
13            MR. CASTOR: No, it's not because             13   it to Dr. Weinik. Dr. Weinik, if you have an
14     it's missing the name at the top.                   14   answer to Joe, fine as to the relevance here.
15     A. Well, okay. The name was, from what I            15   If not, please question Dr. Cowell further
16 understood, again, with her anonymity, this was         16   and we will finish up your cross examination.
17 initially presented but at any time you could have      17          DR. WEINIK: Dr. Queenan, if I knew
18 asked the author of the article and we would have       18   the exact date, if I knew when any of these
19 given it and we were prepared to do that. But you       19   episodes in any of the documentation here
20 never asked who authored it.                            20   presented today, ifl knew when they occurred
21            MR. CASTOR: Mr. Chairman, I have             21   I would be able to go to PCOM for the
22     to object. There's no procedure that I saw          22   examination and see and get tapes of this.
23     for this.                                           23           This examination, this examination,
24            DR. DALY: Thank you, Mr. Castor.             24   and I will present this later, was conducted

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                                                                                                                              11
 1     in a theater setting with examination tables,              1 right away and asked if I was okay.
 2     with video and audio. We projected this so                 2            Did you make any effort to find out
 3     that our students and residents could see                  3 who that was?
 4     their demonstration better. Everything was                 4    A. No, I did not.
 5     loud, everything was visible.                              5     Q. Did Dr. -- and then on the fourth line
 6            MR. QUEENAN: And recorded? Do we                    6 up  it says, 1 went home. I called my sister and
                                                                                             11


                                                                                                          11
 7     know that for a fact?                                      7 another co-resident.
 8            MR. CASTOR: We don't know for a                     8            Did you make any effort to find out
 9     fact.                                                      9 to speak to her sister or the other resident?
10            DR. WEINIK: We don't know.                         10    A. No, I did not.
11            DR. DALY: Dr. Weinik, anything                     11            DR. DALY: Anything further,
12     further for Dr. Cowell?                                   12     Dr. Weinik?
13            DR. WEINIK: Yes.                                   13            DR. WEINIK: Yes.
14 BY DR. WEINIK:                                                14            DR. DALY: Anything further,
15     Q. So one of the reasons that we wanted to                15     Dr. Weinik?
16 know, the incident occurred in 2012 and 2014 but              16            DR. WEINIK: Let me check with
17 it was not until 2018 that this letter was                    17     counsel.
18 authored.                                                     18            DR. DALY: Sure.
19            MR. CASTOR: You want the                           19            MR. QUEENAN: I have a
20     significance of why.                                      20     clarification question.
21     A. From the lead up that was told to us                   21            DR. DALY: Joe, you have to speak
22 that there was an incident where a patient was                22     up loud enough because all of this goes on
23 being examined, that one of the residents felt                23     the record.
24 uncomfortable, and somehow -- again, I don't have             24            MR. QUEENAN: Did we contact
                                                     Page 75                                                                       Page 77
 1 the specifics or knowledge of how Dr. Dua became               1        anybody that might be able to corroborate
 2 aware of this. And from the report that was given              2        this whole grand rounds or this examination
 3 to me, she was upset to the point of feeling like              3        on our side to try to find out if this was a
 4 she had picked up concerns that had been -- that               4        male, female, chief resident at that time.
 5 she desired to express that were long overdue and              5               DR. COWELL: No. Again, this is
 6 spontaneously elected to write and submit this                 6        going back during her period here, 2012 to
 7 letter.                                                        7        2014. It would have been probably difficult,
 8 BY DR. WEINIK:                                                 8        if not impossible, to track down,
 9     Q. And you don't know how she found that                   9        particularly the fact that Dr. Dua did not
10 out, do you?                                                  10        submit personal testimony to be able to
11     A. No, I do not.                                          11        investigate who she was referring to.
12     Q. In Dr. Dua's letter on the bottom                      12               MR. CASTOR: And Mr. Chairman, we
13 paragraph of the first page she had one patient               13        do have eyewitness here to that event, so we
14 that he saw on his list. Did you ever find --                 14        have tracked them down.
15 take the effort to find out who that patient was?             15                DR. DALY: Dr. Weinik, anything
16     A. I'm sorry, let me just.                                16        further for Dr. Cowell?
17     Q. Last paragraph, first line.                            17                DR. WEINIK: Not at this time.
18            DR. DALY: You are talking about                    18                DR. DALY: Thank you. Could we get
19     Page 1 on that.                                           19        Dr. Tedaldi in here?
20     A. He said he -- no, I did not.                           20                Thanks very much for being with us.
21 BY DR. WEINIK:                                                21                  ---
22     Q. Dr. Dua also has on Page 2 in the first                22                DR. DALY: Ellen, just for the
23 paragraph in the middle of the page but the sixth             23        record would you state your name, please?
24 line up it says, "A male resident came up to me               24                THE WITNESS: Ellen Tedaldi,

                                                                                                                        20 (Pages 74 - 77)
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                                                Page 78                                                     Page 80
 1    T-E-D-A-L-D-I.                                             A. Right. And then this was -- so as part
 2           ELLEN TEDALDI, M.D., after having             2 of the Complaint, the Medical Staff asked to meet
 3    been first duly sworn, was examined and              3 with her and hear about her letter.
 4    testified as follows:                                4     Q. CotTect.
 5                                                         5     A. In that letter, just to provide some
 6             EXAMINATION                                 6 summary, she talked about behaviors of Dr. Weinik
 7                                                         7 that she wanted us to be aware of. And I will
 8           DR. DALY: Dr. Cowell, please                  8 just cite a couple of them from that lettered.
 9    proceed.                                             9 She was in the residents lounge, was trying to
10 BY DR. COWELL:                                         10 leave. He was blocking her way, not allowing her
11    Q. Thank you, Dr. Tedaldi, for being so             11 to leave. She made comment about being at a
12 patient with this proceeding.                          12 wedding with a resident where he was commenting on
13           I wanted to make mention of the              13 her body and sexy dress, commented that she was
14 fact that you and I were co-responsible for the        14 too skinny and anorexic, talked about a hallway --
15 investigation involving the concerns expressed by      15 she was citing several events. She was talking
16 various parties about unprofessional conduct by        16 about in the hallway with -- when they encountered
17 Dr. W einik. I briefed this committee on the           17 Dr. Weinik she was with Dr. Cruz. Dr. Weinik
18 events leading up to the start of the meeting with     18 started to ask her various personal questions
19 myself, Sue Coull and Dr. Weigers and the              19 about why her last name was Brown and not her
20 submission of the written formal complaint by Dr.      20 husband's last name. Are you matTied or divorced,
21 Brown. And from that point on you and I solicited      21 were you adopted, and started commented on her
22 a number of witnesses to come in and offer             22 attire as not appropriate for work.
23 testimony regarding the allegations and comments       23            She comments in the letter that she
24 or concerns that may have relevance to the             24 felt violated and uncomfortable and wanted further

                                                Page 79                                                      Page 81
 1 concerns expressed as well. And so we talked a          1 action from GME on his sexually inappropriate
 2 little bit about the --                                 2 comments and behavior. So that was the -- those
 3             DR. DALY: Dr. Cowell, would you             3 were extractions from the letter that she sent to
 4     just -- if you don't mind.                          4 us.
 5 BY DR. COWELL:                                          5     Q. Thank you. And follow-up investigation,
 6      Q. So would you share with us the                  6 what was your impression of the diligence we paid
 7 impression that the concerns expressed by Dr.           7 to soliciting individuals to lend testimony to
 8 Brown in reference to the letter submitted?             8 validate her dispute her concerns?
 9     A. Okay. So just so I understand the                9     A. Yes, on this first letter we had spoken
10 temporal things, we are talking about the letter       10 with her, we spoke to Dr. Weinik, and felt at that
11 written on March 2, 2017?                              11 point that we needed to -- there was not enough at
12      Q. Yes. I think it was earlier than that,         12 that point to take the matter further. We felt
13 this letter from Dr. Cora Brown.                       13 that it needed to be on the level of a collegial
14             MR. CASTOR: There's no date.               14 intervention and to speak with him and recommend
15      A. Well, there was a -- she had apparently        15 that he seek some professional coaching and
16 gone previously to meet with Sue Coull after she       16 counseling as there were concerns about this type
17 had had a conversation with Dr. Mai tin. I'm just      17 of interaction.
18 trying to get the temporal sequence. So Dr. Brown      18     Q. During our investigation do you feel
19 had originally gone to Sue Coull after she had a       19 that we showed bias either way in trying to
20 conversation with Dr. Maitin.                          20 establish some substance to either support or
21 BYDR. COWELL:                                          21 dispute the concerns expressed?
22      Q. And then she submitted the formal --           22     A. Bias that -- you mean towards --
23      A. Then she submitted a letter.                   23     Q. Dr. Weinik, that he did or didn't was a
24      Q. On 2/28/17?                                    24 subject of some of these concerns.

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       A. No, I think that they were being raised           1   letter along with your interaction to
 2 and there were obviously the previous ones to Sue       2    Dr. Weinik around that time, in March or so
 3 Coull for granatum of education. He was going to        3    of2017?
 4 be -- you know, in his chair position that he           4           THE WITNESS: Yeah, because usually
 5 really needed to have some counseling so this            5   the physician if they are -- have a complaint
 6 could be addressed and prevented and certainly to        6   so they are allowed to look at the complaint.
 7 get these comments into some sort of context that        7          DR. DALY: So Dr. Weinik saw the
 8 it would be in his best interest to seek some            8   letter back in March or so of' 17, March or
 9 professional coaching.                                   9   April of2017. I see.
10     Q. Is --                                            10          And you asked -- or did you ask
11     A. In other words, I don't think there was          11   Ms. Brown -- Dr. Brown if she would provide
12 a bias. I mean, if anything, it was recognition         12   any testimony at the Medical Staff Executive
13 that ifthere are these comments you really need         13   Committee hearing?
14 to look at making sure that. ..                         14           THE WITNESS: No, because at this
15     Q. And in the final statement that we wrote         15   point we were really in -- you know, our
16 and submitted to Dr. Kaiser and Dr. W eigers and        16   usual process is we investigate the
17 subsequently to Dr. W einik, do you feel as though      17   complaint, we talk to the complainant and
18 that it reflected a fair assessment of what we          18   ask, you know, ifthere are any other -- if
19 felt we were subject to and the Action Plan that        19   there was a witnessed event, then we may
20 we submitted? Is there any second thoughts about        20   bring in some of the other people who were
21 any of that action?                                     21   there just to either corroborate or refute
22     A. No, I would still make the same                  22   what was there.
23 recommend -- I would have us make the same              23           DR. DALY: All right.
24 recommendation.                                         24           THE WITNESS: At that point it was
                                                 Page 83                                                 Page 85
 1            DR. DALY: Let me ask a moment.                1   not going to Medical Staff. It was for us to
 2    Did you provide this letter from, essentially         2   do the evaluating.
 3    from Cora Brown, was there any question in            3           DR. DALY: It was a collegial
 4    your mind that this letter that says Cora             4   intervention.
 5    Brown was not from Cora Brown?                        5           THE WITNESS: Right. I mean it was
 6            THE WITNESS: No, I had no reason              6   still, at this point it was still in the
 7    because we spoke to Dr. Brown herself.                7   investigatory phase.
 8            DR. DALY: And did she verbally to             8           DR. DALY: Thank you.
 9    you express the same things that were in the          9           Just another question that arose.
10    letter?                                              10   Dr. Cruz, in this letter it was mentioned
11            THE WITNESS: Oh, yes, yes.                   11   about a Dr. Cruz who apparently was also a
12            DR. DALY: All right. And about               12   resident. Did you speak to Dr. Cruz at all?
13    when did that occur, give or take? Not an            13           THE WITNESS: In that first
14    exact date but what month would we be talking        14   evaluation we did speak to Dr. Cruz.
15    about, what year?                                    15           DR. DALY: And what was your
16            THE WITNESS: Well, it was                    16   sense -- I don't need a word for word. What
17    submitted in March. Let's see, what do we            17   was your sense of the interview with Dr.
18    have? March of 2017, so it was shortly after         18   Cruz? Did he, you think he corroborated what
19    this.                                                19   was described here in this fourth paragraph
20            DR. DALY: After.                             20   or --
21            THE WITNESS: Yes. Usually, I mean            21            THE WITNESS: Yeah. I mean I think
22    our process is as soon as we get a complaint         22   he felt extremely, quite honestly, very
23    we try and ...                                       23   uncomfortable. He felt sort of caught in
24            DR. DALY: And did you provide that           24   between. This was -- I don't know that he --

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 1    you know, because some of this was from her          1 letter we received from Dr. Dua?
 2    point of view. He didn't corroborate word            2     A. Well, the senior resident, Phil Acevedo,
 3    for word. I think he just -- my impression           3 was concerned about the interactions that he
 4    in talking with him is that he really felt           4 observed with Dr. W einik and a female patient in
 5    tom in terms of making --                            5 terms of sort of unnecessary exposure of the
 6           MR. QUEENAN: Did he specifically              6 patient's backside area during an exam and this
 7    say it didn't happen?                                7 was a patient who was in the room with all male
 8           THE WITNESS: No.                              8 physicians and he left because he felt very
 9           DR. DALY: He didn't say it did                9 uncomfortable with the, sort of the way the
10    and he didn't say it didn't. Is that what           10 examination was going and as part of that said
11    you're --                                           11 that there were -- there was a general feeling
12           THE WITNESS: Yeah.                           12 among the PM&R residents that when there was a
13           DR. DALY: Dr. Cowell, anything               13 young, attractive female Dr. Weinik took an
14    further that you want to ask?                       14 excessive amount of time, often had prolonged
15           DR. COWELL: Yes.                             15 examinations that were sort of they said, you
16 BY DR. COWELL:                                         16 know, sort of "Weinik being Weinik"
17    Q. So we touched base on Dr. Brown's                17 characteristics. Those exams were very different
18 investigation. So we subsequently followed up on       18 than with other patient types.
19 another investigation with the concerns expressed      19     Q. And along with that characterization of
20 by Dr. Dua. Would you comment, likewise, on your       20 "Weinik being Weinik," one of the female residents
21 impression of the investigation we did and the         21 we interviewed also brought up -- would you share
22 individuals we interviewed regarding the concerns      22 with us the concerns that were brought by one of
23 expressed by Dr. Dua?                                  23 the other female residents about a comment made to
24    A. Well, there were actually, at that time          24 her about her dress?
                                                Page 87                                                  Page 89
 1 there were two. We had gotten them also from the        1     A. Yeah. We were interviewing several of
 2 residents. So it was Dr. Dua's letter but then          2 the PM&R residents and this was Dr. Byas, B-Y-A-S
 3 almost simultaneously we also got the complaint         3 who was also stating that there was a -- generally
 4 from the senior residents.                              4 felt to be a difference in the nature of the exams
 5     Q. Right. So there was actually something           5 provided to female patients.
 6 I didn't touch on was that in -- along with Dr.         6            And she apparently showed up one
 7 Dua's concerns there were residents that came to        7 day wearing a black dress and Dr. W einik commentee
 8 us to express concerns and that's why we loosely        8 "There are only certain times a girl wears a
 9 sort of made the connection because two things had      9 little black dress and one of those times is when
10 happened at the same time.                             10 she is on the walk of shame."
11     A. They happened like within a day, a day          11      Q. And as you had to describe to me, could
12 or two of one another.                                 12 you describe to me what the "walk of shame"
13     Q. The senior residents came and expressed         13 indicates?
14 concern about the examination techniques that          14      A. Generally it's reference to someone who
15 were being had for what they construed as young,       15 shows up with clothing they may have worn before
16 attractive females that seemed to be an excessive      16 with the presumption that there was some sort of a
17 --                                                     17 sexual or other encounter that occurred the
18            DR. DALY: Can you ask the                   18 evening before. And it's sort of a terminology
19     questions to Dr. Tedaldi to let her sort of        19 that it's something that happened that she showed
20     describe what is happening, please?                20 up basically the walk of shame, that you're coming
21            DR. COWELL: I apologize.                    21 in the same clothing you wore the night before.
22 BY DR. COWELL:                                         22      Q. And could you also share with us another
23     Q. So can you connect those concerns               23 one of the folks we interviewed, Mrs -- I'm sorry,
24 expressed by the residents and the timing of the       24 Amber, what her input was?

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  1    A. Amber Dzikowski. She is the                        1 that Dr. Weinik does and said "does seem to choose
 2 administrator in the PM&R Department and both in          2 female residents for patient simulated demos," and
 3 the earlier comments with Sue Coull and now she           3 that was -- yeah, she commented. She said, "I was
 4 talked about having to do things like outfit              4 a model. I didn't feel uncomfortable until the
 5 checks when she would meet with Dr. Weinik to make        5 residents pointed out what he was doing during the
 6 sure that there was not any part of her chest that        6 exam."
 7 was exposed, that he was a little overly personal         7           DR. DALY: Ifl might ask, how many
 8 and overly friendly in some of the conversations          8    residents did you actually interview in total
 9 and, in fact, had called her one time when she            9    through this whole process that you were
10 left to go home and asked, you know, are you okay,       10    investigating?
11 are you pregnant. And she felt there was at times        11           THE WITNESS: Four residents and
12 a little too personal commentary. But mainly she         12    then faculty, Reed Williams and Amber, the
13 was also concerned many times about her outfits,         13     GME administrator.
14 whether they would be exposing her chest.                14           DR. DALY: Four residents, one
15     Q. And so would you, your estimation, would          15     faculty member and the administrator?
16 you see that -- suggest that there was a pattern         16            THE WITNESS: Right. And Reed
17 of concerns that were expressed by -- and                17     Williams we brought in because he was present
18 consistency by all the folks that seemed to              18     during this exam during which Phil Acevedo
19 suggest sexual innuendos and comments and things         19     had commented on the inappropriate --
20 that gave them a sense of discomfort?                    20            DR. DALY: And Phil -- Reed
21     A. Yeah. I mean we did five residents and            21     Williams is who?
22 each of them did say there was a general consensus       22            THE WITNESS: He's a PM&R faculty
23 that Dr. Weinik spent a fair amount of time, much        23     member.
24 more with young, attractive females doing the            24            DR. DALY: I wasn't sure. At any
                                                  Page 91                                                   Page 93
 1 exams and often exams that were prolonged.                1    time -- sorry for the interruption.
 2    Q. And was that sentiment expressed by --              2           At any time was there ever a
 3 we made attempts to interview senior residents,           3    complaint from a female patient, any time
 4 particularly interviewed a few of the senior              4    during 2012 up through 2018?
 5 residents, Nicholas Kenback and -- who shared with        5           THE WITNESS: What was told to us
 6 us again jokes that were -- the residents do in           6    by the resident and partly by Dr. Williams is
 7 further collaboration of their concerns that the          7    that this particular patient said she did not
 8 "Weinik being W einik" and just being -- "she just        8    want to be seen by Dr. W einik again.
 9 got Weinik-ed"?                                           9           DR. DALY: Other than that --
10    A. Yeah, he corroborated, you know, again             10           THE WITNESS: Other than that we
11 more time with female patients, more hands-on,           11    did not hear any other female.
12 more thorough exams that may have been not               12           DR. DALY: No other complaints came
13 necessarily done with other patients. Chief              13    to the hospital or --
14 resident commented asking some fairly personal           14           THE WITNESS: That came to our
15 questions of patients, like what are you doing           15    attention.
16 later tonight, exams were not inappropriate but          16           DR. DALY: That you know.
17 you definitely noticed a pattern and I would say         17           THE WITNESS: Yes.
18 from the residents.                                      18           DR. LIN: How were the residents --
19     Q. And Katie Hatt, would those comments be           19    how did you decide which residents to
20 consistent with her testimony as well?                   20    interview? How does that process go about?
21     A. Right. And the other questions we had             21           THE WITNESS: Usually when a
22 asked because of the concerns raised in Dr. Dua's        22    complaint comes into the Medical Staff Office
23 note about using female residents as                     23     the description is -- you know, if it's an
24 demonstrations for the musculoskeletal workshop          24     event we find out who else was there at the

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 1   event. So in this case it was the two senior        1   physical exam.
 2   residents. And then also because of the             2          THE WITNESS: She said, "I didn't
 3   previous -- the GME administrator had gone to       3   necessarily feel uncomfortable until other
 4   the GME office and had mentioned it. And            4   residents pointed out to me."
 5   then we decided to start to interview some of       5          MR. ROGERS: Dr. Hatt.
 6   the other residents just to make sure there         6          THE WITNESS: Dr. Hatt.
 7   wasn't anything in terms of a personal              7          DR. DALY: Ellen, if you could, so
 8   nature.                                             8   you made this informal component of an
 9         DR. LIN: Of the four residents                9   investigation, you made this investigation by
10   that you interviewed it sounds like two of         10   interviewing these four residents, the
11   them were involved or one of them was              11   faculty member, the administrator, et cetera.
12   involved?                                          12   Did that then lead to the collegial
13         THE WITNESS: Yeah, one ofthem was            13   intervention or that happened after the
14   during the examine.                                14   collegial intervention?
15         DR. LIN: And then the other two              15          THE WITNESS: The collegial
16   were just kind of randomly to get a sense of       16   intervention was in 2017. It was the year
17   the general tone?                                  17   prior. And then -- I don't know if you have
18          THE WITNESS: Yeah. Well, they--             18   gone into this. So the recommendation was
19   the other, the two senior residents that we        19   the coaching and then there was the interim.
20   did, Nicholas Kenback and Phil Acevedo, they       20   So this came after that.
21   were, they were the ones that had gone to the      21          DR. DALY: And what led, in your
22   administrator with their concerns about            22   mind at least, what led from the collegial
23   Dr. Weinik.                                        23   intervention to the coaching and what led to
24         DR. LIN: And was there ever a kind           24   this component of the intervention?
                                              Page 95                                               Page 97
 1   of a process by -- and I recognize it's a           1           THE WITNESS: The new complaints.
 2   sensitive issue so the confidentiality part         2           DR. DALY: And the new complaints
 3   is tough, but to get a general tone outside         3   were from?
 4   of those folks who came forward with some           4           THE WITNESS: The residents and
 5   concerns? Was there kind of an effort to get        5   then the letter from Dr. Dua.
 6   a sense of other --                                 6           DR. DALY: And the complaints from
 7          THE WITNESS: Yeah. So we -- those            7   the residents were elicited how? They just
 8   were the other to the chief residents. So we        8   spontaneously --
 9   went to the chief resident, we went to some         9           THE WITNESS: They went via the GME
10   of the other residents. I believe Kate, I          10   administrator and so then they came to our
11   think she's a junior or first year. So we          11   attention.
12   wanted to try to get some of the residents to      12           DR. DALY: And that was verbal to
13   see if this was --                                 13   the GME administrator Sue Coull or some --
14          DR. LIN: Pervasive?                         14           THE WITNESS: I think they went
15           THE WITNESS: -- pervasive.                 15   first to -- from my understanding they went
16          MR. QUEENAN: I may have missed              16   first to Amber and then she met with Sue
17   something. Did you not say that someone said       17   Coull.
18   they weren't comfortable, that they were told      18           DR. DALY: And that was a verbal
19   to be uncomfortable? That was one of the           19   thing, the complaints by these other
20   comments that was made, one of the residents       20   residents?
21   said that they didn't feel comfortable when        21           THE WITNESS: Right.
22   someone said something?                            22           DR. DALY: And so that then led to
23           DR. LIN: It was about a female             23   your interviewing these residents?
24   resident who was one of the models for the         24           THE WITNESS: Right, sort of a

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 1    reactivation, right.                                 1 letters. And Amber had commented that it was call
 2           DR. DALY: Plus then around this               2 up and say -- Dr. W einik would say take or don't
 3    time came this letter from Cora Brown?               3 take this resident. And so, in other words, they
 4           THE WITNESS: Yes, because                     4 felt intimidated that they couldn't say anything
 5    usually -- what happened was we had Cora             5 because they were not getting a letter of
 6    Brown last year, recommended coaching for            6 recommendation.
 7    Dr. Weinik. And then we had not heard                7            MR. QUEENAN: I don't know where
 8    anything. He was in the process of the               8     this comes in since no one has mentioned
 9    coaching. And then these were new concerns           9     this. I have read this text message. Is
10    raised.                                             10     there going to be some sort of context this
11           MR. QUEENAN: Did anyone speak to             11     gets put into? Because I don't understand
12    Dr. Dua?                                            12     this text message, understand what the
13           THE WITNESS: Personally?                     13     importance of it is.
14           MR. QUEENAN: Regarding the letter.           14            DR. DALY: This is what she's
15           THE WITNESS: No, because she at              15     referring to.
16    that time was not willing to come forward.          16            MR. QUEENAN: I know this is the
17           MR. QUEENAN: Did anyone speak to             17     text you're referring to. So I don't know
18    Dr. Dua on the phone? I am just wondering if        18     who Dr. Furman --
19    you had any sense as to what prompted this          19            THE WITNESS: Right, this is Phil
20    letter at this time.                                20     Acevedo, one of the senior residents who made
21           THE WITNESS: Yeah. Well, I mean              21     the complaint, right.
22    her -- you have access to it, right?                22            MR. QUEENAN: This is Phil Acevedo,
23           DR. DALY: Her letter, yes.                   23     right, who sent the message. Who is
24           THE WITNESS: So her opening thing            24     Dr. Furman?
                                                Page 99                                                  Page 101
 1    is -- I don't know whether she felt sort of          1         THE WITNESS: I believe he's
 2    timing-wise, you know, I don't want to put           2   probably wherever he was interviewing.
 3    words in her mouth, but sort of Me, Too              3         MR. QUEENAN: Is that what it is?
 4    movement, you know, felt that he was --              4   I mean I'm just trying to --
 5            MR. QUEENAN: You don't know what             5         MR. CASTOR: Doctor, we will
 6    specifically?                                        6   present evidence on this.
 7            THE WITNESS: I don't know why that           7         DR. DALY: Ellen, is there anything
 8    day or that there was -- I can't say.                8   further? Or Vince, is anything further you
 9            MR. QUEENAN: Great.                          9   wanted to ask Dr. Tedaldi about this, about
10 BY DR. COWELL:                                         10   the investigation or people or interviews?
11    Q. Dr. Tedaldi, do you remember Katie's             11 BY DR. COWELL:
12 concerns about their responses to things that they     12   Q. So I think from my perspective that's
13 were uncomfortable with, that they were                13 everything, unless, Dr. Tedaldi, you have anything
14 intimidated because of their concerns about the        14 further that you would like to comment that I
15 future regarding jobs after residency?                 15 haven't asked you that you think is relevant to
16     A. They had mentioned that they were aware         16 these proceedings?
17 that they needed letters from Dr. W einik and that     17     A. Yeah, I -- you already went over the
18 there was the incident with Phil Acevedo where he      18 letter from Dr. Dua. Yes, okay. Yes. No, I
19 texted back and said -- you know, because he was       19 think at this point those are the interviews that
20 out on a fellowship interview and had gotten a         20 we completed.
21 text back that, you know, it's probably not a wise     21     Q. Just last but not least. Do you think
22 idea that you are talking to this program director     22 we did our best to conduct this in a fair and
23 because I know him and that others felt that they      23 unbiased way with no preconceived impressions or
24 really couldn't say anything because they needed       24 biases towards anyone?

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                                               Page 102                                                Page 104
 1     A. Yeah. I mean I have been doing these             1            Anything further? No, okay.
 2 now in the Medical Staff office for many years and      2            Dr. W einik, would you cross
 3 I really do feel we just try, we really spend a         3    examine? And if possible, can we limit this
 4 lot of time doing the evaluation piece and trying       4    a little bit in time to just Dr. Tedaldi's
 5 to get as many voices in the investigation and not      5    testimony that you heard?
 6 to limit it. So we wanted to get a broader              6
 7 picture from more than just the people who. . .         7              EXAMINATION
 8            DR. DALY: Dr. Tedaldi, ifI might             8
 9     ask then subsequent to the investigation --         9 BYDR. WEINIK:
10     there was the coaching, this new information       10    Q. Dr. Tedaldi, you tried to interview all
11     came to be, came to light to you and               11 people who might have been present during any
12     Dr. Cowell, Medical Staff, Executive               12 event; is that correct?
13     Committee. You then did the investigation.         13    A. No, that particular -- for the event
14     There was a Medical Staff Executive Committee      14 related to the patient.
15     meeting --                                         15    Q. For any event.
16            THE WITNESS: Yes.                           16    A. For any. I'm not sure I understand your
17            DR. DALY: -- at which you provided          17 question.
18     and Dr. Cowell provided this information. Is       18    Q. Did you make an effort to interview any
19     that true?                                         19 and all people who were present at any of the
20            THE WITNESS: Yes, it was given              20 events?
21     to ...                                             21    A. Well, the main event that we were
22            DR. DALY: And then the                      22 talking about where we interviewed was that
23     recommendation from that meeting was that Dr.      23 interview -- I mean the examination with the tw<
24     W einik be suspended?                              24 residents, with Reed Williams, Acevedo and the
                                               Page 103                                                Page 105
 1            THE WITNESS: Correct.                        1 female patient. Not all events. I mean we
 2           DR. DALY: All right. Anything                 2 weren't -- I'm sorry. I just don't know what
 3    further?                                             3 you're saying all events.
 4           DR. COWELL: No. We just wanted to             4           MR. QUEENAN: I think they are
 5    cap it off with a point that we hadn't made,         5    trying to clarify whether or not the Medical
 6    the point that we just presented to the              6    Staff spent any time trying to kind of rehash
 7    evidence to the Medical Staff Executive              7    what happened back in 2012 with this whole
 8    Committee and the Medical Staff Executive            8    examination, who might have been present at
 9    Committee made the decision.                         9    that point.
10           DR. DALY: I understand.                      10           THE WITNESS: With Dr. Dua?
11           MR. CASTOR: Mr. Chairman, you said           11           MR. QUEENAN: Was Dr. Dua at that
12    suspension but I understand that he's on            12    exam?
13    administrative leave.                               13           THE WITNESS: Well, because we have
14           DR. DALY: I was making that more             14    no --
15    as a question rather than a statement. I was        15           MR. QUEENAN: Right, Dr. Dua was at
16    asking that. So if it's not suspension, then        16    that exam. So back then did we try to reach
17    it was administrative leave. Or tell me or          17    out to any other residents that might have
18    tell us, if you would, what was the                 18    been present at that time?
19    consequence of the Medical Staff Executive          19           THE WITNESS: Well, I think that
20    Committee decision?                                 20    was part of our interviewing the residents.
21            DR. COWELL: It was a                        21           MR. QUEENAN: Back then, 2012, '13?
22    recommendation for termination from the             22           THE WITNESS: No, because we would
23    Medical Staff Executive Committee.                  23    have know idea who they -- I mean we wouldn't
24           DR. DALY: Thank you.                         24    go all the way back to 2012. And then also,

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                                              Page 106                                             Page 108
 1    you know, we were still working on the              1   of procedural objections for Dr. Weinik to
 2    current.                                            2   place on the record to preserve. Those woulc
 3            MR. QUEENAN: I think that's their           3   take probably ten or 15 minutes to read. I'm
 4    question.                                           4   going to suggest that I be permitted to
 5            THE WITNESS: We didn't go back and          5   attach that as an exhibit to our post hearing
 6    get people who were there at the 2012.              6   brief and Mr. Wright seems to think that that
 7 BY DR. WEINIK:                                         7   is a good idea.
 8    Q. Dr. Tedaldi, you go back all the way to          8          MR. WRIGHT: We agree to that.
 9 2012 but the complaint only occurred for Dr. Dua       9           DR. DALY: That's fine. I agree as
10 in 2018.                                              10   well.
11    A. Well, I'm sorry. That may be my--               11          MR. CASTOR: But it will become
12            MR. QUEENAN: I said 2012 because           12   part of record by reference.
13    you asked -- maybe I misunderstood the             13          MR. WRIGHT: Yes, sir, we agree.
14    question. Apparently I messed that up.             14           DR. DALY: Please, ifyou would
15    You're asking did she interview anyone             15   start to call your first witness.
16    involved in any of these incidents. This is        16           DR. COWELL: IfI may, just for the
17    an incident that occurred sometime in 2012,        17   record officially announce that the Medical
18    '13, '14. I'm not sure when. So I'm asking         18   Staff rests its case.
19    if they went back there. She's not asking          19           DR. DALY: Thank you.
20    that, I'm asking that because I thought that       20           MR. CASTOR: Mr. Chairman, ifI
21    was your question. Maybe it wasn't.                21   might be heard one more time --
22            THE WITNESS: So the answer would           22           DR. DALY: One more time.
23    be no, we didn't go beyond that.                   23           MR. CASTOR: -- for a procedure
24            DR. DALY: I think that's a fair            24   issue that might be of value. The questions
                                              Page 107                                              Page 109
 1     answer to a fair question.                     1     for Dr. Weinik for his witnesses are already
 2            Dr. Weinik, any other questions         2     pre-written so they will move much more
 3     that you have for Dr. Tedaldi? Dr. Weinik,     3     quickly than we had before.
 4     do you have any questions you have for Dr.     4           DR. DALY: Great. Go ahead, Dr.
 5     Teldaldi?                                      5     Weinik.
 6            DR. WEINIK: We want to get into         6            GILBERT D'ALONZO, D.0., after
 7     our case.                                      7     having been first duly sworn, was examined
 8            DR. DALY: Great. So Dr. Tedaldi,        8     and testified as follows:
 9     thank you very much.                           9               - --
10            (Witness excused.)                     10             EXAMINATION
11            DR. DALY: I think with the             11               ---
12     permission of my other two colleagues we an 12 BY DR. WEINIK:
13     going to take a bathroom break for about five 13     Q. Dr. D'Alonzo, thank you for coming.
14     minutes and then we will come back and ther 14       A. You're welcome.
15     you can call your witnesses. We will go off 15       Q. Briefly explain your career at Temple,
16     the record now. We are going to take a        16 briefly.
17     five-minute break and we will come back.      17     A. I have been here 27, going on 28 years.
18            (A briefrecess was held at this        18 I started with the Division of Pulmonary and
19     time.)                                        19 Critical Care Medicine as a pulmonary critical
20            DR. DALY: We are ready to go on        20 care doctor, now it's the Department of Forensic
21     the record.                                   21 Medicine and Surgery, involved in every aspect of
22            MR. CASTOR: Thank you,                 22 that division and department's activity, for many
23     Mr. Chairman. In anticipation of the Temple 23 years as the deputy director and until today
24     side finishing their case I had made a list   24 pulmonary critical care medicine.

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                                               Page 110                                                   Page 112
 1    Q. Was there ever a time when you were               1 outside the hospital we've never had a social
 2 involved on the administrative side for cases of        2 relationship.
 3 alleged misconduct by Temple doctors?                   3     Q. Do you know others in the medical
 4    A. Yes.                                              4 community that also know me?
 5     Q. What can you tell me about that?                 5     A. I know many people that know you.
 6    A. I was President of the Medical Staff, I           6     Q. Would you say you and others in the
 7 don't know if it was one or two years, and we had       7 medical community know me well enough to have an
 8 several meetings where discipline was discussed         8 opinion concerning my character and integrity?
 9 and various physician issues were presented and         9     A. Absolutely.
10 outcomes were determined.                              10     Q. What is the opinion that you and others
11    Q. Do you recall about when that was?               11 in the medical community share of my character and
12    A. I forget when I was president. It would          12 integrity?
13 be on my CV. It's probably eight, eight years          13     A. I can certainly speak for myself and I
14 ago.                                                   14 can only remember what other people have said.
15    Q. Okay.                                            15 But certainly for myself the highest level of
16    A. Something like that. I'm sorry, I                16 regard in terms of your character, both at a
17 didn't review. I didn't know what any of these         17 medical level as well as a personal level within
18 questions were and I didn't review my CV               18 the hospital.
19 beforehand.                                            19           I can attest further that two of my
20    Q. What was your role in the cases of               20 wives, my first wife and my second wife have
21 alleged misconduct by Temple doctors back then?        21 received care from you with excellent results and
22    A. I would be at the table often with other         22 high regard for the care that you provided. One
23 members of the faculty and we would listen to the      23 of my daughters the same exact thing. I have
24 entire process for both sides and try to make a        24 referred many patients to you for care, both
                                               Page 111                                                       Page 113
 1 determination. Sometimes attorneys were present.        1 diagnostic and therapeutic intervention of the
 2 Probably, I was probably only involved with maybe       2 musculoskeletal system with what I remember as
 3 four to six cases over the whole time that I was        3 excellent outcome. And I have never heard
 4 there, two or three serious cases, and                  4 anything negative about you in any of the dealings
 5 determinations were made as to what needed to be        5 that I have had with my own patients, my own
 6 done to either correct the situation or nothing         6 family, and I have never heard anything negative,
 7 was done.                                               7 only praise and good outcomes and excellent care
 8    Q. During the period of time that you were           8 from the patients that I have referred to you.
 9 making recommendations concerning alleged               9     Q. Would you -- are you familiar with the
10 doctor misconduct did you ever see a case that         10 allegations against me today?
11 rose to the level of dismissal in your view?           11     A. Absolutely not.
12    A. Close.                                           12     Q. Are you familiar with the allegations
13    Q. Close but not?                                   13 against me here today, though?
14    A. No dismissal, close.                             14     A. No.
15    Q. Did you ever recommend a doctor to be            15     Q. Oh, you're not?
16 dismissed for alleged misconduct during your time      16     A. No, not at all. And I have never asked
17 involved with the process?                             17 anybody, I have never inquired.
18    A. No.                                              18     Q. Thank you, Dr. D'Alonzo. This is my
19    Q. Do you know me?                                  19 last chance to ask, to ask you before the Panel if
20    A. Sure I know you.                                 20 there's anything else you would like to add to
21    Q. How long have you known me?                      21 assist the Panel in coming to their determination?
22    A. About 25 years.                                  22     A. Yes, I would.
23    Q. Would you say we are friends?                    23            I think Dr. W einik has immense
24    A. We are friendly at the hospital but              24 value at our institution at the Temple Hospital as

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                                               Pagel 14                                              Page 116
 1 well as our medical school. He is the go-to            1     you know, and shooting people in your free
 2 person to send patients to that have                   2     time.
 3 musculoskeletal complaints. He does incredible          3           MR. CASTOR: Can I talk?
 4 examinations, comes up with the results that are        4           DR. WEINIK: So let me talk.
 5 necessary and the treatment plans that are              5           DR. DALY: Joe, thanks very much
 6 necessary. And I have known no one in the PM&R          6    for that. I think, Dr. Weinik, what he is
 7 Department that meets his level of care and I have      7    asking is the relevance of each of the
 8 referred a lot of people to different doctors in        8    witnesses that will come and if there are a
 9 that department. That's not to say that those           9    series of character witnesses if you could
10 doctors are bad or don't practice at a good level.     10    truncate some of that a bit. If you,
11 Dr. Weinik practices at a much higher level. He's      11    however, are going to have --
12 an incredibly valuable individual at our hospital.     12           DR. WEINIK: They are quite
13    Q. Thank you, Doctor.                               13    truncated.
14    A. You're welcome.                                  14           MR. CASTOR: There aren't any
15           DR. DALY: Dr. Cowell, any                    15    others. I'm trying to get you that.
16    questions?                                          16           MR. QUEENAN: That's a simple
17           DR. COWELL: No questions.                    17    answer.
18           DR. DALY: Any questions from                 18           DR. DALY: Thank you very much. I
19    anybody on the Panel?                               19    appreciate it.
20           (No response.)                               20           Dr. Weinik, if you have some other
21           DR. DALY: I have no questions.               21    witnesses let's call them and we will have
22    Thank you very much.                                22    them come in and we will go from there.
23           THE WITNESS: Thank you very much.            23
24           (Witness excused.)                           24          DR. DALY: Thank you very much for
                                               Page 115                                              Page 117
 1           MR. QUEENAN: Before we move on, I             1    commg. Would you state your name for the
 2    do have a question. So no one is disputing           2    court reporter and be sworn in?
 3    the fact that there are people who have high         3            THE WITNESS: My name is Jennifer
 4    regard and excellent physician, et cetera, et        4    Yu, Y-U.
 5    cetera. Is that what most of these witnesses         5           DR. DALY: Dr. Weinik.
 6    are going to say because we'll just accept           6            JENNIFER YU, M.D., after having
 7    that as truth and yes, but that is -- you            7    been first duly sworn, was examined and
 8    know, there are people who typically. So I           8    testified as follows:
 9    don't want to go through a barrage of people         9
10    who are going to say how great he is because        10             EXAMINATION
11    everybody knows him. Nice guy, does good by         11
12    his patients, yes, we accept it, we agree           12 BY DR. WEINIK:
13    with it, but we don't need to have an hour          13    Q. Dr. Yu, thank you for coming tonight.
14    and a half of that. If there's something            14            Do you know me?
15    specific that is going to come from people          15    A. Ido.
16    that's different, that's fine. I'm happy to         16    Q. How do you know me?
17    hear as many of them. I am a neurosurgeon.          17    A. You were the Program Chair of my
18    I will be here until 2:00 in the morning. I         18 residency program.
19    don't care.                                         19    Q. Is there any other capacity that you
20           But it's -- the point I'm trying to          20 know me?
21    make here is that character witnesses are           21    A. We have worked together covering
22    great but we need -- I mean there is a              22 inpatient floors at Temple.
23    specific allegation here and you can be the         23    Q. So you have been with me when I examine
24    most wonderful person in the world over here,       24 patients?

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                                               Page 118                                                 Page 120
 1    A. Yes.                                              1    inappropriate?
 2    Q. About how many times would you say?               2           THE WITNESS: No.
 3    A. I actually think I only worked with you           3          MR. QUEENAN: Okay.
 4 for like three or four days over like a holiday         4          DR. DALY: What is your role now?
 5 weekend, but I have been around you otherwise.          5           THE WITNESS: I'm a PGY-4 resident.
 6    Q. Have you ever seen me engage in any               6          DR. DALY: InPM&R.
 7 conduct you thought was inappropriate with a            7           THE WITNESS: Yes.
 8 patient?                                                8           DR. DALY: So what level were you
 9    A. No.                                               9    when you worked with Dr. W einik those three
10    Q. Have you ever seen anything that made            10    or four days?
11 you think I spend more time with young female          11           THE WITNESS: I was a PGY-2.
12 patients than I did with other patients?               12           DR. DALY: So two years ago, give
13    A. No.                                              13    or take, or a year plus a little bit?
14    Q. Did I ever behave with you in a way that         14           THE WITNESS: Yeah, a year and
15 made you feel uncomfortable?                           15    some.
16    A. No.                                              16           DR. DALY: Okay.
17    Q. Did you ever see me engage in any                17
18 conduct with other female residents that you           18            EXAMINATION
19 thought would have made you feel uncomfortable?        19
20    A. No.                                              20 BY DR. WEINIK:
21    Q. Did anyone from Temple ever interview            21    Q. Dr. Yu, just one other question.
22 you about this case, about the testimony presented     22           You were on service with me three
23 about me?                                              23 or four days you stated. But you have been around
24    A. Did anyone ever interview me?                    24 me --
                                               Page 119                                                 Page 121
 1    Q. Did anyone from Temple ever interview             1    A. Yes.
 2 you about my behavior?                                  2     Q. -- more frequently --
 3    A. No.                                               3    A. Yes.
 4          DR. WEINIK: That's it.                         4    Q. -- in the hospital than just those three
 5          DR. DALY: Dr. Cowell, any                      5 or four days. And around other residents who were
 6    questions?                                           6 around me?
 7          DR. COWELL: No questions.                      7     A. Yes, yes.
 8          DR. DALY: We have a couple of                  8             DR. DALY: We'll allow that. But
 9    questions. Go ahead, Joe.                            9     again, your attorney has commented about how
10          MR. QUEENAN: You said you worked              10     awkward the particular situation is tonight
11    with him for three or four days. When were          11     so let's not make it more awkward.
12    those three or four days?                           12             Thank you very much Dr. Yu. We
13          THE WITNESS: It was just weekend              13     appreciate it.
14    coverage for like Temple.                           14             Do you have any questions?
15          MR. QUEENAN: You're saying three              15             DR. LIN: I do. I have one more
16    or four days at a time or just three or four        16     question.
17    days total?                                         17             DR. DALY: I'm sorry.
18          THE WITNESS: Oh, no, it was total.            18             DR. LIN: So you yourself have
19          MR. QUEENAN: So a total of three              19     never felt uncomfortable. Is there -- have
20    or four days you spent with Dr. W einik             20     you heard of any other comments or attitudes
21    examining patients?                                 21     from your co-residents about Dr. W einik?
22          THE WITNESS: Yes.                             22             THE WITNESS: I have not, no.
23           MR. QUEENAN: Within those three or           23             MR. QUEENAN: No, that's good.
24    four days you never saw anything you felt was       24             DR. DALY: Great. Thanks very

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                                              Page 122                                                   Page 124
 1    much. We appreciate it.                              1    A. Yes, actually.
 2         (Witness excused.)                              2    Q. Was that patient a so-called VIP at the
 3                                                         3 hospital?
 4           DR. DALY: Could you just state                4    A. Yes.
 5    your name for her and spell it?                      5    Q. And why was that?
 6           THE WITNESS: Sure. My name is                 6    A. So you just want me to describe the
 7    Stephanie Li, spelled S-T-E-P-H-A-N-I-E L-I.         7 story a little bit?
 8           STEPHANIE LI, M.D., after having              8    Q. Yes.
 9    been first duly sworn, was examined and              9    A. So we were working in clinic and what
10    testified as follows:                               10 happens is we usually see patients together and we
11                                                        11 were in the room with a patient who was a sort of
12            EXAMINATION                                 12 VIP patient. He, you know, was a donor.
13                                                        13            And so he was a gentleman like
14 BY DR. WEINIK:                                         14 what, around 40, and he started talking to me and
15    Q. Thank you, Dr. Li, for coming tonight            15 he just made me like a little uncomfortable and he
16 and waiting so long.                                   16 started like asking me out. And at first I was
17           Do you know me?                              17 like haha, it was a joke; I like just brushed it
18    A. I do know you.                                   18 off. And Dr. W einik was in the room with me and,
19    Q. How do you know -- how do we know each           19 you know, we just all took it as a joke. But then
20 other?                                                 20 the patient became more insistent and he just like
21    A. We were -- well, we have known each              21 kept being -- aggressively asking me out.
22 other for about two years now. You were my             22            So at that point I, I was put in a
23 Program Director. I'm sorry, my chair, my chair.       23 difficult situation because Dr. W einik and we all
24 And we worked together in clinic in March of this      24 knew this guy was like a VIP patient and I don't
                                               Page 123                                                  Page 125
 1 year.                                                   1 want to piss him off. So it was very awkward and
 2    Q. Have you ever been with me when I                 2 I just walked out. I asked Dr. W einik if I can
 3 examined patients?                                      3 walk out and Dr. W einik said, "Yes, of course,
 4    A. Yes.                                              4 please walk out."
 5    Q. About how many times would you say?               5            And after that encounter Dr. W einik
 6    A. Daily for a month.                                6 talked to the patient and made him realize that it
 7    Q. Have you ever seen me engage in any               7 was very inappropriate on his part to have behaved
 8 conduct you thought was inappropriate with a            8 like that in front of me and that the patient had
 9 patient?                                                9 made me very uncomfortable. And the patient
10    A. No.                                              10 wanted to apologize to me and he texted Dr. W einik
11    Q. Have you ever seen anything to make you          11 repeatedly, wanted to apologize to me. And I was
12 think I spend more time with young female patients     12 like I don't really want to see this guy anymore.
13 than I did with other patients?                        13 So I was grateful for Dr. W einik for handling that
14    A. No.                                              14 and I thought that it was handled very well.
15    Q. Did I ever behave with you in a way that         15     Q. So do you feel on that occasion that I
16 made you feel uncomfortable?                           16 supported you in a situation that could have been
17    A. No.                                              17 proven to be difficult for you?
18    Q. Did you ever see me engage in any                18     A. Yes, absolutely.
19 conduct with other female residents that you           19            DR. WEINIK: Thank you so much. I
20 thought would have made you feel uncomfortable?        20     appreciate it.
21    A. No.                                              21            DR. DALY: Dr. Cowell.
22    Q. Was there ever a time when you were              22            DR. COWELL: No questions.
23 placed in an uncomfortable position by a patient       23            DR. DALY: Dr. Queenan? Dr.
24 and I resolved that situation?                         24     Queenan has none. Do you have any?

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 1            DR. LIN: No.                            1 from Temple so we are here to testify on your
 2            DR. DALY: So you are what now?          2 behalf.
 3     What do you do here now?                       3     Q. Temple investigating doctors have
 4            THE WITNESS: I'm a PGY-4.               4 testified that Dr. Acevedo told them that I made a
 5            DR. DALY: And when would this           5 habit of spending more time with young female
 6     encounter have occurred? When were you         6 patients as compared to other patients. Are you
 7     working with Dr. Weinik that month?            7 aware of this accusation against me?
 8            THE WITNESS: That was in March          8     A. lam.
 9     of -- this year.                               9     Q. During the time we worked together were
10            DR. DALY: March of '18.                10 you in a position to see me interact with
11            THE WITNESS: Yes.                      11 patients?
12            DR. DALY: Great. I have no             12     A. Yes.
13     further questions. Thank you very much.       13     Q. Assuming the Temple investigators have
14     Thank you for being here. You can go.         14 accurately reported what Dr. Acevedo told them, do
15            (Witness excused.)                     15 you agree with his accusations concerning the
16                ---                                16 amount of time I spend with young female patients?
17            DR. DALY: Could you state your         17     A. Absolutely not.
18     name for the court reporter and then she will 18     Q. What were your observations?
19     swear you in?                                 19     A. During my time with Dr. Weinik I would
20            THE WITNESS: Chris Connor.             20 say I probably spent the most time with him during
21                ---                                21 my three years here and I don't see how he can
22            CHRISTOPHER CONNER, D.O., afte 22 make that claim. We spent lots of time with all
23     having been first duly sworn, was examined 23 our patients, good and bad, you know. But there
24     and testified as follows:                     24 was no distinction between sex, race, nothing like
                                              Page 127                                                Page !29
 1                                                        1 that.
 2            EXAMINATION                                 2    Q. When you were a resident and chief
 3                                                        3 resident did you know another resident named Dr.
 4 BY DR. COWELL:                                         4 Dua?
 5     Q. Dr. Conner, thank you for coming.               5    A. Yes.
 6           Do you and I know each other?                6    Q. Are you aware of another allegation
 7     A. Wedo.                                           7 against me at a lecture between four and six years
 8     Q. How do we know each other?                      8 ago between January of2012, '13 or '14 where I
 9    A. You were my attending physician during           9 acted inappropriately while Dr. Dua was -- while
10 residency from 2012 to '15.                           10 she acted as a model?
11     Q. That's the period of time that we worked       11    A. I have heard of that allegation, yes.
12 together?                                             12     Q. Were you at that lecture?
13    A. Yes.                                            13     A. I was.
14     Q. During that time frame did you also know       14     Q. Where did that lecture take place?
15 two residents, Dr. Acevedo and Dr. Dua?               15     A. Philadelphia College of Osteopathic
16     A. I know Dr. Dua. She was in my class.           16 Medicine.
17 Dr. Acevedo, I believe he interviewed during my       17     Q. Describe the lecture, what was it about.
18 time here but I don't think he was a resident yet.    18 Can you describe what the lecture was about, how
19     Q. Do you have any general idea why you are       19 many people were there, how the room was set up,
20 here today?                                           20 things like that?
21     A. Yes.                                           21     A. It was a once-a-year physical exam
22     Q. What is that understanding?                    22 workshop put on at PCOM because they have a large
23     A. My understanding is there were                 23 area where we did our osteopathic training. So
24 allegations made and you were unfortunately pulled    24 there were a lot of examination tables. There was

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 1 one set up at the front of the room with a camera       1     A. Yes.
 2 overlooking it to display it to the other TVs at        2     Q. Can you explain any supervision
 3 each station. It was our whole residency class.         3 structure at the program while you were in it,
 4 I believe you were the only attending there.            4 i.e., was there a sort of change in the structure
 5 There were probably around 30 people.                   5 of the administration of the people in it?
 6    Q. Was the room wired for sound and video?           6     A. During my time here I, I don't believe
 7    A. Yes.                                              7 there was any change that had occurred as far as
 8    Q. Did you recall Dr. Dua acting as a                8 when you moved into your position. I think that
 9 demonstration model?                                    9 was right after I had left.
10    A. I do.                                            10     Q. So is that to say that the change was
11    Q. Can you explain how that works?                  11 made after --you graduated in?
12    A. We had broken up each body part into             12    A. 2015.
13 regions and we would kind of demonstrate physical      13    Q. What change occurred after you
14 exam techniques in the front of the room and then      14 graduated?
15 have the small breakout sections.                      15     A. There was repositioning. You became
16    Q. Do you recall anything out of the                16 chair of the department. Dr. Maitin I believe was
17 ordinary about the event where Dr. Dua acted as a      17 still the residency director.
18 model with me?                                         18     Q. Okay. So Dr. Maitin at that point was
19    A. I do not.                                        19 subordinate to me?
20    Q. Do you recall me making any comments or          20     A. Yes.
21 jokes at Dr. Dua's expense making the class laugh?     21     Q. And now I'm not trying to imply anything
22    A. I do not.                                        22 improper. But did you ever become aware of rumors
23    Q. Do you recall me touching her in a way           23 that Dr. Dua and Dr. Maitin were friends?
24 you saw to be inappropriate?                           24     A. I had heard rumors.
                                               Page 131                                                    Page 133
 1     A. No.                                       1     Q. Was it common knowledge among the
 2     Q. By the way, when I asked if the room was 2 residents that Dr. Dua and Dr. Maitin were
 3 wired for sound and video, was it also wired to  3 friends?
 4 amplify my voice?                                4     A. I don't want to speak for others but I
 5     A. Yes.                                      5 would say I was not the only one who heard those
 6     Q. Do you think you would have noticed ifl 6 rumors.
 7 humiliated one of your program mates at this     7     Q. Did the Temple investigators ever to
 8 lecture?                                         8 your knowledge try to contact you to discuss my
 9     A. Yes.                                      9 case and what you might know about it?
10     Q. Are you confident that I did not do      10     A. No.
11 that?                                           11           DR. WEINIK: Thank you.
12     A. I am confident.                          12           DR. COWELL: I have a question if
13     Q. Who is Dr. Maitin?                       13     you don't mind.
14     A. Dr. Maitin during my time at Temple wa 14                ---
15 our program chair.                              15            EXAMINATION
16     Q. I'm sorry, I didn't hear.                16              ---
17     A. Dr. Maitin was our program chair when I 17 BY DR. COWELL:
18 was here.                                       18     Q. Thank you for being so patient with us.
19     Q. Did he have any other titles at that     19           Did I understand you, and correct
20 time?                                           20 me if you think I'm wrong, that you said you heard
21     A. I believe program director. I believe    21 rumors of an alleged event that took place with
22 so.                                             22 Dr. Dua?
23     Q. Was Dr. Maitin also the chair at that    23     A. Are we referring to --
24 time?                                           24     Q. At this -- at the exam.

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 1     A. I heard the allegation after the fact,           1   the model in the center of the room?
 2 like once this news broke I guess not the person       2          THE WITNESS: It's just somebody
 3 but the allegation, yeah.                              3    grabs a person that's there. There's no kind
 4     Q. So only recently?                               4    of rhyme or reason.
 5     A. Yeah.                                            5         DR. DALY: Wait. Somebody grabs a
 6     Q. Not back when you were still a resident?         6   person that's there. Who --
 7     A. No, no. The rumors I think he was                7         THE WITNESS: There's 30 people.
 8 referring to was about relationships with Dr. Dua       8         DR. DALY: I understand. But who
 9 and someone else, not.                                  9   would grab them? Would it be --
10            MR. QUEENAN: It sounds like                 10         THE WITNESS: Whoever is
11     there's a question about insinuation of a          11   demonstrating.
12     relationship between Dr. Dua and Dr. Maitin;       12         DR. DALY: The teacher, the
13     is that correct?                                   13   demonstrator.
14            THE WITNESS: Yes.                           14          THE WITNESS: So I had led part of
15            MR. QUEENAN: A relationship that            15   the session. So if I wanted to demonstrate a
16     went beyond a mentor/apprentice relationship?      16   physical exam maneuver I would either ask for
17            THE WITNESS: That's the rumor.              17   a volunteer or somebody to come up and that
18            MR. QUEENAN: Okay.                          18   would be it.
19 BY DR. COWELL:                                         19         DR. DALY: So in that instance with
20     Q. So I believe that Dr. Weinik was trying         20   Dr. Dua it's likely since Dr. Weinik was the
21 to solicit whether or not you remember the             21   teacher that day, faculty member, he would
22 incident where it was alleged that Dr. Dua was         22   have, as you said, "grabbed" Dr. Dua to be
23 inappropriately -- the exam went beyond                23   the model?
24 expectations for Dr. Dua. Are you aware of any of      24          THE WITNESS: Or asked for a
                                               Page 135                                                Page 137
 1 that?                                                   1   volunteer.
 2    A. I remember -- I was there. I remember             2          DR. DALY: But you don't remember?
 3 the examination, I remember her in front of the         3          THE WITNESS: I don't remember if
 4 room but I do not -- I did not witness anything of      4   she volunteered or not.
 5 that sort.                                              5          DR. DALY: And in other instances
 6    Q. So you can't speak to whether or not Dr.          6   when this happened do you remember was it
 7 Dua expressed concern about any parts of the            7   voluntary or did somebody -- you said
 8 examination?                                            8   somebody grabbed somebody?
 9    A. No, to my knowledge she had not.                  9          THE WITNESS: You make it sound
10    Q. And you can't speak to whether or not            10   like teaching an exam maneuver is illegal.
11 there were comments made by other residents            11          DR. DALY: I'm not trying to make
12 regarding their reaction to her reaction?              12   it sound anything. I'm just trying to figure
13    A. That is true, I did not hear those.              13   out how she became the model on that day.
14            DR. COWELL: Thank you.                      14          THE WITNESS: And that I don't
15            DR. DALY: Can I ask you who chose           15   think.
16    Dr. Dua as the model that day or was she --         16          DR. DALY: Okay.
17    did she voluntarily? How did she become the         17          THE WITNESS: There were numerous
18    model?                                              18   models that day.
19            THE WITNESS: I honestly don't               19          DR. DALY: Were any of the models
20    know. There were --                                 20   that Dr. W einik examined, were any male or
21            DR. DALY: Well, this happens every          21   were they all female?
22    year you say.                                       22          THE WITNESS: Male as well.
23            THE WITNESS: Oh, yes.                       23          DR. DALY: Male as well, okay.
24            DR. DALY: How does someone become           24          Anything else, Dr. Queenan or Dr.

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 1   Lin?                                                1          MR. QUEENAN: Nothing?
 2          MR. QUEENAN: I guess have a                  2           THE WITNESS: No.
 3   question about is as you recall this thing,         3          MR. QUEENAN: Thank you. That was
 4   and it sounds like you can recall it                4    a simple question. Thanks for the answer.
 5   relatively well, better than I can recall           5           DR. DALY: Do you have anything
 6   that many years ago, but you said there was         6    else?
 7   no -- essentially you made it sound like it         7           I might just ask where are you now?
 8   was humorless.                                      8           THE WITNESS: I am in a private
 9          THE WITNESS: What part of --                 9    practice in the Scranton Wilkes-Barre area.
10          MR. QUEENAN: When you were asked            10           DR. DALY: Okay. If there's
11   about was there anything that made her             11    nothing else, thanks very much for your time.
12   uncomfortable or that she was poked fun at in      12    We appreciate it.
13   front of the group you said there was no           13           (Witness excused.)
14   humor to the -- generally when we get into         14           MR. QUEENAN: Can we go off the
15   these sessions something happens that's kind       15    record for a second?
16   of funny. I mean, you know, in grand rounds        16           DR. DALY: We will go off the
17   somebody makes a little joke and they laugh.       17    record.
18   You made it sound like it was, you know, this      18           (There was a discussion held off
19   draconian almost exam, like you did an exam        19    the record.)
20   and that was it. Is that how you recall it?        20           DR. DALY: Thanks very much for
21          THE WITNESS: Well, I think you're           21    coming.
22   putting words in my mouth but --                   22           THE WITNESS: Pleasure.
23          MR. QUEENAN: I'm not trying to but          23           DR. DALY: If you could do us a
24   that was essentially what had happened, just       24    favor and just state your name and the court
                                             Page 139                                                  Page 141
 1   like he wasn't really saying that there was         1    reporter will swear you in.
 2   something harmful about examining someone or        2           THE WITNESS: Absolutely. My name
 3   illegal about it. He was simply asking a            3     is Reed Conly Williams.
 4   question.                                           4           REED C. WILLIAMS, M.D., after
 5          THE WITNESS: Okay. So let me                 5     having been first duly sworn, was examined
 6   explain this again so you can understand.           6     and testified as follows:
 7   What is your name?                                  7               - - -
 8          MR. QUEENAN: Queenan.                        8             EXAMINATION
 9          THE WITNESS: So you had asked or             9               -- -
10   someone had asked if there was -- if I             10 BY DR. WEINIK:
11   remember anything inappropriate that was           11     Q. Dr. Williams, thank you for coming
12   done. I do not. They asked there was no            12 today.
13   mention in front of the room --                    13     A. My pleasure.
14          MR. QUEENAN: They asked did it              14     Q. And thank you for waiting.
15   make her uncomfortable. So then I asked was        15           Do you and I know each other?
16   there any humor at any point during the            16     A. Yes, sir.
17   course of this. What makes you uncomfortable       17     Q. How do we know each other?
18   and what makes me uncomfortable can be two         18     A. We have known each other since I was a
19   entirely different things.                         19 medical student at Temple, as a resident training
20          THE WITNESS: I agree with that.             20 in the PM&R program and as faculty colleagues
21          MR. QUEENAN: So what's why I was            21 while I had started my professional career back
22   asking. Do you remember anything that might        22 here at Temple.
23   have been deemed to be humorous?                   23     Q. And during what period of time were we
24          THE WITNESS: No, I don't.                   24 together? Do you remember the years?

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 1     A. That would be medical student would have          1 been his faculty for the last three -- two years.
 2 been my senior -- 2011. 2012 you would have been         2    Q. So you have trained Dr. Acevedo?
 3 a partner in my intern year. 2012 through 2015           3    A. Firsthand.
 4 would have been residency. I was away for a year         4    Q. Are you aware of an incident where Dr.
 5 in Seattle for fellowship and then have been back        5 Acevedo accused me of exposing too much of a
 6 at Temple since September of 2016.                       6 female patient's buttocks during an injection
 7     Q. Are you generally aware of the                    7 procedure?
 8 circumstances that brings us all here today?             8    A. I am aware of the accusation only
 9    A. Yes, sir.                                          9 because of these procedures.
10     Q. During your time working with me did you         10    Q. Describe the procedure I was performing.
11 ever see any indication that I spent more time          11    A. The procedure in question was an
12 with young female patients as opposed to other          12 ultrasound guided sacroiliac joint injection.
13 patients?                                               13    Q. While I was preparing the patient for
14     A. No, sir.                                         14 the procedure did you observe anything out of the
15     Q. Do you think you had enough interactions         15 ordinary?
16 with me to know if I spent more time with young         16     A. I observed the entire procedure from
17 female patients than other patients?                    17 start to finish and recall nothing out of the
18    A. Without a doubt, yes.                             18 ordinary or abnormal.
19     Q. Can you explain that for me, please?             19     Q. How did I go about preparing the patient
20     A. You are a consummate clinician. You              20 for the injection?
21 spend the appropriate amount of time with patients      21     A. As per standard, you lay the patient
22 as they need. I think you spend the time                22 prone. After describing the risks and benefits
23 appropriate to a patient's concerns directly. We        23 you expose the injection site by, you know,
24 do see a number of musculoskeletally complex            24 usually rolling up the shirt to kind of mid-back,
                                                Page 143                                                   Page 145
 1 patients in our field. A lot of those are not            1 rolling down the pants or whatever under, you
 2 directly musculoskeletal in nature and can be            2 know, lower garments to expose some of the gluteal
 3 psychosomatically involved. As statistics would          3 cleft to expose the full SI for sterilization.
 4 have it, there are many of those patients that are       4 After sterilizing to keep your area sterile and
 5 women, I would say statistically more than there         5 clean you use the ultrasound to locate your
 6 are men. But I have no recollection of you ever          6 position on the sacroiliac joint which can vary
 7 singling out younger women or women in general           7 which is a reason for having a little bit of a
 8 over men. I think the patient relationships you          8 larger prep area and you use ultrasound guidance
 9 have are professional and genuine and that's why         9 to guide the needle to deliver the medication.
10 patients return to see you time and time, year          10     Q. Dr. Williams, about how many times would
11 after year.                                             11 you say that you perform -- have you ever yourself
12     Q. Based on your firsthand knowledge is             12 performed the same procedure in your medical
13 that accusation ridiculous?                             13 career?
14    A. Firsthand knowledge I would say that              14     A. Yes.
15 accusation is unwarranted, unfounded and                15     Q. About how many times would you say?
16 ridiculous.                                             16     A. Hundreds at this point.
17     Q. When you were a chief resident did you           17     Q. Did I do anything you would not have
18 know a man named Phillip Acevedo?                       18 done?
19     A. As a chief resident I did not. But we            19     A. No, sir. If anything, I think that may
20 had interviewed him as -- so I guess yes, I would       20 be the reason I prepare the way I do.
21 have interviewed him my chief resident year, yes.       21     Q. Was there anything out of the ordinary
22     Q. And do you know Dr. Acevedo since                22 with this procedure?
23 returning as an attending?                              23     A. No, sir.
24     A. Yes, I have been a faculty -- I have             24     Q. In your opinion did I uncover any more
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 1 of the patient's buttocks than it was necessary to       1 Often times you are at or near the gluteal cleft.
 2 perform the procedure?                                   2 Garments can transition and ride up and they could
 3     A. I recall again nothing out of the                 3 have come into the sterile field, as well as
 4 appropriate and it was a normal draping and              4 accommodating for variance in injection target.
 5 procedure.                                               5     Q. Dr. Williams, this is a big point in
 6     Q. By the way, did you see anything about            6 this case. Are you absolutely sure I properly
 7 the patient's demeanor that led you to conclude          7 uncovered this patient, sterilized the correct
 8 that she was embarrassed or humiliated more than         8 area and draped her in a professional manner
 9 out of the ordinary?                                     9 consistent with the way you were also taught to
10     A. Not at all. It was the patient, and if           10 perform this procedure?
11 I recall, her significant other in the room as          11     A. Yes. I believe I have enough experience
12 well as other educational colleagues with us with       12 and moral aptitude ifthere were something
13 residents and medical students.                         13 inappropriate I would have said something
14     Q. So obviously the Panel are all doctors           14 otherwise and there was nothing out of the
15 and so the next question is for the record only so      15 ordinary.
16 people reading it later who are not doctors will        16     Q. Dr. Williams, did there come a time when
17 understand what the doctors already know. As a          17 you were interviewed by Temple investigators about
18 doctor administrating an injection into a joint,        18 this precise incident?
19 is that joint always located precisely where it is      19     A. Yes.
20 expected to be?                                         20     Q. Who interviewed you?
21     A. No, there is plenty of anatomical                21     A. Dr. Cowell, Dr. Ellen Tedaldi, and I
22 variance, I would say more so with the sacroiliac       22 believe there was a third. I think it was Sue
23 joint than the majority of other joints.                23 Coull but I can't be entirely sure. It was GME or
24     Q. And is that -- how come the joint is not         24 an administrator.
                                                Page 147                                                  Page 149
 1 always where doctor expects it to be?                    1     Q. Might there have been someone
 2     A. There are multiple reasons. Anatomic              2 transcribing?
 3 variance the way that the pelvis and the sacrum          3     A. This I have no -- I don't, I don't
 4 come together, the alignment of that junction, the       4 recall.
 5 body mass of the patient, the tissue surrounding         5     Q. Did you basically tell the investigating
 6 said joint.                                              6 doctors what you told us here today?
 7     Q. In order to allow for the differences             7     A. Yes, I believe so.
 8 between people's anatomy, what does a doctor do to       8     Q. Were they both listening as far as you
 9 make sure the proper area to be treated is               9 could tell?
10 sterile?                                                10     A. Yes.
11     A. Drapes an appropriate area for sterile           11     Q. Now, I understand you spoke by telephone
12 field such that the entire scope of the target can      12 with my counsel, Bruce Castor to my left, on
13 be prepared for the procedure in one go.                13 Saturday-- I'm sorry, on Sunday. Is that right?
14     Q. In this instance where I was injecting           14     A. That is correct.
15 the lady and Dr. Acevedo was accusatory, did I          15     Q. What position does Dr. Tedaldi hold at
16 uncover the proper amount of the patient's skin to      16 Temple as far as you know?
17 correctly sterilize the area around the injection?      17     A. She is senior faculty. I know she's on
18     A. I believe you did.                               18 at least this Board as well as other boards at the
19     Q. Did that involve uncovering some of the          19 executive level.
20 patient's buttocks?                                     20     Q. Do you like her?
21     A. I would suggest that yes, it did, the            21     A. Yes. Professionally and personally over
22 top portion of the patient's buttock.                   22 the last ten years of my experience here at Temple
23     Q. How come?                                        23 I would say I do.
24     A. Standard, again, draping procedure.              24     Q. Did you tell Mr. Castor you did not want

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 1 to say anything here that would embarrass or      1 professional behavior on the part of investigator
 2 humiliate Dr. Tedaldi?                            2 Dr. Tedaldi that she fell asleep while you were
 3     A. I did.                                     3 relating what actually happened?
 4     Q. Did Mr. Castor explain to you that you     4    A. I would agree with that.
 5 would be testifying under oath here today?        5    Q. If she fell asleep while you were
 6     A. He did.                                    6 actually talking?
 7     Q. You know what that means, right?           7    A. It appeared as though she did.
 8     A. Yes.                                       8     Q. Now, I'm not trying to imply anything
 9     Q. Did Dr. Castor explain -- did Mr. Castor 9 improper. But did you ever become aware of rumors
10 explain to you that testifying under oath        10 that Dr. Dua and Dr. Maitin were friends?
11 obligates you to tell the truth no matter what?  11     A. Dr. Dua and Dr. Maitin are friends.
12     A. He did, although it was unnecessary to    12     Q. Was that common knowledge among
13 explain that.                                    13 residents that Dr. Dua and Dr. Maitin were
14     Q. In your own mind did you weigh telling 14 friends?
15 the truth against possible embarrassing and      15     A. Yes, Dr. Dua and Dr. Maitin have a close
16 humiliating Dr. Tedaldi in public and on a       16 relationship.
17 stenographic record?                             17     Q. Did the Temple investigators ever ask
18     A. I weighed it, yes.                        18 you about this idea that Dr. Dua and Dr. Maitin
19     Q. And you decided that if you were indeed 19 were friendly?
20 under oath you would have to testify to anything 20     A. I don't recall if they did or not. If
21 in a truthful way that was asked?                21 they had I would have said that they are friendly.
22            DR. DALY: Dr. Weinik, it's            22           DR. WEINIK: I'm done.
23     understood about the truth, to tell the      23           DR. DALY: Dr. Cowell.
24     truth. Can you move along?                   24               ---
                                              Page 151                                                   Page 153
 1            MR. QUEENAN: He's going to tell            1           EXAMINATION
 2     the truth.                                        2
 3            DR. WEINIK: Certainly.                     3 BY DR. COWELL:
 4 BY DR. WEINIK:                                        4    Q. Dr. Williams, thank you for coming in.
 5     Q. Dr. Williams, do you know whether Dr.          5          You stated but I will state for the
 6 Tedaldi was paying attention to you when you were     6 record. You do remember the opportunity we had to
 7 explaining about this procedure involving the          7 interview concerning some of the allegations that
 8 female patient and the injection?                      8 are presented here today?
 9     A. Dr. Tedaldi certainly appeared to be            9    A. Yes, sir.
10 paying attention for the majority of the              10    Q. And do you remember the part of the --
11 conversation. I do have a frank recollection at       11 during that procedure that Dr. W einik performed
12 one point Dr. Tedaldi having her eyes closed. I       12 that one of the residents voluntarily withdrew
13 have no idea whether or not she was awake and         13 hisselffrom the procedure?
14 listening or asleep. But I remember thinking that     14    A. Ido.
15 given the gravity of the situation and the            15    Q. Do you remember -- am I correct in you
16 accusations I was being asked about I remember        16 recanting that you came out to find out what was
17 being surprised that if she were not present I        17 wrong?
18 found that odd.                                       18    A. You're correct. Towards the end of the
19     Q. Did you tell Mr. Castor that she fell          19 procedure after noting he had left about
20 asleep?                                               20 two-thirds of the way through as the rest of the
21     A. I did.                                         21 room was being clean and the patient was being
22     Q. Given that I am facing dismissal from my       22 clothed I stepped out to ask the question.
23 position at the hospital based in part on this        23     Q. And can I trouble you to tell us what
24 event that you witnessed, do you consider it          24 that resident responded?

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                                             Page 154                                                  Page 156
 1     A. Yeah, he said something along the lines         1 intent wasn't to be as much?
 2 of there were too many people in the room and he       2    A. No, not a single complaint that I
 3 felt that that was odd or otherwise. He didn't         3 remember or ever having been involved with.
 4 tell me anything about inappropriate draping or        4    Q. Did you find any breach of attentiveness
 5 him being uncomfortable, Dr. W einik or any            5 on my behalf during that interview session?
 6 procedure otherwise. I didn't know about the           6    A. No, sir. And again, I can only comment
 7 draping issue until that, until that meeting.          7 on Dr. Tedaldi having her eyes shut. You know, I
 8     Q. Did you find that unusual that the              8 can only say she appeared to be fatigued.
 9 resident dismissed himself even with his               9           DR. COWELL: Thank you.
10 explanation?                                          10           DR. DALY: A couple of questions.
11     A. Yeah, I thought it was, I mean I thought       11    First, Dr. Williams, thanks for coming
12 it was odd for a resident who was interested in       12    tonight.
13 doing these procedures to step out.                   13           Could you give us some flavor
14     Q. In part of that interview session when         14    that -- there's a great deal of vagueness in
15 we had the opportunity did you make comment that,     15    your response to Dr. Cowell and I recognize
16 in fact, there were times that Dr. W einik says       16    the friendship as you have described here
17 things that you would not say and the only thing      17    today. Tell us, give me a flavor of these
18 there -- there are times that he says things that     18     comments. Were these comments about cars,
19 he shouldn't say?                                     19     horses, tables, chairs, people; were they
20     A. Yes, yeah, I said that there are               20     about men, were they about women; were they
21 comments that I would not make.                       21    jokes? Give us a flavor.
22     Q. Did you make the comment "he may be            22            THE WITNESS: Jokes, jovial
23 overly flirtatious and we have had sidebar            23     offhanded comments that, you know, I honestly
24 conversations about this"?                            24     have no recollection of individual themes or
                                              Page 155                                                  Page 157
 1    A. I don't remember anything about saying        1       trends. It was just things that I felt, you
 2 overly flirtatious. We have had sidebar             2       know, at the time that I wouldn't do.
 3 conversations about comments.                       3              DR. DALY: That you felt
 4    Q. Would it be helpful for me to remind you      4       inappropriate; is that what you're saying,
 5 that the third person in the room was not Ms.       5       that you just felt shouldn't have happened?
 6 Coull but, in fact, it was Pam Fierro who was       6              THE WITNESS: Inappropriate in a
 7 taking minutes of the interview session?            7       way that it was something you would maybe say
 8    A. Yeah, I mean it would help. It wouldn't       8       to a friend or, you know, on your own
 9 necessarily change what my recollection is. I       9       personal time but in the workplace maybe not.
10 just remember a third person. They weren't asking  10       This was, again, a few times, if ever, once
11 questions. I guess I just don't remember.          11       or twice.
12    Q. So could you explain a little bit more       12              DR. DALY: I understand. When this
13 about the sidebar discussions and what you're      13       episode that occurred with these other people
14 implication of that was?                           14       in the room and this woman patient lying
15    A. Yeah. You know, Dr. Weinik and I are as      15       prone in the injection example you gave or
16 well as colleagues friends and, you know, small    16       were asked about, did the patient return to
17 jokes, small, you know, comments made without, you 17       your knowledge to see Dr. Weinik as a
18 know, malice or otherwise I had made comment that 18        patient?
19 I wouldn't do that, you know, that we should be    19               THE WITNESS: Not to my knowledge,
20 careful of comments of that ilk.                   20       but I wouldn't have any idea.
21    Q. And has it been your experience at any       21               DR. DALY: You wouldn't know?
22 time that there were concerns expressed by the     22               THE WITNESS: No, no, sir.
23 residents about sexual innuendos that may have     23               MR. QUEENAN: She didn't
24 been inappropriate even if they weren't -- the     24        specifically request not to return? Is that

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 1   what you were told?                                 1 BY DR. WEINIK:
 2          THE WITNESS: No, to my knowledge             2    Q. Thank you, Dr. Arora, for driving a long
 3   that request had never been made.                   3 distance and coming here tonight and being patient
 4          MR. QUEENAN: That was said                   4 enough to give this important testimony.
 5   earlier. That's why I am trying to clarify.         5          How do you and I know each other?
 6          THE WITNESS: By myself.                      6    A. I was your resident for a period of
 7          MR. QUEENAN: Not by you. It was              7 three years as well as a medical student prior to
 8   said earlier the specific patient requested         8 becoming a resident at Temple.
 9   not to return.                                      9    Q. During what period of time did we work
10          THE WITNESS: No, I don't remember           10 together at Temple?
11   that at all. I don't remember being                11    A. 2012 to 2015 as well as 2010 when I was
12   uncomfortable. I don't remember her                12 a medical student.
13   significant other in the room being                13    Q. During that period of time frame did you
14   uncomfortable.                                     14 also know two residents, Dr. Acevedo and Dr. Dua?
15          DR. DALY: At the time you were              15    A. Yes, I did.
16   here as faculty, during the last three years       16     Q. How did you know them?
17   that you have been here as faculty who has         17    A. Dr. Acevedo as a younger resident
18   been the program director?                         18 interviewing for a residency position and Dr. Dua
19          THE WITNESS: Ian Maitin.                    19 was a co-resident in my class. I was her -- one
20          DR. DALY: He is still the program           20 of her chief residents.
21   director?                                          21     Q. Do you have a general idea why you are
22          THE WITNESS: Correct.                       22 here today?
23          DR. WEINIK: And Dr. Weinik was the          23     A. Yes.
24   either interim chair or chair?                     24     Q. What is your understanding?
                                             Page 159                                                  Page 161
 1          THE WITNESS: Correct, Dr. Weinik 1            A. Allegations of misconduct against you
 2   has been the interim chair for my internship.  2 filed by a former resident.
 3          DR. DALY: Okay. Do you have any         3     Q. Temple investigating doctors have
 4   other questions?                               4 testified that Dr. Acevedo told them that I made a
 5          MR. QUEENAN: No.                        5 habit of spending more time with young female
 6          DR. LIN: No.                            6 patients as compared to other patients. Are you
 7          DR. DALY: Dr. Williams, thanks          7 aware of this accusation against me?
 8   very much. We appreciate you're being here. 8        A. Yes.
 9          (Witness excused.)                      9     Q. During the time we worked together were
10              ---                                10 you in a position to see and interact with me as I
11          DR. DALY: Thank you very much for 11 saw patients?
12   coming. We are back on the record. The        12     A. Yes.
13   court reporter will ask your name and will    13     Q. Assuming the Temple investigators have
14   then swear you in.                            14 accurately reported what Dr. Acevedo told them, do
15          VIKRAM ARORA, D.O., after having 15 you agree with this accusation concerning the
16   been first duly sworn, was examined and       16 amount of time I spent with young female patients?
17   testified as follows:                         17     A. No, I do not. I feel you spent equal
18          DR. DALY: Could you state your         18 time with all patients.
19   name, please, and spell it if necessary?      19     Q. What were your observations?
20          THE WITNESS: Dr. Vikram,               20     A. You spent quite a bit of time with every
21   V-I-K-R-A-M, last name Arora, A-R-0-R-A. 21 patient, probably more time than you need to with
22                                                 22 individual patients. The time you spend with
23            EXAMINATION                          23 patients is dependent on the issue the patient had
24                                                 24 but I felt your timing was equal.

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 1     Q. If Dr. Acevedo insists that it is a fact     1 don't remember if she was the first one to go or
 2 as opposed to his own opinion that I took longer    2 the second one to go. I don't recall that. But I
 3 with young female patients. Based on your           3 do recall her being in the front of the room and
 4 experience, would that be a truth or a lie?         4 being examined.
 5     A. That would be a lie.                         5    Q. Do you recall anything out of the
 6     Q.  When    you were   a resident and chief     6 ordinary  about the event where Dr. Dua acted as a
 7 resident did you know another resident by the name  7 model with me?
 8 of Dr. Dua?                                         8    A. I do not.
 9     A. Yes, I did.                                  9    Q. Do you recall me making comments or
10     Q. Are you aware of another allegation         10 jokes that at Dr. Dua's expense and making the
11 against me that at a lecture, a physical           11 class laugh?
12 examination workshop lecture between four to six   12    A. I do not.
13 years ago that somewhere between January, 2012 and 13    Q. Do you recall me touching her in a way
14 2014 that I acted inappropriately with Dr. Dua     14 you saw to be inappropriate?
15 while she acted as a model?                        15    A. I do not.
16     A. I am aware of the accusation.               16    Q. By the way, when I asked ifthe room was
17     Q.  Were   you  at that lecture?               17 wired  for sound and video, was it also wired to
18     A. I was at the lecture.                       18 amplify my voice?
19     Q. Where did the lecture take place?           19     A. Yes, I believe you had a microphone on.
20     A.  At  the Philadelphia   College of          20    Q. Do you think you would have noticed if I
21 Osteopathic Medicine OMM lab.                      21 humiliated one of your program mates at this
22     Q. Describe what the lecture was about and     22 lecture?
23 how many people were there and how the room was 23        A. Yes.
24 set up, things like that?                          24     Q. Are you confident that I did not?
                                               Page 163                                               Page 165
 1    A. The lecture was about manipulative                1   A. Yes.
 2 medicine, it was about physical examination             2   Q. Can you please tell me who Dr. Maitin
 3 maneuvers and diagnosing different types of             3 is?
 4 pathology as well as demonstrating how to perform       4     A. He was the former chairman of our
 5 those exam maneuvers as well as different               5 department and is program director.
 6 palpatory techniques. In addition to that, we did       6     Q. Explain the supervision structure
 7 include some osteopathic manipulative medicine          7 while -- of the program while you were in it?
 8 techniques. The lecture took place in the OMM           8     A. Dr. Maitin was our chair and program
 9 room which I am familiar with as a medical              9 director, oversaw our responsibilities as chief
10 student. There's different sections and tables.        10 resident.
11 We were set up at different stations and then          11     Q. So has that structure changed since you
12 there's the center of the room with a camera as        12 were there?
13 well as screens at each station. There were a          13     A. I cannot speak to the structure now.
14 number ofresidents, probably 35 residents and          14 But the structure has changed. You were
15 medical students.                                      15 chairperson after I left and he remained program
16    Q. Was the room wired for sound and video?          16 director and I believe Dr. Cruz was associate
17    A. Yes.                                             17 program director.
18    Q. Do you recall Dr. Dua acting as a                18     Q. Now, I'm not trying to imply anything
19 demonstration model?                                   19 improper. But did you ever become aware of rumors
20    A. I do.                                            20 that Dr. Dua and Dr. Maitin were friends?
21    Q. Explain how that works.                          21     A. I'm sorry, can you repeat that?
22    A. The person volunteers to be seen in the          22     Q. I am not trying to imply anything
23 front of the room or to have examination maneuvers     23 improper. But did you ever become aware of rumors
24 performed on them in the front of the room. I          24 that Dr. Dua and Dr. Maitin were friends?

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       A. Yes, they were. They had a close             1 believe Dr. Sharma, Annu Sharma was a model at
 2 relationship.                                       2 some point, either in the front or at a end of
 3     Q. Was that common knowledge among              3 that group session. And then my specific pod was
 4 residents that Dr. Dua and Dr. Maitin were          4 myself, Dr. Bonner, and I cannot recall the other
 5 friends?                                            5 person.
 6     A. Yes.                                         6            MR. QUEENAN: There would be like
 7     Q. Did the Temple investigators ever to         7     two up at the front?
 8 your knowledge try to contact you to discuss my     8            THE WITNESS: There's one at the
 9 case and what you might know about it?              9     front at a time.
10     A. No.                                         10            MR. QUEENAN: You're saying Dr.
11           DR. WEINIK: That's it.                   11     Sharma was up at the front?
12           DR. DALY: Dr. Cowell.                    12            THE WITNESS: I believe so.
13                                                    13 BY DR. COWELL:
14            EXAMINATION                             14     Q. So you were in the company of 30 other
15                                                    15 individuals at that session?
16 BY DR. COWELL:                                     16     A. Approximately.
17     Q. Thank you. Thank you for being patient.     17     Q. And you said you don't -- you weren't
18           So can I trouble you to ask what         18 exposed to anything else. Can you say for certain
19 prompted your memory of the incident with Dr. Dua? 19 that none of the other 30 folks there might have
20     A. In the osteopathic lab?                     20 been exposed to something unusual or untoward
21     Q. Exactly.                                    21 during that exam?
22     A. I remember those sessions very well         22     A. I can only speak to my group and who was
23 because that's where I went to medical school. So  23 in the front of the room.
24 what prompted my memory of it, I remember --       24     Q. And up until now had you ever heard
                                              Page 167                                               Page 169
      Q. Specifically of her, her exam.                1 anything that someone insinuated that something
 2    A. Of her exam. When I was asked questions       2 inappropriate had happened or is this the first
 3 about it I remember that lab very, very well.       3 you ever heard of it?
 4    Q. So you said you don't remember anything       4    A. This was the first I heard of it.
 5 being abnormal, unusual?                            5    Q. Do you --you know you and whoever you
 6    A. I don't remember anything out of the          6 may have run into while you were waiting, out of
 7 ordinary at that lab.                               7 the 30 people do you know how many others are
 8    Q. So was there anything that made you           8 coming to supply testimony for what may or may not
 9 remember -- if there was nothing unusual or out of  9 have happened today out of 30 people?
10 the ordinary, what made that stick in your mind to 10     A. I don't know the number specifically.
11 trace back that far?                               11 I'm sorry, I'm not really understanding the
12    A. We only do that lab once a year during       12 question you're asking.
13 grand rounds. So it's a four-hour period. We had   13     Q. I apologize. What I'm trying to say is
14 done two labs. The first lab was a year before     14 that there were 30 people at the session and
15 and was done by Dr. Dave Mahon who set that up for 15 you're one of the 30 and you may have met someone
16 us. So he was a former chief resident there and    16 else in the room while you were waiting that may
17 Dr. Weinik participated in that lab as well. I     17 have been two of the 30 or three of the 30 or four
18 remember that very well, too. And then the         18 of the 30. Are you aware of how many out of the
19 following year we did the second lab. It was       19 30 people that were there may be available to add
20 Dr. Weinik that primarily ran it but we were the   20 testimony to this?
21 chiefresidents at that time.                       21     A. I don't know who would be able to
22     Q. Thank you. Can you tell me some of the      22 provide testimony if they remember that event.
23 other models that were involved in the lab?        23 That seems a tough question for me to answer. You
24     A. I remember Dr. Dua specifically. I          24 could contact 30 people if you would like and see

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 1 what they say.                                        1    currently; do you know?
 2          DR. DALY: I have a couple                    2           THE WITNESS: I do, yes. She's an
 3   questions, if you don't mind. The -- we have        3    attending physician at I think Main Line
 4   heard that this room is wired for sound and         4    Spine.
 5   is wired for video. Did you use videos at           5           DR. DALY: Out on the Main Line?
 6   all as part of your teaching from these             6           THE WITNESS: Correct.
 7   sessions that occurred? I have been to PCOM         7           DR. DALY: And do Dr. Maitin and
 8   but I haven't necessarily been to that              8    Dr. Dua continue to be close friends?
 9   specific room. Did you use videos afterwards        9           THE WITNESS: I can't speak to
10   so if Dr. Weinik would examine somebody this        10   that.
11   is a once a year event and it was --                11          DR. DALY: You don't know that?
12          THE WITNESS: Generally they                  12          THE WITNESS: No.
13   weren't recorded and saved. They were               13          DR. DALY: But you thought they
14   broadcasted for us to be able to see them           14   were close friends back in 2012 or '14 or
15   because sometimes you can't, you know, being        15   whatever?
16   in the front of the room if you know the room       16          THE WITNESS: Yeah. We all had
17   you can't really see again where you have           17   different relationships with each other and
18   someone's leg if it's adducted or abducted          18   they were close friends. That's all I'm
19   and certain positions. The overhead cameras         19   aware of.
20   allow you to do that. I think the overhead          20          DR. DALY: So you're just aware of
21   cameras allow you to do that.                       21   their friendship?
22          And then prior to the examination            22          THE WITNESS: Yes.
23   generally sometimes they play a video on the        23          DR. DALY: Are you friends with Dr.
24   computer and say, you know, this is what we         24   Weinik?
                                             Page I 71                                             Page 173
 1    are going to do and then do it.                     1          THE WITNESS: I am.
 2           DR. DALY: But you didn't go back a           2          DR. DALY: Close friends?
 3    week later and watch a video and say here's         3          THE WITNESS: Yes.
 4    how you do this and that exam?                      4          DR. DALY: Okay. I'm just trying
 5           THE WITNESS: No.                             5   to figure out friends and close friends.
 6           DR. DALY: I understand. And you              6   Thanks.
 7    described how the subjects, the models              7          Anything else from anybody? Karen,
 8    volunteer, basically students, residents were       8   do you have any questions?
 9    volunteering. Did they volunteer? Because           9          DR. LIN: No.
10    we have also heard they were "grabbed" by          10          DR. COWELL: Can I just ask--
11    whoever the instructor was and asked to be a       11          DR. DALY: Well, you have had your
12    model.                                             12   chance.
13           THE WITNESS: I don't recall that.           13          DR. COWELL: Thank you.
14           DR. DALY: You don't. So something           14          MR. QUEENAN: I'm still trying to
15    happened, somebody became a model but you're       15   clarify because you're the second person now
16    not sure how that happened?                        16   that has come up and basically essentially
17           THE WITNESS: I'm not sure.                  17   made this kind of almost a humorless event.
18           DR. DALY: Got you. I understand.            18   You made this sound like it's an almost
19           The other -- there has been this            19   humorous event when they are examining am
20    floating thing about Dr. Dua and Dr. Maitin.       20   I'm trying to -- the point I'm trying to get
21    And it's been said a couple of times "I don't      21   to --
22    want to imply anything but."                       22          THE WITNESS: I wouldn't use the
23           Can you just tell us more.                  23   word humorous. I wasn't trying to be
24    Dr. Maitin is still here. Where is Dr. Dua         24   humorous.

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 1          MR. QUEENAN: No, humorless.                  1    Chair's permission. I have these nine on
 2          THE WITNESS: Humorless.                     2     call. I can let them know they don't have to
 3          MR. QUEENAN: Like the whole                 3     come.
 4   examination process there was never any kind       4            MR. QUEENAN: They don't need to
 5   of jovialty at all to it which -- is that          5     come.
 6   correct? There was never any kind of -- no         6            MR. CASTOR: It's all the same
 7   one ever laughed, no one ever -- this never        7     stuff.
 8   happened?                                           8           DR. DALY: They do not have to
 9          THE WITNESS: Not on my end.                  9    come. If you wish to text them during this
10          MR. QUEENAN: You don't recall any?          10    part you are certainly welcome to, either you
11          THE WITNESS: Yes.                           11    or your colleague.
12          MR. QUEENAN: Okay, that's fine.             12
13          THE WITNESS: It's eight in the              13           DR. DALY: The court reporter will
14   morning there. It's kind of early, so not my       14    swear you in. If you could give her your
15   end.                                               15    name and spelling of your name.
16          MR. QUEENAN: I've been through the          16           THE WITNESS: Ilya Ilgonikov,
17   exams, I've selected people for the exams.         17    I-L-Y-A I-L-G-0-N-I-K-O-V.
18          DR. DALY: Anything else from you,           18           ILYA ILGONIKOV, M.D., after having
19   Dr. Lin?                                           19    been first duly sworn, was examined and
20          DR. LIN: No.                                20    testified as follows:
21          DR. DALY: Thanks very much. We              21
22   appreciate you're being here. Thank you very       22           EXAMINATION
23   much. You can leave now. Thank you.                23
24          (Witness excused.)                          24
                                             Page 175                                                   Page 177
 1          DR. DALY: Can I ask you, though,             1 BY DR. WEINIK:
 2   how many additional and what is the relevance       2    Q. Thank you, Doctor, for coming. Thank
 3   of some of these that you have for the              3 you for being patient and thank you for arranging
 4   people? So, first, how many.                        4 your schedule to be here.
 5          DR. WEINIK: Two I think.                     5           You and I know each other?
 6          MR. CASTOR: I think there's two              6    A. Yes.
 7   more, and Dr. W einik.                              7    Q. How is it that we know each other?
 8          DR. DALY: And Dr. Weinik,                    8    A. You helped train me and you have been my
 9   certainly, and closing statements.                  9 mentor for most of residency as well as since.
10          MR. CASTOR: In answer to one of             10    Q. And you eventually became a chief
11   the questions that I was asked earlier, I          11 resident as well?
12   have nine that are on call that would testify      12    A. Yes.
13   essentially the same as the ones you have          13    Q. So you and I worked together?
14   heard.                                             14    A. Yes.
15          MR. QUEENAN: This individual was            15    Q. Did you ever see anything that led you
16   kind of the same testimony as the last one.        16 to conclude that I spent more time with young
17          MR. CASTOR: Yes, but I kind of              17 female patients than with other patients?
18   think he eyewitnessed something. I do think        18    A. You definitely spent more time with
19   it's important.                                    19 certain patients but you spent more time with, you
20          DR. WEINIK: The importance of               20 know, most of your patients than other doctors
21   these individuals is that they are from            21 that I know. VIP patients that came in you spent
22   different years.                                   22 with more time, female patients in general you
23          DR. DALY: That's fine.                      23 spent more time with. You know, you gave the
24          MR. CASTOR: I wanted to ask the             24 patients the time that they needed.

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                                             Page 178                                                 Page 180
 1     Q. Do you agree with any claim that I only        1 resident for most of his residency. He was
 2 used female residents as models?                      2 delinquent and late as a PGY-2 when I knew him as
 3     A. Absolutely not.                                3 well as a PGY-3, and I heard that that only got
 4     Q. Were you yourself such a model?                4 worse from one of his -- from one of the chiefs
 5     A. I have, yeah, been your model on               5 during his PGY-4 year.
 6 multiple occasions.                                   6    Q. Are you aware that Dr. -- are you aware
 7     Q. Were you at Temple -- when you were at         7 of Dr. Acevedo being angry with me when he did not
 8 Temple did you know a doctor named Phillip            8 get a particular fellowship in York, Pennsylvania?
 9 Acevedo?                                              9    A. I have heard that account, yes.
10     A. I did.                                        10    Q. Tell us what you know about that.
11     Q. So if Dr. Acevedo insists that I only         11    A. That within a short period of time of
12 used females models, is he lying about that?         12 him not getting that fellowship that some of those
13     A. That is the absolutely not true.              13 complaints came about.
14     Q. Was Dr. Acevedo in the residency              14    Q. Do you have any knowledge one way or the
15 program?                                             15 other whether I had any hand in Dr. Acevedo not
16     A. Yes.                                          16 getting a fellowship in York?
17     Q. Are you aware of an incident where Dr.        17    A. I don't know about that.
18 Acevedo accused me of exposing too much buttocks     18    Q. How about a resident named Cora Brown,
19 in the preparation for an injection?                 19 do you know her?
20     A. I have heard of that incident, yes.           20    A. Unfortunately, yes.
21     Q. Tell me what you know about that              21    Q. How do you know her?
22 incident.                                            22    A. She was one of my co-residents in my
23     A. I heard that you were performing a            23 class.
24 sacroiliac joint injection, you draped the           24    Q. Why do you say unfortunately?
                                             Page 179                                                 Page 181
 1 patient. Supposedly Dr. Acevedo felt                  1     A. Cora Brown was by far the most
 2 uncomfortable with that and stepped out of the        2 untrustworthy and vindictive and poorly ethical
 3 room, and that he thought it was inappropriate and    3 physician that I have met at my time at Temple.
 4 that no one else in the room, you know, had any       4     Q. So this is your experience concerning
 5 discomfort with that and you did the procedure.       5 her at work ethic and character?
 6 The patient didn't complain. Nothing came of it       6     A. And I think -- I have had multiple
 7 as far as I was concerned -- as far as I heard.       7 conversations with other physicians, attendings,
 8    Q. Do you know Dr. Williams?                       8 Dr. Maitin in particular, as well as most of my
 9    A. Yes.                                            9 co-residents that would agree that she lacks
10    Q. Are you aware with that Dr. Williams was       10 quality of care and work ethic.
11 a witness to this particular procedure?              11     Q. During what period of time, what years
12    A. Yes.                                           12 would you say?
13     Q. As between Dr. Williams and Dr. Acevedo,      13     A. For all of the residency. I mean from
14 whose account of what happened would you believe?    14 the very beginning she was trying to get out of
15    A. I don't know how you can drape a patient       15 any kind of work that she could. She openly
16 inappropriately for that procedure. You know,        16 flaunted taking money to go to the AAPM&R
17 when you do a sacroiliac joint injection you have    17 conference, our national conference. She openly
18 to expose a large area to be sterile.                18 bragged about taking the money, signing up to go
19 Furthermore, I don't know what -- from what          19 to that conference and then not going and keeping
20 experience Dr. Acevedo would draw other than the     20 the money. She was bragging about that to people
21 teachings of yourself and Dr. Williams to do that    21 in my class.
22 procedure.                                           22     Q. Was she prosecuted for that?
23    Q. What sort of resident was Dr. Acevedo?         23     A. No.
24    A. I mean Dr. Acevedo had trouble as a            24     Q. Did Temple know about that?

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                                                    Page 182                                                 Page 184
 1    A. Not that I am aware of.                                1 thinks about me and I just try to stay out of her
 2    Q. Again, for example, as between Dr.                     2 way.
 3 Williams and Dr. Brown, if describing the same               3    Q. So you would doubt any credibility with
 4 incident, who would you believe knowing them both            4 anything that they would share about their
 5 as you do?                                                   5 personal experiences?
 6    A. I mean I would trust Dr. Williams'                     6    A. Cora Brown, absolutely. I would not
 7 character far above Dr. Brown's.                             7 trust a word that she says.
 8           DR. WEINIK: Thank you very much.                   8    Q. Have you ever been witness exposed to
 9    I know it was difficult. I appreciate you                 9 participate in any communication where you have
10    being here.                                              10 heard the term "They just got Weinik-ed" or
11          DR. DALY: Dr. Cowell.                              11 "That's just Weinik being Weinik"?
12                                                             12    A. Yes, but not in the context I think you
13            EXAMINATION                                      13 mean. I mean --
14                                                             14    Q. What do I mean?
15 BY DR. COWELL:                                              15    A. I think you mean in terms of like
16    Q. Thank you for being patient with us.                  16 examining young female patients as was kind of
17 Just a few questions.                                       17 brought up in the initial examination. I mean
18          One, I'm very impressed with the                   18 Dr. Weinik was not known for his efficiency. And
19 comments you made about the mentorship that                 19 so when someone says oh, that's a Weinik patient,
20 Dr. Weinik has provided you and I'm very impressed          20 that to me means that's a patient who Weinik was
21 about some of the comments you had about Dr. Brown          21 going to take a longer amount of time for.
22 and Dr. Acevedo.                                            22    Q. Why would you interpret that that's what
23          What would Dr. Brown and Dr.                       23 I meant?
24 Acevedo have to say about you?                              24    A. Because that was the initial commentary
                                                    Page !83                                                 Page 185
 1     A I tried to mentor Dr. Acevedo when he         1 that I got in the initial questioning.
 2 was a young resident. I would like to think that    2            DR. COWELL: Thank you.
 3 he would speak highly of me. I never really got     3            DR. DALY: A couple of things I
 4 into any conflict with him. I tried to kind of      4    might ask you. You talked about the Acevedo
 5 mentor him. Particularly when he was a PGY-2 he     5    event, that is the woman with the buttocks.
 6 had an episode when he had a seizure and he had     6    How did you hear about that and when did you
 7 difficulty coming back to his -- to being a         7    hear about that?
 8 resident full time afterwards. He took I believe    8            THE WITNESS: I mean I heard about
 9 one or two weeks off during his PGY-2 year to kind  9    it from several of the residents.
10 of recover from that. And, you know, after that    10            DR. DALY: At the time that it
11 time when he did come back there was some question 11    happened or more recently?
12 about, you know, whether he fully capable and he   12            THE WITNESS: Afterwards,
13 confided in me and said, you know, "I'm not fully  13    afterwards when this started transpiring.
14 there but I'm afraid to admit that." And I tried   14            DR. DALY: So not until this event
15 to tell him hey, you need to be honest in this     15    in which there were some accusations relative
16 situation.                                         16    to Dr. Weinik you mean?
17            So I would like to think that, you      17            THE WITNESS: Yes.
18 know, he and I have enough of a rapport where I    18            DR. DALY: Is that when you're --
19 would -- he would speak highly of me.              19    I'm just trying to get a sense of time.
20            Cora Brown, I quickly learned that      20            THE WITNESS: Yes.
21 I would not be friendly or collegial with her. I   21            DR. DALY: So that then became,
22 tried to stay out of her way as I know most people 22    became general knowledge amongst the
23 did because I know for a fact she's very           23    residents, is that what you are saying --
24 vindictive. And I honestly don't know what she     24            THE WITNESS: Yes.

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1           DR. DALY: -- after the Medical               1          THE WITNESS: I don't know if they
2    Staff Executive Committee was interviewing a        2   made phone calls on my behalf. They
3    number of residents, et cetera?                     3   definitely answered phone calls on my behalf
4           THE WITNESS: After Dr. Weinik was            4          DR. DALY: Would that -- okay. So
5    removed from his employment.                        5   do you owe your job to either Dr. Weinik,
6           DR. DALY: So after that. But not,            6   Dr. Maitin for some of that?
7    not anywhere near the time that the event           7          THE WITNESS: To Dr. Weinik
8    occurred?                                           8   partially.
9           THE WITNESS: No.                             9          DR. DALY: I see. All right.
10          DR. DALY: So this -- and would              10   Karen.
11   that be the same thing with hearing about          11          DR. LIN: You made some --you have
12   this fellowship relative to this gentleman,        12   some very strong feelings with regard to
13   that he might not have gotten a fellowship in      13   Dr. Cora Brown.
14   York because of something that Dr. Weinik did      14          THE WITNESS: Yes.
15   or did not do? Would that have also occurred       15          DR. LIN: And one of the adjectives
16   more recently now?                                 16   you said specifically was vindictive.
17          THE WITNESS: Yes.                           17          THE WITNESS: Mm-hmm.
18          DR. DALY: Rather than before. So            18          DR. LIN: What kind of -- were
19   a lot of this has been things that you have        19   there any specific encounters that you two
20   heard within the last whatever number of           20   had that kind of lead you to that? What were
21   months?                                            21   examples that kind of lead you to say that
22          THE WITNESS: Yes.                           22   she was vindictive?
23          DR. DALY: Not back previously?              23          THE WITNESS: I mean I knew of the
24          THE WITNESS: No.                            24   incidents between -- so I was a chief
                                             Page 187                                             Page 189
 1           DR. DALY: I see. So it's -- I          1        resident my PGY-4 year and there were a
 2   just tried to get a sense that some of this    2        couple of things that happened in trying to
 3   has become knowledge with people talking       3        get her to take, you know, not necessarily
 4   amongst people about what's transpired since 4          extra call but to do what was expected of
 5   the Medical Staff Executive Committee has      5        her, her expected job. There was one
 6   either interviewed people or talked, et        6        rotation we work out in Abington where you
 7   cetera.                                        7        have to cover a weekend and her trying to
 8           THE WITNESS: Yes.                      8        excuse herself from that and I was trying to
 9           DR. DALY: I see. So that's your        9        reinstate or reinforce, no, you have to do
10   frame of reference and knowledge.             10        your job turned into, you know, her
11           THE WITNESS: Yes.                     11        threatening not to do other parts of her job
12           DR. DALY: I got you. I understand 12            or her trying to like back out of other
13   now a bit more. Okay. And where are you 13              obligations.
14   now? I'm sorry.                               14               You know, I have had conversations
15           THE WITNESS: University of            15        with Amber in the past where she's said, and
16   Pennsylvania.                                 16        I quote, you know, she's afraid to cross or
17           DR. DALY: Doing what?                 17        kind of reprimand Cora particularly in person
18           THE WITNESS: Interventional.          18        because she's afraid that she will, you know,
19           DR. DALY: You're in PM&R. You're 19             come after her job or something, you know, i
20   a faculty member there?                       20        something doesn't go her way.
21           THE WITNESS: Yes.                     21               DR. DALY: Do the faculty rate the
22           DR. WEINIK: I see. And did            22        residents on a regular basis in terms of --
23   Dr. W einik or Dr. Maitin help you in terms o 23               THE WITNESS: Here?
24   getting that position?                        24               DR. DALY: Do they have faculty

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 1   meetings, the PM&R faculty I mean rate the          1   prepare for one of these things and maybe
 2   residents how they are doing, how they are          2   that's why he thought that this was not
 3   progressing, things like that?                      3   draped properly. But you're saying he was
 4          THE WITNESS: Yes.                            4   towards the end of his career.
 5          DR. DALY: And are you aware of any           5          THE WITNESS: I think it was at the
 6   derogatory comments or bad ratings for either       6   end of his.
 7   of these people, Acevedo or Cora Brown?             7          MR. QUEENAN: I'm just trying to
 8          THE WITNESS: As their co-resident            8   flesh out some things.
 9   I was never --                                      9          THE WITNESS: As far as I know,
10          DR. DALY: You weren't aware of any          10   this incident happened during his PGY-4 year.
11   of that?                                           11          MR. QUEENAN: And both of these
12          THE WITNESS: No, that was above my          12   residents obviously graduated, Brown and
13   level at the time.                                 13   Acevedo?
14          DR. DALY: As chief resident did             14          THE WITNESS: Yes.
15   you participate in any of that? You did not?       15          MR. QUEENAN: They did?
16          THE WITNESS: No. We helped kind             16          THE WITNESS: Yes.
17   of reprimand and kind of steer the ship but        17          MR. QUEENAN: Some questions about
18   we weren't involved in any formal.                 18   the honesty, certain things of their
19          DR. DALY: I understand. Some                19   character. It was common knowledge this
20   programs are.                                      20   person essentially stole money from Temple?
21          THE WITNESS: Yes.                           21          THE WITNESS: Amongst the
22          DR. DALY: Thank you.                        22   residents.
23          Anything?                                   23          MR. QUEENAN: Do you know who had
24          MR. QUEENAN: I'rn trying to get the         24   oversight on those type of things?
                                             Page 191                                               Page 193
 1   timing down. So there's some question about 1                  THE WITNESS: I mean Amber and me
 2   the application for the fellowship, Acevedo    2        as coordinator and program director.
 3   was upset about that. This incident, though,   3               But yeah, I mean this was something
 4   occurred before he ever applied for            4        that was like within our class of residents
 5   fellowship. It would seem to be given --       5        I -- we heard about this. But, again, it's
 6          THE WITNESS: That I don't know          6        like I was saying, you know, we kind of
 7   about the timing.                              7        heard -- I didn't want to cross her. I
 8          MR. QUEENAN: You had applied            8        didn't want to having anything -- you know,
 9   yourself toward the end of your residency      9        I'm staying out of this person's way, you
10   career I think.                               10        know.
11          THE WITNESS: There are several         11               MR. QUEENAN: Okay. Thanks.
12   fellowship applications and depending on the 12                DR. DALY: Anything else?
13   accredited pain fellowship matches at the enc 13               MR. QUEENAN: No.
14   of one's PGY-3 year and then there's a        14               DR. LIN: No.
15   unaccredited sports and spine match October 15                 DR. DALY: Thanks very much. You
16   of your PGY-4 year, and then I'm not sure     16        can go now. We appreciate it.
17   which of those Dr. Acevedo was applying for 17                 (Witness excused.)
18   but I think this incident happened            18               DR. WEINIK: Final outside witness,
19   afterwards.                                   19        Dr. A vema. Thank you for coming in. Please
20          MR. QUEENAN: Late in his career? 20              have a seat.
21          THE WITNESS: Later in his PGY -- 21                      THE WITNESS: Of course.
22          MR. QUEENAN: I was under the           22               JUSTIN A VERNA, D.O., after having
23   impression he would not really have           23        been first duly sworn, was examined and
24   understood the full way to drape, prep,       24        testified as follows:

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                                             Page 194                                                  Page 196
 1          THE WITNESS: Justin Avema,                1    Q. During the time we worked together you
 2     A-V-E-R-N-A.                                   2 and I were in a position to see and interact --
 3                                                    3 you were in a position to see and interact with me
 4             EXAMINATION                            4 many patients; is that correct?
 5                                                    5    A. Correct.
 6 BY DR. WEINIK:                                     6    Q. Assuming that Temple investigators have
 7     Q. Thank you for coming so far from New        7 accurately reported what Dr. Acevedo told them, do
 8 Mexico, Dr. A vema.                                8 you agree with his accusations concerning the
 9    A. Of course.                                   9 amount of time I spent with young female patients?
10    Q. Thank you for being patient and waiting 10        A. I do not. Can I elaborate on that?
11 to be the last one to speak tonight.              11    Q. What were your observations?
12           Is this matter the only reason you      12    A. So my observations are you have had
13 became for your trip?                             13 patients for 20, 30 years that you see on a
14    A. Correct.                                    14 frequent basis. It can be an 80 year old with a
15    Q. Do you and I know each other?               15 hip bone on bone and you spend 40 minutes with
16    A. Yes, we do.                                 16 them and you spend the same amount of time with
17    Q. How do we know each other?                  17 the majority of your patients, I think especially
18    A. I think I met you back in 2008 when I       18 the ones where there is a history where you have
19 suffered a spine injury.                          19 known the family, the whole family comes in and
20           MR. CASTOR: A little louder             20 you check in with the daughters and the brothers
21    please.                                        21 and the sisters. So I think it's an inaccurate
22    A. I met you in 2008 when I suffered a         22 accusation to say that, you know, you spend more
23 spine injury. I saw you in the outpatient clinic. 23 time with young females in the outpatient clinic.
24                                                   24    Q. If Dr. Acevedo insists that this is fact
                                              Page 195                                                  Page 197
 1 BY DR. WEINIK:                                         1 as opposed to his opinion, that I took longer with
 2     Q. During that period of time did we work          2 young female patients, based on your experience
 3 together at Temple?                                    3 would that be truth or a lie?
 4    A. Subsequently, yes, as a medical student          4     A. Well, knowing him as a problem resident,
 5 as then as a resident.                                 5 that would be a lie for sure.
 6     Q. And during that time frame did you also         6     Q. When you were a resident and chief
 7 know two residents, Dr. Acevedo and Dr. Dua?           7 resident did you know another resident named Dr.
 8     A. Correct, I know both, yes.                      8 Dua?
 9     Q. How do you know them?                           9     A. I did, yes.
10     A. Dr. Dua was in the class ahead of me and       10     Q. I'm sorry, let me go back a little bit.
11 Dr. Acevedo was a PGY-2 when I was a chief during     11 Can you tell me why you think Dr. Acevedo was a
12 my PGY-4 year.                                        12 problem resident?
13     Q. Do you have a general idea why you are         13     A. Well, me and the other chiefs had to
14 here today?                                           14 meet multiple times, one about his
15     A. Yes, I do.                                     15 professionalism, showing up late, being suspended
16     Q. And what is that understanding?                16 from the hospital for not doing dictation in a
17     A. I guess some allegations against your          17 timely manner, from other attendings coming to the
18 character and things of that nature.                  18 chief saying we don't feel that he's safe on the
19     Q. Temple investigating doctors have              19 floors taking care of patients. Also, to his
20 testified that Dr. Acevedo told them that I made a    20 attitude with superiors in terms of being
21 habit of spending more time with young female         21 attendings in general. He rubbed a lot of
22 patients as compared to other patients. Are you       22 attendings the wrong way and did not work well or
23 aware of this accusation against me?                  23 really was not good in a team environment.
24     A. Yes, I have heard the accusation.              24           So me personally, I had to take him

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  l under my wing and kind of groom him how to be an                l     A. Yes, I do.
 2 adult and you're a physician and this is how we                  2     Q. Explain how that works.
 3 work in the hospital and things of that nature.                  3     A. So essentially either someone volunteers
 4           There's just multiple things. He                       4 or someone is called up and Dr. W einik would kind
 5 failed his boards, he should have been dismissed.                5 of go through a kind of head to toe, shoulder,
 6 I mean he was just one of the residents we had                   6 hip, knee and a certain part of the body is
 7 frequent meetings about as chiefs.                               7 examined. So a former chief, a co-chief, Adam
 8     Q. When you were a resident and chief                        8 Mullan, he had the shoulder so he was shirtless
 9 resident did )'ou know another resident named Dr.                9 for an hour and was examined on stage in front of
10 Dua?                                                            10 everyone for an hour. And then, you know, other
11     A. Yes.                                                     11 people picked different body parts, hip, knee,
12     Q. Are you aware of another allegation                      12 ankle, spine. And it was just either volunteer
13 against me that at a lecture between four and six               13 or, you know, someone was called out of the
14 years ago between January of 2012 to 2014 I acted               14 audience.
15 inappropriately with Dr. Dua while she acted as a               15     Q. Do you recall anything out of the
16 model?                                                          16 ordinary about that event where Dr. Dua acted as a
17     A. Yes, I know the allegation.                              17 model with me?
18     Q. Were you at that lecture?                                18     A. Say that again. I'm sorry.
19     A. I was.                                                   19     Q. Do you recall anything out of the
20     Q. Where did the lecture take place?                        20 ordinary about the event where Dr. Dua acted as a
21     A. At PCOM.                                                 21 model with me?
22     Q. Can you describe the lecture, what the                   22     A. I do not, no.
23 lecture was about and how many people were there?               23     Q. Do you recall me making comments or
24    A. Yes. So the lecture was a hands-on                        24 jokes at Dr. Dua's expense making the class laugh?
                                                        Page 199                                                  Page 201
 I musculoskeletal course that the chiefs, myself and               l     A. No, I do not.
 2 the chiefs above me schedule every year at PCOM                  2     Q. Do you recall me touching her in a way
 3 and it would be a hands-on manipulation room. So                 3 you thought to be inappropriate?
 4 essentially it's examination tables similar to                   4     A. No, for sure.
 5 massage tables. Approximately 30 residents are                   5     Q. And by the way, I ask this again. When
 6 there. All the medical students are there.                       6 I asked if the room was wired for sound and video,
 7           It's a once-a-year kind of off                         7 was it also wired to amplify my voice?
 8 location kind of specialty hand-on learning. So                  8     A. Yes, you had a mic on.
 9 it's ingrained in my mind because it's a pain to                 9     Q. Do you think you would have noticed had
10 schedule and accommodate PCOM students as well as               10 I humiliated one of your residents, fellow
11 our faculty here at Temple.                                     11 residents at this lecture?
12           And essentially Dr. Weinik is                         12     A. Of course, because the examination table
13 leading that. He's on stage, an elevated stage                  13 is up on the stage and there's a camera pointing
14 and there's a camera that you can see straight                  14 down to exactly where your hands are on the body
15 down on the patient as well as you can see                      15 and what you are doing at that time. So it would
16 Dr. Weinik. There's multiple views. And during                  16 have been grossly obvious if it was inappropriate
17 those examinations he would call up both male and               17 or out of character or she would have responded in
18 females for examination of the shoulder, knee,                  18 a way in which, you know, she felt it was
I 9 hip, whatever kind of musculoskeletal examination.             19 inappropriate. But she remained on the
20 And that was a good three- to four-hour, yes,                   20 examination table, so I don't remember anything
2 I probably three- to four-hour hands-on learning                 21 out of character or anything inappropriate.
22 experience in lieu of our grand rounds.                         22     Q. Were there any-- were my words
23    Q. Do you recall Dr. Dua acting as a                         23 appropriate during that?
24 demonstration model?                                            24     A. Yes.

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 1     Q. I didn't say anything that would seem            1 BY DR. COWELL:
 2 offensive to you or other people?                       2    Q. Thank you for being so patient.
 3    A. No.                                               3    A. Sure.
 4     Q. Are you confident that I did not?                4    Q. I just wanted to clarify a few things.
 5    A. Yeah. I mean we are at a guest campus             5 Dr. Acevedo, you mentioned --
 6 and we have fellows from PCOM there and we have         6           DR. WEINIK: His name is
 7 medical students in attendance and all the              7    Dr. A verna.
 8 residents and that would be the worst time to say       8           DR. DALY: He's asking --
 9 things inappropriately and I don't remember             9           MR. QUEENAN: He's asking about
10 anything inappropriate so ...                          10    Dr. Acevedo.
11    Q. So who is Dr. Maitin?                            11           DR. WEINIK: Excuse me.
12    A. So during my stay here he was the chair          12 BY DR. COWELL:
13 and the program director and subsequently was just     13    Q. Dr. Acevedo's credibility based on the
14 the program director once I left.                      14 few encounters that you had that shed some shade
15     Q. And what was the other change? It was           15 on that. Do you suggest that anything coming from
16 just a program director. Did I change my position      16 his behavior would suggest it less than being
17 during that time?                                      17 credible?
18    A. Y «S, I believe you became intern chair          18    A. Oh, sure. Even as chief resident
19 as Temple felt there was a conflict of interest        19 directly overseeing him he should have been fired
20 for one person to be both the program director and     20 on multiple occasions for his behavior, his
21 the chair which doesn't exist in medicine but it       21 unprofessionalism. We had to give him extra
22 did here.                                              22 calls. I mean he had a lot of extra chances and
23     Q. Now, I am not trying to imply anything          23 probably at any other institution he would have
24 improper. But did you ever become aware of rumors      24 been fired.
                                               Page 203                                                  Page 205
 1 that Dr. Dua and Dr. Maitin were friends?               1     Q. Who was the chair during the time frame
 2    A. Yeah, I heard that on multiple                    2 when you think he should have been fired?
 3 occasions. And even more so as a chief we would         3     A. Dr. Maitin.
 4 meet frequently with you and with Dr. Cruz and          4     Q. So over the extended period was
 5 with Dr. Maitin, and on multiple occasions she          5 Dr. W einik every chair?
 6 would be in his office when she was on a different      6     A. No. Dr. Maitin was chair in title but
 7 rotation and she would be like, "Oh, today was a        7 the chiefs would discuss things and Dr. Maitin
 8 slow day and I just decided to stop by." And I          8 would let us decide because he was, I don't want
 9 can remember five to seven instances of seeing her      9 to say not present but he was not involved.
10 in his office when she was supposed to be on her       10     Q. With Dr. Dua, how was Dr. Dua selected
11 rotation in New Jersey or at Children's Hospital       11 as the model for that particular scenario that was
12 or elsewhere. So that clearly is ingrained in my       12 being --
13 mind as something that's not normal or --              13     A. I believe she volunteered. I don't
14 especially in that frequency.                          14 remember specifics but I believe she volunteered.
15     Q. Did the Temple investigators ever to            15     Q. So Dr. Weinik didn't select her?
16 your knowledge try to contact you to discuss my        16     A. Not to my knowledge, no.
17 case and what you might know about it?                 17     Q. I have heard this reference about
18    A. No.                                              18 friends, Dr. Dua and Dr. Maitin. I was suggesting
19            DR. WEINIK: That's it for me.               19 that -- I guess we can leave it up to our
20            DR. DALY: Dr. Cowell.                       20 interpretation to figure what the implication
21                                                        21 means. Can you clarify that for me just so I can
22             EXAMINATION                                22 understand what the relevance of a friend is?
23                                                        23     A. Yeah. So kind of residents have the
24                                                        24 responsibility and duty to be on a service and she

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 1 spent a lot of time in his office, not just noted      1   you about that?
 2 by me and my co-chiefs but the chiefs above me who    2           THE WITNESS: I think I initially
 3 were in her class. I don't want to suggest             3   heard it from a chief resident, I haven't
 4 anything but something might have been going on        4   talked to Dr. W einik for a while, down in
 5 between the two of them to be spending so much         5   Florida. Adam Mullan stated I guess --
 6 time together. I don't know that as a fact             6          DR. DALY: He was one of your
 7 but. ..                                                7   co-chiefs?
 8    Q. Okay.                                            8          THE WITNESS: Yes. We talk
 9    A. I'm not randomly hanging out in, you             9   frequently and he said I guess Dr. W einik is
10 know, a female attendings' office during my down      10   on administrative reason for some reason. m
11 time or whenever rotation is slow.                    11   didn't know.
12    Q. So you don't know?                              12          DR. DALY: Did you get a chance to
13    A. I don't know but frequently the door was        13   talk with any other folks in the room about
14 closed and knock on the door and she would be         14   any of this?
15 there so ...                                          15          THE WITNESS: No. They just said
16    Q. So, what is the implication that they           16   it was grilling is all they said. No
17 were friends? I'm still trying to understand what     17   specifics.
18 the relevance is.                                     18          DR. DALY: Nice people but
19    A. I don't know. It's kind of the same             19   grilling.
20 questioning we have here. It's kind of for your       20          THE WITNESS: They said it was
21 interpretation I believe.                             21   intense, that's all, which it is. This isn't
22           DR. COWELL: Thank you so much.              22   a normal thing.
23           DR. DALY: Justin, thanks very much          23          DR. DALY: Well, it's not normal,
24    for coming in. At the very beginning I think       24   no. It's not 5:30 at night. You came in at
                                              Page 207                                              Page 209
 1     Dr. Weinik said you came from afar. Where 1            3:00 a.m.
 2     are you?                                      2                One of the comments made by one of
 3            THE WITNESS: Albuquerque, New          3        the people, and there's a large number so you
 4     Mexico.                                       4        can't deduce from whom, but made some
 5            DR. DALY: Where?                       5        comments about offhanded remarks, comments,
 6            THE WITNESS: Albuquerque.              6        jokes, et cetera, that Dr. W einik might make
 7            DR. DALY: That's a long way.           7        in the course of a day that some might find
 8            THE WITNESS: Yeah.                     8        inappropriate. Was that true from your
 9            DR. DALY: I have been to               9        knowledge of your working with him? You were
10     Albuquerque.                                 10        pretty intimate with all the faculty.
11            THE WITNESS: I canceled my clinic 11                    THE WITNESS: Yeah, but I think
12     and got here at 3:00 a.m. this morning.      12        that's true of any -- we are blowing off
13            DR. DALY: That's a long way and a 13            steam. Even at work when I am with my
14     long flight. Did you pay for that yourself   14        colleagues in close quarters we talk about
15     to fly in and do all this?                   15        patients in certain ways but it's not like
16            THE WITNESS: Yes. I canceled my 16              it's deliberate. It's more just blowing off
17     clinic. I'm a board certified physical       17        steam, things of that nature.
18     medicine rehab doc and interventionalist. I 18                 But I don't remember anything in
19     cleared my schedule without objection to be 19         terms of Dr. Weinik speaking poorly about any
20     here to defend a man that has worked hard fo 20        individual in particular.
21     30 years and had some odd allegations in     21                DR. DALY: I wasn't thinking about
22     recent classes, so. . .                      22         speaking poorly about any individual. I'm
23            DR. DALY: And how did you come tc 23            thinking more about comments that you might
24     be aware of these allegations? Who talked to 24         deem inappropriate that you might not say in

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 1   your job there in New Mexico.                  1                DR. LIN: Out of how many?
 2           THE WITJ\TESS: I would say not, not 2                   THE WITNESS: Ten. Now it's nine,
 3   during the working day, no, for sure.          3        nine residents here.
 4           DR. DALY: After hours you are          4                DR. LIN: So at the time it would
 5   talking about?                                 5        be ten to 20 percent of the program were
 6           THE WITNESS: If we are grabbing        6        women?
 7   beers and we talk about things here and there 7                 THE WITNESS: I have to look at our
 8   that are relevant during our day, as well you  8        roster.
 9   do here with your colleagues.                  9                DR. LIN: Ish, with the majority
10           DR. DALY: I don't grab beers. I       10        men?
11   don't drink.                                  11                THE WITNESS: Yes.
12           THE WITNESS: Or wine or spritzers. 12                   DR. LIN: Were there ever any-- as
13           DR. DALY: We won't get into that.     13        a chief -- I don't know how the residency
14   Thank you for your interest, though, in my    14        program works. Is it all PGY-4?
15   drinking habits.                              15                THE WITNESS: No. So the chiefs
16           And so the other implication was      16        are voted on by faculty and the residents for
17   that you and other chief residents got        17        promotion to be chief.
18   together and talked about your co-residents 18                  DR. LIN: And so how many chief
19   or residents beneath you.                     19        residents --
20           THE WITNESS: Yes. So I will kind 20                     THE WITNESS: It's not like it's
21   of fill out that dynamic for you. So Dr.      21        your fourth year.
22   Maitin was the chair. So he was a captain     22                DR. LIN: Right.
23   who was asleep at the ship -- at the wheel    23                THE WITNESS: There were four of u
24   and so the chief residents had to do all the  24        my year.
                                             Page 211                                                Page 213
 1   work. And a lot of times we wouldn't call           1          DR. LIN: Four out of the ten?
 2   Maitin because it would be too much to ask of       2          THE WITNESS: Yes.
 3   him so we would always have to reach out to         3          DR. LIN: Would you say that -- I
 4   Dr. Weinik or Dr. Cruz. That's how most of          4   mean it sounds like you as chief residents
 5   the decisions were made.                            5   really took the helm and had to have the
 6         DR. DALY: These would be decisions            6   pulse of what was going on in the residency
 7   about what?                                         7   and knew kind of the issues?
 8         THE WITNESS: About disciplinary               8          THE WITNESS: Yeah. We had to meet
 9   actions for problem residents, about coverage       9   with Sue Coull on multiple times, yeah.
10   issues with people calling in for bogus            10          DR. LIN: Were there female chief
11   things, about rescheduling lectures, about         11   residents in kind of the years that you were
12   everything. Just the dynamics of how we run        12   there?
13   the program, the chief residents.                  13          THE WITNESS: Yeah, Heather Galgon
14         DR. DALY: Chief residents do like            14   was a chief, probably one of the strongest
15   in many programs.                                  15   chiefs we had. In my class, the two females
16          THE WITNESS: Yes, but they have             16   in my class, they didn't really want to have
17   the assistance of the chair which we didn't        17   that extra responsibility so they didn't kind
18   have. So it's a big difference.                    18   of throw their name in the hat situation.
19         DR. DALY: Okay.                              19          DR. LIN: So it was a kind of
20         DR. LIN: What percentage of the              20   combination of those who were specifically
21   program in the time that you were there were       21   nominated --
22   women and what percentage were men?                22          THE WITNESS: Yeah, it was either
23          THE WITNESS: So now it's 50/50.             23   go in or I don't, other people just wanted to
24   Before that it was one or two a year female.       24   just skate by and graduate, some people want

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 1   to give back and be chiefs, do administrative       1   year and didn't want to work with him again,
 2   roles, work with GME, things of that nature.        2   just his professionalism and kind of
 3          DR. LIN: Right. There are not                3   abrasiveness.
 4   many parts of being a chief resident that are       4           You know, I knew he was struggling,
 5   that glamorous.                                     5   having a hard time. So I was like hey, man,
 6          THE WITNESS: But worth it.                   6   you got to get your act together, you have to
 7          DR. LIN: Did you feel that as, you           7   play nice in the sandbox with the nurses,
 8   know, there -- it's hard to say. You know, I        8   residents, physicians.
 9   think with a gender imbalance sometimes it's        9           DR. DALY: Did that help?
10   hard to know. Would you say that you feel          10           THE WITNESS: I think it did but
11   like you had a good pulse of what was going        11   he's, I don't want to say hard-headed but
12   on in that people would be comfortable coming      12   he's very stubborn. So I think it helped for
13   to the chiefs and that you had a good sense        13   a while and then I could see him kind of
14   of what was going on?                              14   distance himself from us. But then he came
15          THE WITNESS: Yeah, yeah. I mean             15   back once he failed his boards and asked for
16   as I kind of progressed we had a bunch of          16   my advice about what to do, those type of
17   female medical students and I think it is          17   things.
18   just kind of 60/40 now females to males. And       18           DR. DALY: Anything, Joe?
19   I think it's just females are kind of more         19           MR. QUEENAN: I just had a -- you
20   like a lifestyle specialty. A lot more             20   were mentioning kind of Dr. Mai tin's
21   females are gravitating towards that               21   relationship and you mentioned that you
22   flexibility where it might have been               22   wouldn't be in a female attending's office.
23   different years ago.                               23   Would you be in a male attending's office?
24          DR. DALY: When it came to Dr.               24   Would you ever hang out with -- I'm trying tc
                                             Page 215                                              Page 217
 1   Acevedo you talked about the chiefs not             1   figure out what the dichotomy is here.
 2   wanting him to progress, that is terminate          2          THE WITNESS: Well, so the
 3   him, firing him. Was it then -- and Dr.             3   clarification, the distinction here, she was
 4   Maitin you described as being asleep at the         4   in his office when she was not on his
 5   wheel. Was it then Dr. Weinik and Dr. Cruz          5   service.
 6   who said don't terminate him, he's a guy we         6          MR. QUEENAN: I was asking would
 7   are going to keep progressing?                      7   you ever find your way into one of your male
 8          THE WITNESS: Yeah, we kind of                8   attending's offices?
 9   internally did an internal remediation with         9          THE WITNESS: No. The only time
10   him. When he was I guess here at Temple I          10   I hung out in Dr. Weinik's office was when I
11   forget, but he had like 20-some dictations         11   was on his service. I wouldn't just
12   that were three or four weeks overdue              12   randomly.
13   multiple times so we would say you have to go      13          MR. QUEENAN: Because you had made
14   home, you don't have privileges to be on           14   the point of being -- you wouldn't be in a
15   campus, go home and do your dictations. That       15   female attending's office, not just an
16   happened multiple times.                           16   attending.
17          He was late to grand rounds all the         17          THE WITNESS: Female, male,
18   time. We had to institute like a penalty           18   whatever is my liking. So, yeah, it's
19   system. If you were late -- three lates            19   inappropriate, especially if you're not on
20   equals extra call. He ended up taking              20   their service.
21   multiple calls. And then Dr. Van Wine and a        21           DR. DALY: Okay. Anything else?
22   couple other attendings mentioned they would       22           Thanks very much for coming in. I
23   rather not work with him because he was            23   hope you get some sleep. Safe trip back.
24   scheduled to work with him twice during the        24           THE WITNESS: I will. Thank you.

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 1          (Witness excused.)                      1               MR. CASTOR: But only one of them?
 2          DR. DALY: We can -- let me ask the 2                    DR. DALY: No, he could have both.
 3   Panel here first do you want to take a quick   3        We just want to be cognizant of the time. If
 4   bathroom break before the final comments?      4        the witness -- ifhe wants to be a witness
 5          DR. WEINIK: I'm going to testify        5        and then have a closing statement, it would
 6   in my own defense to refute these allegations 6         be best not to be redundant in those two
 7   mperson.                                       7        episodes.
 8          However, before I do that, Dr. Adam     8               MR. CASTOR: You heard that
 9   Mullan, a former resident in the program was 9          instruction. I can't speak for him.
10   unable to come tonight from Florida where ht 10                DR. DALY: We don't want you to.
11   is practicing. He did send me an e-mail       11        Thank you.
12   statement which is short to what he would     12               MR. CASTOR: But he has evidence
13   have testified to and I would like to make it 13        that he wants to present, then he expects
14   part of the record and read it since it is    14        Temple's counsel to close, then he wants to
15   short.                                        15        close.
16          DR. DALY: Can you enter it into        16               DR. WEINIK: It won't be Temple's
17   the record so that we can have it to read     17        counsel. It will be Dr. Cowell and Dr.
18   since it is readable?                         18        Weinik will do it. I'm just asking that
19          MR. CASTOR: Very short. Yes, we 19               there not be redundancy in his being a
20   can.                                          20        witness and his closing statement. So if you
21          DR. DALY: Because we still have -- 21            can craft it in that way, Dr. W einik, we all
22   you still want to do something in your own 22           would be very grateful.
23   defense besides that, do you?                 23               DR. COWELL: There may be some
24          DR. WEINIK: Yes, but I just want       24        overlap. I will do my best to --
                                             Page 219                                                Page 221
 1   to say one or two things about that letter.         1          MR. CASTOR: If you let me ask the
 2           MR. CASTOR: Do you want me to just          2   questions there won't be overlap.
 3   pull it apart?                                      3          DR. DALY: Mr. Castor, I appreciate
 4           DR. DALY: Would you, and give it            4   you're commenting. If you wouldn't do that
 5   to the court reporter so it could be entered        5   anymore I would be very grateful.
 6   into the record?                                    6          DR. WEINIK: I came to Temple as a
 7           DR. WEINIK: Dr. Mullan was at the           7   resident in 1986 and I stayed at TUH, went to
 8   physical examination and he also testifies          8   the mission to serve the needy, the
 9   that he was a model and he also testifies           9   impoverished and to take on the most
10   that he did not see that I, Dr. W einik,           10   challenging cases and, more importantly, to
11   displayed any preference for female models         11   be a teacher and mentor. I trained
12   over male models.                                  12   approximately 300 residents, even more
13           DR. DALY: Thank you. Anything              13   medical students in nearly 30 years without
14   else that you want to say as a witness for         14   blemish until a change in my position for me
15   yourself, Dr. W einik?                             15   and the responsibilities when the interim
16           MR. CASTOR: Well, I'm a little             16   chair -- when I became interim chair with the
17   unclear on the procedure. He has evidence          17   very contested and difficult struggles to
18   that he would present and then he has a            18   follow.
19   closing statement which is argument.               19          To give you some background, in the
20           DR. DALY: Well, he was just                20   year that Dr. Avema was there the residents
21   describing himself, he wanted to be a witness      21   were very disappointed with Dr. Maitin's
22   in his own defense. So he can do that or we        22   performance and in ignoring his -- their
23   can then have it as a closing statement.           23   complaints and their concerns. Citations
24   It's his preference.                               24   were also made for deficiencies at GME. And

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 1   with these increased complaints which went          1   of us together including myself, to make that
 2   through Dr. Coull, Dr. Weigers, to                  2   residency better and we achieved -- then we
 3   Dr. Kaiser, Dr. Kaiser made the decision to         3   had a formal review and there were some
 4   remove Dr. Maitin from the chair of the             4   citations we met and we met everything that
 5   department. He gave me the spot of interim          5   needed to be done after that.
 6   chair.                                              6          So then came the time which -- now
 7          Dr. Maitin was the chair for 15              7   Dr. Cruz and Dr. Maitin -- Dr. Cruz also made
 8   years and PD. Dr. Kaiser said to me your            8   assistant program director under Dr. Maitin.
 9   residency is a mess as well, you have a right       9   Dr. Cruz is Filipino. If you know Filipino
10   to either fire Dr. Maitin, to remove him from      10   culture, you don't go against someone who has
11   that position or the select someone else. We       11   trained you and you don't go against your
12   had really no one else in our department.          12   supervisor. So while Dr. Cruz wanted to be
13   Our department has only five people at that        13   program chair he couldn't voice it to Dr.
14   time.                                              14   Maitin and Dr. Maitin in no way was going to
15          I gave him the opportunity with a           15   let him be program chair. When he confided
16   new program administrator to get those things      16   in me that he wanted to do that, I pushed for
17   done. To say that things went smoothly             17   it and I pushed for it hard, and I was pushed
18   thereafter is a -- would be impossible. Dr.        18   by W eigers as well as Coull. Coull initially
19   Maitin was very aggressive with me, very           19   wanted me to do it and then -- said she
20   angry with me, including having stated in my       20   approved it and then she didn't, she wasn't
21   office, "How did you single-handedly sabotage      21   going to back it up. Weigers initially said,
22   my career?"                                        22   you know, you got to work through this like,
23          I informed him that I did not do            23   you know, do this, and then later flat
24   that, that this was the decision of someone        24   dropped it. And they wanted me to make that
                                             Page 223                                                 Page 225
 1   else. He continued to badmouth me to                1   move and I wanted to make that move because I
 2   residents, he continued to be resistant to          2   was fearful that I would lose Dr. Cruz and
 3   anything I wanted to try to do and including        3   Dr. Cruz has been one of the top trainers in
 4   something that he had promised and I knew he        4   our program. He's a very bright individual.
 5   promised Dr. Cruz, was that he decided he           5   He's widely respected throughout the
 6   would stay as chair and Dr. Cruz who has been       6   hospital. He has an international presence
 7   waiting for many years to be become program         7   as well, and I thought he was very valuable
 8   director would then get his chance to become        8   and I didn't want to lose him for the
 9   program director. I knew of this, I approved        9   training of our residents. To lose him would
10   of that before he lost his program chair.          10   be a great loss. Some would say that he's
11   When he lost -- I'm sorry, before he lost his      11   the best educator in our program most years.
12   chairmanship.                                      12          So unlike the previous years, I had
13          When he lost the chairmanship Dr.           13   supervisory duties now and I had tried to
14   Cruz was -- said to me, "What am I going to        14   change things as well. And I tried to --
15   do, am I going to stay, am I going to leave?       15   pressure really came very strong in December
16   He's the program chair."                           16   and January oflast year because I was trying
17          I said, "I will honor that promise          17   to get Cruz in for this year, for this
18   that made to you but we are going to give him      18   July 1. In fact, what I had thought was I
19   some time to get it together."                     19   tried to get him in, change him over in March
20          Dr. Maitin worked through with the          20   so that he would have time to transition and
21   help of Amber and others in GME and got us         21   Maitin could help him transition.
22   back up. There was a review. We met --             22          In order to keep a bright
23   internal review. There were numerous               23   individual in an academic institution you
24   deficiencies noted. We worked very hard, all       24   have to promote them, you have to promote

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 1   them both academically, promote them           1        things changed there.
 2   research-wise and groom and mentor your        2               People had axes to grind. I will
 3   fellow attendings so that they have goals      3        first address Dr. Acevedo's complaint.
 4   other than just to be a static doctor with a   4        Dr. Cowell had mentioned that Dr. Acevedo
 5   position that has no end. He's too good a      5        indicated that I had in some fashion hurt his
 6   doctor to want to stay that way.               6        chances to be -- to obtain a fellowship in
 7           And so I put a lot of pressure on      7        York, PA. He did not show up on my service
 8   Dr. Maitin to move in, you know, in the        8        that day. The chief residents did not get a
 9   late -- well, in the winter of say November,   9        call from him. He did not arrange backup.
10   '17 through January, fully through January of 10        It was his first day to be on service I
11   '18. And with that this adversarial           11        believe. And so when a resident doesn't shov
12   relationship was born.                        12        up I want to know why they don't show up. I
13           I find it very curious. Let me --     13        want to know if they are sick, I want to know
14   before I go to this. Unlike the previous      14        if they are sad and I want to know if there
15   years now I had supervisory duties and out oJ 15        are other problems.
16   necessity I had to become a disciplinarian.   16                The reason I say that and the
17   In my best lighthearted way, not being        17        reason I hold these residents so close and
18   trained to do this position but thrown in it, 18        the reason I get into these residents' heads
19   not having the advantage of having the        19        and ask sometimes, you know, more personal
20   professional development training, the        20        questions is that during that time we had
21   leadership training that I would have liked, 21         three patients -- three residents with severe
22   I, I was given opportunity, things that I had 22        depression. We had Ellen --
23   to do to try to correct behaviors as Maitin   23                MR. QUEENAN: Three residents is
24   was not doing them.                           24        fine.
                                             Page 227                                                Page 229
 1          There was a great deal of slackness          1          DR. WEINIK: Three residents is
 2   on how to be a professional as you have heard       2   fine. One was depressed when she first
 3   today. And many residents, including Cora,          3   entered and I tried to mentor her to keep her
 4   including Dua, dressed inappropriately              4   to stay in and she really made the decision
 5   including Byas when she said she had a little       5   that she didn't want to be a physician.
 6   black dress. But what wasn't continued in           6          Another one had difficulties with
 7   that conversation was that dress was                7   substance abuse, had difficulties with
 8   inappropriate. It's too short to be on when         8   depression, was not able to function as a
 9   you are a doctor in the hospital. We often          9   physician. We struggled. We sent them to
10   don't wear our coats all the time. We are a        10   psychiatrists and other people. He called me
11   very physical specialty. We examine                11   rather than Maitin. I talked to him in the
12   patients. Sometimes we climb up on the table       12   evenings. And eventually Dr. Maitin made the
13   because if you're going to do manipulation on      13   decision that he was not going to be able to
14   them our tables are not ideal for doing            14   be rehabilitated and that he was given many
15   manipulation so we have to move people. So I       15   chances and he was discharged from the
16   think it's inappropriate to wear a little          16   program. He subsequently committed suicide.
17   short black dress, and that's one of the           17   That left me very shocked and it left the
18   things that came up.                               18   residents very shocked.
19          So I became a target because here I         19          And then we had another patient
20   am being a disciplinarian when I was a good        20   just this last year whose first name was
21   guy all the years before. I was the person         21   Philip and I can't remember his last name who
22   that the residents spoke to. Talking to my         22   also had problems with depression, who also
23   residents I was a mentor to many of them and       23   had to take a leave and who also had
24   now that role had changed somewhat. So             24    concerns.

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 I           And I will mention a fourth                 I   likely have been offered a spot had two or
 2   resident, a female resident who in her senior       2   more people turned down our offers. As you
 3   year had a significant friend, the                  3   are aware, there are many factors that are in
 4   relationship of which we do not know whether        4   play when we choose and rank fellows."
 5   this was a friend or a lover but someone very       5           In fact, Dr. Acevedo did get a
 6   significant in her life died. She started           6   fellowship, and there is a letter from the
 7   not showing up. She started not showing up          7   fellowship director.
 8   for weeks. No one knew where she was. We            8           "To whom it may concern: This
 9   were concerned about her. And we had to go          9   letter is being sent in regards to a
10   to GME to find the address because Dr. Maitin      10   recommendation provided to our interventional
11   didn't want us involved, to get involved to        11   spine and musculoskeletal program for our
12   call and find out where she was and he was         12   next fellow, Phillip Acevedo, by Dr. Weinik.
13   unset about that.                                  13   Dr. Weinik's recommendation positively
14           So to get back to Acevedo, Dr.             14   influenced our decision to offer our
15   Acevedo didn't show up. You were given             15   fellowship position to Dr. Acevedo. Nothing
16   testimony of a phone message, of a text that       16   inappropriate was discussed or otherwise
17   said -- I asked him where he was. He texted        17   mentioned. Dr. Weinik exhibited the utmost
18   back "I'm in York for an interview."               18   professionalism throughout."
19           I said that was not a smart idea.          19           Signed by Dr. Naftulin, his current
20   Dr. Furman, the residency director, is an old      20   fellowship director.
21   friend of mine. In fact, he was one of my          21           DR. DALY: We can enter that as
22   first residents.                                   22   well.
23           Now, you took that, put it in the          23           DR. WEINIK: Dr. Acevedo had me
24   note to mean that that was detrimental to him      24   completely wrong and he led others to believe
                                             Page 231                                                Page 233
 1   and I was threatening him and I used the            1   that I was damning him when, in fact, I was
 2   position of power to do so. Well, would you         2   supporting him. I would have to hold that
 3   be surprised if I presented a letter from           3   his observations of other things are not as
 4   Dr. Furman that states, "This response is of        4   accurate as well.
 5   your correspondence in which you asked              5           I was brought to this because
 6   whether you had positive or negative                6   people have made attestations that I hurt
 7   influences on Dr. Acevedo's fellowship              7   Dr. Furman. It would be simple -- I'm sorry,
 8   application when he last -- when he applied         8   I hurt Dr. Acevedo and damaged his reputation
 9   last year.                                          9   or his ability to get a fellowship. Just the
10          "To respond to your request, I              10   opposite. He damaged mine by making false
11   pulled his fellowship application file. The        11   claims.
12   letters of reference in his file were from         12           It would have been very easy to ask
13   Dr. Maitin, Dr. Cruz and Dr. Schwartz, and as      13   Dr. Acevedo where that program was and to
14   you know, you never provided a letter of           14   call Dr. Furman and see what the situation
15   recommendation for him. Likewise, you and I        15   was. That was not done. I believe there
16   never spoke about him during his application       16   hadn't been -- I haven't been given all the
17   process. We are fortunate that we have very        17   due process to rectify these allegations that
18   strong fellowship applicants. Dr. Acevedo          18   Dr. Acevedo had made.
19   was on our final list of applicants. He was        19           He also made other comments in his
20   ranked lower than our list of the ones who         20   interviews. He states that approximately
21   were offered each of the six available             21   50 percent of the residents program are
22   positions and accepted. He was able to             22   osteopathic and they feel uncomfortable with
23   access our ranking -- I was able to access         23    exams done by Dr. W einik. But there was no
24   our ranking list and Dr. Acevedo would most        24    effort in the MSEC evaluation to find out

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1    from the other osteopathic physicians if they 1           DR. WEINIK: Let me go back to
2    felt that way. Residents will say oh, here's   2   another reason why I feel, an important
3    a young female patient scheduled, Dr. Weini1 3     reason why I feel that people have cited me.
4    will be wow. That's not the case that was      4   Dr. Dua, as you heard, is a close friend of
5    demonstrated today.                            5   Dr. Maitin. In fact, I hear Dr. Dua went to
6           Amber Dzikowski. She testified          6   graduation this year when Dr. Maitin led it.
 7   that Dr. Weinik used his position as a fear    7   Yet there aren't many residents who come back
 8   tactic. He often tells residents they need a   8   year after year.
 9   letter from him. He is notorious for making    9          I was pushing -- Dr. Dua had a
10   phone calls to either praise a resident or    10   relationship with Dr. Maitin that was closer
11   say don't take that resident.                 11   than other residents have had. I was pushing
12           There was no effort made to           12   her mentor and her friend out of a position
13   ascertain if those statements are correct.    13   which he was struggling and fighting to do
14   Did anyone ask any other resident that I did 14    so. I believe that that may be the
15   that?                                         15   motivation, that is the motivation why all of
16           I also say -- Amber states that I     16   a sudden four years after the event, four to
17   am very friendly, overly friendly and he      17   six years after the event that a letter
18   feels that he wants to be everyone's buddy,   18   appears and I also feel the reason why she
19   Amber feels.                                  19   doesn't want to defend it.
20           Let me state that I don't want to     20           On July 7 we served Dr. Dua with a
21   be everyone's buddy. In fact, the fact that   21   letter requesting, requesting that she come
22   I wasn't everyone's buddy I got a lot of      22   to this meeting. She acknowledged receipt of
23   pushback from certain people. I like to be    23   it and has not come.
24   nice to everybody, I like to be kind to       24           MR. CASTOR: Is it okay, Mr.
                                          Page 235                                              Page 237
 1   everybody and I do like to offer praise when 1     Chairman, if we make that part of the record?
 2   people do a good job. All of us here and for 2            DR. WEINIK: Dr. Acevedo made
 3   a residency in somewhat shambles and           3   complaints because he thought I hurt him as
 4   residency where people aren't happy I would 4      well. We'll go to Dr. Cowell.
 5   like for people to know they are doing a gooc 5           I will expand upon the relationship
 6   job.                                           6   with Dr. Dua and Dr. Maitin. It's
 7          During that period of time I said a     7   significant because she's lying to help him
 8   lot of times to Amber that she is doing a      8   maintain his position. Dr. Maitin has been
 9   good job in reconstructing the residency       9   very vocal to residents about my efforts to
10   program in her efforts there. And she asked 10     remove him from that position. You know,
11   me, "I'm new at this job, how am I doing,"    11   even -- you know, there are other residents
12   and I would tell her.                         12   who I believe, being Dr. Kenback and Dr.
13          If I was so notorious for making       13   Acevedo and Dr. Hatt as well, who would be
14   these bad phone calla, someone else, other    14   willing to go and offer testimony for their
15   residents would know that, but there was no 15     favorite attending if he's going to -- and
16   effort to go and investigate that.            16   there was great concern about moving him out.
17          I will skip to something.              17   It was not a popular -- it was not popular
18           DR. DALY: I might just say again      18   with certain residents. Dr. Kaiser told me
19   given -- I want to give you just due here but 19   that your residents are upset that if you get
20   your comments are written and one of the      20   rid of Maitin you will -- you know, the other
21   other possibilities --                        21   ones will leave. So they were very vocal
22           DR. WEINIK: They are not written.     22   about that.
23           DR. DALY: Sorry, I thought you        23          But yet it was my prerogative to
24   were reading.                                 24   assign a chair, a program chair. A program

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 1   chair serves at the privilege of the interim   1           Vince, you have some cross
 2   chair. It was ability, it was my privilege     2    examination.
 3   to do that. When these issues came up, all     3           DR. WEINIK: Yes, just a few belief
 4   of a sudden the tone changed. I wasn't going 4      things.
 5   to be able to remove him. Dr. Dua to this      5              ---
 6   day has a strong relationship with             6            EXAMINATION
 7   Dr. Maitin. As well, she was afforded          7              ---
 8   privileges that other residents didn't have,   8 BY DR. COWELL:
 9   like being able to skip a rotation and come    9    Q. Dr. Weinik, at one of the opportunities
10   hang out. This angered the other residents    10 we had to interview you we actually -- if we looJ
11   as Dr. Averna described. And I didn't do the 11 at in Section 11 Page -- I'm sorry, dated the
12   things here that they have asked -- they are  12 second to last page 2/20118 the meeting we had
13   accusing me of.                               13 with you. And the minutes reflect that I asked
14          Interestingly, with Dr. Hatt, Dr.      14 "And do you recall one incident?"
15   Hatt was asked if she was every chosen to be 15            "And I am the one to teach hands-on
16   a model and she said yes and that she didn't 16 exams because I'm an osteopath and I take
17   feel uncomfortable until someone pointed      17 seriously what I do. What I do is ask someone
18   certain things out. She didn't feel           18 from the audience to come up to exam who
19   uncomfortable and she's an osteopath. I       19 demonstrated curves of the spine."
20   guess there was no effort to ask who the      20           DR. WEINIK: Dr. Cowell, can you.
21   resident was who pointed things out.          21           MR. WRIGHT: Second to last page or
22          Dr. Hatt stated, "In my experience     22    Tab 11.
23   Dr. W einik does not follow through in giving 23           DR. WEINIK: Where are we on the
24   letters but everyone talks about getting a    24    page?
                                          Page 239                                             Page 241
 1   letter from Dr. Weinik."                                   MR. WRIGHT: Second bullet point.
 2           That's true, not everyone gets one     2 BY DR. COWELL:
 3   because not everyone deserves one. And         3    Q. I will start finishing that next to the
 4   Dr. Acevedo, I was not giving Dr. Acevedo a 4 last sentence. "I do remember someone asking me
 5   strong letter and so I chose not to give him   5 to demonstrate an exam. As I walked around and I
 6   a letter. Because a letter goes into a file    6 do remember someone jumping up and saying "That's
 7   that everyone sees. Every application would 7 not the question mark," and another resident
 8   see that letter and I didn't feel I wanted to  8 saying, "He didn't even buy her a drink."
 9   damage him by offering fake praise, so I       9           I can't recall the individual who
10   didn't offer him one. But I do offer letters  10 that happened to.
11   and strong letters for residents that I feel  11    A. Correct.
12   are capable.                                  12    Q. Is that -- was that your testimony at
13           And I have to tell you, we have a     13 the time?
14   nearly 100 percent acceptance to the          14    A. That was my testimony at the time.
15   specialty fellowship programs that our        15     Q. Does that conflict with what some of the
16   residents want based on doing certain things. 16 references that some of the residents recalled
17   If you really want to promote a resident you 17 about that experience?
18   make a call, you give a letter that's strong  18     A. Well, I don't know what one you are
19   and you follow-up with a phone call and you 19 talking about. When you offered this I knew
20   mentor that person over the years.            20 nothing of what this is and I still don't know
21           I'm going to stop now because I'm     21 this today if that's the case.
22   long winded, a boy from North Jersey, and I 22       Q. But was that your statement or did I --
23   will let the Panel ask their questions.       23 do we have it inaccurate?
24           DR. DALY: Dr. Weinik, thank you.      24     A. It's a statement on what event?

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                                                 Page 242                                                   Page 244
 1    Q. On -- during the interview on 2/20,                 1    A. And you said to me, "What about the
 2 whatever your impression was the event, did you           2 e-mails, what about the e-mails?"
 3 make this -- did you answer -- is this your               3          And I said to you, "What e-mails?"
 4 answer?                                                   4 You showed me a letter.
 5    A. I testified truthfully to you but I                 5    Q. I won't dispute your recollection versus
 6 don't know which event you are referring to.              6 mine. I will just say that I have no knowledge o
 7     Q. So wasn't it your understanding that we            7 a handwritten letter. I don't have any
 8 were there to discuss the letter that was                 8 handwritten letter that I displayed.
 9 submitted by Dr. Dua?                                     9          DR. DALY: We can probably move
10     A. Not then. You presented me with a                 10    forward.
11 letter, a handwritten letter which I haven't seen        11    A. Dr. Cowell, do you recall me asking
12 smce.                                                    12 "What e-mails?
13     Q. No. I presented you with the same                 13           "What about the e-mails, do you
14 document that we have as evidence.                       14 know of any other e-mails?"
15     A. Dr. Cowell, you presented me with a               15          I said, "What e-mails?"
16 handwritten letter, you had it in the back pocket        16          You have never presented me with an
17 of your scrubs and I read it. And then I never           17 e-mail. You presented me with a letter.
18 saw that handwritten letter again.                       18 Dr. Kaiser said to me, "What about e-mails?"
19    Q. Okay. I will submit that I showed you              19          MR. CASTOR: Let them ask the
20 the exact document that we have as evidence today        20    questions.
21 and I will submit that we gave it to --                  21           DR. WEINIK: Sorry.
22           MR. CASTOR: Are you testifying a               22           DR. DALY: Dr. Cowell, anything
23    second time now, Mr. Chairman?                        23    further?
24           DR. DALY: Thank you, Mr. Castor.               24           DR. COWELL: No, nothing further.
                                                 Page 243                                                    Page 245
       I really appreciate it. We will let                   1           DR. DALY: Dr. Weinik, if I could,
 2     Dr. Cowell finish and he will move forward,           2    if we went back to this issue with the coach,
 3     please.                                               3    the individual who was provided to you.
 4 BY DR. WEINIK:                                            4           DR. WEINIK: Yes.
 5     Q. And I will submitted, provided the same            5           DR. DALY: There were a whole
 6 letter at the hearing, at the hearing that we             6    series of canceled meetings.
 7 brought you in to finalize the investigation and          7           THE WITNESS: Yes.
 8 gave it to you a second time. We never let you            8           DR. DALY: Meetings which were
 9 take it out of our presence but you had access to         9    canceled by your secretary at least in the
10 fully read and appreciate the document both the          10    document that we have access to. Can you
11 first time that I presented when you came up to --       11    explain any of that? Because it seemed those
12 I happened to be working in the operating room and       12    meetings were canceled repeatedly and over
13 you came up and you and I went into an office.           13    many months. I don't want any personal
14     A. Yes, and you presented me with a                  14    health information.
15 handwritten letter.                                      15           DR. WEINIK: Well, that's the
16     Q. Handwritten letter from who?                      16    problem. Can I talk to you about that? Can
17     A. That's right, I don't know from who.              17    we go off the record for one moment?
18 You presented to me a handwritten letter and when        18           DR. DALY: Well, you can do that on
19 you presented me -- when you came and spoke with         19    the record. If you wish to you can.
20 me with Dr. Tedaldi you presented me with a              20           DR. WEINIK: I will speak on the
21 printed letter and I said this is not the same           21    record.
22 thing and it has more content than what I was            22           DR. DALY: Okay.
23 presented initially.                                     23           DR. WEINIK: I had a parathyroid
24    Q. Well, I won't dispute --                           24    adenoma removed at one point in time and my

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 1   PTH had creeped back up. I was worried tha 1                  MR. QUEENAN: Probably not?
 2   it was coming back. I also had a high PSA      2              DR. WEINIK: He would say what he
 3   and was -- with a high acceleration and I was 3        needs to say.
 4   worried about prostate cancer which is in my 4                MR. QUEENAN: But your words were
 5   family. And I sought care and evaluation for 5         that he wouldn't go against the supervisor.
 6   those things. I, fortunately, did not have     6              DR. WEINIK: He wouldn't go against
 7   prostate cancer but I do have atypical cells.  7       me.
 8   So ifI missed something it had to do because 8                MR. QUEENAN: Did you not say tha
 9   I had other concerns that preceded that.       9       as his culture as a Filipino he would not go
10          Also, as well you know that in our     10       against his supervisor? That's what you
11   hospital you have to give 60 days' notice     11       said.
12   before you bump any patients. I can't always 12               DR. WEINIK: Well, let me modify
13   give 60 days' notice. And Ms. Saccomandi 13            that.
14   would often say, "Well, let's do this date."  14              MR. QUEENAN: Okay.
15   And Jean would say, "Well, he can't do that 15                DR. WEINIK: Dr. Maitin can be very
16   date." In all due fairness, Dr. Saccomandi    16       stem and imposing. All the times I had to
17   did cancel some on her own.                   17       just as a regular attending ask -- you know,
18          And in her absence and in my           18       tell Dr. Maitin to back off Dr. Cruz. Dr.
19   absence from those meetings I made great      19       Cruz is diminutive and he is sensitive about
20   progress. If you go to that page you will     20       that and if you challenge him he feels
21   see --                                        21       threatened.
22          DR. DALY: I saw that. Thank you.       22              MR. QUEENAN: Can I see that
23   I saw that. Thank you.                        23       fellowship letter?
24          DR. WEINIK: I was scheduled for        24              MR. CASTOR: The Furman one.
                                            Page 247                                               Page249
 1   leadership and she had great hopes that I         1            MR. QUEENAN: The one he got
2    would go to a leadership.                          2   accepted to.
3           Now, Ellen Tedaldi wouldn't let me          3           So when this says Dr. Weinik's
4    in the leadership program because -- I'm not       4   recommendation it does not mean the letter,
5    sure why. Maybe she was challenged by that.        5   it just means your verbal recommendation?
6    She didn't want older attendings in the            6           DR. WEINIK: I made a verbal
7    leadership program because I am an older           7   recommendation.
8    attending I guess and that was for younger         8           MR. QUEENAN: Because it said
9    individuals.                                       9   recommendation. You just didn't write him a
10          DR. COWELL: May I respond to that?         10   letter.
11          DR.DALY: Wedon'tneeda                      11           DR. WEINIK: No.
12   response. I'm aware of the leadership             12           MR. QUEENAN: But your
13   program and who it's intended for.                13   recommendation -- so you did recommend him?
14          Any other questions that you have?         14           DR. WEINIK: Yes.
15          MR. QUEENAN: So just you mentioned         15           MR. QUEENAN: Okay. I'm just
16   that Dr. Cruz is Filipino and they don't go       16   trying to clarify things. A lot of things
17   against their supervisors. I assume that he       17   don't fit in the little spots where they are
18   would never say anything wrong about you          18   supposed to fit up here.
19   either then when he was asked about the issue     19           DR. WEINIK: I'm sorry. We are all
20   with the resident since that was your words,      20   tired, too.
21   that Dr. Cruz is Filipino and wouldn't go         21           MR. QUEENAN: So what did this text
22   against the supervisor.                           22   message mean, "Not a wise move since I'm very
23          DR. WEINIK: He would probably do           23   good friends with Dr. Furman"?
24   that.                                             24           DR. WEINIK: Yes. So if you're

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 1   going to see them and I know them, why don't       1    Committee's decision to recommend to the
 2   you give me the opportunity to call them?          2    Board of Trustees that Dr. Weinik's Medical
 3          MR. QUEENAN: So you had no idea he          3    Staff membership be terminated.
 4   was going to this program?                         4           Dr. W einik has been a member of the
 5          DR. WEINIK: No.                             5    Medical Staff for approximately 30 years. As
 6          MR. QUEENAN: He just kind of went           6    a member of the Medical Staff he is bound by
 7   rogue?                                             7    the Bylaws and is bound to abide by hospital
 8          DR. WEINIK: Yes.                             8   policies. His conduct has proven to be time
 9          MR. QUEENAN: All right. That                 9   and time again in violation of the Physicians
10   makes some sense now.                              10   Professional Conduct Policy and contrary to
11          So you said that you sent that              11   what we stand for as a Medical Staff.
12   letter out to Dr. Dua and she acknowledged it      12          You have heard that several female
13   but she never responded, no response at all        13   residents found his conduct do be
14   came back?                                         14   inappropriate. Dr. Brown was subject to
15          DR. WEINIK: She acknowledged she            15   comments about her body and clothing and her
16   received it but has opted not to come.             16   personal relationships. She considered this
17          MR. QUEENAN: I think I needed               17   to be stalking both in and outside of Temple
18   clarification on that. Thanks.                     18   Hospital. She felt violated.
19          DR. DALY: Are we good?                      19          Dr. Byas, another female resident,
20          DR. LIN: I have no questions.               20   described the black dress incident and
21          DR. DALY: So I think we have                21   Dr. W einik's comment to her about the walk of
22   concluded testimony, although we may have          22   shame.
23   neglected to swear you in as part of this as       23          Amber Dzikowski from the GME office
24   a witness, so we can do that.                      24   described her discomfort around Dr. W einik
                                             Page 251                                                 Page 253
 1          DR. WEINIK: We do have a closing             1   because her stairs at her chest. She felt
 2   statement.                                          2   compelled to check her wardrobe whenever she
 3          MICHAEL WEINIK, D.O., swore the              3   was scheduled to meet with him. She also
 4   testimony he has given was the truth.               4   observed that he used his position as chair
 5          DR. DALY: So now we have about ten           5   as a fear tactic.
 6   minutes each for closing statement. What we         6          We have seen an example of this
 7   might do, however, in the interest of biology       7   fear tactic in Michael Weinik's text message
 8   is we can take a three minute bathroom break        8   exchange with Dr. Acevedo. This is classic
 9   and then have your closing statements if we         9   bullying behavior.
10   could do that. But literally three minutes.        10          Dr. Acevedo told us about Dr.
11          We can go off the record here for           11   Weinik's undraping a female patient's
12   the next few minutes.                              12   buttocks inappropriately so for an injection.
13          (A briefrecess was held at this             13   He became so uncomfortable with the behavior
14   time.)                                             14   that he left the exam room. He believes that
15          DR. DALY: We'll go back on the              15   many residents are uncomfortable with the
16   record now and we will have two closing            16   exams that Dr. Weinik performs on female
17   comments, no more than ten minutes. Brevity        17   patients. His belief has been corroborated
18   would be great, if you could.                      18   by another PM&R resident who had the same
19          Dr. Cowell, would you start?                19   observation, Dr. Nicholas Kenback,
20          DR. WEINIK: Thank you. I                    20   Dr. Acevedo, Dr. Katie Hatt and Dr. Byas.
21   respectfully suggest to this Panel that            21          Dr. Reed acknowledged :friendship
22   Temple University Hospital Medical Staff has       22   and colleagueship but confirmed that Dr.
23   provided sufficient facts and evidence that        23   W einik says things that he should not and
24   support the Medical Staff Executive                24   many of his comments are not always

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 1   appropriate.                                   1       there for the black dress walk of shame
 2           Dr. Brown made comments in 2016.       2       incident, did they deny that Dr. W einik
 3   Dr. Weinik was warned verbally. He had his 3           inappropriately touched Dr. Dua's area? HOVI
 4   unprofessional behavior continue and Dr.       4       do you square that with Dr. Weinik's only
 5   Brown issued a written complaint. Collegial 5          acknowledgment that such an incident took
 6   intervention was initiated. Dr. Weinik it      6       place? Do you find credibility in Dr.
 7   appears reflected in Allyson Saccomandi's      7       Weinik's friends or colleagues or is it many
 8   letter that the professional coaching was not  8       residents both male and female who have hac
 9   taken seriously and dragged out for months.    9       to work under his authority for the past
10   Despite the collegial intervention Dr.        10       several years? I ask that you use your good
11   W einik's unprofessional behavior continued. 11        judgment in making credibility decisions.
12           Dr. Dua sent her e-mail about his     12              The evidence has shown that nothing
13   treatment of her, an e-mail describing in     13       has changed. Dr. W einik continues to be as
14   great detail inappropriate behavior that      14       people have come to know, "Weinik being
15   included asking her if she was a good girl or 15       Weinik." We as a Medical Staff cannot
16   a bad girl, telling her "You're definitely a  16       tolerate that behavior. Dr. Weinik's
17   bad girl, don't worry, we like bad girls at   17       treatment of women, including residents,
18   Temple," bending down on his knee to touch 18          staff and patients does not represent the
19   her knee in the hallway of the hospital,      19       values of our Medical Staff that we work to
20   telling her she had flexibility and that he   20       uphold every day. We cannot afford to hear
21   would like to find out about her flexibility  21       one more episode of this type of behavior.
22   himself, telling her that a female patient of 22       It severely impairs the ability of our
23   his sees him because her husband does not     23       residents to complete their residencies
24   give her enough loving and Dr. Weinik will 24          without intimidation or sexual harassment.
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 1   make her feel good; calling Dr. Dua to             1          His longstanding pattern of conduct
 2   perform a physical exam demonstration during       2   places the reputation and integrity of our
 3   which he joked about having a tramp stamp and      3   institution in serious jeopardy. The time
 4   touch her parts which were unacceptable by         4   for verbal warning and collegial intervention
 5   her.                                               5   has come and passed. They are no longer an
 6          Our receipt of the e-mail triggered         6   option.
 7   our latest investigation. You will note that       7          I ask that you carefully review all
 8   we interviewed Dr. Weinik about Dr. Dua's          8   the Medical Staff evidence before reaching
 9   allegation that he touched her private areas.      9   your recommendation and I ask that you uphold
10   He acknowledge that such an incident occurred     10   the Medical Staff Executive Committee's
11   recalling that someone had jumped up saying       11   recommendation to terminate Dr. Weinik's
12   "That's not my question mark" and he recalled     12   Medical Staff membership.
13   that another person said that he, Dr. Weinik,     13          Thank you.
14   didn't even buy her a drink.                      14          DR. DALY: Thank you, Dr. Cowell.
15          Dr. W einik never denied that the          15          Dr. W einik, please.
16   incident occurred. He only failed to recall       16          DR. WEINIK: I would like to offer
17   which resident was involved.                      17   my closing argument.
18          Dr. W einik may want to impugn             18          After 30 years of teaching here at
19   credibility of those who came forward and         19   Temple while helping patients with their
20   that were interviewed. And we ask you to          20   medical issues I never thought I would be
21   consider whether his witness had firsthand        21   standing here in a quasi legal proceeding
22   information about the specific information        22   defending myself against baseless allegations
23   that has come up, were they in the hallway        23   and misconduct. Until the last several
24   when the Gumby reference was made, were they      24   months I knew nothing of legal proceedings,

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 1   witnesses, evidence, hearsay, direct and       1         notice? Of course, I certainly would have.
 2   cross examination and the like, nor did I      2         And did I, in fact, have anything to do with
 3   know the powerful and severe forces that       3         him not getting the fellowship? No, I did
 4   could be set in motion against me entirely on 4          not. Dr. Furman attests in his letter to
 5   the say so of people with a motive to want to 5          that effect. In fact, I helped Dr. Acevedo
 6   hurt or destroy me.                            6         get his current fellowship as we know. Of
 7          Motive is another term I rarely         7         course, that only came to light after he
 8   heard and certainly hardly ever used. Motive 8           began accusing me of bad conduct to get to
 9   is a term used in criminal cases to explain    9         get back at me.
10   why a criminal collllllits a crime.           10                You heard firsthand accounts from
11   Unfortunately, I have come to learn that it   11         Dr. Acevedo's contemporaries in the residency
12   also applies to persons who would use the     12         program. No one backed up his assertions
13   administrative disciplinary process and       13         that I only used female models. No one
14   falsely accuse me, leaving me to ask the      14         backed up his assertion that I spent more
15   motive question why.                          15         time with young women patients than other
16          Until the reorganization of the        16         patients. Complete nonsense. In fact, you
17   department I was a regular attending          17         heard from men who attested to themselves
18   physician who loved his work shaping young 18            serving as models for me. And yet Temple did
19   doctors into healers and sending them into    19         nothing to corroborate Acevedo's claims by
20   the world. And when the residents voted me 20            interviewing these residents.
21   best teacher four times, as recently as 2015, 21                Dr. Acevedo supposedly told
22   it made me prouder than even the accolades I 22          investigators he witnessed me exposed a
23   received from my peers. Yes, I am proud my 23            female patient's buttocks unnecessarily.
24   peers think highly of me. But that my         24         Investigators said that Acevedo said that the
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 1   students, my proteges, if you will, believe I        1   patient's facial expressions told him she was
 2   have done well passing on my knowledge to            2   uncomfortable so Dr. Acevedo walked out the
 3   actually want -- to them warms my heart even         3   door. But Dr. Williams was right there the
 4   more.                                                4   whole time assisting. He said everything was
 5         When I took over supervision of the            5   by the book. Other witnesses backed him up.
 6   department it did not occur to me that I             6   But Temple urges you to trust their
 7   would become a target of those whom I had to         7   investigations into what they say.
 8   correct, to those who resented me getting the        8          Dr. Acevedo says he thought a
 9   post and of course even those sort of people         9   patient's facial expressions said over what
10   have friends. Maybe I was naive. I thought          10   Dr. Williams and I told you about what
11   my easy-going nature and general way of             11   happened. Temple might have gotten the story
12   suggesting things to improve behavior would         12   straight from Dr. Williams if the
13   make me a popular supervisor. I now know I          13   investigator had not fallen asleep while Dr.
14   was a sucker.                                       14   Williams was relating what happened. And of
15         I understand now that Dr. Acevedo,            15   course Temple made no effort to discover the
16   however wrongly, could think I sunk his             16   identity of the patient so we could ask her
17   fellowship in York because I was friendly           17   and naturally Temple shut me out of the
18   with Dr. Furman. I was irritated that Dr.           18   system that would allow me to do the same.
19   Acevedo blew off my clinical obligations to         19          I should not have to be the one to
20   attend an interview in York without telling         20   point out Dr. Acevedo's reasons to want to
21   anyone. Sure, I was. He was half of the             21   harm me or the incredible, or the incredible
22   resident team scheduled to assist me that           22   nature of his lies. Temple could and should
23   day. That caused a problem.                         23   have uncovered these things itself but it
24          Would I have let him go with enough          24   chose not to. Perhaps if it had followed its

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 1   own procedures for reviewing complaints we           1   witnesses I provided saying nothing memorable
 2   would not be here today or ifit had not              2   happened. But what Temple also missed was
 3   jumped to the conclusion I was such a menace         3   the rampant speculation that Dua and Maitin
 4   to the institution I had to be escorted off          4   enjoyed a special relationship and Maitin was
 5   the property and have all my access to               5   in danger of losing his job. You heard
 6   records, computer and e-mails cut off, the           6   witnesses say it was a well-known rumor. If
 7   very places where I might have been able to          7   it was well-known as the residents from back
 8   reconstruct firsthand sources to fight off           8   then testified, then how come Temple did not
 9   this slanderous hearsay effort at                    9   check it out? So easy for Dua to accuse me
10   retribution.                                        10   four to six years after the fact because her
11          Briefly, I want to address Dr.               11   friend Maitin in danger from me of losing his
12   Brown and any other passing complaints about        12   job. Did she think it would go this far?
13   my demeanor, again all hearsay. And in Dr.          13   Probably not. Once she realized the hornet's
14   Brown's case, her complaints had already been       14   nest was stirred up she wanted nothing more
15   addressed when the Acevedo and Dua issues           15   to do with it. She wanted to remain
16   came up in January of this year. Curiously,         16   anonymous, never gave an interview to
17   those last two complaints come in despite           17   investigators while admitting by text she
18   Dua's being four to six years old in mid            18   received a letter from my lawyer to come here
19   January to early February this year, the            19   tonight. She did not show. This is the kind
20   precise time I'm trying to exercise control         20   of reliable hearsay that your policy says
21   over the department much to the distress of         21   would be ordinarily something a reasonable
22   Drs. Maitin and Cruz.                               22   person would -- sorry, excuse me. Is this
23          Witnesses have told you that Dr.             23   the kind of reliable hearsay that your policy
24   Brown was a less than stellar resident. And         24   says would be ordinarily something a
                                              Page 263                                                Page 265
 1   yes, I had to reprimand her about her                    reasonable person would rely on upon making a
 2   clothing being unprofessional. I'm trying to         2   decision in his or her own affairs. I think
 3   teach young doctors how to interact with             3   not. And yet Temple wants you to conclude
 4   patients. The reverse is also true, you              4   the Dua e-mail is reliable, though
 5   recall, when I had to educate the son of a           5   uncorroborated hearsay, so powerful as to
 6   Board member not to flirt and ask out Dr.            6   dismiss me from my post.
 7   Stephanie Li. So it went both ways. Did Dr.          7          I am sure there are things that I
 8   Brown get her nose out of joint because she          8   would want to say that I have forgotten and
 9   wore -- because I said she wore something too        9   that is why I have asked to submit a post
10   revealing? I imagine she did. But what              10   hearing written argument. But I ask you to
11   better way to get back at W einik than to           11   assess this evidence for what it is, rank
12   point a finger at him.                              12   hearsay that is unreliable and not only
13          But as I mentioned, Temple had               13   uncorroborated but intentionally so. Temple
14   closed that case until the happy coincident         14   could easily have run down firsthand sources
15   of Dua and Acevedo came together, just as I         15   and simply did not do it either out of
16   was pressing to reorganize the department.          16   negligence or out of desire to reach a
17   Now that Dua's complaint is four to six years       17   predetermined conclusion that it wanted my
18   old, I never saw her unredacted e-mail.             18   head on a spike. In either event, these
19   Temple reports do not reflect that                  19   allegations are not only not proven, they are
20   investigators ever interviewed her. My              20   disproven using any fair measure of
21   lawyer asked her to come tonight to tell what       21   credibility determination. I implore you to
22   happened but she didn't appear. Temple did          22   recommend against any sanction and permit me
23   nothing to corroborate what Dua claims in her       23   to resume my duties and my passion teaching
24   letter. Temple did not interview the                24   young MDs and DOs to be capable practicing

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 1   physicians making Temple proud in the worlc 1            gone on. It's been a long evening. I
 2   of medicine.                                   2         appreciate everyone's cooperation getting the
3           Thank you.                              3         witnesses for both sides but particularly
4           DR. DALY: Thank you, Dr. Weinik.        4         yourself, Dr. W einik, in getting those, the
5           Thank you, Dr. Cowell.                  5         court reporter for staying so late, and the
 6          We'll end the formal meeting here       6         attorneys for not speaking up as much as the)
 7   and we will go off the record at this          7         would like to and the difficulty with a
 8   juncture.                                      8         procedure which is not like that you learned
 9          MR. WRIGHT: We want to put on the 9               in law school.
10   record our agreement that we are going to -- 10                 So thank you. We will go off the
11   or did we already? I have forgotten whether 11           record now and adjourn. Parental.
12   we made our decision about ten days for us tc 12                (The Medical Staff Hearing was
13   receive that. I don't know whether we put     13         concluded at 11:00 p.m.)
14   that on the record.                           14
15          DR. DALY: I don't know whether         15
16   that was on or off It was a conversation      16
17   off the record, so we will stay on the record 17
18   then for agreement that there will be --      18
19   Dr. W einik mentioned he wanted to have a     19
20   written document submitted after this.        20
21          Dr. Cowell, do you want to do the      21
22   same?                                         22
23          DR. COWELL: Yes.                       23
24          DR. DALY: You do. So there will        24
                                              Page 267                                                   Page 269
     be two written documents that will come, post        1          CERTIFICATE
 2   hearing written closings, if you will. You           2
 3   can also submit the -- we will have the              3          I do hereby certify that I am a
 4   verbal testimony by the court reporter but           4   Notary Public in good standing, that the
 5   you can also submit to her and to us, if you         5   aforesaid testimony was taken before me,
 6   wish, your written closing discussion there,         6   pursuant to notice, at the time and place
 7   the argument that you have, each of you. And         7   indicated; that said deponent was by me duly
 8   if there are other written documents that you        8   sworn to tell the truth, the whole truth,
 9   think would be important, particularly those         9   and nothing but the truth; that the
10   that are on the record that have been               10   testimony of said deponent was correctly
11   submitted, I think that will be fine for us         11   recorded in machine shorthand by me and
12   to receive.                                         12   thereafter transcribed under my supervision
13          We have talked about the time line.          13   with computer-aided transcription; that the
14   I haven't given you the time line of when we        14   deposition is a true and correct record of
15   meet because we haven't talked about                15   the testimony given by the witness; and that
16   vacations and other things, but we will try         16   I am neither of counsel nor kin to any party
17   to be expeditious in this so that you are not       17   in said action, nor interested in the
18   left hanging about a decision. So we will           18   outcome thereof.
19   try to move along. It will be approximately         19
20   three weeks before we receive all the written       20           WITNESS my hand and official seal
21   information back. We will try to do                 21    this 23rd of July, ,.,01 R__ ,
                                                                                -~,,,,._c;:t,/!ol:"l,3
22   something within a couple of weeks after            22                     /' '1
23   that.                                               23
24          I thank everybody. The time has              24               Notary Public

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                                Veritext Legal Solutions
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                 Transcript Exhibits
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                               Michael Weinik, D.O., Medical Staff Hearing
                                              Tuesday July 10, 2018 5:30 P.M.
                                            9™Floor Executive Conference Room
                                                       Boyer Pavilion
                                                 Temple University Hospital
                                         3509 N. Broad Street, Philadelphia PA 19140


                    Temple University Hospital Medical Staff Evidence/Exhibits

             1. Timeline of Events

             2. Physician Professional Conduct Policy (TUH-ADMIN-950.1044);

             3. Bylaws-Article VII;

             4. Proof of Participation in Training for Dr. Weinik (including prevention of discrimination and
                harassment);

             5. Background information from Sue Coutl re: concerns brought to her attention;

             6. Letter of PGY4 female PM&R Resident, Cora Brown, M.D., received by Susan Coull on
---,            March 2, 2017 re: Sexual Harassment;
        )
-----        7. April 5, 2017 Letter from Ors. Cowell and Tedaldi to Dr..Weinik re: complaint and coaching;

             8. Memorandum from Allyson Saccomandi, Directory Leaming and Organizational
                 Development, re: CoachingAssignmentforMichaeJWeinik, D.O.;

             9. Text Message exchange between male PM&R Resident and Dr. Weinik, dated August
                28, 2017, re: fellowship opportunity;

             10. Email from former female PM&R Resident dated January 16, 2018 to Amber Dzikowski
                 re: Sexual Harassment;

             11. Investigation Report Summary for March 15, 2018 MSEC meeting; and

             12. March 15, 2018 Letter from Dr. Cushing to Dr. Weinik advising him of the MSEC
                 recommendation to terminate his Medical Staff membership.
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                                                               Time line

                               Complaints/Interventions re: Michael Weinik, D.O.
       6/3/14- Dr. Weinik participates in Temple University training for, among other things, "Preventing
       Discrimination and Harassment for Employees."

       12/1/15 - Dr. Weinik becomes Interim Chair of the Department of Physical Medicine and Rehabilitation
       (PM&R).

       11/3/16- Cora Brown, M.D. (female PM&R resident) makes verbal complaints to Sue Coull, TUH
       Designated Institutional Official (DIO), about Dr. Weinik's behavior.

       11/22/16 - Sue Coull and Susan Wiegers, M.D. meet with Dr. Brown to allow her to communicate her
       experiences with Dr. Welnik directly Dr. Wiegers.

       12/1/16- Sue Coull and Dr. Wiegers meet with Dr. Weinik to notify and counsel him about an
       anonymous resident's complaints.

       2/28/17- Dr. Brown met with Sue Coull regarding a new complaint about Dr. Weinik. Dr. Brown was
       advised that she should put her concerns in writing so that they could be addressed through the
       Physician Professional Conduct policy.

       3/2/17- Sue Coull received a written complaint from Dr. Brown. The written complaint was referred to
       Vincent Cowell, M.D., the Medical Staff President, for investigation under the Physician Professional
       Conduct policy.

       3/3/17- Dr. Cowell and Ellen Tedaldi, M.D. (past Medical Staff President) begin an investigation of the
       complaints contained in the letter from Dr. Brown.

       4/5/17 - Drs. Cowell and Tedaldi issue a letter to Dr. Weinik, following their investigation, advising him
       that they formally recommend professional coaching with progress reports to Larry Kaiser, M.D.
       (Medical School Dean to whom Dr. Weinik reports).

       4/19/17-Allyson Saccomandi, Director of Leadership and Organizational Development, begins the
                                                                                                1
       professional coaching sessions with Dr. Weinik and initiates a 360 review •

       1/15/18-Amber Dzikowski, GME Program Administrator, receives verbal notice from a male, senior
       PM&R resident, Nichols Kinback, M.D. that another male, senior PM&R resident, Philip Acevedo M.D.,
       complained that Dr. Weinik's behavior with a female patient made him (Dr. Acevedo) uncomfortable.



       1
__ )    The 360 review is a professional feedback opportunity that enables a group of coworkers to provide feedback on an employee's
       performance.
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)   _1/16/18 -Amber Dzikowski receives an email from a female, former PM&R resident, complaining about
    Dr. Weinik's behavior (circa 2012 through 2014, the resident's PGY2 and PGY3 years). The email
    satisfies the "Formal Complaint" requirement under the Physician Professional Conduct policy that
    triggers an investigation. The email is provided to Sue Coull. Sue Coull meets with Dr. Kinback.

    1/17/18 -Sue Coufl meets with Dr. Cowell and provides him with the 1/16/18 email. Sue Coull also
    meets with Dr. Acevedo.

    Dr. Cowell asks Allyson Saccomandi to provide him with a status report regarding Dr. Weinik's
    coaching/360 review. Dr. Cowell asks Dr. Tedaldi to assist him with the investigation of the complaints
    made in the 1/16/18 emaH and the concerns expressed by the male PM&R residents (Drs. Acevedo and
    Kinback).

    1/23/18-Allyson Sccomandi issues her report regarding Dr. Weinik's coaching sessions and 360 review.

    1/25/18- Drs. Cowell and Tedaldi begin their investigation of the complaints made about Dr. Weinik in
    the 1/16/18 email and those made by Drs. Acevedo and l<inback. They also reviewed and considered
    the prior complaints and interventions taken with regard to Dr. Weinik.

    1/26/18 - Dr. Cowell meets with Dr. Weinik to advise him of the complaint made against him and shows
    him the email sent by the complainant.

    3/13/18 ~ Drs. Kaiser and Wiegers advise Dr. Weinik that he will no longer serve as interim Chair of the
)   Department of Physical Medicine and Rehabilitation.

    3/15/18- Drs. Cowell and Tedaldi present the findings from their investigation to the Temple University
    Hospital Medical Staff Executive Committee (MSEC). The MSEC is advised of the issues that arose and
    the interventions taken with regard to Dr. Weinik's conduct, beginning with the verbal complaint by Dr.
    Brown (November, 2016) through the present. The 2018 investigation included interviews of the
    following individuals: Philip Acevedo, M.D.; Amber Dzikowski; Ka.tie Hatt, M.D. (female PM&R Chief
    Resident); Rakhi Vyas, M.D. (female, senior PM&R resident); Reed Williams, M.D. (male Attending
    PM&R physician); and Michael Weinik, D.O.

    The MSEC votes to recommend (to the TUH Board) that Dr. Weinik's Medical Staff Membership be
    terminated immediately.

    Dr. Weinik is given verbal and written notice of the MSEC's recommendation by Herbert Cushing, M.D. -
    TUH Chief Medfcal Officer.

    Dr. Weinik is placed on paid administrative leave.

    4/6/18-Dr. Weinik, through his counsel, requests a hearing pursuant to Artide VIII of the Bylaws of the
    Professional Medical Staff of Temple University Hospital.
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                                                  TEMPLE UNIVERSITY HO~PITAL
                                             ADMINISTRATIVE POLICIES AND PROCEDURES

                     Number:                             TUH-ADMIN~950, 1044
                    Tlt1e:                               PHYSICIAN PROPBSSlONAL CONDUCT
                    Effcctivo Dntc:                      12/2002
                    Lllst Rev!owed:                      04/12/2013
                    L11st Revised:                       12/l2/2016
                    Refet·euces:                         TUHS-950.SS9-Policy Against Wo1·kplace Hiwassment and Violence  0



                                                         TUH-ADM·9SO. I035-Physlcian Health nnd. Weflness Policy
                                                         None

                   POLICY
                   Temple Unive1·sity Hospital is committed to providing and fostering a cu!1~1re of snfety. A culture of
                   safety l'equfres collegl!il, cooperative and respectful lnterac!lous between physicians and all others at the
                   hospltal. This pollcy addresses physician and allied health professionals' behaviors thnt undermine a
                   culture of safety,

                   SCOPE AND RESPONSlllILITlES

                  AU physicians and allied health professionals (AHPs) are expected to refrain fi·om behaviors toward
-·   ......,,     palients1 employees, visitors and olheL' practitioners that \U\dermlne n ctdtm-e of safety, This policy applies
            i     to any physician 01· AHP conduot that occms on hospital campuses. including, but not limited to offices
..... -"
                  and clfnlcs within the hospital, common areas, and t>iwklng facllltles. The Medical Staff President, in
                  coo1·d!nation wlth the 1·espec(ive Depa.1imcnt Chail's and, as nee<l.ed, the Medictll Staff Officers nnd/or
                  Medical Staff Execulive Committee (MSBC) shall enforce this policy In a firm1 fair and equitable
                  manner, Such enforcement will be u11de1taken wlthout assmnptlons.or bias.
                  DEFINITIONS

                 Dis1·uptive Conduct Disruptive conduct is defined as behavlo1· that threatens patient safoty because H
                                                    p



                 Inhibits collegiality and cooperation essential to teamwo1·k1 !mpah's. cornnmnfc11tlo111 undermines mornlo,
                 and Inhibits conipllance wlth existing practlces/pollcles as well as Jmplementallon of new
                 practices/policies. Pisroptive conduct may be overt or passive (i.e, refusal to act 01· respond) and
                 includes, but is not limited to:                                 ·

                        I.          Ye1·bal 01· physical abuse of colleagues, residents, students, hospital personnel or patients,
                                    whfoh !noh1des throwing objects, threatening violence and/or agg1·esslve physical contact with
                                    others.
                       2.           Sexual harassment, which includes jokes with sexual content nn<I comments with sexual
                                    innuendo,
                       3.           l11app1·opriate lnngunge 01· comments, which Includes !'acinl, ethnic, gender, sex11nl orientation
                                    or socioeconomic shu·s, profanities or obscenities, sar!)astlc, cynical or demeaning remarks,
                                   .and statements that show a. blatant disdain for another person.




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                   4.          Threatening or lntimldaling beh1wio1· exhfblted dudng internc1io11s with colleagues, residents,
                               studen!s, hos1)ital personnel 01· patients, which lnefud~s finger pointing, Invading another's
                               personal space and yelling 01· screaming.                  .
                   S.          Jnapproprlate responses to patient needs or staff reqtics!s, which include late !'eplfes lo pages,
                               k11owlngly dls1·ega!'dlng hospital policies and Impertinent or inapprop1·late comments (or
                               11Justn1tions) 1nade In patient medical records 01· 01he1· offiolal documents, Impugning the
                               quality of care ln the llospltal.                                                               ·
                  6.           Retallatlon against pe1·sons who report disruptive behavio1·.

           Formal Complaint - A Formal Complaint is defined as n writing that clcso1'ibes perceived Disrnptlve
           Conduct, The Formnr Complaint will include:

                                   The date and Umo of the perceived Dlsmptlve Conduct
                                   A description of the percei\'ed Dlsrnptlvc Conditct that is, to the extent possible, limited
                                   to factual, objective, and observed acts or omissions
                                   The circumstances which precipitated the pe1·ceived D!srnptlve Conduct
                                   The name of any patient Involved in1 or affected by, the perceived Dismplfve Conduct
                                   The consequences, If any, of the perceived Disruptive Condt1ct as it relates to pEltlent care
                                   and/or hospital operntlons
                                   A description of any nctioll already laken to remedy the situation including date, lime,
                                   place, 11ctlon1 and name(s) of those Intervening, and
                                   The fdentitlesJ If 110sslbte, of others who mny be able lo cor1·obornte the perceived
                                   Dlsn1ptlve Conduct.
          Just Cult1n·o - A process thnt promotes a cullure of full dlsclosul'e of mlstakesJ errors, near misses,
          patient safety concerns, and sentinel events In ordel' to facilitate learning from such occul'renoes and
          identifying oppoi·tunitles for process and system imp1·ove1nent. rt is also a cul!ul'e of ncco11nfabllily fn
          whlch lndlvlduals will be held responsible for their actions within the context of the system In whfch they
          Q¢cu1·red; such accoimtability may Involve system improvement or Individual consoling, coaching,
          education, counseling, or c<mectlve action. It Is a <m!fure that balances the need to loarn from mistakes
          with the need to fake corrective action against an Individual if th~ lndlvlduaPs conduct warrants such
          action.
         PROCEDURES

         ;Reporting anrl Receipt

                I. Anyone) Inc hiding a medical stE1ff member1 resident, student, employee or agent of the hospital 01·
                   a patient or !heh' family member/tl'lend may submit a Formal Complaint about a physician or
                   allied health professional (AHP) 1·egiu-<llng pe1·celved Dlsrnptive Co1tduc!,
               2. Portnal Complaln!s will be submitted to the Medical Staff·President. If complain(s are lnltlal!y
                   submitted lo a Department Cha1t·1 the Chief Ex.eciitlve Officer (CEO), Chief Medical Offtcw
                   (CMO) or other hospital admfnlstm.tor, the recipient will forwa1·d the Fol'mnl Complaint to the
                   Medical Staff President,
               3. Upon receipt of a Formal Complaint, lhe Medical Staff President shall review th6 Ponm1f
                   Complaint to determine whellle1· lt meets tll6 reqillrements of.this pol!cy.
                        • Jf the Formal Complaint does not meet the requirements, the Medical Staff President
                           shall reqi.test the author(s) of the Fol'mal Complal11t to provide additional lnfonnatlon. lf
                           the author(s) ciumot provide reqi1lred lnformatlo111 they wl!I be ndvlsed that the process
                           c1mnot go fol'ward and the nrntter will be closed.
        NOTP.1

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        oftl1c imtl111tl(l1111•ltfm1! 1l<f111J11fstu1tl1oe pm11lul1m.       .                                 .
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                             •
                             If requirements have been met, the Medical Stilff President shall notify the CMO aud the
                            Dcpamnent Chah1Secflon Chief of the complaint and the involved physlclan/ABP nn<l
                            shall offer the Depai1ment Chair/Section Chtef tI1e oppotiunl!y to evaluate the allegations
                            lo the Fol'nta! Complaint. The Depar!ment Chair/Section Chief may elect to conduct the
                            eva!uatlo11 or have the Medical Staff President (01· their designee from the elected
                            Medical Staff) conduct the evaluation.
               If, Prim· to commencement of an evaluatlon of the allegatlons, the Department Chah'/Sectlon Chief
                   shall notify the Involved physlchm/AHP about the Fomml Complaint In pet·son or by telephone/e·
                   mail, The involved physlchm shall be advised that that he/she may go to the Medlcaf Staff
                   Office to review n copy of the Formal Complaint but mny not mrike a copy of that document and
                   thal he/she m11y select an advocate fo1· support,
        Ev~hrntlon


               S. The pel'son evaluating the allegations contained In the Formal Complaint (i.e. Department Chair
                  01· Medical Staff President 01· deslgnee):
                          (1) May interview tha nuthoi~s) of the Formal Complaln!j
                          (2) Shall Interview the Involved physician;
                          (3) Shall review documentation, lf any1 mnint11ine<l by the Medical Staff Office for the
                          Involved physlcfan regarding any previous Formal Complaln!(s) that have been addres~ed
                          pursuant to this policy (ol' an earHel' version of this policy)~
                          (4) May interview othe1· Indivldnals involved In 01· knowledgeable about the h1cldentj and
                          (S) May rev!ew medical recoi·dsJ incklent repo11s1 surveillance video~ etc.
       Dlspos!t!on

)            6, After the evaluation Is complete !he Department Chnh'/Sectio11 Chief and the Medical Staff
                President may ·Sham the 1·esults of' the evaltiatlon with the others to determine a disposi!ion as
                follows:

                                  (I) The behavior does not meet the deflnltlon of Disruptive Conduct snch that the matter
                                 shall be dismissed and closed; or
                                 (2) The behavior meets !he definition of Disruptive Conduct and wal'l'ants a Collegial
                                 Intervention pm·smmt to Article 7.'l.2 of the Medical Staff Bylaws; or
                                 (3) The behav!ol' meets lhc. deflnitlon of Disruptive Conduct and warrnnts submission to
                                 the MSEC fol' possible Corrective Action pursuant to Article 7.3 of the Medical Staff
                                 Bylnws eithe1· dt1e to !he sevel'lty ofthe behavior 01· because the physician has had another
                                 Formal Complain! assc11ed against her/him within the last five (5) years, 01·
                                 (4) The behavior suggests lmpalnmmt (medical, psychological, m· substance abuse
                                 pt'obiem) that wm·rnuts referral to the Physician's Health & Wellness Committee.
                                 If the Depal'!mcnt Chair/Section Chief nnd the Medical Staff Prns!dent cannot agree on a
                                 dlsposltion1 the Medical Staff President shall lrnve the sole discretion to decide the
                                 disposition. The CMO and Medical Slaff Executive Comm If tee .shall be advised of the
                                 disposition

            1. Dlsmlssnl of the Complaint
                         •       The Medical Staff President shall verbally notify !he Involved physician and the
                                 physiclan 1s Department Chalr/Secllon 9hlef and the author(s) of the Fornml Complaint



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                                      that1 nfrer evalualion 1 !he conduct was not deemed to be Disrnptlvc Bohaviol' and shaH
                                      docu1nent when such notlflc11tlo11s were made.
               8. Colleglal I11te1·voutlons
                      o TJ1e Medical Staff P1·esldent shal1 prepare a Wl'ittc1i rcpo1·1 regarding rhe findings of the
                          evaluation (inoft1dlng systems Issues, rrMgge1'1ng events", etc.) and the basis for the
                                Co!leglal Intervention.
                                The Medford Slaff President, h1 consulta!lon with the physician's Department
                                0

                                Chair/Section Chief, shall establish the tel'ltls of the Collegial It1terve11tion.
                                The physician's Department Chah'/Section Chief shal! notify the physichm about !he
                                Collegial l11terve11tion.                               .
                             o The Involved physician may be asked to s!gn a written !lgreemcnt, deemed a behavioral
                               contract, which includes specific l'equfrements thftt the phys!clml must fulfill to nvold a
                               recurrence of Disruptive Behavior,
                            o The physician shall have the right to present a wrlllen response !o their Depa1iment Chah·
                               and !he Medical Staff President regarding the Collegial Intel'vcntion,
                            o A copy of the Medical Staff Prosldent 1s repol't (including the terms of the Collcglal
                               !nterventlon1 the beluwtoral contract, if any, and lhe physlchm 's wrltt~n response1 if filly)
                               shall be submitted to the phystcfnn's Depat·hnent ChalJ' rmd to the Medical Staff Office.
                            o The physician's Departm<int Chair and ll1e Medical Staff Office shall remove these
                               documents from the physJclan's confldeotlal fl!e and destroy them after five (S) years if
                               no 11ew Formal Complaints lmve been flied since the initiation of this Collegial
                                     Intervention.
                            •        The Medical Staff Pl'csldenf shall verbally notify the author(s) of the Formal Complaint
                                     that Ute matte!' has been handled as a Collegial Intervention, without making reference to
                                     MY ofthe tmdel'iylng facts or findings and shall doct11nent wJ1e11 such notifkatlon(s) were
)                                    made.

             9. Co1·rcctive Actions
                    • The Medicid Staff President shall p1·eparc a written report regarding tho fl1idlngs or the
                         evaluation (lncfucllng systems Issues, 11 trlggel'ing events"1 prior Fornrnl Complaints, if
                         any, etc.) and submit the report lo the Medical Staff Executive Commlt!ee fo1• potential
                         Co!'l'ective Action pursuant to 7.3 of !he Medical SlnffBy[aws. A copy of the report shali
                         also be submitted to the physician's Department Chair imd the Temple University School
                        of Medicine- Office of Faculty Affairs.
                   • The MSEC shall, In E~ecutive Session, handle the matter in accordance wi!h Article 7.3
                        of the Bylaws or may elect to have the matter handled pursmrnt to Article 7.2 of the
                        Bylaws (f,e, as a Collegial Intervention) at Its discretion.
                   0    Any reports prepared In accordance wl(h Artiolo 7.3 of the Bylaws shall remain In the
                        physlclnn 1s confidential credentials file permanently.
                   • The Med lea l Staff President shafl verbally nolify tho author(s) of the Form1'11 Complaint
                        that the matte!' has been hnndled as a Coueotlve Acif 0111 wllhout miildng reference to any
                       of the underlying faots or findings and shall document when S\lch notific11!1on(s) were
                                    made.

          I 0. Referral to Physician's Health Committee
                        •           Matters deemed to wm·1·ant referrnf to tho Physlciai\'s Health C,onunlltee shall be handled
                                    In accordance wlth !he '!'UH Physlclan Health and Wellness Policy - TUH-ADMJN-
                                    950, f OJS

    NOTm
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                           The Medical Staff President shall document !hat such 1·elerral was inade. Sueh
                           documentation shall not make refe!'ence to any undel'lying facts or findings,
                     Q     The Medical Staff Pl'esldent shall verbally notify the mtlhor(s) of the Formal Complaint
                           that the 1m1ttc1· has been handled appl'oprlately but that no ful'thel' Information may be
                           p1·ovlcfed.




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   APPROVALS

   Rccommell(led by:

                Shel'ry Mq2er
                Chief Regulato1y Affai!'s Officer- TUH, TUHS

                12112/2016



               Robeti McNamara, MD
               Chair, Medical Staffnxeci1tlve Committee -TUH

               Elizabeth Craig, DNP1 CRNP, FACHB
               Vice President Pn!lent CEtre Services & Chief Nursing Officer-TOH

               Herbert B. Cushing, MD, FACP
              Chief Medical Officer, TOH
              Verdi J. D!Sesa, M.D.1 MBA
              President and ChiefExecutive Office1• • TUH

 Dnto:
               12/lS/2016




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               ARTICLE Vll: fNTERVENTlONAL PEER REVIEW, CORRECTIVE ACTION, AND
                                    AUTOMATIC LIMITATlONS
         7.1     OVERVIEW
                These Byraws encourage informal, collegial, and educationat efforts by
         Professional Medical Staff leaders including Department/Section Chairs/Chiefs, and/or
        the Medical Staff President to identify and address questions relating to clinical practice
        and professional conduct, using a systems"based analysis and Just Culture principles,
        as defined in the Definitions, and reserving formal ·corrective action procedures for those
        infrequent situations in which collegial efforts have not sueceeded and/or where material
        patient safety concerns have a~isen. The provisions of this section are applied in
        concert with specific Hospital/Medical Staff policies regarding: (1) peer review; {2)
        disruptive conduct (including sexual harassment); (3) physician health/impairment; and
        (4) late career practitioner matters involving these issues. Matters involving these issues
        should be referred to the relevant committees as specified in those policies.
        7.2      INTERVENTIONAL PEER REVIEW

                  7.2.1     Initiation of a Concern. Members of the Professional Medical Staff
                            have the responsibility to report to the relevant Department Chairs,
                            the Medical Staff President, or.the CMO, any·Practitfoner whose
                            activities or professional conduct are reasonably likely to be: {1)
                            detrimental to patient safety or the delivery of quality patient care1
                            including matters related to physician health; (2) disruptive to
                            Hospital operations; (3) contrary to these Bylaws; or (4) below
                            applicable professional standards.

                  7.2.2     ,Collegial Intervention. The relevant Department Chair, working in
                             collaboration with other Medical Staff Leaders, and Hospital
                            Administration, as appropriate, will address concerns raised under
                            Bylaws section 7.2.1 through collegial intervention. The goal of
                            collegial interventlonal peer review efforts is to arrive at voluntary,
                            responsive actions by the Practitioner to resolve questions that
                            have been raised. Collegial interventional efforts are encouraged,
                            but are not mandatory. AU collegial interventional efforts by
                            Professional Medical Staff leaders and Hospital Administration
                            constitute peer review activities. Collegial intervention does not
                            preclude the reporting to appropriate licensing boards, the
                            Department of Health or other governmental entity as required by
                            law.

        7.3      CORRECTIVE ACTION
                  7.3.1     Initiation of Formal Corrective Action Proceedings. Whenever a
                            material patient safety concern has been raised, or where collegial
                            intervention al efforts have not resolved a question, regarding (1) a

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                     Practitioner's clinical competence, clinical practice, or interactions
                     with graduate medical trainees, students or other persons· in the
                     Hospital; (2) known or suspected violation of applicable ethical
                     standards, these Bylaws, or Professi,onal Medical Staff or Hospital
                     Policies; or (3) conduct of a Practitioner that is considered below
                     Professional Medical Staff or Hospital standards or disruptive to the
                     orderly operations of the Hospital, the matter will be referred to the
                     President of the Medical Staff and the Chief Medical Officer, who
                     shaU review the matter, and if appropriate, forward it to the MSEC.
                     The MSEC may determine there is no basis for an investigation, or
                     may initiate formal corrective action proceedings by opening an
                    investigation. If the MSEC determines that an investigation is
                    appropriate, it wm advise the Practitioner unless, under
                    extraordinary circumstances, it determines that informing the
                    person might compromise the investigation or disrupt the
                    operations of the Hospital or the Professional Medical Staff, The
                    Chair of the MSEC will keep the CEO of the Hospital fully informed
                    of the question raised and of any actions taken in connection
                    therewith.
         7.3.2       !nvestigafion. The MSEC shall appoint a three (3)-physician ad hoc
                     committee to investigate the matter.. If requested, the Practitioner
                     under investigation will provide information to the ad hoc
                     investigating committee in a manner and upon such terms as the
                     ad hoc investigating committee deems appropriate. The ad hoc
                     investigating committee may, but is not obligated to, review medical
                     files or other documents, obtain an external consultant to conduct a
                    comprehensive chart audit, and conduct interviews with witnesses.
                     Such investigation will not qonstitute a 11 hearing11 (as that term is
                    used in Article VIII), nor will the procedural rules with respect to
                    hearings or appeals apply. The ad hoc investigating committee
                    may, in its sole discretion, grant the Practitioner under investigation
                    an interview at which the Practitioner being investigated may
                    discuss the matters under investigation, or may require the
                    Practitioner to appear and to discuss the matters. A record of such
                    interview will be made by the ad hoc investigating committee and ·
                    forwarded to the MSEC with !ts report. If the Practitioner refuses to
                    participate in such an interview, the involved parties may not draw
                    an adverse presumption from the refusal, and the Practitioner
                    waives the right to subsequently arg·ue that the ad hoc committee
                    failed to take into account any information that he/she could have
                    provided during the interview.

                   The ad hoc investigating committee should ·seek to complete the
                   investigation within sixty (60) days, but no longer than ninety (90)
                   days, of its receipt of a request to investigate and, within fourteen
                   (14) days thereafter, forward a written report of the investigation to
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                            the MSEC. The report may, at the ad hoc committee's option,
                            include recommendations for appropriate corrective action. The ad
                            hoc committee may also elect to defer the discussion of
                            recommendations to the full MSEC.
                                                                     .,
                             Despite the status of any investigation, at all times the MSEC, in
                            consultation with the CEO of the Hospital, will retain authority and
                            discretion to take whatever action may be warranted by the
                            circumstances, including summary suspension, termination of the
                            investigative process, or other action, as otherwise set forth in
                            these Bylaws.

                7.3.3       Action. The MSEC will take action upon the results of the
                            investigation at its meeting following receipt of the report of the ad
                            hoc committee. Such action may include, without limitation:

                            (a)   Rejecting the possibility of corrective action and, if the MSEC
                                  determines there was not credible evidence for the complaint
                                  in the first instance 1 removing any adverse information from
                                  the Practitioner's file;

                           (b)    Referring the matter back to the ad hoc committee with
                                  specific directions for further investigation;

)                          (c)    Issuing a letter of admonition, reprimand, or warning to be
                                  included in the credentials file of the Practitioner. In the
                                  event such a letter is issued, the Practitioner may make a
                                  written response that will be placed in the Practitioner's
                                  credentials file; a letter of admonition, reprimand, or warning
                                  will not entitle the Practitioner to the hearing and appellate
                                  review procedures of Article VIII of th~se Bylaws. such
                                  letter wilt be removed from the Practitioners' credentials file
                                  after five (5) years if no further corrective action is taken
                                  against the Practitioner during this time;
                           (d)    Recommending a remedial action plan to be designed in
                                  consultation with the Department Chair and subject to the
                                  oversight of the Department Ghair and MSEC, with specific
                                  outcome measures and a compliance monitoring plan;

                           (e)    Recommending reduction, modification, suspension 1 or
                                  termination of Clinical Privileges, or Specified AHP
                                  Privileges, as applicable;
                           {f)    Recommending reductions of Professional Medical Sta.ff
                                  membership status or limitation of any prerogatives related
                                  to the Practitioner's delivery of ·patient care;

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                           {g)    Recommending suspension, termination, or probation of
                                  Professional Medical Staff membership; or

                           (h)    Taking other actions deemed appropriate under the
                                  circumstances.
               7.3.4       Notice to Practitioner. The Practitioner will receive Special Notice of
                           any recommendation or action taken by the MSEC, including a
                           decision that no corrective action is necessary. If the MSEC
                           recommends a form of corrective action that results in hearing
                           rights as set forth in section 8.2 of these Bylaws, the Special Notice
                           shall inform the Practitioner ihat he/she has a right to invoke the
                          hearing procedures in Article Vm, and shall Include the information
                          specified in Bylaws section 8.3.1. As stated in the Special Notice)
                          the affected Practitioner waives his/her right to a hearing by failing
                          to request a hearing within thirty (30) days of receiving Special
                          Notice of the MSEC's recommendation. If the Practitioner does not
                          request a hearing, the matter will be transmitted to the Board for
                          final review and action 1 of which the Practitioner will receive Special
                          Notice.
               7.3.5      Joint Conference Committee Review. If at any point during the
                          corrective action review proceedings, the Board reaches a
                          determination that Is different from that recommended by the
~                         MSEC, then, prior to final action by the Board, a Joint Conference
                          Committee shall be convened to review the matter and make
                          recommendations that the Board shall consider before taking final
                          action.
      7.4    SUMMARY SUSPENSfON OR RESTRICTION

              7.4.1       Grounds. Summary suspension or restriction of a Practitioner may
                          be imposed if a Practitioner: (1) disregards and/or violates these
                          Bylaws 1 Medical Staff Policies or Hospital Policies in a manner that
                          endangers the health, Hfe or well-being of any patient, prospective
                          patient, or other person in the Hospital, (2) engages in conduct, or it
                          is reasonably believed that the Practitioner may engage in conduct,
                          that requires prompt action be taken to protect the health, life or
                          well-being of any patient, prospective· patient, or other person In the
                          Hospital, (3) engages in conduct that materially disrupts any aspect
                          of the Hospital's operations, so as to create a material safety risk,
                          or (4) exhibits signs of impairment, including but not limited to
                          alcohol or drug use, while providing, or available to provide, patient
                          care services at the Hospital.
              7.4.2      Authorit)!. The CEO of the Hospital, or his/her designee, in
                         consultation with the Chair of MSEC and/or the President of the

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                     Professional Medical Staff, has the authority to impose summary
                     suspension or restriction, which may involve the Practitioner's
                     Professional Medical Staff membership or all or any portion of the
                     Practitioner's Clinical Privileges or Specified AHP Privileges, as
                     applicable. Unless otherwise stated, such summary suspension or
                     restriction will become effective immediately upon imposition and
                    the CEO of the Hospital will give Special Notice of the suspension
                    promptly to the Practitioner, applicable Department Chair(s}, and
                    the MSEC. The summary suspension or restriction may be limited
                    in duration and will remain in effect for the period stated or, if not so
                    limited, will remain in effect untll resolved by the procedures
                    specified in this Bylaws section 7.4.

         7.4.3      Review. Within five (5) business days of such summary suspension
                    or restriction, the MSEC will convene to review and consider the
                    e1ction; provided, however1 that the MSEC may extend the period of
                    review for good cause. Jn no case, however, may the extension
                    exceed a period of fourteen (14) days. Upon .request of the MSEC
                    by the Practitioner, the Practitioner may attend and make a
                    statement concerning the issues under investigation, on such terms
                    and conditions as the MSEC may impose, although in no event will
                    any meeting of the MSEC, with or without the Practitioner,
                    constitute a "hearing" within the meaning of Article Vflf, nor will any
                    procedural rules apply except those adopted by the MSEC. The
                    MSEC may recommend that the summary suspension be
                    terminated, modified, continued for a specified period, or made
                    permanent.

        7.4.4       Special Notice/Hearing Rights. The CEO or his designee will
                    furnish the Practitioner with Special Notice of the MSEC's
                    recommendation, with copies to the MSEC Chair and applicable
                    Department Chair(s) •. Jf the MSEC recommends that the summary
                   suspension be modified, continued for a specified period, or made
                   permanent, the Special Notice will inform the Practitioner that
                   he/she has a right to invoke the hearing procedures in Article VII I,
                   and shall include the infOrm'ation specified in Bylaws section 8.3.1.
                   In the event that the Article VIII procedures are requested, the
                   summary suspension shall remain in effect throughout the
                   pendency of the hearing and appeal process. As started in the
                   Special Notice, the affected Practitioner waives his/her right to a
                   hearing by failing to request a hearing within thirty (30) days of
                   receiving Special Notice of the MSEC's recommendation. If the
                   Practitioner does not request a hearing, the matter will be
                   transmitted to the Board for final review and action, of which the
                   Practitioner will receive Specla! Notice.



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              7.4.5       Recommendation for Termination of Summarv Suspension. If the
                        .MSEC recommends termination of the summary suspension, that
                         recommendation will be transmitted immediately to the Board for
                         review and final action. If the Board. determines that the summary ·
                         suspension shou[d remain in place, in whole or in part, the CEO will
                         inform the Practitioner, by Special Notice, that he/she has a right to
                         invoke the hearing procedures in Article VIII, and shall Include the
                         information specified in Bylaws section 8.3.1. In the event that the
                        Article VIII procedures are requested, the summary suspension
                        shall remain in effect throughout the pendency of the hearing and
                        appeal process. The affected Practitioner waives his/her right to a
                        hearing by failing to request a hearing within thirty (30) days of
                        receiving Special Notice of the MSEC's recommendation, and the
                        Board decision will become final, subject to the provisions of
                        section 7.4.6, below.

             7.4.6      Joint Conference Committee Review. If at any point during the
                        summary suspension review proceedings, the Board reaches a
                        determination that is different from that recommended by the
                        MSEC, then, prior to final action by the Board, a Joint Conference
                        Committee shall be convened to review the matter and make
                        recommendations that the Board shall consider before issuing its
                        final action.
J   7.5    AUTOMATIC LIMITATIONS

            7.5.1        Automatic Limitation: Faculty Status. The Professional Medical
                         Staff membership and privileges of a Member in the category of
                      .1 Active Staff who is no longer a faculty member at the Temple

                         University School of Medicine, School of Podiatric Medicine, or
                         School of Dentistry will automatically be re-assigned to the
                         Associate Staff category as of the date of such cessation, unless
                         the Member's contract or separation agreement does not allow for
                         that.
            7.5.2       Staff providing services pursuant to a contract (all categories). In
                        the event fhat a Practitioner is providing services directly or
                        indirectly at the hospital pursuant to a contract and such contractual
                        relationship terminates; or the Staff member's relationship with
                        his/her employer (which is contracting with the hospital) terminates,
                        then the Practitioner's membership and Clinical PriVileges, or
                        Specified AHP Privileges, as applicable, shall be governed by the
                        terms· of the contractual relationship.

            7.5.3       Grounds. In the instances discussed below, the Practltioner's
                        membership and Clinical Privileges, or Specified AHP Privileges as
                        applicable, will be terminated, ·suspended or limited as set forth

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                        below. It is the obligation of each Practitioner to advise the CEO of
                        the Hospital immediately upon learning of an event that could lead
                        to the termination, suspension or limitation of his/her Professional
                        Medfcaf Staff membership, Clinical Privileges, or Specified AHP
                        Privileges, as set forth below. Promptly upon learning of such an
                        event, the CEO of the Hospital will advise the Chair of the MSEC,
                        who will in turn promptly advise the MSEC.

                         (a)   Termination, Revocation, Suspension. Restriction or
                               Limitation of License or Other Legal CredentiaL If a
                               Practitioner's license or other legal credential authorizing
                               practice in the Commonwealth of Pennsylvania is: (1)
                               terminated or revoked; or (2) surrendered while under
                               investigation or in return for not conducting an investigation,
                               the Practitioner's Professional Medical Staff membership and
                               Clinical Privileges, or Specified AHP Privileges as
                               applicable, automatically will be terminated as of the date
                               such action becomes effective. In the event Professional
                               Medical Staff membership and Clinical Priyileges terminate
                               on such basis, the procedures set forth in Article Viii will not
                               apply.
                               If a Practitioner's license or other legal credential authorizing
                               practice in the Commonwealth of Pennsylvania is: (1)
J                              suspended; (2) limited or restricted by a licensing or
                               certifying authority, or (3) subject to a period of probation,
                               the Practitioner's Professional Medical Staff me.mbership and
                               Clinical Privileges, or Specified AHP Privileges as
                               applicable, automatically will be suspended as of the date
                               such action becomes effective.
                               If a Practitioner's license or other legal credential authorizing
                               practice in a state other than one jn which the Hospital has a
                               facility iS (1) terminated, revoked or suspended; or (2)
                               surrendered while under investigation or in return for not
                               conducting an investigation, the Medical Staff Member's
                               Professional Medical Staff membership and Clinical
                               Privileges automatically will be suspended as of the date
                               such action becomes effective.

                               Termination. Revocation, Suspension. Restriction or
                               Limitation on DEA Certificate. If a Practitioner's DEA
                               certificate is terminated, revoked, or surrendered, the
                               PracUtioner's Professional Medical Staff membership and
                               Clinical Privileges, or Specified AHP Privileges, as
                               applicable, automatically wm be terminated as of the date
                               such action becomes effective. In the event Professional

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                           Medical Staff membership and Clinical Privileges, or
                           Specified AHP Privileges, as applicable, terminate on such
                           basis, the procedures set forth in Article VIII will not apply.

                           If a Practitioner's DEA certificate is suspended, limited or
                           subject to a period of probation, the Practitioner's
                           Professional Medical Staff membership and Clinical
                           Privileges, or Specified AHP Privileges, as applicable,
                           automatically will be suspended as of the date such action
                           becomes effective. This provision does not pertain to a
                           Practiti.oner whose practice does not require a DEA
                           Certificate and who has elected not to maintain one.

                    (c}    Professional Liability Insurance. If a Practitioner fails to
                           maintain professional liabifity insurance in amounts and of a
                           type required, the Practitioner's Professional Medical Staff
                           membership and Clinical Privileges, or Specified AHP
                           Privileges as applicable, automatically will be suspended as
                           of the date that the Practitioner first falled to maintain the
                          required professional liability insurance. If, within thirty (30)
                          days thereafter, the Practitioner does not provide evidence
                          of required professional liability insurance, the Practitioner's
                          Professional Medical Staff- membership and Clinical
                          Privileges, or Specified AHP Privileges as applicable,
                          automatically will be terminated. Jn the event Professional
                          Medical Staff membership and Clinical Privileges, or
                          Specified AHP Privileges as appllcabl~, are suspended or
                          terminate on such basis, the procedures set forth in Article
                          VIII will not apply.
                    (d)   Exclusion or Suspension from Government Program. If a
                          Practitioner is excluded or · suspended from Medicare,
                          Medicaid or participation in another state or federal
                          government health care program, the Practitioner's
                          Professional Medicat Staff membership and Clinical
                          Privileges, or Specified AHP Privileges as applicable,
                          automatically will be terminated as of the date such action
                          becomes effective. In the event Professional Medical Staff
                          membership and Clinical Privileges, or Specified AHP
                          Privileges as applicable, terminate on such basis 1 the
                          procedures set forth in Article VIII will not apply. .

                    (e)   Medical Records. Members of the Professional Medical Staff
                          are required to complete medical records according to the
                          time periods set forth in these Professional Medical Staff
                          Bylaws, Medical Staff Policies and Hospital Policies. A
                          temporary suspension in the form of withdrawal of Clinical

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                                 Privileges until medical records are completed or the
                                 suspension is lifted will be imposed by the Chair of the
                                 MSEC or CEO of the Hospital, after Special Notice of
                                 delinquency for failure to complete medical records within
                                 such period. The suspension vyill be lifted upon completlon of
                                 the delinquent records, or for good cause shown, by the
                                 person who imposed the suspension. In the event that
                                 Clinical Privileges are suspended on such basis, the
                                 procedures of Article Vfll will not apply.
                7.5.4      MSEC Review of Automatic Suspension. The MSEC shall convene
                           to review an automatic suspension imposed pursuant to Bylaws
                           section 7.5.3(a) through (d} within five (5) business days. The
                           review of the MSEC will not constitute a "hearing" within the
                           meaning of Article VHI, and no procedural rules apply except those
                           adopted by the MSEC. Jn the event that the MSEC determines to
                           maintain the automatic suspension in p!ace as mandated by the
                           nondiscretionary terms of Bylaws sections 7.5.3 (a) through (d)
                           above, the MSEC's decision is final and non~appealable. In the
                           event that the MSEC votes to exercise its discretion to modify,
                           extend or expand the automatic suspension beyond that which is
                          dictated by the nondiscretionary provisions of Bylaws section 7.5.3
                          (a) through (d) above, the CEO will inform the Practitioner, by
                           Special Notice, that he/she has a right to invoke the hearing
                          procedures in Article VIII, and shall include with the notice the
                          information specified in Bylaws section 8.3.1. Jn the event that the
                          Article VIII procedures are requested, the automatic suspension,
                          with the modification, extension or expansion recdmmended by the
                          MSEC, shalf remain in effect throughout the pendency of the
                          hearing and appeal process. The affected Practitioner waives
                          his/her right to a hearing by failing to request a hearing within thirty
                          (30) days· of receiving Special Notice of the MSEC's
                          recommendation, and the matter is then transmitted to the Board
                          for review and action, following the procedures set forth In Bylaws
                          sections 7.4.4~7.4.6, above, with regard to summary suspension.

                7.5.5     Corrective Action. Suspension does not preclude the imposition of
                          other corrective action, nor does it require the prior imposition of
                          other corrective action. Additional corrective action may be
                          Implemented if a suspended Practitioner admits, treats, consults,
                          performs or assists in surgery or otherwise exercises any Clinical
                          Privileges, or Specified AHP Privileges, as applicable, during the
                          period of suspension. Corrective action may be taken prior to the
                          time that automatic termination occurs (e.g., prior to the exhaustion
                          of appeals after conviction).
      7.6     APPUCATION FOR MEDJCAL STAFF MEMBERSHIP AFTER TERMINATION

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                A Practitioner whose membership on the Professional Medical Staff and Clinical
       Privileges, or Specified AHP Privileges as applicable, have been terminated under this
       Article VII will not be eligible to reapply to the Professional Medical Staff for a period of
       two {2) years unless invited to reapply by the President of the Professional Medical Staff
       and the Chair of the appropriate Department. Any reapplication will be processed as an
       initial application, except that the Applicant will submit such additional information as
     . may be required to demonstrate that the basis for the termination no longer exists.
      7.7     CONTINUITY OF PATIENT CARE

             Upon termination, suspension, restriction or resignation of Professional Medical
      Staff membership or Clinical Privileges, or Specified AHP Privileges as applicable, the
      President of the Professional Medical Staff or, at his/her request, the Chair of an
      appropriate Department or Section Chief, will assign the Practitioner's patients to one or
      more other members of the Professional Medical Staff. Reasonable efforts will be made
      to respect patient preference in making such assignments.




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Participation to Training for: Michael Welnlk [Temple University]


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                    Background on other Issue Sue Coull had a concern about

                           o   Sue Coull oversees all the GME programs and the administrative staff for all the programs are In
                               the GME department reporting up to Sue Coull
                        o      The Manag~r of GME Is Jackie Schacht and the Director Is Luda Cruz
                        o      Amber Dzikowsk! Is the GME Administrator of PM&R and her office Is located In the central GME
                               office
                        &      Amber has been In this position for year and half
                        o      Lucia and Jackie came to me about their concern regarding Amber and Dr. Welnfk
                        o      Amber Is not complaf nlng but often goes to Jackie for outfit checks
                        o      She would lean over and ask Jackie to look down her top to make sure you can't see anything
                        o      Or she would just generally ask before she meets with Dr. Welnlk lf her outfit Is
                               professional/appropriate
                        o      Jac~ie said she wears turtle necks when she knows she will be meeting with him
                        o      Amber has said he makes off color jokes
                       •       He Is over the top friendly
                       •       She wasn't feeling well one time and had to leave, He called her and said "are you pregnant"

                    Sue Coull met with Amber around the first week of November. After CoraJs complafnt and before sue
                    met with Susan Wlegers to discuss Cora's complalnt

                    Ambers comments:

                       •       He Is very compl!mentary about the job I do
                       •       He would say "you're so good at your Job"
                       •       He likes to get persona!- overly social - overly compflmentary
                       •       Mixes professfonal and personal
                       •       She said she was sick on time and he called her and said" are you pregnant- don't leave us
                       •       He looks at my chest a lot. Amber says she Is used to lt by men, She can't help that she has a big
                               chest, She tries to be very careful about what she wears when she Is meeting with him
                       o       He can be very informal
                       •       She does not feel creeped out by him
                       •       He has a need to be accepted




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Background from November and December 2016 t!meframe
Prepared by Susan Coull on March 15 1 2017


Notes from 11/3/16 meetlng with Cora Brown and Sue Coull;

    e    Cora described be!ng·ln the EMG room to work on reports by herself over the lunch time break
          12:30-lpm. It Is shared room used by Dr. Maltln 80% of the time. Dr, Welnlk go upset about the
          use of the clip for a needle that is used by Dr, Maltln and said In an angry.way no more using
          tape to hord the dip for the needle
   <>    He then made a comment asking her if she was going to the APE conference. Cora said no, she
         doesn't have anything to present and she doesn't want to take the time away. He made a
         comment !Ike "you don't want to hang out us anymore" and 1'lt's In Vegas, there are a tot of
         whore houses In Vegas I can bring you to one'1
   i:>   Another comment was made (not sure If at this time In the EMG room) about moonllghtlng. He
         asked Cora If she moonlights and Con1 said no. And he said "don't you need the money... oh
         that's right .., l forgot your husband does well...11
   0     She sald Dr. Welnik asked about the number of EMG's she saw with Dr. Maltin and It should be
         10. She explained the EMG It Is based on the attending patient schedule, not the resident, so
         she has not control over It. Cora described Or. Welnik's behavior as strange, angry at times,
         suspicious.
   o   Cora described something from 1 year ago:
            o She spent 1 month with him on outpatient In clinic
            o Around March of last year
            o lt was about 4 weeks after she deliver her baby ·
            o He made a comment about her weight· said she lost weight and your tummy looks tight
            o She said he sometimes touches her hair but she thinks Its Just his way
   I)  In September 2.016 Cora secured job at Abington after residency
  o He makes comments about her clothes- "I like your outfit'' "yoll look great today''
  o Cora said she spoke with or. Maltln and he advised her to speak to me.
  o Cora said Dr. Maitin said there were complaints from other female residents In the past but
      they were not extreme enough to escafate. He advised Iler to see me so it can be officially
      recorded with GME
  o other comments she said he made to her 11what Is It with you Asian girls, always into Jewish
      men11 • She explained his ex-wife ls Asian. She told me about a comment he made about Jeff
      Loire, owner of the Philadelphia Eagles, and his wife Tina, who Is Asian.
  o   Cora said she respects him as a doctor and doesn't want to get him In trouble. She thinks he Just
      tries to be everyone's frfend, but as Chair he can't act like a friend.
      She said there is a lot of stress in the department between Dr. Maltin and Dr. Weln!k. They
       ·'ln't get along and It cause a lot of stress.
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    o She doesn1t want to make a formal complaint In writing, and thinks that he just needs to be
      advised to be careful what he.says and acts because he Is in a leadershfp position now
    • Asked not to dlsdose her name because she has to work wfth him and It would be difficult for
      her,
    o We talked about themes and general inappropriateness




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     Dear Ms. Susan Coull,
     Iain Cora H. Browu, MD, PM&R PGY-4 resident and cm·rently in EMG rotation undel' the supervision
     of Dr. Maitin/Dr Cruz fol' the month of February 2017. For the past few weeks I have e11countcl'ed a few
     instances with Dr. Weinik i11 which his behaviors made me uncomfortable.
    First. about 7-10 days ago I was getting. out of the resident lounge in the basement of the Rock Pavilion
    1md Dr. Weinik was ente1'ing' in the lounge. Dr. Weinik blocked the door with his body preventing me
    from leaving the lounge. I told him that I needed to see a patient who came for an EMG study. He
    responded 11Exci1sed me! I needed to get in to the founge.ll I pulled b·ack to make room fol' him entel'ing
    tlie lounge but he continued standing and blocking the door. I attempted to leave again and he continued
    rocking his body side to side preventing me from leaving. After the third attempt I was be abie to leave
    the lounge, His body came so close to mine when he Med to prohibit me from leaving the lounge.
    Secondly> 011 Fl'iday cvenir1g 2/24/17 at the wedding of 1ny coresident (Dr. Paul HurcPs wedding), Dr.
    Weinik approached me a few times dul'ing the evening. He made comments about my body shape calling
    me "so skinnyu and even labeled me as 11an anol'exic." He even made comments how sexy my dress
    looked but l was too skinny!!
    Thirdly, on Monday afternoon of2/27/17 around 3 pm in the public hallway of the baseme,nt in Rock
    Pavilion (the hallway where the employee health and outpatient PM&R clinic l'ooms locate) 1was getth\g
    out of the EMO room with Dr. Ernesto Crnz aftel' performing an EMO procedure on a female patient. Dr.
    Weinik was passing throt1gh the hallway and he stopped me and Dr. Cruz. Dr. Weinik spoke In a loud
    voice questioning why my last name was "Brown" and my husband's last name UJachnicki." He
)   bombarded me witli questions like "Were you married before7''t "Were you got dlvorced and remarried
    because your last name was different from your husband's last t1ame?" aud "Were you adopted?,, I told
    him that these questions were personal and I did not feel comfortable answe1'ing in a public place, He
    again did not stopped and had to comment on how I looked. He then told me my attire was not
    appropriate for work (I wore a khaki pant and long sleeve ~weatel' with a pair of brown boots).
    These instances came after other instances and sexual/ inappropriate comments he made of me in Octobel'
    2016 at which time 1 brought them up to your attention, I was aware that Dr, Weinik got verbal warning
    dming that time period.                                             ·
    Dr. Weinik continued showing very inappropriate behaviors and comments about my body shape, clothes
    and even so intrusive into my personal life in a public place where p!ltienls are being seen and in front of
    other health cat'e professionals. His obsessive and stalking behaviol's about me continue to occt1r at not
    only Temple University Hospital but at outside Temple hospital setting as well.
     I feel so violated and so uncomfortable even putting my footstep a!'ound PM&R clinic worrying that I
    would run foto pr. Weinik and heal' his inappropriate comments about me. These instaiwes occurred
    while I was not even on his rotation. I would hope further action to be taken fi·om 1he GME on this matter
    so that I can believe being at Temple University Hospital is for learning to become a PM&R physician
    rather than dealing with these sexual inappropriate comments/behaviors from a PM&R attending and
    llltcrim Chair dr. Weinik.
    Sincerely Yom·s.
    Cora H, Brown, MD
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                 L()W!s Kat;i Soho Qr of Medicine

                 Aprtl 5, 2017

                 MlchaelWeinlk,DO                                      ~
                 Interim Chair Person                                    ~/L                  l, ,, ,;-.,._
                 Department of Physical Medicine & Rehabilitation        {//lt{tff!.V~
                 Professor of Clinical Physical Medicine & RehabHltatlon       4 {'5 J               17
                 Dear Dr. Welnlk1

                 On March 2, 2.017, the Medical Staff was notified by the GME office regarding a written complaint
                 submitted by Temple Hospltal·PM&R PGY4 resident Cora Brown, MD. In the complaint, or. Brown
                 detailed her concerns relevant to the scope and responslb!l!tles of Physfclan Professlonal Conduct
                 outlined In the Administrative Policies and Procedures document naming you, Dr Welnlk, Interim ChaTr,
                 Department PM&R as the offender.                                        ·

                Acopy of Dr. Brown's written statement detailing her allegatlons of disruptive conduct In addition, a
                copy of the Physician Professional Conduct policy have been provided by the Medical Staff Office. Also,
        · ::··.;;~~7-Jb~J.l!JHYJN.b~~llifil1!l!Qili9.Jl~fil~ll.~.!~rn§f§~a:r.t!,Q"@n:qi;.~.!i.@£-!1il9.t.iQ1sID'.rus.1W.lRV.it~~~
                same resident. Meetings and Interviews to address and outline the allegations have taken place and
                were Jnc!uslve of Sue Coull, Dr Wlegers1 Dr. Brown, and yourself, At the.conclusion of the meetings, it
                was reported that you denied the accusations. It's noted that the accuser's Identity was not provldeq to.
                you at that time. Dr. Welgers states that she expressed unease with your assessment and
                recommended that you undergo counsellng. It was reported that you respectfully declined.

                With regard to the most recent concerns submitted by Dr.. Brown, separate Interviews were conducted
                by Dr. Tedaldl artd I which Included: Dr. Weigers, Sue Coull and Dr•. Brown, followed by Dr Cruz- prior to
                our meeting with you. At all meetings attempts were made to be comprehensive and constructive In
                securing any and aU information relevant to the allegations. The objective was to Identify the Issues an~
                to create a plan of action designed to ensure a safe ~nd effective work environment for all partfes
                Involved.

                Dr. Tedaldi anq I have reviewed the compfalnt by Dr. Brown as well as the evidence provided and
                determined that there fs (nsufflclent evidence to fully support all of the lndlvldual allegatlons. However,
                we are persuaded that you are responsible In some part for an unwelcomed Intrusion Into Dr. Brown1s
                persona I and private space, Accord[ngly, we .formally recommend that you undergo professional
                coaching with folfow-up and that progress be provided to Dr. Kafser, in lleu of the department Chair
                person. The Medical Staff wlll provide the resources In anticipation your acceptance.

               Respectfully, .


                    Lb 6~A
               Vincent S. Cowellt
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                                                                                  Ellen Tedaldl
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.__,J
               President, Medrcal Staff                                           Past President, Medl~al S~aff

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                                     Internal Memorandum

    To:    Vincent Cowell, MD

    From: Allyson Saccomandi

    RE:    Coaching Assignment for Michael Welnik




    In Aprll of 2017, Dr. Cowell approached me to work with Dr. Welnik after a complaint
    investigation involving unprofessional behavior.

    I emalled Dr. Weinik to set-up a meeting to discuss on April 121 2017 and requested a time for
the Initial meet and greet. We held that initial meeting on April 19th at 8 am in the HR Office in
Zone B.


The dlscuss!on was wide-ranging and Dr. Welnik was very emotional. He expressed concern
about his reputation, gossip about the situation and lack o[ confidentiality in the process. He
gave specific examples of other physicians approaching him and raising the topic. He was
adamant that he understood why the issue was raised and committed to making sure it would
not happen again. We discussed the root cause for such a problem and preliminary ways to
avoid Issues In the future. In addition, we discussed his current position as interim, his desire. to
be named Chair, and what he might need to demonstrate to be positioned for the permanent
role. We agreed to seek more feedback and discussed the 360 review process as a tool, which
he committed to participate In.

Later that day1 Aprll19, 2017, I emalled Dr. Weinik all the relevant forms required for the
process and Instructions to complete.

On April 21, 2017 I emailed Dr. Cowell to confirm we had met and we were moving forward.
On April 24, 2017 I emarted Dr. Kaiser with the same Information.

On April 27, 2017 he reached out to tell me that he was behind in the process due to other
commitments but was still interested in moving forward and would focus on it in the coming
week.




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,...J       On May 9, 20171 reached out to meet with Or. Welnlk to move the process along. We met on
            May 11, 2017 and discussed where he was in the process of compiling raters. We also
            discussed the messaging for his Invitation to participate. Dr. Weinik still had some work to do in
            finalizing the list. We discussed the pros and cons of some of the raters. In general my
            Impression was that he would be able to gain the appropriate amount of honest insight with his
            selections.

         On May 17, 2017 t reached out again to see If we could finalize his raters and asking for a time
         to meet. He Indicated he as on-call and ill and that was slowing his process. We agreed to
         meet at 2:15 on the 19th. We had a good meeting and robust discussion. The rater sheet was
         finalized with appropriate names and we discussed how he would invite people to participate
         and he committed to customizing the invitation to participate and would send me the flnal
         draft. Dr. Welnlk arso committed to sending me the outstan-dlng email addresses he needed to
         complete the setup of the survey.

        By June 11 20171 had stlli not received the information I needed to start the process, I reached
        out to Dr. Welnik via email to say that I was concerned we were falHng behind since I hadn't
        heard back from him on his ffnal Invitation and did not have the outstanding email addresses. I
        included a sample invitation for him to edit to help him move the process along. That evening
        he finalized the Invitation and sent it back to me for approval. On June 12, 2017 I reached out
        again for the outstanding ematl addresses. He responded that he was learning something
        through the process about himself and his ability to follow through. He confirmed that he sent
        all lnvitatfons and wanted to add a fe,,w more·names. Jn the end I launched the survey using the
        names he originally provided to me.

        On June 301 2017 we schedule time to meet face-to-face. We discussed the difficulty we were
        having getting to the point and the importance of follow through and the impact this has on his
        other work beyond the 360 survey. We discussed the current survey respondents and who had
        not responded. He committed to following up with those outstanding raters In order to finalize
        the 360 da.ta. We discussed how he was Interacting with residents, the boundaries he was
        setting and the Importance of those boundaries. We discussed the current staff, openings,
        state of the department, staff engagement and morale, his vision and also roadblocks. He
        alerted me to vacation time and some conferences that were on the horizon. I promised to
        monitor his respondents.

        On July ·26, 20171 emailed Dr. Weinik to let him know that the 360 was nearly complete with
        only his leader outstanding and asked how he wanted to handle the situation and I was looking
        forward to catchrng up with him. He alerted me to some medical concerns and then said he

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         would look Into when he asked Dr. Kaiser to complete the 360. He then confirmed that he
         texted hlm a reminder. I let him know that as soon as it was complete we could sit and review.

         Throughout the next several weeks I continued to monitor completion by his manager. By
         August 24 1 2017 J closed the 360 without this feedback as the coaching assignment was
         beginning to drag on much longer than anticipated and there was relevant feedback from other
         that we could work with. I requested to meet with him on September 61h or ih and ultimately
         was scheduled on September 131 2017 to review the 360 feedback report.

      We met on September 131 2017 and debriefed the 360. We reviewed the written feedback and
      the top developmental opportunities and noted an overlap on several categories. l discussed
      the resources Dr, Welnik had to help him understand more about the competencies. His
      assignment was to determine the top 2 or 3 items that would become his focus. During this
      conversation he was open about the struggles of his team, the lack of vlsion1 planning, and
     strategy of PM&R over the past several years, and his ability to balance the administration
     required of a Chair with his dutles as a physician, We also discussed training opportunities for
     someone at his level and reviewed both physician leadership academy and the health system
     academy as possible opportunities. Once again we discussed the residents and his relatlonshlp
     with them. He noted with clarity the boundaries that were needed with his residents and the
     team now that he was interim Chair. He again provided examples of Interactions where he set
)    those boundaries. We agreed on next steps and he asked m~ to contact his assistant to set up
     regular meetings since he does not have access to his own calendar for scheduling.

     On September 18, 2017 I contacted Jean Tamasauskas and requested a meeting with Dr. Weinlk
     in two weeks. I also requested that those meetings be recurring every two weeks through the
     end of December. Jean did not respond to my requests until October 6, 2017. She provided
     the following meeting times that extended later in the year than I would have liked or
     anticipated:

     October 25th
     November 1ih
     December 1st
     December 15th

     I was out of the office on October 25, 2017 due to a certification and rescheduled for November
     3, 2017. During that conversation we discussed the minimal progress, but he said that he had
     been spending time thinking about the areas he needed to develop and was In fact formulating
     ways to move forward. Taking time to think through the feedback Is not unusual. Since we had

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        regular meetings schedu!ed through the end of the year I fel~ comfortable at thls point that
        progress could be made. During this meeting we spent most of the time talking about his team
        an{:i how he envisioned the future of PM&R. We discussed the roles on his team, the impact of
        the roles on his time, funding in the unit, grant opportunities, working cross~functionally with
        other departments and development opportunities for his staff among other things. I shared
        with him the TUH goals and we discussed how PM&R could flt Into the framework. He
        committed to setting goals for his team and sharing his future vfslon as next steps.

        As In the prior meetings we also discussed his position as interim Chair and how he was
        interacting with those on his team. He communicated again that he was seeing the value In
        setting professional boundaries between himself and his team.

         On November 10, 2017, I sent him sample forms for planning goals and the electronic version
        of the TUH goal setting deck and told him that I was looking forward to seeing what he would
        pull together at our next meeting on November 17, 2017.


    On November 15, 2017,Jean Tamasauskas canceled the meeting scheduled for November 17,
    2017 and offered no re~schedule instead saying he would see me again on December 1, 2017.


    On November 27, 2017 Jean Tamasauskas emailed to cancel.my December 1, 2017 meeting.
)   She asked If she should reschedule sooner or if the next meeting on the 15th would be fine. I
    opted to wait until the meeting on the 15th but was seeing a pattern of non-commitment to the
    process that has been prevalent from the beginning.

    On December 15, 2017t Jean Tamasauskas canceled the meeting scheduled for that afternoon
    and rescheduled it for December 21, 2017.

    At this point I was very concerned this assignment was not moving forward rn a positive
    direction and that there was a lack of commitment to the process. While the discussions
    seemed positive when we did connect, there was a consistent lack of fol!ow~up. I planned to
    meet with Dr, Weinik on the 21st of December to have a frank conversation about ending the
    assignment and then communicating with Dr. Cowell and Dr. Kaiser on the situation.




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        On December 21, 2017 I met with Dr. We!nlk and he pre~empted my agenda with a discussion
        on what he had been working on and Implementing since we' last met.


              0    Dr. Weinlk set forth a plan for role clarlflcatlon with regard to his team. He reviewed
                   the specifics of team and Individual discussions including providing PM&R physicians
                   opportunities to teach. He highlighted a difficult conversation with a tenured physician,
                   but felt It would turn out to be a positive over time,


              o    Dr. Welnlk set forth a plan for development of staff, including himself1 and outlined the
                   physicians recommended for leadership academy and other development opportunities.
                   He reported positive response from his team.


              o    Dr. Weinlk updated me on what he wanted to accomplish In terms of grants and
                   fund raising and that he discussed his ideas with his team, He also asked for their Input
                   on how to raise funds for PM&R.

           e       Dr. Weinlk updated me on discussions with the physicians on timely billing and the
                   importance of timely billing to the system.


)         "        Dr. Welnik also outlined the beglnnlng of a 3 year p!a~ that would align with the bufld!ng
                   of the MOB and anticipated growth with regard to that change. This Included the
                   contlnung partnerships with other departments.


          o        Dr. Welnik relayed two stories where he had the opportunity to socialize with a resident
                   but declined in a continued effort to remain true to professional boundaries. We_
                   discussed the current environment related to Inappropriate behavior, the #Me Too
                   Campaign, and the importance of making sure all Interactions are professional.


    l was very surprised at the progress and the preparation of Dr. Weinik for that meeting and
    shared my surprise with him. I told him that I was not expecting him to have made that
    progress. We committed to the following next steps:

          e       He would support the attendance of his team at the development events he assigned.
          o       We would set up a schedule In the new year that would include meeting through March
                  on his goals and development plan.
          •       He would attend all leadership sessions for Chairs as well as the TUHS Leadership
                  Academy.

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        I have reached out to Jean Tamasauskas to schedule recurring meetings.through March. Those
        meetings are schedule for:

        January 26, 2018
        February 2, 2018
        February 16, 2018
        March 2, 2018
        March 16, 2018

        .1 have registered Dr. Welnik for Leadership Academy In April. As we work through the
        academy sessions I will partner with Dr. Weinik for implementation of the c9ncepts.

    I have spoken with Dr. Tedaldl on Including Dr. Weinik ln Chair leadership sessions that are
    being held in early 2019.

    I planned to provide my update to Or. Kaiser in January of 2018 as to Dr. Welnlk's progress and
    plan for 2018. f have not yet sent that report as of the date of this memo, January 221 2018.

    This coaching assignment could have been more concise and focused. I originally thought this
J   engagement would take us through the end of September. After refocusing I anticipated we
    would finish up by the end of December. I am hoping 2018 brings a renewed focus but lam
    concerned that it is not a priority. I am committed to working through April with Dr. Welnlk. If
    the pattern of cancelations continues I would recommend ending the assignment.

    A.S.
    1/23/2018




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                          iN1essage
                        Today 9:12 AM

       Acevedo

       Goodmorningl l m at the                                                     1



       York interview tod~yo I
       spoke with chiefs. Sorry
       for th·e inc·onvenience.
       vv~~inikiphone


l      Who did you speak to?
       More imPortant who did
       you ask cover you?

       Not a wise move, since
       l m v.ery good friends
        1



       with Dr. Furman
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        Ozikowski, Amber

' \ From:
   1
        Sent:                               Tuesday, January 16, 2018 8:10 AM
        To:                                 Dzlkowskl, Amber


        WARNING:
        **** EXTERNAL Message. DO NOT open attachments or dick links from unknown senders or unknown emalls. ****


        I am writing to discuss some experiences, moments of concern, shame} and frustration that I experienced as a resident
        physician with my previous attending, Dr. Michael Welnlk.                                                       ·

       In the current environment where women are finally being supported Instead of hushed, deemed dramatic or Ignored for
       teH!ng their stories of sexual harassment and misconduct, I feel It Is tfme to share some situations l experienced not very long
       ago at Temple as a pmr resident.

       I was a PGY-2 when I had my first uncomfortable encounter with Dr. Welnlk. I was on consults and walking through the hall
       from the resident room through his cllnfc. He stopped me and asked me "So (my name), Are you a good girl or a bad girl?'' I
       was puzzled and weirded out by the tone of his voice and the nature of his question. l asked "what?'1 He repeated "Are you a
       good glrl or a bad girl? I b'et you're a bad glrl'1• I safd "I dont know what you are tarklng about" to which he replled ''yeah, you
       are deffnltely a bad bad girl, dont worry, we like bad girls at Temple11 • He then laughed and l felt awful and confused and Isaid
       ''f dont know what you are even talkfng about" and I just walked away as he kept laughing.

 ~)That same year I was wearing an appropriate length work skirt that just showed my knees. fn that same hallway h~ stopped me
 ~.j and asked me If I was hyper-mobile. I said        i don't think so11 • He then knelt down on his knee to take a look at my knees and
                                                   11


       then touched the poplfteal area of my leg with his hand as he looked from the side and he then said uyou are like Gumby, you
       look like you are probably so flexible.'' I said "No, I am not" and I backed away from his hand. He responded "l would like to
       flnd out for myseff". Again Iwalked away ~md this time I remember laughing out loud to try to reduce the awkwardness. I was
       in fear that one day I had to work with this guy. Ididn't want to pfss him off but Ifelt violated.

       I avoided him as many female resfdents do because of his unusual and often peiverted comments regarding any female:
       patients, nurses, therapists, and residents. Anyone was fair game and male residents would often pretend to play along and
       say 1'its just weln!k being welnik/' r never understood that excuse,

       As a PGY~3 I had only one rotation that I had to work with him once a week In march because I had an outpatient block and
       welnlk always needs extra residents assigned as the "helper resldent'1 on' his rotation because he cannot seem to effectlvely
       complete a cllnlc without lots of resident help. I was already on guard but he was generally frfendly and yes he would make
       comments but i was glad they were not directed at me. But then I saw how he treated young female patients or just pretty
       women differently than other patients. Hfs exam would become 11extenslve" as he would check for various pathologies but It
       always seemed overboard and frankly made me really uncomfortable. Other residents would make comments like 11oh boy she
       Is a pretty girl, looks like this should take about an hour11 , I hated those encounters as they were unnecessarily "handsy11 exams
       and the patients were oblfvlous to the fact that he was touching them everywhere loo king for god knows what. I understand
       the Importance of the physlcal exam but this was just over the top and only directed at a specific population~ females·
       especially young and pretty.

     He had one patient that he saw on his list and he said "she comes !n to see me because her husband doesn't give her enough
     loving. Welnrk wlll make sure she Is taken care of, haha, She will get all dolled up for me and just watch, she will h_ave me
    adjust (osteopathic manipulation) her and mmake her feel good," He would make these comments with a tone and smile that
       ras so unprofessional. I always thought to say something but again he was the boss, the attending, the guy fllllng out my
  ·-.-~valuation. J dldnt want to anger him fn any way but i hated how this all made me feel.
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      That month we had our yearly physlcal examination workshop at pcom. He called me to the stage In the front of everyone to
      so he could demonstrate the lower body physfcal examination maneuvers on me. I declined and lied and said I had a spinning
~ Injury and I didnt want to make a11ythlng worse. His response Jn front of everyone was 11lf somethlng ls wrong Ill find It so just
  .l come up here." r obliged because I felt cornered after that response but I really dldnt want his hands to touch my body. I had
·     the right to decline bllt couldn't because he was Insisting I participate. Iwent up there faced everyone and he was behind me.
      First thing he says ls to check range of motion of my spine by touching my toes. Isaid I cant touch my toes. And he said "sure
     you can, Just try, I wont tell them about your tramp stamp." I was super offended. I dont have a back tattoo aka a tramp stamp
     and that was just a super demeaning unnecessary comment. He laughed as did the whole audience. Ifelt embarrassed but
     tr led to just go with It to get the whofe thing over with. He then had me stand ahd said he was checking my Jschla I bursa and
     he safd "very nice, very nice". Again uncomfortable audience laughter... I dldnt llke his hands on my buttocks because I felt like
     l was just like those patients he manlpulates ... ln an Impossible position. Then h.e went on and on hand everywhere and
     eventually saying he was going to check for Pubalgia also known as a sports hernia or athletlc pubalgla. This Is a chronic groin
     lesion but to check he essentlally would pushing my pubic symphysls In front of everyone. Isaid 111dont know about all that 11 •
     Before I could stop him his hand was on not just my pubic region but on my vulva I I shot up off the table and said ''yeah thats
     not my pubic symphys!s". Everyone started laughing, Iwas mortified but tried to play It off. I was beyond offended and felt
     manipulated, used, embarrassed and horrified. A male chief resident came up to me right away and asked if I was ok. When I
     said ''yes rm fine" he eased up and said "damn he didnt even buy you dinner before that.1' l went home and called my sister
     and another co-resident and cried ... a lot.. not just that night either. I carried It with me. They encouraged me to say
     something to my chairman or to gme or anyone, even welnrk hlmself. I said I would and l dldnt... probably because I thought It
     wou[dnt make a difference, that I would be lgn.ored, that 11welnlk was just being welnlk", because I was scared and
     embarrassed and wanted to just move on.

    My f#1 schedu!!ng request was to work on the welnlk rotation In February because its a short month and the emg course would
    reduce the number of days of interaction. He Is a good teacher and I learned a lot from him about the spine and sports. He has
    good qualltles and attributes as no one Is all bad. His behavior and comments were Just often unacceptable

    But now I fear for others and feel I must open up about this. I still feel the need to remain anonymous because pmr Is a small
    fleld and he fs well connected. I work near and dont want my job or my life to b.e compromised and l dont want sympathy, l
)   just dont want this to happen to others.




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               Confidential
              Physician Professional Conduct Policy- Investigative Report summary Description: The President of the
              TUH Medical Staff, Vince Cowell, MD, was made aware of a complalnt against a medical staff member
              (Michael Weinik, DO) on January 17, 2018 which possibly constitutes a breach In professional conduct.
              In compliance with the Physician Professional Conduct policy, Dr Cowell organized a panel (himself and
              Past-President, EHen Tedaldl, MD) to conduct the Investigation.

              The Issue was brought to Dr Cowell's attention by Susan Coull, Designated Institutional Offical for GME 1
              Assistant Dean, and Associate Hospital Director for Medical Education (Attachment A), following 2
              concerns:

                     o    01/15/18-The GME Administrator brought a concern to Ms. Coull's attention re: Michael
                          Weinik, DO following a conversation the GME Administrator had with a senior PM&R resident
                     e    01/16/18 ~The same GME Administrator recelved an email from a 2015 PM&R graduate re:
                          Michael Welnik, DO

              Process:

              01/25/18-- Meeting with Senior Resident, Philip Acevedo. The following are the observations,
              interactions, impressions and opinions expressed by Dr. Acevedo regarding his experience with Dr.
              Welnik during his (Dr. Acevedo's) residency:

                  •      Dr. Acevedo described an incident that he witnessed when on a rotation with Dr Reed Williams.
                         A young, female patient was being prepped for a procedure In a prone position when Dr Weinik
                         took over the prep. Dr. Acevedo believed that the prep area was unnecessarily extended to
                         reveal the patients buttocks and Philip believed that the patient was uncomfortable based on
                         her facial expressions. Dr. Acevedo excused himself in hopes of mlrylmlzlng patient's discomfort
                         as there were 3 men in the room. He was later asked by Or Wiiiiams why he left the room and
                         Dr. Acevedo explained that the patient seemed to be uncomfortable and, according to Dr.
                         Acevedo, Dr. Williams responded that he understood and also confided that the patient
                         requested to not be seen by Dr Weinik again.
                 o       Dr. Acevedo shared that as a resident, you observe many different attendings and there is a
                         difference in Dr Weinik's approach.
                 o       Dr. Acevedo explained that things may get "blurred" between a MD exam and a DO exam, but
                         approximately 50% of residents In the program are osteopathic and they feel uncomfortable
                         with the exams done by Dr Welnik.
                 •       As a resldent, you notice a pattern in how Dr Wefnlk treats.his patients. There is a difference
                         between young female patients and other patients. DrWelnik will spend 45 minutes with a
                         young female patient compared to 10 minutes with an older male patient. Residents wlll say
                         "Oh, there is a young female patient scheduled, Dr Welnik will be awhlle.''
                 •       Dr. Acevedo agreed that there Is an understanding among residents that if someone refers to
                         "That's a Welnlk'1 all residents understand what that means.
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              0     Dr. Acevedo believes that every resident will feel the same way regarding Dr WeJnik1 but no one
                    will question anything as everyone needs a letter of recommendation from Dr Weinik.
              0    Dr Cowell asked lf Dr Welnik was threatening to Dr. Acevedo. Dr. Acevedo shared a story where
                   he was on an Interview and could not find coverage. Dr. Acevedo had a text message exchange
                   with Dr, Weinik and his Program Director {see Attachment "A") explaining that he was at a
                   fellowship interview and described his efforts to find coverage. Dr. Weinik indicated that he
                   knew the person Dr. Acevedo was interviewing with and said "not a smart move". Dr. Acevedo
                   took this to Imply that his fellowship chances would be hurt. Dr. Acevedo did not get that
                   particular fellowship.
              o    Dr. Acevedo shared that Dr Weinik does patient simulated demonstrations at PCOM and uses
                   residents as the patient. Dr Welnlk seems only to choose female patients and stated: "It fits the
                   pattern, so yqu feel uneasy about It".

      01/25/18 - Meeting with GME Administrator, Amber Dzikowskl. The following are the observations,
      interactions, Impressions and opinions expressed by Ms. Dzikowski regarding her experience with Dr.
      Weinik In her role as a GME Administrator:

             o     Two residents have come to Amber to discuss Dr Weinlk.
          o        Amber explained that she hears a lot of stories from residents regarding Dr Welnlk's
                   inappropriate behavior.
          o        Dr Cowell asked If she had any inappropriate dealings with Dr Wefn!k. Amber responded that
                   she feels uncomfortable around hfm, that his eyes would look at her chest and not her face and
                   he is very complimentary of her hair and outfits. He asked very personal questions, he asked if
                   she was married and then asked why she wasn't married. He Is very friendly, overly friendly.
                   Amber feels that he wants to be everyone's buddy.
          o        Amber hears that he uses his position as Chair as a fear tactic. He openly tells residents that
                   they need a letter from him. He ls notorious for making phone calls to either praise a resident
                   or say "don't ta~e that resident",

      02/01/18 • Meeting with Senior Resident, Nicholas Kinback. The f~How!ng are the observations,
      interactions, Impressions and opinions expressed by Dr, Kinback regarding his experience with Dr.
      Welnlk during his {Dr. Kinback's) residency:

          •       It has become a joke among residents that Dr Weinik spends more time with young, female
                  patients and that Dr Weinik Is more "hands-on" with young, female patients.
          o       There is "nothing Illegal" In the exams; there is just a pattern of behavior that the maJority of
                  residents have noticed.
         •        Dr. Cowell asked Dr. Kin back if he ever witnessed anything with regards to Dr. Welnlk that made
                  him feel uncomfortable. Dr. Kinback noted that nothing has made hfm feel uncomfortable but
                  he has observed that certain patients get checked a little differently than others, by certain
                  patients, Dr. Kinback, means younger females. Younger females get a more thorough exam like
                  pelvic tilt and muscle energy, All exams are medically appropriate but only done on certain.
                  patients.
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            o     Out of a class of 9 residents, Dr Klnback has heard at least 6 residents make the same
                 comments and observations.

     02/06/18 - Meeting with Chief Resident, Katie Hatt. The following a re the observations, Interactions,
     impr~ssions and opfnions expressed by Dr. Hatt regarding her experience with Dr. Weinik during her (Dr.
     Hatt's} residency;

           o      Dr. Hatt has never had a personal Incident with Dr, Welnik ever saying or doing anything
                  Inappropriate, but knows that If Dr. Welnlk has a younger attractive female patient that Dr.
                 Weinik will be more thorough and take longer during the examination.
           o     Dr. Weinlk always chooses female patients for the patient simulated demos,
           o     "It ls difffcult because I see things that don't seem right but not sure if they are really wrong; he
                 is always within the scope of practice. For example, I observe Dr. Welnlk asking personal
                 questions of his patients like 'what are you going to do later tonight?'"
                 11
           o       The exams are not inappropriate but you notice a pattern.1'
        Q        Dr. Cowell asked if Dr. Hatt has experienced Dr. Weln!k Intimidating residents or holding hls
                position over a resident to g~t a letter, She responded, "In my experience Dr. Welnlk does not
                follow through on giving letters but everyone talks about getting a letter from Dr. Weinlk. 11
        ~       Dr. Hatt did share that In her position of Chief Resident, she creates the resident schedules and
                11
                   Dr. Weinik throws a hissyfit lf you take a resident from him even on a light patient day. 11 Dr.
                Hatt feels that Dr. Weinik uses his position as Chair to Insist on getting a resident scheduled with
                him.
~       •       Dr. Cowell asked if Dr. Hatt was ever chosen to be a model.for Dr Welnik. Dr. Hatt said yes and
                that she didn't feel uncomfortable until someone pointed certain things out.
        •       Dr. Hatt said that Dr. Wefnik's patient exams on young female patients are longer. Dr. Weinik
                uses some of the time as just more social time, talking more with the patients. And the physical
                exam Is always more thorough.

        Dr. Cowell shared that he had spoken with Susan Wiegers, MD to see if she had any additional
        information to add to the investlgatlon and she had nothing further.



    02/06/18 - Meeting with Resident, Rakhi Vyas. The following are the observations, Interactions,
    Impressions and opinions expressed by Dr. Vyas regarding her experience with Dr. Weinlk during her
    (Dr. Vyas') residency:

       •         Dr. Vyas believes th~re have deflnltely been times where she thinks Dr. Weinik was
                Inappropriate. Dr. Vyas does not believe that there has ev~r been any physical
                inappropriateness. Dr. Cowell requested that Dr. Vyas elaborate on what she believed to be
                Inappropriate. Dr. Vyas explained that one time last year she was wearing a black dress and Dr.
                Weinik commented that "there are only certain times a girl wears a little black dress and one of
                those times Is when she Is on the walk of shame1'.
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           o Dr. Vyas belleves that when Dr. Welnlk sees an attractive female patient, he Is more thorough.
           o Residents will make comments like, "Oh, that's a pretty patient, this will take a while."
           o Dr. Vyas was asked about the patient exams: "Dr. Weinik doesn't do anything Inappropriate but
              he takes much longer with the patient."
           o Dr. Vyas was asked if this meeting was a surprise and if this is behavior that she believes needs
              to be addressed, or if this is perhaps over the top. Her response: 11Not surprised, residents all
             know how things are. r think this needs to be addressed because he says inappropriate things. I
             just don't let things get to me. Maybe that's not good and I should have said or done
             something."
           o Dr. Vyas was asked what a longer exam entails, her response: "different techniques are used,
             longer social time, more exams."
           o "I don't think in my experience that Dr. Weinlk has ever said anything Inappropriate to a
             patient."
           a "I think he favors doing slmulation exams on females. I was a model and I did not feel strange
             when he did the exam."



    02/08/18 - Dr Cowell sent'           an emall requesting a personal interview to discuss the allegations in
    her email (See Attachment "C'1).          1 never responded.



    02/06/18- Meeting with Faculty, Reed Williams, M.D. The following are the observations, interactions,
~   impressions and opinions expressed by Dr. Williams regarding his experience with Dr. Welnlk:

        o       Dr. Cowelf explained to Dr. Reed that there was a report of potential unprofessional conduct
                during a patient procedure and indicated that Dr. Reed was present. Dr. Reed had a vague
                recollection of a situation where a resident stepped out of the room during a procedure because
                the room was too crowded. Dr. Reed does not recall that there was anythrng inappropriate or
                egregious or that there was an aggressive prep field.
       •        Dr. Wiiiiams was asked if he was famfllar with the lore that Dr. Welnik spends additional time
               with young, attractive patients? Dr Williams responded: "Dr. Welnik Is a connector. He is
               gregarious. I remember that as a resident he may have spent more time with patients he had a
               history with. I don't recall ever thinking that he was ever out of bounds or inappropriate but I
               do remember thinking that there were some things that he said that I would not say. He is a
               phenomenal clinician; he senses patient's anxiety and may respond to that by spending more
               time with them. I have been around Weinlk a long time and nothing he has done would be
               questioned as Inappropriate."
       e       Dr. Williams was asked if he has had any patient say anything to him about: Dr. Weinik. Dr.
               Williams response: "I had one patient say that she didn't want to see him but I think that was
               because she wasn't getting anywhere with her treatment."
       o       "He Is a consummate clinlclan and the only thing is sometimes he may say things he shouldn't.1'
       o       "He is a dear friend so this Is dlfflcult."
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             11
        o     He may be overly fllrtatlous and we (i.e., Dr. Williams and Dr. Welnik) have had sidebar
             conversations about this."



    02/20/18 - Meeting with Michael Welnik, MD
       0     Dr. Cowell reviewed the process that has occurred and provided Dr. Weinik the email {Exhibit
              "C') to allow Dr Weinik to re-review it. {The email author was redacted}.
       o      Dr. Weinlk commented whe·n reading the email, "I don't know who this Is; I can't put a name to
              it. I am trying to remember. I do recall one Incident, and I am the one to teach hands-on exams
              because I'm an osteopath and I take seriously what I do, What I do is ask someone from the
             audience come up to examine. We demonstrate curves of spine, pelvis and hip. Then everyone
             breaks down in to tables so I walk around to answer questions and offer help. I do remember
             someone asking me to demonstrate an exam as I walked around and I do remember someone
             jumping-up and saying 'that's not the{?)' and another resident saying 'he didn't even buy her a
             drlnk.111 "I can't recall the lnd!vfdual who that happened to."
       o     Dr. Weinlk reviewed the complaints and addressed several points.
       o     "I run late with all of my patients. I don't feel like I run later with women than men. l have
           never had a patient complain in 32 years of treating patients. I have never handled a patient
           fnappropriately.11
       e "f feel bad that I don't know who this (referring to complaint) resident Is cause I would have
           corrected. She had a horrible experience and I regret that. Had 1known she was uncomfortable,
)          l would not have examined her".
       • Dr. Cowell asked Dr. Weinlk If he understood our responsibility to Investigate, .and Dr. Wernik
          responded "yes".
       • Dr. Weinlk indicated that sfnce the last complaint, he has towed the line. He said he Is
          extremely careful. "Slnce that time I don't go out for drinks, I don't go to the resident bbq, I
          don1t go to the holiday party, I don1 t go out to any social events. I have separated myself
          completely from the residents. I don't want to be in a situ.ation where I can be misconstrued."
      ~   "I have known some of my patients for over 30 years so maybe I do get too casual."
      6   "I don't like to hur~ anyone. I don1t like conflict/'
          11
      •      1came here as a young professor so when residents say 1that's Wefnlk being Weinik' I'm not
          the same Weinik.
      • Dr. Tedaldl asked where these reactions from resfdents may be coming from. Dr Weinik's
         response: "I have been very mindful srnce last year. I don't tlllnk this was recent or I would have
         remembered it. I d.on't know who this was."
      • (Referencing the complaint) "This is not acceptablei I was not a good person for this person. I
         think I have done better. I have given up having certain relationships ... 11
         ' 1 have done a !ot of soul-searching. f like to teach, that's why I am here. The fact that I'm doing
          1
      c
         this bothers me. I tt1lnk about how I do everything, try to be mindful of what I do. I am
         different."
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                                                                                11
    o    ''If I knew who this was I would apologize. This can't happen. I own it.
    o    "I know what I have to do. But I get depressed that my behavior has hurt anyone. I am
         disappointed In myself, that I didn't see this. I am not the type to consider suicide."
    o    Dr Cowell explained that the process will proceed as last time and Dr Ka fser wlll be presented
         with a report




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        iJTEMPLE HEA1LTJH
           TEMPLE UNIVERSITY HOSPITAL

                                                                                                   3401 Norlh 8road Streel
                                                                                                    Phlladslphla, PA 19140



            March 15, 2018

            Michael Weinik, DO
            "VIA HAND DELIVERYn


            Dear Dr. Weinik:

            This shall serve as your Special Notice (as defined by the Temple University Hospital Bylaws of
            the Professional Medical Staff ('Bylaws")) that> today, the MSEC recommended that your
            Medical Staff membership and privileges be te11ninated effective iirunediately. This
            recommendation has been made pursuant to Article VII 7.3.2 of the Bylaws, and more
            specifically pursuant to the provision that "at all times the MSEC, il1 consultation with the CEO
            of the Hospital, will retain authority and discretion to take whatever action may be wan-anted by
            the circumstances, including summary suspension>- .. 01· other action, as otherwise set forth in
            these Bylaws.n The MSEC' s recommendation was based upon its receipt and consideration of a
            report that summarized a recent complaint (of which you are aware), the investigation that then
            ensued under the Physician Professional Conduct policy (TUH~ADMIN~9S0.1044) and previous
            allegations of professional misconduct that had been made against you.

            I have enclosed a copy of the Bylaws and the Physician Professional Conduct policy for your
            reference. I invi~e your' attention to article VIII of the Bylaws, which sets forth your rights in
            these circumstances. Please be advised that you have thirty (30) days from your receipt of this
            Special Notice to invoke your right to the hearing procedures set forth in Article VIII. Your
            request must be in writing and should be addressed to Verdi DiSesa, M.D. -CEO of Temple
            University Hospital. In the event that you do not invoke your right to the hearing procedures
            within thirty (30) days, you will be deemed to have waived your right to a hearing and to have
            accepted the MSEC>s recommendation to terminate your Medical Staff membership. In that
            case, the recommendation will be submitted to the Board for review and final action.

            Please know that you are being removed from the PM&R schedule and will not be scheduled for
            inpatient service nor seeing outpatients while the Bylaws process talces place.

            Sincerely,

             !~~!/A
            Herbert Cushing, M.D.
            Chief Medical Officer

            Enclosure
            cc:             Verdi DiSesa, M.D. -CEO, Temple University Hospital
                            Robert M. McNamara, M.D. - Chair, TUH MSEC
(
u   '
                            (w/o encl.)




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                                                   From the desk of
       :   .. :.- .....
                          Scott Naftulin, D.O._, FAOCPMR_, DABPMR




RE: Michael Weinik, DO



To whom it may concern: .
This letter is being sent in regards to a recommendation prov:ided to our lnterventJonaf Spine and·
Musculoskeletal Fellowship program fur our next fellow, Phillip !,\cevedo, MD, by Dr. Weinik. Dr.
Weinik~s recommendation positively influenced our decision to offer our fellowship position to Dr.
Acevedo. Nothing inappropriate was discussed or otherwise mentioned. Dr. Weinik exhibited the
utmost professionalism throughout.

lf you should have any other question or concerns, please feel free to contact me at your convenience.

Respectfully submitted,



 ~
Scott Naftulin, D.O.
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                                                                 . ·..:


Fellowship Director
NERA Spine & Sports Medicine
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                                      ROGERS CASTOR




Bruce L. Castor, Jr.
610.285.7338 (Direct)
BmCT@RogcrsCastor emu


                                                     July 7, 2018

Shivani Dua, MD
c/o Main Line Spine
South Henderson Rd.
King of Prussia, PA 19406

Re: Your complaint against Dr. Michael Weimk

Dear Dr. Dua:

We are counsel to Dr. Michael Weinik. There is a hearing scheduled for
Tuesday, July 10, 2108 at 5:30pm in the 9th Floor Executive Conference Room
in the Boyer Pavilion of Temple Universazy Hospital, 3509 N. Broad Street,
Philadelphia, PA 19140. That hearing is to determine what recommendations
will be made concerning Dr. Weinik's future employment at Temple which
could also have further serious repercussions for Dr. Weinik. Counsel for
Temple has informed me that you are not scheduled to be a witness against Dr.
Weinik, but that what you told others about an incident some four to six years
ago during which you were a teaching subject before a class where you said Dr.
Weinik made inappropriate comments that embarrassed you before the group
and where you said Dr. Weinik touched you on an intimate part of your body
without what on an actual patient would be considered a good medical reason.
Dr. Weinik denies he did anything wrong.

Witnesses at this hearing will be sworn and give evidence under oath with a
court reporter making a record. Should the hearing go ill for Dr. Weinik, he
will appeal to the hospital Board and ultimately to the Court of Common Pleas
of Philadelphia County where any civil trial starting from scratch would take
place. Since the hearing on Tuesday evening is not a court proceeding in the
normal sense, hearsay testimony (i.e. other people testifying as to what you
told them) is admissible. That is why Temple can go forward now without you
physically being present. However, you may certainly appear and testifyl11!·f-0u~~lllllillllllllll!lllll
                                                                                               111
             26 E. Athens Av~::;, ;~,:::~;:~:.~!:~~3~:~0:.:!!~~;~;:~.:!':"' 377.649.1880   ! .3
                                                                                           •     EXHIBIT


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wish, and I invite you to do so. Should the case progress to a Philadelphia
courtroom, as it certainly will should Temple take an adverse action against Dr.
Weinik as a result of what you reported, hearsay generally is not admissible,
and you would be obligated to give testimony under oath both at a deposition
and at any trial that might ensue. That is the ordinary course of a civil case
and should not concern you in any way. It is a basic rule of court in the
United States that persons accused of improper conduct receive an opportunity
to confront their accusers.

There is nothing that requires you to attend and participate in the hearing on
July 1Qt11, though. I write to ask you to come on the 10th so that the panel of
doctors, counsel for Temple, and I can see and hear from you to make a first
hand assessment of what you have to say potentially detrimental to Dr.
Weinik's career, and his professional and personal reputation. I suggest that
the stakes are too high for Dr. Weinik's future to be determined by hearsay
testimony.

While I have no reason to feel adverse to you and most assuredly hold no
preconceived opinions, I remind you that I am Dr. Weinik's lawyer which puts
you and me on opposing sides in this litigation. It is not for me to say whether
you, yourself, should be advised by your own counsel. But as time is short, if
you do in fact decide that having your own lawyer is a good idea, I respectfully
request you have that lawyer contact me as soon as possible.

It is my intent to have this letter delivered to you in person. I am going to try to
send it by text as well. If you acknowledge receiving it by text, then I will
cancel having it delivered in person. The last thing I want to do is cause you
the aggravation of receiving an unscheduled visit from a stranger simply to
drop off a letter. So if you receive this via text, kindly text me back that you
did. Thank you.




cc: Michael Weinik, DO
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r


    From: Adam Murran <acmurran@rcroud.com>
    Subject: Phone Conversation
    Date: July 9, 2018 at 8:26:38 AM EDT
    To: sportsmeddoctor@gmail.com
    Cc: bruce@rogerscastor.com

    Good morning Dr. Weinik,

    Unfortunately, I will not be able to make the trip up to
    Philadelphia tomorrow to testify on your behalf due to
    clinic obligations here in Pensacola, FL. Otherwise, I
    would be present to testify.

    I recall participating in the annual musculoskeletal
    anatomy and physical examination class held at PCOM
    at which Dr. Dua was a model for Dr. Weinik to
    explain various concepts to the class of residents and to
    demonstrate different physical examination maneuvers
    from the Malanga textbook. I recall Dr. Dua acting as a
    model and Dr. Weinik using her for demonstration
    purposes. This was a class full of residents; the
    demonstration was on a raised platform with cameras
    and a microphone transmitting images and sound to
    television screens and speakers throughout the room to
    improve visibility and audibility. I do not recall a time
    where Dr. Weinik made any jokes at Dr. Dua's expense.
    I do not recall seeing Dr. Weinik do anything
    unprofessional toward Dr. Dua, nor hear him say
    anything unprofessional.

    I have acted as a model for Dr. Weinik on numerous
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occasions and I have not seen that Dr. Weinik displays
a preference for female models over male models.

Sincerley,



Adam C. Mullan, M.D.
acmullan@icloud.com
302-898-6189
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····~ ·- ..
1··· .,••




•. .-


':                 June 27, 2018
;   .   ~




                   Michael Weinik, D.O.
                   34 St. James Court
                   Philadelphia, PA 19106

                   RE: Dr. Philip Acevedo

                   Dear Doctor Weinlk:

                   The following is a response to your correspondence in which you asked whether you had
                   positive or negative Influence on Dr. Acevedo's fellowship application when he applied last
                   year.

                   To respond to your request1 I pulled his fellowship application file. The letters of reference in
                   his file were from Dr. Mattin, Dr. Cruz and Dr. Schwartz. As you know, you never provided a
                   recommendation letter for hfm. Ukewise, you and I never even spoke about him during this
                   application process.                                                                   ·

                   We are fortunate that we have very strong fellowship applicants. Although Dr. Acevedo was
                   on our final list of applicantsio he was ranked lower in our list than the ones who 'Were offered
                   each of our six available positions and accepted. I was able to access our ranking list and Dr.
    .··.;
    ·".'
                   Acevedo would most likely have been offered a spot had two more people turned down our
    ~· ··.~
                   offers.
    •1::;

                   As you are awareio there are many factors that are in play when we choose and rank fellows.
                   Although Dr. Acevedo would most likely have been a good fellow here1 we accepted those
                   ranked higherthan him.

                   To specifically address your quest~on, you had absolutely no influence on our decision since you
                   did not write us a letter, nor did we even discuss his application.
              ..
              •"
                   I hope this ~drJ.ll'Ac-~your concern~ If you have any further questions,, please do not hesitate
     .• ··.:.;;.
          .. ..
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               Final Written Argument of Dr. Michael Weinik

                         Hearing Date: July 10, 2018

                   Submitted Post Hearing: August 6, 2018



      I appreciate being given the opportunity to read the transcript of the

evidence presented at my hearing on July 10, 2018. 1 One thing I found of

interest was that the panel had witnesses sworn in before giving testimony.

That evidently was so witnesses would understand the importance of telling the

truth and that if those witnesses lied, they could be prosecuted for perjury,

which I gather is a pretty serious crime.

      The more I thought about the significance of the oath for the witnesses,

the odder it became to me. You see, accusers: Drs. Dua, Brown, Acevedo, and

the rest were NOT ever sworn to tell the truth. Only Temple investigators

relating what these witnesses against me supposedly said were sworn. But the

information these investigators related at the hearing, which I am sure they did




      My lawyers submitted a list of procedural objections in writing that were
made part of the record. As it was evident to me that the panel was not
interested in hearing of such "technical" objections (e.g. Temple offering to
provide me, after the hearing for which I had prepared, with the policies and
by-laws in effect at the time of my supposed transgressions. Thus, I could not
use the correct "law" to prepare my defense). (e.g. p.51 line 14 where Dr. Daly
says my counsel can compare the relevant documents after the hearing. To my
knowledge, this did not happen, and that Temple should have done this before
the hearing and before providing me the regulations they said were at issue.) I
reference those objections here only because my lawyers insist I need to do
something they call "preserve" the objections for use later in court.
Supposedly, I might be deemed to have "waived" those objections if I do not give
the panel an opportunity to first consider and deny them.
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as accurately as they knew how to do, that information, itself, was not given to

Temple's investigators under oath. Ever. Or recorded electronically that I

know of, presented before a notary, or even signed with a signature! Their

credibility was never tested by cross examination. Ever. And yet, all my

witnesses testifying did so under oath, and under penalty of perjury, to events

they actually saw with their own eyes, and heard with their own ears. In short,

MY witnesses not only travelled, many from great distances, at their own

expense to wait around for hours, and endure the hassle of having to testify

against their alma mater, Temple University, they did so knowing if they lied,

they could go to jail. In fact, I had nine other witnesses "on call" to further

buttress the lies of Dua, Acevedo, Brown and the rest which the panel stated

was not necessary, as the panel had heard enough. Does that mean the panel

had heard enough that it believed my witnesses that Temple2 presented non-

credible sources in its effort to convict me and ruin my life?

      You see, not one of my accusers testified, nor even submitted an affidavit

or a signed statement at all! NONE of THEM face going to jail for lying under

oath. But all my witnesses did, plus the many more who were willing to go

under oath. 30 years of service to Temple, and Temple investigators want to

end my career entirely on hearsay testimony. And unreliable hearsay at that!




2
     Except where it is evident that I am referring to the entirety of the
University, when I refer to "Temple" here, I am referring to that arm of the
Temple University Administration charged with investigating allegations of
misconduct against me. Naturally, I recognize that the panelists are part of
"Temple," as I hope I still am, and will so remain.

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      Important thing. Despite what Temple investigators would have you

believe, even under the peculiar rules of the hearing conducted on July 10th,

"hearsay" generally is NOT to be considered by the panel. Here is what is says

in Temple's By-Laws about the use of hearsay testimony: "... hearsay will be

admitted i/it is the sort of evidence on which responsible persons are

accustomed to rely in the conduct of serious affairs ... " (By-Laws 8.4.6, p.76)

(Emphasis added). The so-referred to "responsible persons" are the members of

this hearing panel. The question for the panel members becomes: "am I

'accustomed to rely' on the hearsay evidence Temple presented in the "conduct

of serious" matters in my own life?" I cannot believe that any of the doctors on

the panel would rely on this hearsay evidence to make any important decision

in his or her private or professional lives.

      In short, you must be so convinced the evidence Temple presented was

true. that you would rely on such evidence if you were making a decision of

personal importance to you, yourselves. As we are all doctors with a desire and

responsibility to heal people of illness or injury, let's put this question into that

context. How do we decide how to treat a person suffering from illness or

injury?

      Ideally, we treat patients by meeting them face to face and listening to

their symptoms. We conduct in-person examinations using our skills and

knowledge from our education and years of experience. Further, when we are

not certain of the extent of the illness or injury, we will order tests to rule in or

rule out the cause and severity of the problem and to corroborate (or disprove)



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our initial diagnosis. Then we discuss the medical issue, perhaps first with

colleagues, and then later with the patient. We provide the patient with

proposed treatment options, and then the patient consents to a course of

treatment. This is under ideal circumstances where we have access to the

patient, records, and to all the tools of our profession to assist us in deciding

how to go about helping the patient.

      But what do we do when the patient cannot speak and is not even in our

presence? Perhaps the patient is unconscious or semi-conscious on the side of

the roadway being attended by trained paramedics in contact with us by

telephone, and the paramedic is relating to us the patient's vital signs,

observations of the patient's pupil dilation, observations of the patient's ability

to breathe or signs of broken bones or internal injury. What do we do then?

We rely on the information transmitted by the paramedic and we tell the

paramedic how to treat that patient right then and there to save the patient's

life and stabilize the patient for transport to the hospital. Has what the EMT

told us hearsay? Sure. It is information gained outside our presence from the

patient, the diagnostic readings outside our presence, anything the paramedic

learned from other people on the scene, etc. But we go ahead and we tell the

paramedic how to treat the patient anyway. Why? Because we trust that the

information the paramedic is relaying is, itself, reliable. The key, though, is

that this is precisely the type of hearsay that we doctors have become

accustomed to relying upon in making professional decisions. How can we be

sure? We can't. But what we can say is when the stakes are so high that it is



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a "serious" matter, this is the "kind" of hearsay we find reliable. And it is only

that kind of hearsay that is admissible in Temple's case against me according

to Temple's by-laws.

      Let's take the same example of an injured person on the side of the road

and you are an attending emergency doctor on the telephone trying to figure

out how to treat this person before getting them to the hospital. However,

instead of an EMT from an emergency company speaking to you from on scene,

it is the patient's spouse who was a passenger in the car when it wrecked

injuring the patient. The passenger says her husband is awake and alert with

just a small bump on his head. The car is still drivable and the wife says,

while they are both scared out of their wits, she holds a master's degree in

emergency room nursing specializing in head trauma cases, they live close by

and are going home. She says they a shaken up, but "fine now," and she

"knows" these things and "knows" her husband. Every fiber of your medically

trained being is screaming: "no!" There are all sorts of injuries that might not

immediately manifest themselves. But, you hesitate on account of what the

wife said about her medical experience and knowledge of how her husband

ordinarily behaves. You have no reason to dis believe another medical

professional. You are inclined to agree that the wife is in a good position to

know, but you order the wife to take her injured husband to the nearest

hospital. No response. This bothers you. Nothing you can do, though. You

don't know where the call came from.




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      Late the next day, a man presents at the ER with a sobbing wife. The

man is unresponsive, seemingly dead from severe brain swelling and the wife,

who turns out really is an advanced ER nurse, appears inconsolable. It is the

couple from the call the night before. The man has been dead for many hours.

      Like the EMT in our first example, the wife in this example had given you

her observations, qualifications, and she sounded self-assured. You were

tempted to agree because she was a professional. In fact, you ultimately

disregarded that hearsay, though you initially wanted to believe it. Why did

you disregard it? Because you are a "responsible" person and you are NOT

"accustomed" to relying on that kind of hearsay information in "serious"

matters regarding your professional judgement. Even when it appeared that

the hearsay from the wife was reliable. You believed her, but that was not good

enough when lives are at stake. You're sad the man died, but it is not weighing

on your conscious, right? You tried to do what was right. What more could

you have done? The wife/nurse was absolutely determined to get her way.

      Later, a police detective you have known for years because you work in a

trauma unit, and an assistant district attorney who works homicide cases for

whom you have testified, both serious with grim faces, politely ask to meet with

you. This is business. Turns out the husband died from a brain hemorrhage,

this much you knew. By the terms of his living will, his wife asked that no

extraordinary measures be performed after other doctors told he there was no

hope of resuscitating him. He was cremated at his wife's insistence under her

power of attorney. You're confused. Why are a seasoned detective and a



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homicide ADA talking to you? It turns out that, yes, the wife is a nurse. In

fact, she does have an MS in nursing and cares for brain injured patients at

Temple University Hospital. But, the couple were heading for a divorce and a

bitter fight over dividing their assets and custody of their young children. And

the now-deceased husband/father had $5 million in life insurance with his wife

as his sole beneficiary. The DA's Office calls that "motive" for murder. And it

was the wife/beneficiary that invoked the provisions of the living will. And it

was the wife/beneficiary that ordered the body cremated before the ADA could

ask a forensic autopsy. And the wife has training and experience in head

injuries and the after-effects of head trauma that do not immediately

show .. .like swelling of the brain. The ADA thinks the wife allowed her husband

to die to avoid a messy divorce/ custody dispute, and to collect his life

insurance. That's not all the detective and prosecutor tell you. The police were

alerted by the wife's boyfriend who suspects the wife did all of this to help him

out of ajam where he was about to lose his job because the husband found out

about the affair. In fact, the boyfriend had just that very day said to the wife

her husband was going to see he was fired and that made her very distraught

as she and her boyfriend were very close.

      Though you wanted to, you did not rely on what the wife told you on the

telephone the previous night because you are not "accustomed" to relying on

such hearsay in "serious" matters. Your instincts were good, but there is no

way you could have known that the wife had a "motive" to want her husband

dead. In the example with the EMT, he could also have been lying to you, but



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based on your long experience, and the "serious" nature of the decision you

had to make, it was a reasonable chance to take and one you had taken many

times before. In the example with the wife, a fellow professional with training

and experience, but with whom you had no history, you were not "accustomed"

to relying on what she told you in the course of making a decision of a "serious"

nature. And it turns out you were right in more ways than you could possibly

have known. In the situation with the wife, while everything on the surface

pointed to the likelihood that her hearsay was reliable, unconfirmed hearsay

from not-known-to-be-reliable sources was information you and other medical

professionals do not routinely rely upon. Digging below the surface, you now

know you made the right call. But you only learned that additional information

after trained legal investigators uncovered it for you. Much like learning

information on motives to lie I presented at the hearing on July 1Qth .

      By now, my serious objections to how I have been treated in this process

are obvious. Temple could easily have brought before you the people who

actually complained about me including Dua, Brown, and Acevedo. They could

have brought in disinterested people to augment what these people supposedly

claim. They could have looked for eyewitnesses from these various events,

which, incidentally in Dua's case, I had no difficulty finding in a matter of

days. They could have brought the patient who Acevedo said complained

about me in the draping incident. For that matter, I could have found that

patient myself had Temple not locked me out of my computer, and you might

have heard what the patient or the patient's friend in attendance actually



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thought. The list of things Temple did NOT do is extensive. Though they ask

you to trust their sources sight unseen. Statements unverified, and in the case

of Dr. Dua, no evidence at all adopting facts from an email authored (by

somebody) 4 to 6 YEARS after the fact, in the face of significant evidence that

she actively refuses to cooperate on the telephone or in person giving a

statement, even affirming she sent an email, while acknowledging she received

a written invitation to appear at the request of my lawyer, and flat-out

intentionally refusing to come. If this case ever reaches a courtroom, Dr. Dua,

Dr. Brown, Dr. Acevedo, et al. will not be able to simply refuse to be deposed

and cross-examined at trial. Why not? Because in-person questioning under

oath is where truth is determined. But in THIS process, none of my accusers

came in person, none were under oath, none cross-examined in front of you so

you could judge for yourselves their truthfulness.

      The fear of hearsay and false testimony damaging people is as old as

civilization itself. It is so important to orderly society that it is enshrined in the

Ten Commandments! How do you test "bearing false witness?" By hearing

from the witness! Watching and listening to them answer questions, and

maybe asking questions yourselves. Could you ask questions of my accusers

on July 10th? No. You were left with Temple's investigators' interpretations of

what they "thought" such accusers "felt." (e.g. p. 57 lines 4-10, where Dr.

Cowell told you what Dr. Cruz "felt" with no basis for how Dr. Cowell could

possibly know how someone "feels" without that person telling him so.) Or just

plain speculation: "I think, he felt extremely ... uncomfortable ... " (Dr. Tedaldi



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p.85 Line 21-23). Are you "accustomed" to using such knowledge gathering

methods in "serious" matters in your own lives? Does your bank grant you a

loan based on what you tell the bank the appraiser told you was the value of

your home? Or does the bank expect to hear from the appraiser directly? I can

understand Temple not wanting me or my lawyers to cross question my

accusers. After all, I think they are liars who have conspired to ruin me

because they nursed grudges. I wanted to fire Dua's special friend, Dr. Maitin,

an effort that conveniently is happening just as Dua's email about alleged

misconduct from 4 to 6 years before gets to Temple! How fortuitous for Dr.

Maitin who would have been the one out instead of me. Is he just a lucky guy?

(At least the "boyfriend" in our example above is the one who called police on

the "wife." Here we have nothing from Maitin to exonerate him from

involvement). Temple also took away from YOU the opportunity to question my

accusers. I testified under oath and answered your questions, as did my

witnesses testifying to their firsthand knowledge. No accuser of mine did so:

persons from whom you could have learned specifics without Temple's

investigators having to guess, or speculate, as to their meaning while ignoring

their motivations.

      There is little sense in me going over Temple's witnesses presented

against me since neither of them testified to anything they did not hear for

someone else, and in many cases to what they heard from someone else who




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told someone else, etc. Instead, I will focus on my defense with some detailed

attention paid to Drs. Dua, Acevedo, and Brown.3

      I will note at the outset that nearly all, if not all, of the evidence I

presented was unrebutted. Temple presented no evidence bearing on the

credibility of their own hearsay witnesses, those hearsay witnesses' motives to

want to ruin my career, nor evidence that Temple made any effort whatsoever

to uncover the very same witnesses I did that contradicted Temple's case. On

numerous occasions, Temple's investigators told the panel of the extraordinary

lengths they went to in order to be thorough and develop corroborating

evidence. (e.g. p.84 line 18-22 by Dr. Tetaldi "--if there was a witnessed event,

then we may bring in some of the other people who were there just to either

corroborate or refute what was there."). As we will see, their actions bore little

resemblance to what they said they did, with zero effort to obtain independent

evidence, or find disinterested eyewitnesses, and extensive effort to make doing

so difficult for me.

      Including myself, I presented 10 witnesses. One witness for my

character only, one witness by written testimony (Dr. Mullan) who could not

leave his clinical responsibilities in Pensacola Florida, and 8 fact witnesses. As




      That I focus here on Dua, Brown, Acevedo and Maitin acting through
Dua, is not to suggest that I agree with the lesser hearsay accusations that
were never corroborated. Passing references to somebody says so and so
agrees. Temple did not present even hearsay to corroborate the hearsay when I
had the identity of people to check with. Whatever anyone said was taken by
Temple at face-value with precisely zero effort to ascertain if what was said was
true, or motivated by malice, bias, or error.

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the record shows my lawyers had another 9 fact witnesses "on call," but the

panel indicated that since these witnesses would further discredit the

thoroughness of Temple's investigation regarding the same people: Dua,

Acevedo, Maitin, and Brown, their testimony was not needed and the panel

asked Mr. Castor to request Mr. Rogers (his partner) to tell those witnesses

they would not be needed. 4 (See P.176, Lines 1-11)

      I had dozens of witnesses willing to testify as to my good character and

reputation, which the panel recognized at pages 115-116 by agreeing that my

reputation was exemplary: "By Dr. Queenan (without objection from the panel

or Temple): "... we'lljust accept that as truth ... " My lawyer said one would

suffice after that comment from Dr. Queenan. I understand the purpose of so-

called character and reputation evidence is that courts and other judicial or

quasi-judicial tribunals recognize that persons of good character and high

reputation may be presumed to act in accordance with that good character and

reputation, and that character evidence alone may be sufficient to find in favor

of an accused by the simple fact that people are presumed not to act in



4
      Not being a lawyer myself, I do not understand how every witness that
discredited Dua, Maitin, Acevedo, Brown, and the rest, would not be helpful to
the panel's determination. Temple relied upon "multiple instances of
complaint" as somehow corroborating the truth of one another. So, I thought
the more instances showing Maitin's animosity toward me, Dua, Acevedo, and
Brown's poor character as to truthfulness, honesty, ability, and integrity, from
people of different years and with different levels of interaction with me would
be more persuasive to the panel that these hearsay witnesses were
untrustworthy. Unless, of course, the panel had already decided that
information supposedly from Dua, Acevedo and Brown is not to be believed, in
which case I understand the panel's decision not to hear more evidence
disproving Temple's evidence.

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opposite to his or her known good character and reputation. Something my

lawyers referred to as "black letter law." In the midst of this very stressful and

contested adversarial process, I very much appreciate the panel's swift finding

that my nearly 30 years' of unblemished record and standing in the medical

community has granted me the presumption that goes with an exemplary

character and reputation after hearing from only one witness. Thank you.

      The one character witness I called, before the panel found further

character testimony was unnecessary, was Dr. Gilbert D'Alonzo (p.109 et seq),

a high-level faculty member of sterling credentials, and a former president of

the very body that was responsible for disciplining doctors for alleged bad

behavior. In addition to testifying to my reputation and character, Dr. D'Alonzo

testified I treated "two" of his wives, as well as his daughter with excellent

results and nothing whatever to complain about. (p. 112). Dr. D'Alonzo further

testified that in the 2 or 3 cases serious cases of the 4 to 6 cases where he was

involved (like this panel currently is) with disciplining doctors, there was never

a time when the alleged conduct rose to the level of dismissal as Temple is

pushing for against me. No doubt, Dr. Cowell for Temple would counter that

we don't know the regulations, procedures, guidelines, and by-laws from 8

years ago (2010) as applied by Dr. D'Alonzo and his colleagues are the same

ones being applied now. And Dr. Cowell would be right about that. But just as

Dr. Cowell essentially guessed (e.g. p.50 lines 10-20) the written materials were

substantially the same 4 to 6 years ago which would have to be applied to the

Dua incident, were similar the ones provided me in effect now, despite the



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multiple amended dates noting changes, I suggest Dr. D'Alonzo's testimony

shows how unusual it is for this complaint against me to have reached the level

where dismissal is recommended. I suggest it is fair to conclude from what Dr.

Cowell says on page 50, he really doesn't know what was amended and what

was not. Whether it was substantial or not. This is not to suggest that Dr.

Cowell should know these revisions over the many dates they were revised.

Certainly not. I point this out to show that Temple's "prosecutor" in this case

did not apply the correct "law" in effect at the time, not for a nefarious reason,

but because in this proceeding that could result in the death of my career, the

very procedures and standards of conduct to employ were not known even by

Temple's lead prosecutor who was content to assume everything from 4 to 6

years ago must have been the same as it is today, because nothing in the realm

of workplace interaction between men and women has changed in that time, as

is well known ...

      After noting that in his tenure as the person helping decide on discipline

for doctors (whether the standards from 8 years ago were the same then as

now), Dr. D'Alonzo finished with this: "I think Dr.Weinik has immense value at

our institution at the Temple Hospital as well as our medical school. He is the

go-to person to send patients to that have musculoskeletal complaints. He

does incredible examinations, comes up with the results that are necessary

and the treatment plans that are necessary. And I have known no one in the

PM&R Department that meets his level of care and I have referred a lot of

people to different doctors in that department. That's not to say that those



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doctors are bad or don't practice at a good level. Dr. Weinik practices at a

much higher level. He's an incredibly valuable individual at our hospital."

(p. 113-114)

***

Dr. Cowell: "No questions." (p.114)



      Dr. D'Alonzo's assessment of my character, reputation, integrity, and

ability was not questioned by Temple or by the panel. (p.114)   Yet, Temple

asks on the strength of the supposed evidence of Drs. Dua, Acevedo, and

Brown to weigh Dr. D'Alonzo's unrebutted testimony concerning me, and my

value to the Hospital and medical community, against information attributed to

these three, ignore Dr. D'Alonzo's assessment, and throw me out of the

University.

      So why should you disbelieve the purported accounts of Dua, Brown,

and Acevedo, and those working with them? Let's take surely the most serious

of the allegations, the one attributed to Dr. Dua. Those allegations are

contained in an email which Temple introduced into evidence. Dr. Cowell says

in reference to the Dua email used at the hearing: "--this is the complete

submission that she provided us" (p.71 Line 11-12). But this statement was

untrue. The email provided to Temple 6 months before the hearing had Dua's

name on it. But Temple chose to remove the name and not provide it to me

until a few days prior to the hearing. Dr. Cowell's excuse was that I did not ask

for the name, and that he would have given it ifl had asked. (p.71line15-20).



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Except there is no provision in the by-laws or regulations provided to me from

Temple as applying to this hearing for "discovery" of a redacted name, so how

was I supposed to know to ask? Really? Why would Temple choose not to

provide me with the name? So I could not investigate it, especially when I later

learned that it purported to describe an event from 4 to 6 years ago! Dr. Cowell

later testified/ argued that he did not first give me something handwritten about

the email, I said that he did. A point we may never get to the bottom of. But of

greater significance was that the email with a printed date of January 16, 2018

given to me as I prepared my defense had the name of the sender missing. I

was not told of the identity of Dr. Dua until mere days before the hearing. The

email is unsigned. Temple produced no evidence that Dr. Dua wrote it.

Temple produced no evidence that Dr. Dua adopted the contents of the email

or was even shown it. Temple produced no evidence that Dr. Dua ever saw the

email after it come into Temple's possession. Temple admits that Dr. Dua

refused to be interviewed over the telephone. Temple admits that it knew

where Dr. Dua worked and that no one from Temple went to interview her. In

short, Temple produced no evidence of any kind that Dr. Dua was the author of

that email.

      What did Temple produce on the authenticity of the Dua email? Here is

the entirety of how Temple "knows" the Dua email is authentic: At page 70 and

71, Dr.Cowell said, that Mr. Wright said, an unnamed person on the telephone

who might be a lawyer, but not acting as a lawyer, said, that Dr. Dua

said... that Dua was afraid of retaliation from Dr. Weinik. I don't know what



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the added effect of an "unnamed person on the telephone" has to the

unreliability of this testimony, nor whether this unnamed person actually

talked to Dua as opposed to it being her "feeling" that is what Dua thinks, but

even without all that, this is, at least, triple hearsay. Is that the kind of

evidence a reasonable person is accustomed to rely upon in making a serious

decision under the by-laws?!? Seriously?

      And yet, when I found out the identity of Dr. Dua as the person Temple

claims wrote the email, I located her, had her served with a letter asking her to

come and testify on July 10th, and obtained her affirmative statement that she

received that letter inviting her to testify. Then, she did not appear. Let's be

clear: this email accuses me of committing a crime! Moreover, it states where

the crime took place, but only upon the addition of Dr. Dua's identity which

was originally kept from me, does the email enable me to narrow down the date

I committed this crime to sometime between 2012 and 2014, or 4 to 6 years

ago. So, I was accused of a crime by an unnamed person, and without even a

date that crime supposedly took place!

      Though Temple had 6 months, since January, to locate evidence backing

up this claim I committed a sexual assault contained in the email, it failed to

verify the accusation in any way. In the few days I had after Temple gave me

Dua's name, I was able to deduce that the lecture in question must have

occurred in 2012, 2013, or 2014 at PCOM at a seminar given only once a year

in January. While I did not have time to learn if any video or audio recordings

exist of those lectures, I did confirm the possibility that they might. I know



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there was audio and video as well as a microphone to amplify my voice.

Temple did nothing to check with PCOM concerning the possibility of

recordings. Temple did not search for eyewitnesses to the supposed crime. In

fact, the email makes reference to other persons who might have been able to

corroborate at least some of the email. There is a reference in the email bottom

paragraph of the first page to a patient with information. I asked Dr. Cowell if

Temple made any effort to identify that patient. Answer: "no, I did not." (p.75

line 20). Top of page two of the email makes reference to "a male resident." I

asked Dr. Cowell if he made any effort to identify that male resident? "No, I did

not." (p.76 line 4) Same page in the email makes reference to "my sister" and

"another resident." I asked Dr. Cowell the same question: did you try to

identify these people. "No, I did not." (p. 76 line 10). The patient, the two

residents, the sister -- all could have been interviewed to back up what is in the

"Dua" email, but they were not sought out. Dr. Queenan quite naturally

inquired about efforts Temple made to identify persons connected to this

alleged incident, but Dr. Cowell says it was so long ago: "It would have

probably been difficult, if not impossible, to track down particularly the fact

that Dr. Dua did not submit personal testimony to be able to investigate who

she was referring to." (p. 77 lines 5-11). This response to Dr. Queenan's

question is especially troublesome. Dr. Queenan immediately understood the

relevance that Temple did not interview the two residents, the patient, and the

sister and how doing so would have helped verify or not verify the accuracy of

the "Dua" email. Dr. Cowell, candid as ever, said it happened a long time ago,



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and that Dua did not cooperate. But of greater significance, Dr. Cowell uses

the words "would have been" indicating that Temple didn't even try. No effort

at all, despite that my professional life is on the line here. Well, I was able to

track down people who were there to refute the "Dua" email. What I find really

beyond belief is despite Dr. Tadaldi's assertions to the contrary that Temple

tries to substantiate allegations, it did not do so here (despite having six

months head-start on me to do so) when the allegation against me is a crime,

and the purported victim of that crime absolutely refused to talk to Temple or

give evidence to this panel. So, no matter how long it takes for me to clear my

name on this, there will always be a file in Temple's possession that says I

physically molested a resident despite no evidence that I did so, no effort by

Temple to track down identifiable witnesses, and a legion of witnesses for me

saying it never happened that I had to produce to prove my innocence when I

should have been presumed innocent to begin with, as Temple University is

still part of the United States.

      I don't know how often Dr. Queenan has had to sit on these panels, but

he (and the other panelists by design) knew nothing at all about my case before

July 10th according to preliminary comments at the hearing. And yet, Dr.

Queenan asked what should have been obvious to all those working to damn

me: "Did we contact anybody that might corroborate ... ?" Not only does Dr.

Cowell say "no," he says that Temple didn't even try. Later, at page 105, Dr.

Queenan, still clearly bothered there was no effort at corroboration on the part

of Temple's investigators, addressed Temple's other investigator-witness who,



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like Dr. Cowell, was also testifying only to what other people told her. Dr.

Queenan asks Dr. Tedaldi at page 105 about going back and asking other

potential witnesses. He receives a similar answer from Dr. Tadaldi as he

received from Dr. Cowell: Temple did not try to corroborate the "Dua" email:

" ... no, we didn't go beyond that. [Referring to beyond simply reading the Dua

email]. (p.106 line 23)

        That left me to look for eye witnesses. I found them without much

difficulty. You heard from a number of them. Here is some of what they said,

and the citation to the record where they said it, about this so-called Dua event

first reported to Temple in January 2018, but allegedly occurring 4 to 6 years

ago:

*****

Testimony by Dr. Conner:

Q:      Were you at the lecture?

A:      I was (p.129 lines 12-13)

Q:      Do you recall Dr. Dua acting as a demonstration model?

A:      I do. (p.130 lines 8-9)

Q:      Do you recall anything out of the ordinary about that event where Dr.

Dua acted as a model with me?

A:      I do not.

Q:      Do you recall me making any comments or jokes at Dr. Dua's expense

making the class laugh?

A:      I do not.



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Q:      Do you recall me touching her in a way you saw to be inappropriate?

A:      No.

Q:      Do you think you would have noticed if I humiliated one of your program

mates at this lecture?

A:      Yes

Q:      Are you confident that I did not do that:

A:      I am confident. (p. 130-132, lines 8-24,1-12)

Q:      Did Temple investigators ever. .. contact you to discuss my case and what

you might know about it?

A: No. (p.133, lines 7-10)

Q:      (by Dr. Daly) Were any of the models that Dr. Weinik examined, were any

male or were they all female?

A:      Male as well.

*****

Testimony by Dr. Arora

Q:      Do you recall Dr. Dua acting as a demonstration model?

A:      I do. (p. 163, Line 18-20)

Q:      Do you recall anything out of the ordinary about the event where Dr. Dua

acted as a model with me?

A:      I do not.

Q:      Do you recall me making comments or jokes that at Dr. Dua's expense

and making the class laugh?

A:      I do not.



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Q:      Do you recall me touching her in a way you saw to be inappropriate?

A:      I do not. (p.164, Lines 5-15)

Q:      Do you think you would have noticed if I humiliated one of your program

mates at this lecture?

A:      Yes

Q:      Are you confident that I did not? (p.164, Lines 20-24)

A:      Yes (p.165 line 1)

Q:      Did Temple investigators ever. .. contact you to discuss my case and what

you might know about it?

A:      No. (p.166 lines 7-10)



*****

Testimony of Dr. Averna

Q:      Are you aware of... [an] allegation [where] I acted inappropriately with Dr.

Dua while she acted as a model?

A:      Yes, I know the allegation.

Q:      Were you at that lecture?

A:      I was. (p. 198 lines 12-19, as amended for brevity)

Q:      Can you describe the lecture ... ?

A:      ... He's [Dr. Weinik] on stage, an elevated stage and there's a camera that

you can see straight down on the patient as well as you can see Dr. Weinik.

There's multiple views. And during those examinations he would call up both

male and females for examinations of the shoulder, knee, hip, whatever kind of



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musculoskeletal examination ... (p. 198-199 various lines as amended for

brevity) (Emphasis added)

Q:    Do you recall Dr. Dua acting as a demonstration model? (p.199, lin2 23-

24)

A:    Yes I do. (p.200, line 1)

Q:    Do you recall anything out of the ordinary about the event where Dr. Dua

acted as a model with me?)

A:    I do not, no.

Q:    Do you recall making comments or jokes at Dr. Dua's expense making

the class laugh?

A:     No, I do not.

Q:     Do you recall me touching her in any way you thought to be

inappropriate?

A:     No, for sure. (emphasis added) (p. 200-201, lines 19-24;1-4)

Q:     Do you think you would have noticed had I humiliated one of your fellow

residents ... at this lecture?

A:     Of course. [The witness goes on to explain at length why it would have

been "grossly obvious if anything inappropriate or out of character. .. " occurred

by virtue of the way the room was set up, the cameras, and the lack of reaction

by Dr. Dua.] (p. 201, lines 9-21)

Q:     Are you confident that I did not [say/do anything inappropriate]?

A:     Yeah. [The witness goes on to explain why this would not be possible for

me to be inappropriate in that particular venue.] (p. 201 lines 4-10)



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Q:      Did Temple investigators ever ... contact you to discuss my case and

what you might know about it?

A:      No. (p.203, lines 15-18)

Q:      (by Dr. Daly) Where [did you come from today to testify]?

A:      Albuquerque.

Q:      (by Dr. Daly) That's a long way.

A:      Yeah .. .I cancelled my clinic and got here at 3:00 a.m. this morning.

Q       (by Dr. Daly) That's a long way and a long flight. Did you pay for that

yourself to fly in and do all this? (emphasis added)

A:      Yes. I canceled my clinic. I'm a board certified physical medicine rehab

doc and interventionalist. I cleared my schedule without objection to be here to

defend a man that has worked hard for 30 years and had some odd allegations

in recent classes ... (p.207 lines 6-22)

Q:      (by Dr. Daly) [Dr. Averna was among the last witnesses who had waited

for hours with the others to testify] Did you get a chance to talk with any folks

in the [waiting] room about any of this? (Emphasis added)

A:      No. They just said it was a grilling is all they said. No specifics ... This

isn't a normal thing. (p. 208, lines 12-22, edited for brevity) (Emphasis added)



*****

(Memo of Dr. Mullan introduced)



        I summarized Dr. Mullan's memo at page 219 as follows:



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"Dr. Mullan was at the physical examination [involving Dr. Dua] and he also

testifies that he was a model and he also testifies that he did not see that I, Dr.

Weinik, displayed any preference for female over male models." 5



[See memo of Dr. Mullan noting that he witnessed the event where Dr.

Dua acted as a model for me and neither saw nor heard me be anything

other than professional when Dr. Dua acted as his model.] Transcript,

Exhibit 4.



      I presented 4 eyewitnesses, with others in reserve that Mr. Rogers

excused, to state that the Dr. Dua's email version of events, or purporting to

have from come from Dr. Dua since no evidence of who authored the email was

ever presented by Temple, concerning the lecture at PCOM is completely false.

Until a few days prior to the hearing, I did not even know what event the email

referred to. Once I learned, I was able to reconstruct what happened. I can

produce more witnesses as well. I suggest there cannot be any other

conclusion that the uncorroborated hearsay evidence attributed to, but never

adopted by, Dr. Dua is utterly and totally false and could never rise to the level




5
      The hearsay offered by Temple about me spending more time than was
necessary with young female patients, or acting unprofessionally with them,
was rebutted by virtually every witness who testified. Dr. Acevedo was the
primary proponent of this particularly suggestively, malicious falsehood. I
assert I have conclusively proven false that allegation and I ask the panel to
consider that if Acevedo lied (or is mistaken) about that point so easily
disproven, what else is he lying (or mistaken) about?

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of evidence that a "responsible person" would be "accustomed to rely" upon in

making a "serious" decision such as to remove me from my post. In fact, it is

incredible to me that anyone at all, responsible or irresponsible, would rely on

the so-called Dua email as truthful on anything given it has no corroborating

evidence and is directly refuted by eyewitness testimony under oath.

      You heard testimony about an unusually close relationship existing

between Dr. Dua and Dr. Maitin. It was of course difficult not to make it sound

as though the two were having a sexual liaison, and while that could at some

point be a question to explore, that possibility is not what was significant about

the testimony. The significance was twofold: first, Dua and Maitin were close

friends, and Maitin blamed me for his being demoted and me taking his place

as interim chair in his place. He was considered as a weak and poor leader as

was testified to repeatedly by the residents. As humilisting as it undoubtedly

was to him, when I failed to motivate Dr. Maitin to do his job as program

director, I concluded he had to go for the good of the program. Dr. Maitin

knew this and confided it in his close friend Dr. Dua.   After Temple decided to

take no action on Cora Brown's allegations because Dr. Brown refused to make

a formal complaint (p.28 line 14-18) and put that matter to bed, as the fall of

2017 turned into winter 2018, it became the perfect time for Dua to concoct a

story from years ago accusing me of molesting her. Dua's complaint had the

effect of resurrecting the already ended Brown complaint as Brown suddenly

decided to make her complaint "formal." Safety in numbers right? Brown and

Dua, both young women knowing Temple University, perhaps even more than



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most institutions, is sensitive to sexual assault allegations, came together, or

independently managed to get both their matters in front of Temple

administrators at precisely the time when I was making a move to remove

Maitin as program chair. The perfect play. Of course, as my accusers

undoubtledly knew would happen, I am immediately presumed guilty, as the

new culture of America demands with such allegations, and I get subjected to

these proceedings with all the anxiety and expense that entails. The immediate

benefit for my accusers is Dua's friend Maitin not only gets to stay as program

director, if I get drummed out of Temple as you are being asked to do, my

chairmanship opens up and maybe Maitin can get it back? Of course, Dua and

Brown didn't count on me fighting back. They are not old enough or

experienced enough to know what all of us know: a lifetime of building a good

reputation is something worth defending. I daresay that any of the

professionals in this proceeding from the panel, to the Temple investigators, to

the lawyers, if falsely accused of these vile acts, would fight tooth and nail to

salvage their reputations even if it meant exposing Dua, Brown, Acevedo and

Maitin in less-than-flattering light. I never want the hospital viewed in a

negative way, but these people have set in motion event that require me to

expose them for what they are.

      Please recall when judging whether to accept the hearsay testimony of

Drs. Brown and Acevedo (Dua is in a class by herself, having falsely accused

me of a crime which I am told is something called libel per se), the panel should

only accept that hearsay if it is "the sort of evidence on which responsible



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persons are accustomed to rely in the conduct of serious affairs." (By-Laws

8.4.6) Think about the examples of the EMT and the nurse/wife with a motive

to want her husband dead. You relied on the EMT, but you would not rely on

the nurse/wife with motive. Same victim, same injuries, same level of hearsay.

One reliable one not, though what seemed reliable at the start, motive and

character were the key to proving conclusively that the wife's hearsay was

unreliable. Not only would her custody and financial worries have gone away,

she would have saved her boyfriend's job which her husband had threatened.

In the proceeding before you, one type (the reliable type) you are to credit, the

other repudiate. Now, I'll apply that analysis to Drs. Brown and Acevedo.

      First Dr. Brown. She writes a letter that is unsigned and undated

accusing me of all sorts of nasty things. Temple attests that Dr. Brown orally

adopted the letter as her own. But why is it Temple never has her sign it, or

ever formally adopt it in writing? Not only is Brown never under oath, nor

recorded electronically anyplace with her accusations, she never even signs her

name to her letter. Or dates it, for that matter. Much discussion occurred at

the July 10th hearing which centered seemingly on my effort to cast doubt on

whether Brown actually wrote the letter. But in the room on that long Tuesday

evening, only my lawyers and me knew the testimony that was to come later on

about Cora Brown the legendary liar, unrepentant thief, and vindictive

manipulator. The failure of Temple to get Brown to sign and date her letter, or

have her testify was not to say Brown didn't author the letter, it was to show

Temple was unaware of the type of person Brown was and made no effort to



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find out. Had Temple done so, it would have been sure to dot every "i" with

her, and cross every "t," since vindictive liars don't announce themselves as

such, they must be found out through investigation. Recall the discussion

about what Dr. Cruz had to say. Whether it corroborated Dr. Brown or not.

Dr. Cowell said they did interview Dr. Cruz and that he didn't help one side or

the other. One of the panelists even noted when he, the panelist, and a

colleague are stopped in the hallway, he doesn't listen while his colleague

converses with whomever stopped them if it does not concern him. The point

Temple wants to draw attention away from, however, is this: either Dr. Cruz

corroborated what Brown said happened or he did not. The "why" is

unimportant. The fact is he did not corroborate Brown's story. Thus, Brown

remains uncorroborated is the point. Dr. Cowall begins with the speculation of

what Dr. Cruz might have been "feeling" or "thinking" (p. 57 lines 4-10). I had

no reason to think Dr. Cruz was lying to investigators as apparently Dr. Cowell

thought he was, because Dr. Cowell felt it necessary to come up with an excuse

for Dr. Cruz's NOT verifying Brown's tale.

      There was no evidence presented that Temple did anything at all to learn

of the veracity of Cora Brown, the thief who stole from Temple and bragged

about it, and whose peers and even supervisors avoided out of fear. Yes, fear of

her well-known vindictive nature the testimony showed. Who did Temple

approach to check out the type of person Cora Brown is? Certainly not her

peers, one of whom testified as follows about Brown. It is, frankly, frightening

that such a person is practicing medicine with a Temple certificate on her wall!



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        On example from the testimony concerning the type of individual Temple

relies upon in Cora Brown, having done nothing at all to learn what type of

person Cora Brown is:



(Testimony by Dr. Ilgonikov)

A: Cora Brown was by far the most untrustworthy and vindictive and poorly

ethical physician that I have met at my time at Temple .. .! have had multiple

conversations with other physicians, attendings, Dr. Maitin in particular, as

well as most of my co-residents that would agree that she lacks quality of care

and work ethic ... She openly bragged about taking the money, signing up to go

to [a] conference and then not going and keeping the money. She was bragging

about that to people in my class. (p.181) (Emphasis added).

*****

A:      ... Cora Brown, I quickly learned that I would not be friendly or collegial

with her. I tried to stay out of her way as I know most people did because I

know for a fact she's very vindictive. (p.183, lines 20-24) (Emphasis added).

A:      Cora Brown ... / would not trust a word that she says. (p.184, line 6-7)

(Emphasis added)

Q:      (by Dr. Queenan) .. .It was common knowledge [Brown] essentially stole

money from Temple?

A:      Amongst the residents. [Yes].




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      At pages188-189, Dr. Ilgonikov, in response to the panel's questions

relates specific instances of Brown's efforts to shirk her responsibilities, and

even supervisors are afraid of her: "I have had conversations with Amber in the

past where she's said ... she's afraid that she will, you know, come after your job

or something, you know, if something doesn't go her way." (p.189 lines 16-20).

Well, "things didn't go her way" when I disciplined Cora Brown about her dress

and professionalism, and that she is now going after my job just as she has

made others fear she would go after theirs'.

      Did I get on Dr. Brown about her dress, her professionalism, her

deportment? Absolutely, I did. But she has paid me back, hasn't she? Temple

swallowed her tale hook, line and sinker. It frightens me that she might win in

the short run: you might believe her. Dr. Ilgonikov looked you in the eye,

answered your questions, stood for cross-examination all under oath. Is he the

liar? Or was his testimony reliable? Did his words have the ring of truth about

them? Do you, yourselves, have any colleague from your entire professional

lives about whom you would testify in those terms, if it were not the absolute

truth? Did Temple interview Dr. Ilgonikov about Dr. Brown? No. Is Dr.

Brown's theft going to be investigated? It should be fairly easy to discern which

conference she took money for and did attend. For that matter, is Dr. Dua

going to be investigated for falsely accusing me of a crime, which, itself is a

crime?




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      If you think a doctor who travelled with significant expense and

inconvenience, not to mention the hassle of waiting hours to testify, lied to you

about how dishonest Dr. Brown is, then I can call more witnesses that the

panel asked me to excuse to further make the point. Dr. Brown is a liar, a

thief, and manipulatively vindictive. A person to fear according to the

testimony. Temple did not know this, and did nothing to find out before they

offered her hearsay evidence up to you as gospel hoping you will believe her

and ruin my career. Small wonder Brown waited for Dua's years-old complaint

before she would actually "go formal" with her complaint. She need an

accomplice so she, with all her credibility issues, would feel she had back up.

She didn't, but she didn't know that.

      But I ask you, with the perspective gained about Dr. Brown, the complete

lack of corroboration, and nothing in writing certifying her letter as true,

coupled with the remarkable coincidence that Brown and Dua's attack come in

days apart, just as I am reorganizing the department and giving Maitin the

boot, is Brown's hearsay evidence even remotely reliable? Is it still strong like

the EMT's hearsay? Or now knowing Brown, is it like the wife with the motive

to want her husband dead for money, custody and to keep her boyfriend from

being fired on account of her husband? Maybe if Brown faced you and

answered your questions under oath like my witnesses and I did, you might

credit her. Then again, you might see her for what she is. Nevertheless,

Temple did not call her. You did not see her. You have to judge her by the By-

Laws' hearsay yardstick. She cannot be believed. In fact, the Board ought to



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be told what you learned about before she potentially ruins someone else's life,

whether a colleague or patient, creating liability to Temple.



Now we come to Dr. Acevedo. A man described in testimony is lazy and hard-

headed. Residents tried to help him to no avail, even before medical issues,

according to testimony, affected his ability to handle the rigors of the program

which he admitted to a resident hoping to help him. Failed his boards, rubbed

attendings and residents alike the wrong way, and of great significance for us,

Temple presents to you as a reliable hearsay source. Temple shows you a

fragment of a text which Temple wants you to conclude is a threat by me to

Acevedo in connection with Acevedo's unannounced to us interview with Dr.

Furman in York. Did Temple contact Dr. Furman to learn the circumstances

under which he and I know each other? After all, Temple's witnesses pride

themselves on their thoroughness, right? Dr. Tedaldi repeatedly explained

that, didn't she? But, Temple's investigators did not uncover that Acevedo

skipped his rounds with me that day without warning. Temple did not uncover

that by concealing his York fellowship interview, Acevedo was unable to avail

himself of my friendship with Dr. Furman, in advance, to smooth the way ("not

smart" from my text fragment), and Temple failed to uncover that I did nothing

at all to interfere with Acevedo getting that particular fellowship (see letter from

Dr. Furman). But Acevedo did, in fact obtain a fellowship, didn't he? A

fellowship Temple failed learn that I had helped him get (see letter from Dr.

Naftulin). The Temple investigators learned none of these things before



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accusing me on the strength of Dr. Acevedo's claims and wrongly interpreting

the meaning of a text into something sinister.

      But what outrageous conclusions, based on rumor and innuendo, DID

Acevedo, Brown, others, and Temple's investigators reach from fragments of

facts assembled into a picture unrecognizable as fact? That I am an

overbearing supervisor weaponizing the granting or withholding of

recommendations. Fueled by that, Acevedo and others went on the attack. We

know for a fact (now) that I did not do anything to hurt Acevedo's fellowship

chances in York, and that I advanced him with Dr. Naftulin. But Acevedo, did

not know that when he signed on to help the seek and destroy mission against

me. Bolstered in Temple's tnvestigator's minds by Brown, and Dua helping

Maitin, nothing was done to check out Acevedo's motive to want to destroy my

career: his belief that I kept him from getting that fellowship in York.

      Here is what Dr. Acevedo's peers said about his ability and character,

and in direct testimony, under oath subject to cross-examination and panel

scrutiny. Also, the direct rebuttal of the outrageous accusation that I spent

more time with young, attractive women as opposed to other patients.

Outlandish innuendo designed to create the fiction that I must be some kind of

pervert: the modern day hemlock for a professional career. Again, these are

first hand observations, not hearsay as exclusively offered by Temple:

      Dr. Yu, a female resident who worked a long Holiday weekend seeing

patients with me:




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Q:      Have you ever seen me engage in any conduct you thought was

inappropriate with a patient?

A:      No

Q:      Have you ever seen anything that made you think I spend more time with

young female patients than I do with other patients?

A:      No (p.118)

Q:      Did anyone from Temple ever interview you about my behavior?

A:      No. (p.119)

Q:      (by Dr. Lin) - have you heard of any other comments or attitudes from

your co-residents about Dr. Weinik

A:      I have not, no. (p.121)

*****

        Dr. Li a female resident who worked with me seeing patients daily for a

month and part of the program with me for 2 years.

        Page 123 covers her testimony concerning the same observations as Dr.

Yu. Both women failing to corroborate Dr. Acevedo's statement that I spend

more time with young female patients than with other patients. She then goes

on to testify concerning how I extricated her from a VIP patient (son of a

current Board member) who was "hitting on her" at pages 124 and 125.

*****

Dr. Conner:

Q:      ... do you agree with [Dr. Acevedo's] accusations concerning the amount

of time I spend with young, female patients?



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A:      Absolutely not ... there was no distinction between sex, race, nothing like

that [on how much time I spent with patients]. (p.128 lines 13-24 edited for

brevity)

Q:      Did Temple investigators ever. .. contact you to discuss my case and what

you might know about it?

A:      No (p.133, lines 7-10)



*****

Dr. Williams:

Q:      During your time working with me did you ever see any indication that I

spent more time with young female patients as opposed to other patients?

A:      No, sir.

Q:      Do you think you had enough interactions with me to know if I spent

more time with young female patients than other patients?

A:      Without a doubt, yes. (p.142, lines 10-18)

[After a lengthy explanation concerning how Dr. Williams is sure I don't spend

more time with young, female patients than other patients at pages 142-143,

the following question and answer ensues:]

Q:      Based on you firsthand knowledge [of Acevedo's accusation that I spend

more time with young, female patients] is that accusation ridiculous?

A:      Firsthand knowledge I would say that accusation is unwarranted,

unfounded, and ridiculous. (p.143 lines 12-16) (Emphasis added)




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Dr. Cowell asked Dr. Williams if he ever heard complaints from the residents in

the years were worked together that I engaged in sexual innuendos at pages

155-156. Dr. Williams' response: "No, not a single complaint that I remember

or ever having been involved with."

*****

Dr. Arora:

Q:      Dr. Acevedo told [Temple investigators an] accusation concerning the

amount of time I spent with young female patients?

A:      No, I do not [agree]. I feel you spend equal time with all patients. (p.162,

lines 13-18). On the following page, Dr. Arora stated that if Acevedo says it is a

fact that I spend more time with young female patients than other patients,

Acevedo is telling a "lie." (p. 162, line 5)

*****

Dr. Ilgonikov:

A:      " ... you gave the patients the time that they needed." (p.177, line 23-24)

Q:      Do you agree with any claim that I only used female residents as models?

A:      Absolutely not.

Q:      Were you yourself such a model? (Dr. Ilgonikov is a man.)

A:      I have, yeah, been your model on multiple occasions. (p.178, lines 1-6)

Q:      So if Dr. Acevedo insists that I only used female models, is he lying about

that?

A:      That is absolutely not true. (p.178, lines 11-13)

Q:      What sort of resident was Dr. Acevedo?



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A:      I mean Dr. Acevedo had trouble as a resident for most of his residency.

He was delinquent and late ... and I heard he only got worse from one of

his ... chiefs ...

        On page 180, Dr. Ilgonikov explained how Dr. Acevedo became angry

about Acevedo's belief that I damaged his chances for a fellowship in York, and

Dr. Ilgonikov goes on to testify: "That within a short period of time of him not

getting that fellowship that some of these complaints came about." (p.180

linesl 1-13)

        On page 183, Dr. Ilgonikov testifies that Dr. Acevedo had a medical issue

and told Dr. Ilgonikov that he was "afraid" to admit that he was mentally 100%

to come back to the program. Acevedo "confided" in Dr. Ilgonikov who urged

him to be "honest" about his "situation." I have no way of knowing id Dr.

Acevedo did, in fact, "come clean" with the program director concerning his fear

that he was not mentally fully healed, but Temple records should confirm

whether he did or did not.

*****

Dr. Averna

        On page 196, Dr. Averna directly disputes Dr. Acevedo's claim that I

spend more time with young, female patients than necessary beginning at line

6. Then the following exchange occurs:

Q:      If Dr. Acevedo insists that this is fact as opposed to his opinion, that I

took longer with young female patients, based on your experience would that

be the truth or a lie?



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A:    Well, knowing him as a problem resident, that would be a lie for sure.

(p.197, lines 1-5) (Emphasis added)



      Dr. Alverna then testifies at length on pages 197 and 198 concerning

deficiencies in Dr. Acevedo as a resident, including:



-Often he was a major topic of concern among supervisors.

-Lacking professionalism.

-Lateness

-Getting suspended for failing to document his work through dictation.

-Residents saying Acevedo does not practice safe procedures in caring for

patients.

-Bad attitude with superiors especially with attending doctors.

-"Rubbing people the wrong way."

-Not a team player in a team environment.

-Needing instruction on how go about being an "adult."

-Failing his "board" exams.

-He should have been dismissed from the program for his multiple failures.

Q:    Do you suggest that anything coming from his [Dr. Acevedo's] behavior

would suggest [he is] less than being credible?

A:    Oh, sure. Even as chief resident overseeing him he should have been

fired on multiple occasions for his behavior, his unprofessionalism. We had to




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give him extra calls, I mean he had a lot of extra chances and probably at any

other institution [but Temple] he would have been fired. (p.204 lines 15-24)

Q:    Who was the chair during the time frame when you think he [Acevedo]

should have been.fired?

A:    Dr. Maitin. (p.205 lines 1-3)

      Later, under questioning from the panel, Dr. Averna returned to the

multiple problems with Acevedo that warranted termination at page 215

involving:



-Suspension from privileges after failing to document his cases by dictation on

multiple occasions.

-Acevedo being late so often to lectures, the chief residents had to set up a

"penalty system" requiring more "on calls" for Acevedo as a chronic violator.

-Dr. Van Wine and at least two other attending doctors stating they would

rather not work with Acevedo based on his demonstrated past pattern of

unprofessionalism and general abrasiveness.



      Then this from Dr. Alverna at page 216, lines 4-8: "You know, I knew he

was struggling, having a hard time. So I was like hey, man, you got to get your

act together, you have to play nice in the sandbox with the nurses, residents,

physicians." Dr. Daly: "Did that help?" Dr. Alverna: "I think it did but he's, I

don't want to say hard-headed but he's very stubborn. So I think it helped for




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a while and then I could see him kind of distancing himself from us. But then

he came back once he failed his boards and asked for my advice what to do ... "

      I respectfully suggest to this panel that, similar to Cora Brown, the thief

of whom her peers are scared, and think vindictive, and the elusive,

uncorroborated, unavailable, Dr. Dua, Dr. Acevedo was angry, stressed, feeling

overworked. Multiple witnesses hotly dispute his insistence that I spend more

time with young female patients than needed.     As with Brown and Dua and

the wife in our example, he is a very troublesome source with no credibility at

all. But, perhaps not manipulative and outright malicious trying to either help

a close friend and under his spell like Dua was for Maitin, or like Cora Brown

described in testimony as untrustworthy, a thief and vindictive making people

fear for their jobs. Acevedo might have been simply a young doctor, under

enormous pressure to perform, but without the personal skills and coping

ability he needed to progress well. The kind of young doctor others wanted to

mentor, "take under a wing," help during a rough patch. Immature, but

fundamentally a "good egg." Had his program chair not been asleep at the

switch brooding over how to best retaliate against me with the help of his friend

Dua, Dr. Maitin might have seen Acevedo was worth saving.

      That is, until Acevedo went too far. Much, much too far. Jumping onto

the Maitin/Dua/Brown "Weinik is a pervert. A dirty old man" bandwagon.

There is almost nothing worse in the world we live in than to be so branded. It

is life changing and maybe life (speaking of career) ending. And there is

nothing so easy in this world as to set it in motion, with Temple so willing to



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believe it. Obviously, my life will never be the same again, even if I am fully

exonerated and reinstated, as I hope will happen. The anxiety and stress have

been beyond belief. Not to mention the expense to hire a legal team. Because

this is it. This is the ballgame. If I fail here, I'm looking at years of litigation

and all the added stress and expense that goes with it, during which time I will

not be practicing medicine. Who hires "the pervert" regardless that I have done

nothing to warrant this treatment from a University to which I remain loyal,

and for which I thank God for giving me the chance (formerly) on a daily basis

to use the skills He entrusted to me for healing. Maybe my accusers thought

they'd give me a good scare to pay me back for imagined slights, and had no

idea it would go this far. If I was a betting man, that is where I would lay my

money. My life is Temple medicine, helping people who need help. But

Acevedo crossed the line from overwrought resident, to false accuser on a

matter of dealing with a patient who trusted me with her care.

      All of which brings me to the episode with my injecting that patient in

her lower back to alleviate pain and suffering. An incident that Acevedo

accuses me of exposing a patient's buttocks, evidently, for my own sexual

gratification (I can't believe I am actually writing something so absurd.)

Acevedo says I did this in a room full of people including a loved one of the

patient, students learning the procedure, and an experienced assistant of

sterling reputation, Dr. Williams. Did Temple produce the patient, or even an




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anonymous statement from the patient 6 No. The patient's "significant other?"

No. Did Temple give me access to my patient records to try and figure out who

that patient is so I could ask her? No. It is intimated by my Temple

investigative accusers that this particular patient refused to be further treated

by me. But every piece of testimony offered by Temple on this point begins with

speculation like "I heard ... ", "It is my understanding ... ", "I think I heard ... " Not

even hearsay evidence from the patient herselfl Nothing. But Temple wants

this panel to believe that this patient was so upset, she would not return to

treat with me based on no evidence at all. I hope I have already demonstrated

that Acevedo's has no credibility, but Temple does not even offer how he could

possibly know the patient refused to be seen by me again. However, an

esteemed graduate of our program and a faculty member, the most experienced

doctor in the room apart from me, Dr. Williams, was there. This is non-

hearsay, firsthand eyewitness testimony under oath. Here is what he said

about the "draping" procedure:"



Page 144, line 16: Sees the whole procedure from beginning to end.

Page 145 -Watched the preparation and described in detail how I went about it

using the procedures Dr. Williams, himself, said he has done hundreds of

times, that he learned from me. See lines 17-23.



6
       I'm told that I cannot have access to the identity of this patient absent
court process, but what I cannot understand is why Temple investigators with
their self-proclaimed efforts to be "fair," would not seek out this patient on their
own to get even a hearsay account from her or her partner?

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Page 145 lines 1-5

Q:    did I uncover any more of the patient's buttocks that it was necessary to

perform the procedure?

A:    I recall again nothing out of the appropriate and it was a normal draping

and procedure.

Lines 6-13 Dr. Willimas testifies he saw nothing that led him to conclude the

patient was unduly humiliated or embarrassed and, again, a whole room of

people were there to watch and learn, or comfort the patient.

Dr. Williams spends several pages of testimony (pp. 146-148) devoted to

explaining to persons who may read the transcript the reasons for needing to

sterilize and drape an area much larger than the target for the needle to

account for differences in the anatomies of different people. I asked him

directly at line 14, page 14 7 whether I uncovered the proper area of skin to

correctly sterilize the area around the injection? A: "I believe that you did."

Then, I asked Dr. Williams the critical question and he responds on page 148

lines 5-15:

Q:    Dr. Williams, this is a big point in the case. Are you absolutely sure I

properly uncovered this patient, sterilized the correct area and draped her in a

professional manner consistent with the way you were also taught to perform

the procedure?

A:    Yes. I believe I have enough experience and moral aptitude if there were

something inappropriate I would have said something otherwise and there was

nothing out of the ordinary.



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      The evidence presented shows that Dr. Acevedo is, or at least was, a

troubled, immature, resident doctor hanging on by his fingernails. He thought

he might get a fellowship and blamed me, mistakenly, when he did not get that

particular fellowship. Further his observations are suspect, and if not outright

lies, grossly in error about how I allocate my time with patients. Then he went

way off base: he falsely accused me of unprofessionalism with a real patient.

And he did that solely to hurt me. He might have gotten away with it, but for

Dr. Williams remembering and being willing to say so under oath. Not just to

Temple investigators asleep or awake, taking accurate notes or not, but under

oath subject to penalties of perjury. That is how we test "bearing false witness"

in this country. Dua, Brown Acevedo ... they didn't do that. Dr, Williams and

me, and my other witnesses did. That's the difference. Between my case and

theirs'. Would you make a decision on an important matter based on Dr.

Williams' medical observations? I bet you would. How about the others, those

accusing me? I bet you wouldn't.

      Did I get on Dr. Acevedo about blowing off his call on his first day with

me, without warning, at a time when we had reason to believe our residents

were overstressed even to the point of suicide? Sure. Was I upset about his

lack of professionalism? Absolutely, I was. But he has paid me back, hasn't

he? Like Brown, Temple swallowed his tale too. And, like Brown, he might win

in the short run: you might believe him. Drs. Williams and the others looked

you in the eye, answered your questions, stood for cross-examination all under

oath. Are they the liars? Or is their testimony reliable? If you think these



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doctors travelled enduring the inconvenience to testify, lied to you about the

kind of man Dr. Acevedo was (and hopefully is not still), then as with Brown I

can call more of the witnesses the panel asked Mr. Rogers to excuse to further

make the point. Dr. Acevedo is at best mistaken that I tried to hurt his

fellowship chances, and at worst maliciously joined Brown and Dua to "get"

me. Temple, of course, did not know this, but did nothing to find out before

they offered his (and their) hearsay evidence up to you hoping you will believe

him and them and grant their wish that you end my career. But I ask you,

could it be that when my accusers saw I was not getting just looked at, or

admonished, but that a 30-year career to date, not to mention what I might

still have to contribute to medicine, was at risk of being taken from me, these

accusers are not at the hearing to look me in in the eye? I literally gave Dua an

invitation. No show. More importantly, they were not here to look you in your

eyes.    Is Acevedo's hearsay evidence reliable? Brown, Dua's? Other,

mentioned in passing? Is this the kind of testimony that is still like the EMT's

hearsay from the example at the beginning of this argument? Or, now knowing

about these accusers who did not appear, is the testimony much more like the

wife with the motive to want her husband dead to save he boyfriend's job, keep

her children and become a millionaire? Motive to lie counts toward credibility

and reliability. You have to judge all of Temple's evidence by the By-Laws'

hearsay yardstick. By that standard, none of it is such that any of you as

"responsible persons would be accustomed to rely [on it] in the conduct of

serious affairs." (8.4.6). That is what Temple's by-laws mandate for you in



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order to credit Temple's evidence against me and impose the equal of the death

penalty on my career.

      You now have the background of Temple's witnesses, and their motives,

coming from direct, non-hearsay, subject to cross-examination, and under oath

witnesses. Weighed against not knowing my accuser's motives, their character,

not being under oath, not subject to cross-examination, not allowing you to

even see them. I suggest to this panel that not only has Temple failed to show

my conduct warrants any adverse action, the hearing showed that the weight of

the evidence affirmatively comes crashing down in my favor. I have been

attacked, my reputation and career have been placed in question. I had, and

continue to have, to fight for my honor, my integrity, and to be able to pursue

my calling as a doctor, a healer of people. And I will not stop until my last

breath. What Temple's investigators have done and are doing to me is wrong. I

look to you, my peers and colleagues, to look rationally at this evidence,

consider my character and reputation over 30 years, and as attested to by Dr.

D'Alonzo and agreed to by the panel, as exemplary. Compare that against my

accusers, their characters and reputations, and what evidence that was not

developed that by right and fairness should have been. I am a good and

professional doctor. That is all I ever wanted to be. Forces beyond my control

are trying to take that from me. You stand as my shield, for I have done no

wrong.

Thank you.

Michael Weinik, DO



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   MEDICAL STAFF HEARING COMMITTEE REPORT TO THE MEDICAL
   STAFF EXECUTIVE COMMITTEE REGARDING THE MEDICAL STAFF
             TERMINATION OF DR. MICHAEL WEINIK

      The Medical Staff Hearing Committee consisting of Ors. John Daly
(chair), Joseph Queenan and Karen Lin met on the afternoon and
evening of July 10, 2018. Present were Mr. Paul Wright, Ors. Cowell
and Tedaldi for the Medical Staff and Mr. Castor and Mr. Rogers along
with Dr. Michael Weinik for the defense. A stenographer recorded the
proceedings.

      The Hearing Committee heard multiple witnesses over a period of
approximately six hours and had the opportunity themselves to
question witnesses during the proceeding. The Hearing Committee
received and reviewed multiple documents from the Medical Staff
Executive Committee, Dr. Cowell, Dr. Weinik and his attorneys, and
written recording of the proceeding. The Committee met subsequently
on two occasions to review and discuss the proceedings and the
documents that were provided.

      The decision of two members of the Committee is to recommend
to the Medical Staff Executive Committee that Dr. Weinik have his
medical staff privileges modified so that he is not performing direct
patient care nor directly overseeing/instructing individual residents.
One member of the Committee decided to recommend to the Medical
Staff Executive Committee that Dr. Weinik be suspended or be placed
on a similar modification as described above; The duration of such
suspension or modification was not decided by the Hearing Committee.
As part of a remedial action plan, the Committee recommended
strongly that Dr. Weinik undergo counseling, behavioral and sexual
harassment training, independent of individuals from Temple University
Hospital, during the time that his privileges are modified.
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      The decision was reached because the sexual harassment written
and verbal complaints of the female former PM&R resident from 2016,
2017 and 2018 could not be completely substantiated since she was
not present at the hearing and witnesses did not corroborate her
complaints. Complaints from Drs. Kinback, Brown, Vyas and Acevedo
and Ms. Dzikowski regarding Dr. Weinik's behavior towards female
patients and residents, themselves included, were also not
substantiated by witnesses brought to the hearing. However, the
Hearing Committee took into account the due diligence of Drs. Cowell
and Tedaldi along with Ms. Coull and Dr. Wiggers who directly
interviewed the complainants and sought to verify the behavior charges
that were brought against Dr. Weinik. From all information provided to
the Hearing Committee, there appeared to be a pattern of Dr. Weinik's
behavior that is unacceptable for a member of the Temple University
Hospital staff.

      The initial recommendation of the Medical Staff Executive
Committee (MSEC) was for Dr. Weinik to undergo professional coaching
by Ms. Saccomandi; however, it appeared that Dr. Weinik did not fully
participate in this effort until near the end of the coaching period.
While he claimed illness during this time, there was no corroboration of
this to the Committee. Thus, it is unclear to the Committee that Dr.
Weinik tried diligently to adhere to the initial recommendations of the
MSEC.

      Thus, the Committee voted unanimously that Dr. Weinik
participate diligently in his own behavioral and sexual harassment
therapy and demonstrate satisfactory completion of a course of such
therapy. Should he be allowed to return to the medical staff or have
his medical privileges fully restored, he would be required to be
monitored by senior leadership at the medical center as part of a
continued remedial action plan.
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                                                                                                                                                                                                                     VINCENT COWELL, MD
                TEMPLE                                                                           LTH                                                                  Chair, Medical Staff Executive Committee
                         TEMPLE UNIVERSITY HOSPITAL                                                                                                                           Professor, Clinical Anesthesiology
                                                                                                                                                            Lewis Katz School of Medicine at Temple University




               August 27, 2018




               Dear Dr. DiSesa:

               At the specially called Medical Staff Executive Committee (MSEC) meeting today, the MSEC reviewed
               and considered the recommendation of the Hearing Panel regarding Dr. Weinik's status on the Medical
               Staff. Given my role as an investigator of the allegations against Dr. Weinik and my role as the advocate
               for the Medical Staff at Dr. Weinik1 s July 10, 2018 hearing, I recused myself from participating in today's
               MSEC meeting. Dr. McNamara, the immediate past Chair of the MSEC, presided over the meeting in my
               stead.

               The MSEC disagreed with the Hearing Panel's recommendations and by majority vote decided to
               reaffirm its earlier recommendation for termination of Dr. Weinik's Medical Staff membership. The
               MSEC seized on the Hearing Panel's finding that "there appeared to be a pattern of Dr. Weinik's
               behavior that is unacceptable for a member of the Temple University Hospital staff." Therefore, the
               committee agreed with the Hearing Panel's finding about Dr. Weinik's behavior, but disagreed about the
               remedy for that behavior.

               Pursuant to the Medical Staff Bylaws, Dr. Weinik has twenty one (21) days to request an appellate
               review of this recommendation by the Board. If he chooses not to request appellate review, the MSEC's
               recommendation will be submitted to the Board for its consideration after the twenty one day period
               has elapsed.

                Respectfully,



               ~·~ c.,u->~
               Vincent Cowell, M.D.
               Medical Staff Executive Committee Chair

                cc:                  Michael Weinik, D.O.
                                     Bruce Castor, Esquire
                                     Paul B. Wright, Esquire"




                                                                                                                                                                                                                TEMPLE UNIVERSITY HOSPITAL
                                                                                                                                                                                                  3509 N. Broad Street, Philadelphia, PA 19140
                                                                                                                                                                                                        TempleHealth.org BOO-TEMPLE-MED



Temple Health ~efors ~o the h:atth, education a~d r:search_ aclivilies carried out by the ~ffi!iales_ ~f Temp~e University Health Sys~em. {TUHS) and by !he lewis Katz School of Medicine at Temple University. TUBS neilher provides nor conlrols \he provision of hea!lh tare.
AU health care is provided by its member orgamza11011s or mdependenl health care providers affiliated w1lh 1UHS member orgamzatmns. Each TUHS member organization is owned and operated pursuant to ils governing documents.
